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                          Exhibit 1
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                              DCCA No. 22-BG-891

                       DISTRICT OF COLUMBIA
                           COURT OF APPEALS
_______________________________
In the Matter of                    :
                                    :
JEFFREY B. CLARK, ESQUIRE :
                                    :
      Respondent,                   : Disciplinary Docket No. 2021-D193
                                    :
A Member of the Bar of the District :
  of Columbia Court of Appeals.     :
Bar Number: 455315                  :
Date of Admission: July 7, 1997     :
_______________________________:

     DISCIPLINARY COUNSEL’S NOTICE OF ORDER GRANTING
                         REMAND

      Disciplinary Counsel hereby notifies the Court that on June 8, 2023, the

United States District Court for the District of Columbia granted Disciplinary

Counsel’s three Motions to Remand and remanded this matter to the D.C.

disciplinary system. The District Court’s Order and accompanying Memorandum

Opinion are attached. Disciplinary Counsel is simultaneously notifying the Board

on Professional Responsibility by separate filing.

                                      Respectfully submitted,

                                      HAMILTON P. FOX, III
                                       Disciplinary Counsel

                                      THEODORE (JACK) METZLER
                                       Senior Assistant Disciplinary Counsel
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Dated: June 9, 2023                   s/ Jason R. Horrell
                                      JASON R. HORRELL
                                        Assistant Disciplinary Counsel

                                      OFFICE OF DISCIPLINARY COUNSEL
                                      515 Fifth Street, N.W.
                                      Building A, Room 117
                                      Washington, D.C. 20001
                                      (202) 638-1501



                         CERTIFICATE OF SERVICE

      I hereby certify that on June 9, 2023, I caused a copy of the foregoing to be

filed with the District of Columbia Court of Appeals via its electronic filing

system, and served on the following via email:

      Respondent’s counsel
        Harry W. MacDougald, hmacdougald@CCEDlaw.com
        Charles Burnham, charles@burnhamgorokhov.com
        Robert A. Destro, Robert.destro@protonmail.com.

                                      s/ Jason R. Horrell
                                      JASON R. HORRELL
                                        Assistant Disciplinary Counsel




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                      Attachment
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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                               :
        IN RE JEFFREY B. CLARK                 :      Case Nos.:            22-mc-0096
                                               :                            22-mc-0117
                                               :                            23-mc-0007
                                               :

                                          ORDER

                              GRANTING MOTIONS TO REMAND

        For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, it is hereby ORDERED that the D.C. Office of Disciplinary

Counsel’s Motions to Remand (Case No. 22-mc-0096, ECF No. 5; Case No. 22-mc-0117, ECF

No. 4; Case No. 23-mc-0007, ECF No. 4) are GRANTED and this matter shall be

REMANDED for further proceedings.

        It is FURTHER ORDERED that, because the Court lacks subject-matter jurisdiction

over this matter, Mr. Clark’s Motion to Stay Subpoena Response Deadline (Case No. 22-mc-

0096, ECF No. 2) and Motion to Quash (Case No. 22-mc-0096, ECF No. 4) are DENIED as

moot.

        SO ORDERED.


Dated: June 8, 2023                                            RUDOLPH CONTRERAS
                                                               United States District Judge
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 :
       IN RE JEFFREY B. CLARK                    :       Case Nos.:             22-mc-0096
                                                 :                              22-mc-0117
                                                 :                              23-mc-0007
                                                 :

                                 MEMORANDUM OPINION

                               GRANTING MOTIONS TO REMAND

                                      I. INTRODUCTION

       On July 19, 2022, the Office of Disciplinary Counsel (“ODC”) for the D.C. Board on

Professional Responsibility (the “Board”), the entity that regulates the conduct of attorneys

admitted to the D.C. Bar, commenced a disciplinary proceeding against Jeffrey B. Clark, an

attorney admitted to the D.C. Bar and a former Assistant Attorney General of the United States.

See 1d Notice of Removal, Ex. A-2 (“Petition and Specification”), ECF No. 1-2. Mr. Clark

removed the disciplinary proceeding to this Court, see 1d Notice of Removal, Case No. 22-mc-

0096, ECF No. 1, and subsequently filed separate notices of removal as to ODC’s motion to

enforce a subpoena, see 2d Notice of Removal, Case No. 22-mc-0117, ECF No. 1, and as to a

separate subpoena later issued by ODC, see 3d Notice of Removal, Case No. 23-mc-0007, ECF

No. 1. Before the Court are ODC’s motions to remand. See 1d Mot. Remand, ECF No. 5; 2d

Mot. Remand, ECF No. 4; 3d Mot. Remand, ECF No. 4. 1 As set forth in detail below, because


       1
          Because Mr. Clark filed three separate notices of removal, there are three separate case
numbers and dockets corresponding to this matter. For purposes of citations in this Opinion, all
citations to Mr. Clark’s first notice of removal, ODC’s first motion to remand, and related
submissions refer to docket entries in Case No. 22-mc-0096; all citations to Mr. Clark’s second
notice of removal, ODC’s second motion to remand, and related submissions refer to docket
entries in Case No. 22-mc-0117; and all citations to Mr. Clark’s third notice of removal, ODC’s
third motion to remand, and related submissions refer to docket entries in Case No. 23-mc-0007.
The parties have agreed to consolidate Case No. 22-mc-0096 and Case No. 22-mc-117. See
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the Court lacks subject-matter jurisdiction over the Board’s disciplinary proceeding, ODC’s

motions to remand are granted. 2

                                        II. BACKGROUND

                         A. The DCCA and Attorney Discipline in D.C.

        In 1970, Congress passed legislation creating the Superior Court of the District of

Columbia and the District of Columbia Court of Appeals (“DCCA”) as Article I courts. See

District of Columbia Court Reform and Criminal Procedure Act of 1970, Pub. L. No. 91-358,

§ 101, 84 Stat. 473, 475 (1970). For present purposes, two sections of that legislation bear

notice. First, the legislation rewrote subchapter I of chapter 5 of title 11 of the D.C. Code, which

concerns the jurisdiction of the U.S. District Court for the District of Columbia. Id., 84 Stat. at

476. As amended, that subchapter contained three sections. The first two provided for the

District Court’s jurisdiction, “[i]n addition to its jurisdiction as a United States district court and

any other jurisdiction conferred on it by law,” over certain “civil action[s]” and “criminal

case[s],” respectively, brought under D.C. law. Id., 84 Stat. at 476–78. The third provided that

“[a] civil action or criminal prosecution in the Superior Court of the District of Columbia is


ODC’s Reply Supp. 2d Mot. Remand at 1, ECF No. 6. The Court consolidates all three cases, as
all involve “common question[s] of law or fact.” Fed. R. Civ. P. 42(a); see Biochem Pharma,
Inc. v. Emory Univ., 148 F. Supp. 2d 11, 13 (D.D.C. 2001) (“The district court has broad
discretion in determining whether to consolidate related cases.”).
        2
          Mr. Clark’s third notice of removal nominally concerns a subpoena, but he claims that it
was never served on him. See 3d Notice of Removal at 1. In addition, as explained below, the
District of Columbia Court of Appeals has issued an order holding in abeyance a prior subpoena
pending this Court’s resolution of the first two motions to remand, see 3d Notice of Removal,
Ex. 14, ECF No. 1-14, and ODC acknowledges both that the production deadline for the later
subpoena has passed and that it has not brought a motion to compel a response to that subpoena,
see 3d Mot. Remand at 1. While the analysis herein would apply equally to the issues presented
by removal of that subpoena, because it does not appear to represent a live proceeding over
which the Court could exercise removal jurisdiction, the Court confines its analysis to the similar
arguments raised in the parties’ briefing on the first and second notices of removal and
corresponding motions to remand.


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removable to the United States District Court for the District of Columbia in accordance with [28

U.S.C. § 1441, et seq.].” Id., 84 Stat. at 478. These provisions remain unchanged in the version

of the D.C. Code in force today. See D.C. Code §§ 11-501–03.

       Second, the legislation separately rewrote chapter 25 of title 11 of the D.C. Code. 84

Stat. at 520. It provided that the DCCA “shall make such rules as it deems proper respecting the

examination, qualification, and admission of persons to membership in its bar, and their censure,

suspension and expulsion,” specifying that the DCCA “may censure, suspend from practice, or

expel a member of its bar for crime, misdemeanor, fraud, deceit, malpractice, professional

misconduct, or conduct prejudicial to the administration of justice.” Id., 84 Stat. at 521. The

legislation required that “written charges, under oath” be filed with the DCCA before a member

of “its bar” could be censured, suspended, or expelled, but also permitted “other courts”—the

“Federal courts in the District of Columbia and the Superior Court”—to “censure, suspend, or

expel an attorney from the practice at their respective bars.” Id. All of this language remains

unchanged in the D.C. Code today. See D.C. Code §§ 11-2501–04. No provision for removal of

disciplinary actions to the U.S. District Court was included in the original legislation, nor has one

been added since. See D.C. Code tit. 11, ch. 25.

       Pursuant to its authority under this chapter, the DCCA has adopted standards of conduct

for members of the D.C. Bar and rules governing attorney discipline. See generally D.C. Rules

of Pro. Conduct (D.C. Bar 2018); D.C. Bar R. XI (disciplinary proceedings). Specifically, D.C.

Bar Rule XI lays out the grounds for discipline and the procedure for disciplinary proceedings.

See D.C. Bar R. XI. As relevant here, it establishes the Board and authorizes it to “consider and

investigate any alleged ground for discipline . . . called to its attention, or upon its own motion,

and to take such action with respect thereto as shall be appropriate to effect the purposes of this




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rule.” Id. § 4(e)(1). In particular, Rule XI authorizes the Board to “adopt rules, procedures, and

policies not inconsistent with this rule or any other rules of [the DCCA],” id. § 4(e)(10), which

the Board has done, see Board Rules (Bd. on Prof. Resp. 2023). Rule XI also empowers the

Board to appoint “Disciplinary Counsel,” together with a staff, and to appoint “Hearing

Committees.” D.C. Bar R. XI, § 4(e)(2), (e)(4).

       Disciplinary Counsel is charged with “investigat[ing] all matters involving alleged

misconduct by an attorney subject to the disciplinary jurisdiction of [the DCCA]” and

“prosecut[ing] all disciplinary proceedings before Hearing Committees, the Board, and the

Court.” Id. § 6(a)(2), (a)(4). Hearing Committees are three-member panels that “conduct

hearings on formal charges of misconduct” and “submit their findings and recommendations on

formal charges of misconduct to the Board, together with the record of the hearing.” Id. § 5(c).

The Board “review[s] the findings and recommendations of the Hearing Committees” and

“prepare[s] and forward[s] its own findings and recommendations, together with the record of

proceedings before the Hearing Committee and the Board, to the [DCCA].” Id. § 4(e)(7). Upon

receiving the Board’s report, the DCCA must “enter an appropriate order as soon as the business

of the Court permits.” Id. § 9(h)(1). In doing so, the DCCA must “accept the findings of fact

made by the Board unless they are unsupported by substantial evidence of record, and shall adopt

the recommended disposition of the Board unless to do so would foster a tendency toward

inconsistent dispositions for comparable conduct or would otherwise be unwarranted.” Id.

                        B. 28 U.S.C § 530B, the McDade Amendment

       In 1979, Congress folded a requirement into a Department of Justice (“DOJ”)

appropriations bill that DOJ attorneys “shall be duly licensed and authorized to practice as an

attorney under the laws of a State, territory, or the District of Columbia.” Department of Justice




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Appropriation Authorization Act, Pub. L. No. 96-132, § 3(a), 93 Stat. 1040, 1044 (1979). The

following year, the DOJ Office of Legal Counsel (“OLC”), responding to an American Bar

Association (“ABA”) disciplinary rule that prohibited direct contact with a represented opposing

party without the consent of the party’s counsel (the “no-contact rule”), issued an opinion finding

that “courts have no authority to exclude evidence solely on the basis of a violation of [the ABA

rule], and state bar associations may not, consistent with the Supremacy Clause, impose

sanctions on a government attorney who has acted within the scope of his federal

responsibilities.” Ethical Restraints on the ABA Code of Professional Responsibility on Federal

Investigations, 4B Op. O.L.C. 576, 577 (1980).

       Spurred by unanimous state-level adoption of a version of the no-contact rule over the

following years, see Charles Doyle, Cong. Rsch. Serv., RL30060, McDade-Murtha Amendment:

Ethical Standards for Justice Department Attorneys 10 (2001), together with a Second Circuit

decision rejecting DOJ’s argument that state bar ethics rules did not apply to prosecutors

conducting investigations before formal initiation of a prosecution, see United States v.

Hammad, 858 F.2d 834 (2d Cir. 1988), cert. denied, 498 U.S. 871 (1990), Attorney General

Richard Thornburgh issued a memorandum in 1989 to all DOJ litigators, see N.Y. Bar Ass’n v.

FTC, 276 F. Supp. 2d 110, 131–32 (D.D.C. 2003) (citing Hammad, 858 F.2d at 837). The

Thornburgh Memorandum “encouraged” DOJ attorneys to be “sensitive to the interests that are

sought to be protected by [the no-contact rule],” but explained the “Department’s position that

contact with a represented individual in the course of authorized law enforcement activity does

not violate [the no-contact rule]” and that DOJ would “resist, on Supremacy Clause grounds,

local attempts to curb legitimate federal law enforcement techniques.” In re Doe, 801 F. Supp.

478, 492–93 (D.N.M. 1992) (quoting in full the Thornburgh Memorandum). Both the courts and




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Congress took issue with the Thornburgh Memorandum. See, e.g., United States v. Lopez, 4

F.3d 1455, 1458 (9th Cir. 1993) (endorsing the district court’s “trenchant analysis of the

inefficacy of the [Thornburgh Memorandum],” which the district court described as

“preposterous” (citing United States v. Lopez, 765 F. Supp. 1433, 1453 (N.D. Cal. 1991),

vacated on other grounds, 989 F.2d 1032 (9th Cir.)); United States ex rel. O’Keefe v. McDonnell

Douglas Corp., 961 F. Supp. 1288, 1294 (E.D. Mo. 1997) (quoting House Subcommittee’s

conclusion, after a hearing in 1990 “address[ing] the propriety of the Thornburgh

Memorandum,” that it “disagree[d] with the Attorney General’s attempts to exempt departmental

attorneys from compliance with the ethical requirements adopted by the State bars to which they

belong and in the rules of the Federal Courts before which they appear.”).

       Still, in 1994, DOJ, under Attorney General Janet Reno, promulgated regulations

“intended to preempt and supersede the application of state laws and rules and local federal court

rules to the extent that they relate to contacts by attorneys for the government . . . with

represented parties[.]” O’Keefe, 961 F. Supp. at 1293 (quoting the version of 28 C.F.R. pt. 77

then in force). But in 1998, the Eighth Circuit struck down these regulations as in excess of

statutory authority. See U.S. ex rel. O’Keefe v. McDonnell Douglas Corp., 132 F.3d 1252, 1257

(8th Cir. 1998).

       While this played out, Congress carried through the requirement from the 1979

appropriations bill that DOJ attorneys maintain state bar licensure. See, e.g., Department of

Commerce, Justice, and State, the Judiciary, and Related Agencies Appropriations Act

[hereinafter “Appropriations Act”] of 1993, Pub. L. No. 102-395, § 102(a), 106 Stat. 1828, 1838

(1992) (reenacting the provisions in Pub. L. No. 96-132); Appropriations Act of 1994, Pub. L.

No. 103-121, § 102, 107 Stat. 1153, 1163 (1993) (same); Appropriations Act of 1995, Pub. L.




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No. 103-317, § 102, 108 Stat. 1724, 1734 (1994) (same); Appropriations Act of 1998, Pub. L.

No. 105-119, § 102, 111 Stat. 2440, 2456–57 (1997) (same); Appropriations Act of 2000, Pub.

L. No. 106-113, § 102, 113 Stat. 1501, 1501A-19 (1999) (same). And in 1998, less than a year

after the Eight Circuit’s decision in O’Keefe, Congress passed what is referred to as the McDade

Amendment, after its sponsor Representative Joseph McDade. See Omnibus Consolidated and

Emergency Supplemental Appropriations Act of 1999, Pub. L. No. 105-277, § 801, 112 Stat.

2681, 2681-118–19 (1998). Passed as a rider to an omnibus appropriations bill, the McDade

Amendment, as codified at 28 U.S.C. § 530B (hereinafter “section 530B”), provides in full:

       (a) An attorney for the Government shall be subject to State laws and rules, and local
           Federal court rules, governing attorneys in each State where such attorney engages in
           that attorney’s duties, to the same extent and in the same manner as other attorneys in
           that State.

       (b) The Attorney General shall make and amend rules of the Department of Justice to
           assure compliance with this section.

       (c) As used in this section, the term “attorney for the Government” includes any attorney
           described in section 77.2(a) of part 77 of title 28 of the Code of Federal Regulations
           and also includes any independent counsel, or employee of such a counsel, appointed
           under chapter 40.

       The McDade Amendment passed after Representative McDade introduced a standalone

version of the legislation in May 1996, see H.R. 3386, 104th Cong. (1996), reintroduced it in

January 1997, see H.R. 232, 105th Cong. (1997), and reintroduced it again together with

Representative John Murtha in amended form in March 1998, see H.R. 3396, 105th Cong.

(1998). The version passed into law closely resembled the 1996 and 1997 bills, and the

committee report explained that the enacted version “includes language to make government

attorneys subject to laws and rules of the State and the rules of the local Federal court in which

they are practicing” and “addresses the concerns of the Committee about the Department of

Justice’s issuance of a regulation that exempts its attorneys from the same State laws and rules of



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ethics which all other attorneys must follow.” H.R. Rep. No. 105-636, at 154 (1998). In April

1999, pursuant to section 530B(b), DOJ promulgated regulations to enforce the McDade

Amendment. See Ethical Standards for Attorneys for the Government, 64 Fed. Reg. 19273,

19275 (Apr. 20, 1999) (codified in 28 C.F.R. pt. 77).

                          C. Disciplinary Charges Against Mr. Clark

       On July 19, 2022, ODC filed with the Board a Petition Instituting Formal Disciplinary

Proceedings against Mr. Clark together with a Specification of Charges (the “Specification”).

See Petition and Specification. The Specification alleges that Mr. Clark, who “at all relevant

times” concurrently served in DOJ as Assistant Attorney General for the Environment and

Natural Resources Division and Acting Assistant Attorney General for the Civil Division,

“attempted to engage in conduct involving dishonesty” in violation of D.C. Bar Rules 8.4(a) and

(c) and “attempted to engage in conduct that would seriously interfere with the administration of

justice” in violation of D.C. Bar Rules 8.4(a) and (d). Id. ¶¶ 8, 31. These charges arose out of

Mr. Clark’s alleged conduct in the wake of the 2020 presidential election. The Specification

alleges that, despite having “no involvement in or responsibility for [DOJ’s] post-election

investigations into allegations of fraud or irregularities,” on December 28, 2020, Mr. Clark

tasked a senior counsel in the Civil Division with researching “the authority of state legislatures

to send unauthorized slate [sic] of electors to Congress.” Id. ¶¶ 9, 12. Mr. Clark allegedly then

“used this research to write” what came to be referred to as the “Proof of Concept letter,” which

he emailed to the Deputy Attorney General, Jeffrey Rosen, and the Principal Associate Deputy

Attorney General, Richard Donoghue. Id. ¶¶ 4, 12, 13 (formatting omitted). The Proof of

Concept letter, which was “drafted to be signed by Mr. Rosen, Mr. Donoghue and [Mr. Clark],”

and “addressed to the Georgia Governor, Speaker of the House, and President Pro Tempore of




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the Senate,” “recommended that the Governor call the Georgia legislature into special session

and argued that if the Governor refused to do so, the legislature had the authority to convene

such a session on its own initiative.” Id. ¶ 14.

       The Specification alleges that the Proof of Concept letter contained multiple false or

misleading statements. First, the letter “stated that the Department of Justice had ‘identified

significant concerns that may have impacted the outcome of the election in multiple States,

including the State of Georgia.’” Id. ¶ 15. The Specification alleges that this statement was

false, as DOJ was “aware of no allegations of fraud in Georgia that would have affected the

results of the presidential election.” Id. Second, the letter “stated that [DOJ] found ‘troubling

the current posture of a pending lawsuit in Fulton County’ and the ‘litigation’s sluggish pace.’”

Id. ¶ 16. The Specification alleges that this statement also was false, as DOJ “had no

involvement in the Fulton County case and was not concerned by its lack of progress.” Id.

Third, the letter stated that DOJ “believed ‘that in Georgia . . . both a slate of electors supporting

Joseph R. Biden, Jr., and a separate slate of electors supporting Donald J. Trump, gathered on

that day at the proper location to cast their ballots, and that both sets of those ballots have been

transmitted to Washington, D.C., to be opened by Vice President Pence.’” Id. ¶ 17. The

Specifications alleges that this statement was “misleading,” as the “Governor of Georgia had

certified a slate of electors to the Electoral College pledged to Joseph Biden, and there was no

legitimate alternative slate of Georgia electors pledged to Donald Trump.” Id. Fourth, the letter

stated that DOJ “had concluded that the Governor should convene a special session of the

Georgia legislature. Id. ¶ 18. The Specification alleges that this “statement was false,” as DOJ

“had not made such a determination.” Id. Finally, the letter “stated that [DOJ] had concluded

that if the Governor refused to convene a special session of the Georgia legislature, the




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legislature had the authority to do so on its own initiative.” Id. ¶ 19. The Specification alleges

that this “statement was false,” as DOJ “had made no such determination.” Id.

       The Specification also details efforts allegedly undertaken by Mr. Clark to ensure the

Proof of Concept letter’s transmission, over the objections of his superiors, Mr. Rosen and Mr.

Donoghue. Specifically, it alleges that “a little more than an hour” after Mr. Clark sent the Proof

of Concept letter to Mr. Rosen and Mr. Donoghue, Mr. Donoghue responded, in a message

copying Mr. Rosen, that he would not sign the letter because he “kn[e]w of nothing that would

support the statement ‘we have identified significant concerns that may have impacted the

outcome of the election in multiple states’” and did not think DOJ’s “role should include making

recommendations to a State legislature about how they should meet their Constitutional

obligations to appoint Electors.” Id. ¶ 20. That evening, Mr. Clark allegedly met with Mr.

Rosen and Mr. Donoghue, who informed Mr. Clark that they “would not authorize or sign the

letter because it contained false statements.” Id. ¶ 21. On January 2, 2021, Mr. Clark allegedly

had a second meeting with Mr. Rosen and Mr. Donoghue, at which he “informed them that the

President had offered him the position of Acting Attorney General, and that he was thinking

about accepting it if Mr. Rosen and Mr. Donoghue were unwilling to send the Proof of Concept

letter.” Id. ¶ 23. After Mr. Rosen and Mr. Donoghue again refused to send the letter, Mr. Clark

allegedly met with Mr. Rosen again the following day and told him that “he intended to accept

the President’s offer to become Acting Attorney General and that he would send the Proof of

Concept letter once he assumed the position.” Id. ¶ 26.

       The Specification states that Mr. Rosen informed Mr. Donoghue, who in turn informed

“some of the Assistant Attorneys General,” all of whom “agreed that they would resign if [Mr.

Clark] carried out his plan.” Id. ¶ 27. The following day, Mr. Rosen organized a meeting




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between himself, the President, Mr. Clark, Mr. Donoghue, the White House Counsel, and two

additional lawyers. See id. ¶ 28. In the meeting, “all the lawyers argued against appointing [Mr.

Clark] as Acting Attorney General,” and “[a]ll but [Mr. Clark] opposed sending the letter,” but

Mr. Clark allegedly “stated that he would send the Proof of Concept letter if the President

appointed him Acting Attorney General.” Id. ¶ 29. Mr. Donoghue allegedly informed the

President that “he should expect that all the Assistant Attorneys General would resign” if Mr.

Clark was appointed Acting Attorney General, and that he believed “a number” of U.S.

Attorneys would too. Id. ¶ 30. The White House Counsel also allegedly threatened to resign.

See id. The Specification states that “[t]he President decided not to appoint [Mr. Clark] Acting

Attorney General, and the Proof of Concept letter was never sent.” Id.

                                D. Relevant Procedural History

       Mr. Clark’s notices of removal and the more than 100 attached exhibits reveal a

labyrinthine procedural history beginning before ODC filed the Petition and Specification. The

Court briefly summarizes the most relevant pieces of this backstory. The disciplinary proceeding

against Mr. Clark was assigned to Hearing Committee Number Twelve. See 1d Notice of

Removal at 6. On October 6, 2022, ODC served on Mr. Clark a subpoena for documents. Id.

Ex. A-54, ECF No. 1-54. On October 17, 2022, Mr. Clark filed a notice of removal in this

Court, purporting to remove the disciplinary proceeding on the basis of federal question

jurisdiction pursuant to 28 U.S.C. §§ 1331, 1441 and federal officer jurisdiction pursuant to

28 U.S.C. § 1442(a)(1). See 1d Notice of Removal, ECF No. 1. Mr. Clark subsequently filed a

motion to stay the deadline for responding to the October 6 subpoena and a motion to quash. See

Mot. Stay, ECF No. 2; Mot. Quash, ECF No. 4. On October 21, 2022, ODC moved to remand.

See 1d Mot. Remand, ECF No. 1-5. On October 26, 2022, ODC moved in the DCCA to enforce




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its October 6 subpoena. See 2d Notice of Removal, Ex. A-3, ECF No. 1-3. Mr. Clark filed a

second notice of removal as to that motion on November 25, 2022, see id., and ODC filed a

second motion to remand on November 29, 2022, see 2d Mot. Remand, ECF No. 4. On

December 27, 2022, ODC attempted to serve another subpoena on Mr. Clark. See 3d Notice of

Removal, Ex. 7, ECF No. 1-7; 3d Notice of Removal at 4–5, ECF No. 1. On January 17, 2023,

the DCCA issued an order holding in abeyance ODC’s motion to enforce the October 6

subpoena “until [Mr. Clark’s] removal of this matter to the United States District Court for the

District of Columbia has been resolved.” 3d Notice of Removal, Ex. 14, ECF No. 1-14. Still,

Mr. Clark filed a third notice of removal as to the December 27 subpoena on January 26, 2023,

see 3d Notice of Removal, and ODC filed a third motion to remand on February 8, 2023, see 3d

Mot. Remand, ECF No. 4.

                                    III. LEGAL STANDARD

       Removal and remand are governed by 28 U.S.C. § 1441 et seq. Section 1441 provides

for removal, “[e]xcept as otherwise expressly provided by Act of Congress,” of “any civil action

brought in a State court of which the district courts of the United States have original

jurisdiction.” § 1441(a). Additionally, section 1442, the federal officer removal statute, provides

in relevant part that “[a] civil action or criminal prosecution that is commenced in a State court”

may be removed to U.S. district court if it is “against or directed to”

       [t]he United States or any agency thereof or any officer (or person acting under that
       officer) of the United States or of any agency thereof, in any official or individual
       capacity, for or relating to any act under color of such office or on account of any right,
       title or authority claimed under any Act of Congress for the apprehension or punishment
       of criminals or the collection of the revenue.

§ 1442(a). Section 1442 also contains a paragraph defining “State” to include the District of

Columbia and “State court” to include “the Superior Court of the District of Columbia, a court of




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a United States territory or insular possession, and a tribal court.” § 1442(d)(1), (d)(5)–(6).

Sections 1446 and 1455 go on to provide the procedures for removal of civil actions and criminal

prosecutions, respectively. See §§ 1446, 1455. Section 1447 governs remand after removal,

providing that, “[i]f at any time before final judgment it appears that the district court lacks

subject matter jurisdiction, the case shall be remanded.” § 1447(c).

       “When a plaintiff seeks to have a case that has been removed to federal court remanded

back to state court, the party opposing a motion to remand bears the burden of establishing that

subject matter jurisdiction exists in federal court.” Mizell v. SunTrust Bank, 26 F. Supp. 3d 80,

84 (D.D.C. 2014) (quotation omitted). Courts in this Circuit generally “construe[] removal

jurisdiction strictly, favoring remand where the propriety of removal is unclear,” Ballard v.

District of Columbia, 813 F. Supp. 2d 34, 38 (D.D.C. 2011), except that cases removed under

§ 1442 should be construed “liberally in favor of removal,” K&D LLC v. Trump Old Post Off.

LLC, 951 F.3d 503, 506 (D.C. Cir. 2020).

                                          IV. ANALYSIS

       Mr. Clark’s notices of removal and the parties’ submissions in relation to ODC’s

corresponding motions to remand are addressed to the same controlling jurisdictional questions,

so the Court considers them together, except as explained supra note 2. Mr. Clark asserts two

sources of federal jurisdiction: federal question jurisdiction pursuant to 28 U.S.C. §§ 1331, 1441

and federal officer removal jurisdiction pursuant to 28 U.S.C. § 1442. See 1d Notice Removal at

23–34; Opp’n to 2d Mot. Remand at 3–7; 19–23, ECF No. 13.

                          A. “Civil Action” or “Criminal Prosecution”

       Mr. Clark acknowledges that this case is neither a “civil action” nor “criminal

prosecution” within the meaning of 28 U.S.C. §§ 1441, 1442, 1446, 1455. Instead, he argues




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that the “hybrid nature of Bar disciplinary proceedings as quasi-criminal” requires the Court to

“harmonize the removal statutes’ treatment of civil and criminal cases.” Opp’n to 2d Mot.

Remand at 17–18 (arguing that “D.C. bar discipline proceedings are both criminal and civil”).

ODC takes the position that disciplinary proceedings are “neither civil nor criminal” and

therefore not removeable. 1d Mot. Remand at 6. Confining its analysis to the nature of the

Board’s proceeding against Mr. Clark, the Court agrees with ODC.

    1. The Board’s Disciplinary Proceeding is not a Civil Action under §§ 1441, 1442, 1446

       Mr. Clark concedes that this case is not purely a “civil action” under sections 1441, 1442

and 1446. See 1d Notice of Removal at 1 (“Jeffrey B. Clark (‘Respondent’) hereby gives notice

and removes this quasi-prosecution case . . .”). This is appropriate, as the disciplinary

proceeding bears none of the essential hallmarks of a civil case. It involves no “private injury,”

Wisconsin v. Pelican Ins. Co., 127 U.S. 265, 299 (1888), overruled on other grounds by

Milwaukee v. M.E. White Co., 296 U.S. 268 (1935); see also Action, Black’s Law Dictionary

(11th ed. 2019) (defining “civil action” as “[a]n action brought to enforce, redress, or protect a

private or civil right”). Nor is it “of a character traditionally cognizable by courts of common

law or of equity.” Milwaukee v. M.E. White, 296 U.S. at 271; see also Leis v. Flynt, 439 U.S.

438, 442 (1979) (rejecting out-of-state lawyers’ claim of right to appear pro hac vice in Ohio

court, explaining that “[s]ince the founding of the Republic, the licensing and regulation of

lawyers has been left exclusively to the States and the District of Columbia,” which “prescribe

the qualifications for admission to practice and the standards of professional conduct” and “are

responsible for the discipline of lawyers”). Other federal courts have similarly found that

attorney disciplinary proceedings are not “civil actions” under the removal statute. See, e.g.,

Mass. Bd. of Bar Overseers v. Belanger, No. 20-cv-10445, 2020 WL 1821826, at *2 (D. Mass.




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Apr. 10, 2020) (finding that a bar disciplinary action is “not a civil matter but, rather, ‘quasi-

criminal’ or ‘sui generis, neither civil nor criminal in character’ such that this court has no

jurisdiction” (citations omitted)); Colorado v. Ziankovich, No. 19-cv-3087, 2019 WL 6907460,

at *2 (D. Colo. Dec. 19, 2019) (finding that attorney disciplinary proceedings are “not ‘civil

actions’ subject to removal”); Sup. Ct. of Cal. v. Kinney, No. 15-cv-1552, 2015 WL 3413232, at

*5 (N.D. Cal. May 27, 2015) (“[T]he disciplinary proceedings formerly pending before the State

and now pending before the California Supreme Court are not ‘civil actions’; they ‘are sui

generis, neither civil nor criminal in character.’”) (citations omitted); Ala. Bar Ass’n v.

Dickerson, 240 F. Supp. 732, 734 (D. Ala. 1965) (finding an attorney disciplinary proceeding

“not a civil action within the contemplation of the federal removal statute”).

       This understanding also comports with the history of the removal statute. The version of

the removal statute in effect until 1948 provided for removal of “[a]ny suit of a civil nature, at

law or in equity,” over which U.S. district courts have original jurisdiction. Judicial Code of

1911, § 28, 36 Stat. 1087, 1094 (1911). In 1948, Congress codified Title 28, and in doing so

revised the general removal statute to the formulation that endures in relevant part today

permitting removal of “any civil action brought in a State court” over which U.S. district courts

have original jurisdiction, “[e]xcept as otherwise expressly provided by Act of Congress.” Pub.

L. No. 773, 62 Stat. 937 (1948); see 28 U.S.C. § 1441. “The right to remove a case from a state

to a federal court is purely statutory,” Charles A. Wright & Arthur R. Miller, 14C Federal

Practice and Procedure § 3721 (4th ed. 2023), and “[b]ecause of the significant federalism

concerns involved, [the court] strictly construes the scope of its removal jurisdiction,” Downey v.

Ambassador Dev., 568 F. Supp. 2d 28, 30 (D.D.C. 2008) (citing Shamrock Oil & Gas Corp. v.

Sheets, 313 U.S. 100, 107–09 (1941)). Consistent with this approach, the Court views as




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significant Congress’s decision to limit the scope of removeable proceedings from “[a]ny suit of

a civil nature, at law or in equity” to only “any civil action brought in a State court” and not

otherwise expressly barred by Congress. Mr. Clark argues that the “hybrid nature” of the

disciplinary proceeding makes it “both criminal and civil” for purposes of evaluating removal

under section 1442. See Opp’n to 2d Mot. Remand at 18. But to whatever extent certain

features of the Board’s disciplinary proceeding could be viewed as “civil in nature,” see, e.g.,

Board Rules, ch. 3 (governing discovery), as explained above, they do not transform the

proceeding into a “civil action” within the meaning of sections 1441, 1442, and 1446.

  2. The Board’s Disciplinary Proceeding Is Not a Criminal Prosecution under §§ 1442, 1455

        Unlike with civil actions, there is no statute generally permitting removal of criminal

prosecutions. This reflects the understanding, grounded in principles of federalism and comity,

that upon removal of a state prosecution to a federal court, “the jurisdiction of the courts of a

state to try offenses against its own laws and in violation of its own peace and dignity is wrested

from it by the order of an inferior federal court.” Maryland v. Soper, 270 U.S. 9, 29 (1926); see

also California v. Mesa, 813 F.2d 960, 966 (9th Cir. 1987) (explaining that “removal of state

criminal prosecutions constitutes a far greater disruption of legitimate state authority than

removal of state law civil suits against federal officials” because “removal forces the state to

enforce its own laws in an alien forum” and “a polity’s ability to protect its citizens from

violence and other breaches of the peace through enforcement of criminal laws is the centermost

pillar of sovereignty”). Instead, Mr. Clark relies on section 1442(a)(1)’s provision for removal

of criminal prosecutions against federal officers.

        Recall that section 1442(a) permits removal of a “civil action or criminal prosecution that

is commenced in a State court and that is against or directed to . . . any officer . . . of the United




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States . . . in an official or individual capacity, for or relating to any act under color of [his]

office.” § 1442(a). While section 1442 operates as an exception to the general rule that the

cause of action must arise under federal law in order to establish federal jurisdiction, an officer

seeking removal under section 1442 still must “raise a colorable federal defense.” K&D LLC,

951 F.3d at 506 (quoting Jefferson Cnty. v. Acker, 527 U.S. 423, 431 (1999)).

        Mr. Clark relies heavily on In re Artis, 883 A.2d 85 (D.C. 2005) to analogize the Board’s

disciplinary proceeding to a criminal prosecution. See, e.g., 1d Notice of Removal ¶¶ 48–49;

Opp’n to 1d Mot. Remand at 16–17; Opp’n to 2d Mot. Remand at 17. In that case, the DCCA,

acknowledging the “quasi-criminal” nature of a disciplinary proceeding commenced by the

Board, found no error in the Board’s decision to recognize the respondent’s right to assert the

Fifth Amendment privilege against self-incrimination to avoid answering interrogatories. See In

re Artis, 883 A.2d at 101, 103. Without disagreeing with the argument that the proceeding

would not result in “criminal liability,” the court emphasized that “the privilege against self-

incrimination can be asserted in any proceeding, including administrative, investigatory or

adjudicatory ones.” Id. at 102–03. The court explained that “[t]he Fifth Amendment protects

against any disclosures that the witness reasonably believes could be used in a criminal

prosecution or could lead to other evidence that might be so used.” Id. (quoting Littlejohn v.

United States, 705 A.2d 1077, 1083 (D.C. 1997) (internal quotation omitted)). As the court

suggested, the mere fact that one may invoke the Fifth Amendment in the context of a

disciplinary proceeding does not transform the proceeding into a criminal prosecution for

purposes of removal. See City of Neodesha v. BP Corp. N. Am., 176 F. Supp. 3d 1233, 1243 (D.

Kan. 2016) (explaining, before finding state complaints for violations of a city waste ordinance

civil actions for purposes of removal, that the fact that a “proceeding provides procedural




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protections that are usually reserved for criminal trials does not turn [them] into criminal

prosecutions” (citing Allen v. Illinois, 478 U.S. 364, 371 (1986)).

       Moreover, the Board’s disciplinary proceeding serves a different primary purpose than a

criminal prosecution. Whereas “[p]unitive fines and imprisonment are the common tools of the

criminal law,” “[t]ools of attorney discipline, such as reprimands, are not traditional criminal

punishments.” Wolters Kluwer Fin. Servs. v. Scivantage, 564 F.3d 110, 117 (2d Cir. 2009); see

Middlesex Cnty. Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 434 (1982) (“States

traditionally have exercised extensive control over the professional conduct of attorneys. The

ultimate objective of such control is the protection of the public, the purification of the bar and

prevention of recurrence.” (cleaned up)). This distinction has deep roots. See Ex parte Wall, 107

U.S. 265, 288 (1883) (“[T]he constitutional privilege of trial by jury for crimes does not apply to

prevent the courts from punishing its officers for contempt, or from removing them in proper

cases.”). At the same time, whatever the primary aim of a bar disciplinary proceeding, the

Supreme Court also has acknowledged that “[d]isbarment, designed to protect the public, is a

punishment or penalty imposed on the lawyer.” In re Ruffalo, 390 U.S. 544, 550 (1968); see also

Charlton v. FTC, 543 F.2d 903, 906 (D.C. Cir. 1976) (quoting the same language from In re

Ruffalo in the context of reviewing a decision by the Federal Trade Commission to reprimand an

attorney and suspend him from practicing before it).

       Perhaps in light of this tension, the Supreme Court also has held, in the context of

evaluating the nature of contempt proceedings, that courts generally should “defer[] to a

legislature’s determination whether a sanction is civil or criminal,” as “state law provides strong

guidance about whether or not the State is exercising its authority in a nonpunitive, noncriminal

manner.” Int’l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 838 (1994)




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(quoting Hicks ex rel. Feiock v. Feiock, 485 U.S. 624, 631 (1988) (internal quotation omitted)).

The DCCA, the highest court in D.C., has repeatedly held, in decisions both before and after In

re Artis, that, “[i]n all cases, the purpose of imposing a sanction is not to punish the attorney, but

to protect the public and the courts, safeguard the integrity of the profession, and deter

respondent and other attorneys from engaging in similar misconduct.” In re Cater, 887 A.2d 1,

17 (D.C. 2005); see also In re Kanu, 5 A.3d 1, 16 (D.C. 2010) (explaining the purpose of

attorney discipline to “protect the public, the courts, and the legal profession.”); In re Abrams,

689 A.2d 6, 12 (D.C. 1997) (“Disciplinary sanctions are designed to maintain the integrity of the

profession, to protect the public and the courts, and to deter other attorneys from engaging in

similar misconduct. Our purpose in conducting disciplinary proceedings and imposing sanctions

is not to punish the attorney; rather, it is to offer the desired protection by assuring the continued

or restored fitness of an attorney to practice law.” (cleaned up)). The D.C. Code also makes

clear that disciplinary actions by the Board are not considered criminal prosecutions in the

District of Columbia. See D.C. Code § 23-101 (providing, in section titled “Conduct of

prosecutions,” that all prosecutions either must be conducted by the D.C. Attorney General’s

office or U.S. Attorney’s Office for D.C.); D.C. Code tit. 22 (laying out “Criminal Offense and

Penalties” in D.C., but not including violations of attorney professional conduct rules adopted by

the DCCA pursuant to § 11-2501); D.C. Code § 16-702 (providing that all criminal offenses

must be prosecuted by either indictment or information). While it may be possible to imagine a

state bar disciplinary proceeding designed such that it is simply a criminal prosecution by

another name—for example, one designed to punish attorneys, perhaps through imposition of a

monetary penalty, beyond the protective and deterrent purposes of the Board’s proceeding—no

such proceeding is at issue here.




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                             3. Section 530B and the Functional Test

       Mr. Clark argues that the court should find that, regardless of how it is labeled, “[i]f a

state investigative body operates in an adjudicatory manner, and if a federal officer or his agent

is subject to its process, the statutory requirements of § 1442(a)(1) are satisfied.” Opp’n to 1d

Mot. Remand at 7. For support, Mr. Clark relies principally on Kolibash v. Comm. on Legal

Ethics of W. Va. Bar, 872 F.2d 571 (4th Cir. 1989), which endorsed a “functional test” to

determining the nature of a proceeding for purposes of section 1442. Wilson v. Gottlieb, 821 F.

Supp.2d 778, 783 (D. Md. 2011) (characterizing Kolibash); see Opp’n to 1d Mot. Remand at 6–

7. The Kolibash court found that, although a state bar disciplinary proceeding was a “quasi-civil

proceeding,” because it was “adjudicatory in nature,” to hold it “outside the operation of the

removal statute would be to elevate form over substance.” Kolibash, 872 F.2d at 576.

       At the outset it is important to note that the functional test is heavily contested in the

context of removal under both sections 1441 and 1442. See Or. Bureau of Lab. and Indust. ex

rel. Richardson v. West Comms., 288 F.3d 414, 418–19 (9th Cir. 2002) (rejecting the functional

test because it “goes beyond the language of the statute” and is a “judicially-developed analysis

that neither appears in, nor is necessarily implied by, the statutory language” and “changes the

meaning and the reach of the statute.”); Porter Trust v. Rural Water Sewer and Solid Waste

Mgmt. Dist. No. 1, 607 F.3d 1251, 1255 (10th Cir. 2010) (“[T]he appropriate test involves

application of the plain language of § 1441(a) rather than a functional test . . .”); Sun Buick v.

Saab Cars USA, Inc., 26 F.3d 1259, 1261–64 (3d Cir. 1994) (casting doubt on the functional test

in context of removal under section 1441); Wirtz Corp. v. United Distillers & Vintners N. Am.,

Inc., 224 F.3d 708, 713 (7th Cir. 2000) (declining to extend previous application of the

functional test beyond “the particular facts of that case”); N.Y. Div. of Human Rts. on Complaint




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of Housing Opportunities Made Equal, Inc. v. Folino, No. 11-cv-569A, 2011 WL 11068867, at

*2 (W.D.N.Y. July 11, 2011) (aligning with the “more recent trend away from functional

analysis and toward the plain language of the removal statute.”); Wade v. Burns, 361 F. Supp. 3d

306, 311 (D. Conn. 2019) (rejecting the functional test in context of removal under section

1442); In re Gorence, 810 F. Supp. 1234, 1238 (D.N.M. 1992) (rejecting Kolibash as nonbinding

authority and finding that state bar disciplinary proceeding was not removeable under section

1442). 3

           It is also somewhat out of date. The only case Mr. Clark cites that cuts against the “more

recent trend away from functional analysis and toward the plain language of the removal statute”

is In re Lusk, SACV 16-0930 AG, 2016 WL 4107671, at *5 (C.D. Cal. July 30, 2016). Folino,

2011 WL 11068867, at *2; see Opp’n to 1d Mot. Remand at 7 n.2. In that case, the court applied

Kolibash to uphold removal pursuant to section 1442 of a complaint by a private individual

against a National Guardsman for unlicensed practice of law in California. See In re Lusk, 2016

WL 4107671, at *1–2. In doing so, however, the court explained that the relevant state

procedure gave the state court “the potential power to seize [the respondent’s] . . . military law

practice.” Id. at *5. Accordingly, the court stressed that to grant remand would be to risk the

“extraordinary result” of “a state court seizing a military law practice regulated by the United



           3
         The D.C. Circuit has not considered the merits of Kolibash. Nor has it weighed in on
the broader issue beyond noting, in the context of evaluating the civil contempt proceeding that
could follow issuance of subpoenas in a state contract and tort action, that “[t]he circuits that
have considered whether proceedings not generally thought paradigm ‘civil actions’ or ‘criminal
prosecutions’ can be removed under § 1442(a) have not been uniform in their approach.” Brown
& Williamson Tobacco Corp. v. Williams, 62 F.3d 408, 414 (D.C. Cir. 1995). The Circuit found
no occasion to resolve the ambiguity left by that lack of uniformity, as it found that the “circuits
to have confronted the question whether a contempt proceeding is removable have . . . answered
affirmatively.” Id. In addition, as explored in depth below, decisions like this one that were
decided before the enactment of section 530B have limited relevance to the present analysis.


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States Army.” Id. No similar risk is present here. See D.C. Code § 11-2502 (permitting only

censure, suspension or disbarment). Indeed, a more closely analogous case decided closer in

time to Kolibash, which the Court discusses further below, found that a state bar disciplinary

proceeding was not removeable under the functional test. See In re Doe, 801 F. Supp. 478, 482–

83 (D.N.M. 1992) (distinguishing Kolibash and finding that state bar disciplinary proceeding

was “neither civil nor criminal in nature” and therefore not removeable under section 1442). 4

       More centrally, Kolibash was decided long before section 530B was enacted, and the In

re Lusk court did not consider—nor have the parties identified any court that has considered—

how section 530B interacts with removal under section 1442. Addressing itself to that task now,

the Court finds that any argument that the Board’s disciplinary proceeding should fit within a

functional definition of “criminal prosecution” for purposes of removal under section 1442 is

foreclosed by reference to section 530B.

       Recall that, as discussed in detail supra Section II.A, Congress passed legislation

amending the D.C. Code to authorize the DCCA to “make such rules as it deems proper

respecting the examination, qualification, and admission of persons to membership in its bar, and

their censure, suspension, and expulsion.” District of Columbia Court Reform and Criminal

Procedure Act of 1970, Pub. L. No. 91-358, § 101, 84 Stat. 473, 475 (1970). Unlike in the

sections of that legislation concerning “civil action[s]” and “criminal case[s],” 84 Stat. at 478–

480, the chapter authorizing the DCCA to regulate admission to and empowering it to discipline

members of its bar contained no provision for removal to federal court, see 84 Stat. at 520–21.


       4
          In re Doe and a related case from this District, United States v. Ferrara, 847 F. Supp.
964 (D.D.C. 1993), involved consideration of the predecessor statutes to section 530B—which
required that DOJ attorneys maintain state bar licensure, as discussed supra Section II.B—in
relation to a New Mexico bar disciplinary proceeding. These cases, the closest analogies to the
present case of which the Court is aware, are discussed in detail below.


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Acting pursuant to that chapter, the DCCA, and through it the Board, have adopted a

comprehensive set of procedural and substantive rules governing discipline for admitted

attorneys. See D.C. Bar R. XI; Board Rules (Bd. on Prof. Resp. 2023). Those rules provide for

the DCCA-appointed Board to investigate “any alleged ground for discipline” and make findings

and recommend sanctions to the DCCA, which holds final authority over disciplinary decisions.

D.C. Bar R. XI, §§ 4, 9; see In re Artis, 883 A.2d at 92 (“[T]he ultimate choice of sanction is for

the court to decide.”). Congress then passed section 530B making “attorney[s] for the

Government . . . subject to State laws and rules, and local Federal court rules, governing

attorneys in each State where such attorney engages in that attorney’s duties.” 28 U.S.C. §

530B(a). It would utterly frustrate this scheme to construe the terms “civil action” and “criminal

prosecution” in section 1442 to encompass the Board’s disciplinary proceedings, and thereby

permit near wholesale removal of such proceedings against federal government attorneys to

federal court. 5

        Mr. Clark makes two unpersuasive arguments to the contrary. First, he argues at length

that D.C. is not a “state” within the meaning of section 530B because the statute does not

specifically reference D.C. in subjecting government attorneys to “State laws and rules, and local

Federal court rules.” See 1d Notice of Removal at 29–30; Opp’n to 1d Mot. Remand at 13; 2d

Notice of Removal at 23–25; Opp’n to 2d Mot. Remand at 3–6. The Court questions whether the

DCCA, being on the one hand an Article I court and on the other specifically constructed to be

“comparable to [courts] of the states,” could plausibly be found to be neither a federal nor a state

court. JMM Corp. v. District of Columbia, 378 F.3d 1117, 1123 (D.C. Cir. 2004) (internal



        5
          And surely it would be near wholesale, given that professional misconduct, by nature, is
likely to be carried out “under color of” official authority. 28 U.S.C. § 1442(a)(1).


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quotation omitted)). 6 Regardless, section 530B does apply to D.C. by its own terms. Section

530B(c) defines “attorney for the Government” to include “any attorney described in section

77.2(a) of part 77 of title 28 of the Code of Federal Regulations.” § 530B(c). That regulation

defines “attorney for the government” broadly to include attorneys who practice, by nature of

their positions, in D.C. See 28 C.F.R. § 77.2(a). For example, it defines the term to include the

Attorney General, Deputy Attorney General, Solicitor General and, “the Assistant Attorneys

General”—the same position held by Mr. Clark. Id. It also includes “any attorney employed in,

or head of, any other legal office in the Department of Justice agency,” “any United States

Attorney,” and “any Assistant United States attorney,” among others. Id. To accept Mr. Clark’s

position would be to subscribe to the absurd proposition that Congress chose to make these

officials subject to jurisdictional rules of professional conduct everywhere except where they

work. See United States v. Wilson, 290 F.3d 347, 361 (D.C. Cir. 2002) (explaining that “‘absurd

results’ are strongly disfavored” in statutory interpretation (quoting Griffin v. Oceanic

Contractors, 458 U.S. 564, 575 (1982)). That D.C. is home to, by far, the most government

lawyers in the country only compounds this absurdity. See FedScope Federal Workforce Data,




       6
          The Court also notes that, applying Mr. Clark’s literalist approach more broadly would
threaten the availability of removal under section 1442 without reference to section 530B.
Section 1442 permits removal civil actions or criminal prosecutions “commenced in a State
court,” a term it defines to include only, as relevant here, “the Superior Court of the District of
Columbia.” 28 U.S.C. § 1442(a), (d)(6). But the disciplinary proceeding against Mr. Clark was
commenced in the DCCA, not the Superior Court. See Petition and Specification. As it was
Congress that vested the DCCA with authority to administer attorney discipline in D.C., see D.C.
Code § 11-2502, that Congress also defined “State court” to include only the D.C. Superior
Court is further evidence that it did not intend to make the Board’s disciplinary proceeding
removeable under section 1442.


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U.S. Office of Personnel Management (Dec. 2022), https://www.fedscope.opm.gov (showing

D.C. with 14,810 government attorneys, compared to the next highest Virginia with 3,115). 7

       The legislative history confirms beyond a whisper of doubt that Congress did not intend

to exempt D.C. from section 530B. First, debate over section 530B took place during the

investigations of independent counsel Kenneth W. Starr. Indeed, Mr. Starr issued his report

concluding that President Clinton committed perjury and attempted to obstruct justice on

September 11, 1998, just weeks before Congress passed section 530B as part of the omnibus

appropriations bill. See Communication from Kenneth W. Starr, Independent Counsel, H.R.

Doc. No. 105-310 (1998). This context, including broad upset among President Clinton’s

supporters over a perception of prosecutorial overreach, affected Congress’s consideration of

section 530B. Most significantly, during floor debate, Representative John Conyers offered an

amendment to add “independent counsel[s] appointed under title 28 of the United States Code

and any employee of such independent counsel” to the definition of “attorney[s] for the

government” who would be subject to section 530B. 144 Cong. Rec. H7229 (daily ed. Aug. 5,

1998) (perfecting amendment offered by Rep. John Conyers). Propounding the amendment from

the floor, Representative Conyers argued that “the present independent counsel, perhaps more

than anyone else, should be subject to each and every stringent provision that is included in this

measure.” Id. (statement of Rep. John Conyers). This sentiment was echoed by others, see, e.g.,

id. at H7236 (statement of Rep. Terrance John Cox) (“I am talking about generic prosecutors, but

I am talking about Ken Starr also. . . . We would not be in this debate today, would not have this



       7
         To access the correct data set, click the link to “Employment” under heading “Status
Data” on homepage; then click the link for March 2022; then click “Occupation – All” in the top
ribbon; then select “White Collar,” then “09xx-Legal and Kindred,” then “0905-General
Attorney;” and then click “United States” to see a state-by-state breakdown.


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amendment today if this poster boy for unethical prosecutors had not violated all of us in the way

he has done.”), and the amendment passed by a vote of 249 to 182, id. at H7242. 8 The language

from the Conyers amendment remains in force in section 530B. See 28 U.S.C. § 530B(c).

       Of course, Mr. Starr’s investigation was based in Washington, D.C., so the purpose of the

Conyers amendment could only have been to subject him to D.C.’s bar rules. Similarly, in a

floor speech accompanying the introduction of his standalone version of the legislation that

would become section 530B, Representative McDade listed “specific instances of prosecutorial

misconduct” that would be remediated by the bill. 144 Cong. Rec. E301 (daily ed. Mar. 5, 1998)

(statement of Rep. Joseph M. McDade). Included in that list were multiple cases prosecuted in

D.C., which, again, only makes sense if the intent of the legislation was to subject government

attorneys in D.C. to D.C.’s bar rules. See id. at E302–03 (citing Barry v. United States, 865 F.2d

1317 (D.C. Cir. 1989), United States v. Cuffie, 80 F.3d 514 (D.C. Cir. 1996), United States v.

Heldt, 668 F.2d 1238 (D.C. Cir. 1981), and United States v. Adonis, 744 F. Supp. 336, 345–47

(D.D.C. 1990)). Accordingly, both the text and legislative history of section 530B make

unmistakably clear that it applies to D.C. 9


       8
          Congress considered, and rejected, legislation to amend section 530B after it took effect
in 1999. See Federal Prosecutor Ethics Act, S. 250, 106th Cong. (1999). The report of a hearing
by the Subcommittee on Criminal Justice Oversight in which the bill was considered further
confirms that Congress understood section 530B as at least in part a reaction to the Starr
investigations. See, e.g., The Effect of State Ethics Rules on Federal Law Enforcement: Hearing
Before the Subcomm. on Criminal Justice Oversight, 106th Cong. 4 (1999) (statement of Sen.
Chuck Schumer) (“I also believe the adoption of [section 530B] last year had something to do
with the fact that 1998 presented us with a high-profile example of overreaching on the part of
one prosecutor. In this sense, Federal prosecutors as a whole were punished for the sins of Ken
Starr.”).
       9
          ODC also makes an alternative argument that, even if section 530B is ambiguous in its
application to D.C., the Court should apply deference, under Chevron U.S.A. v. Nat. Res. Def.
Council, 467 U.S. 837 (1984), to DOJ’s reasonable interpretation, made explicit in its regulations
pursuant to section 530B(b), that the statute does apply to D.C. See 28 C.F.R. § 77.2(i) (defining
“state of licensure” to include “the District of Columbia”); 1d Mot. Remand at 4. Mr. Clark


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       Second, Mr. Clark cites authority for the general proposition that section 1442 should be

construed broadly. He principally relies on the Supreme Court’s opinions in Willingham v.

Morgan, 395 U.S. 402 (1969) and Mesa v. California, 489 U.S. 121 (1989). See Opp’n to 1d

Mot. Remand at 14–15; Opp’n to 2d Mot. Remand at 17. Willingham involved a suit against the

warden and chief medical officer at a U.S. prison. See Willingham, 395 U.S. at 403. The Court

reviewed the long history of section 1442 and its purpose to “protect federal officers from

interference by hostile state courts.” Id. at 405. In light of that purpose, the Court explained that

section 1442 “is not ‘narrow’ or ‘limited’” but “is broad enough to cover all cases where federal

officers can raise a colorable defense arising out of their duty to enforce federal law.” Id. at 407

(emphasis added). Mesa reiterated this explanation in the context of a suit against U.S. Postal

Service employees for traffic violations, although, notably, in the process of affirming the

remand order of the court below. See Mesa, 489 U.S. at 123.

       Mr. Clark seizes on the words “all cases” as used in Willingham and quoted in Mesa as if

they rewrite the statutory language “civil action” and “criminal prosecution” rather than simply

paraphrasing it. See, e.g., Opp’n to 1d Mot. Remand at 2–3. But the question before the

Willingham court was how broadly to read section 1442’s requirement that the federal officer’s

actions be done “under color” of his office. See Willingham, 395 U.S. at 407. And the related

question before the Mesa court was whether removal under section 1442 also requires the federal

officer to raise a federal defense. See Mesa, 489 U.S. at 139. Neither case examined the scope

of the terms “civil action” or “criminal prosecution,” neither involved a state bar disciplinary

proceeding, and both were decided long before the enactment of section 530B. The teaching of




disagrees. See 1d Notice of Removal at 31. Because the Court finds that section 530B
unambiguously applies to D.C., it does not reach this alternative argument.


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these cases, therefore, is that courts should construe broadly what conduct provides a proper

basis for removal of a proceeding under section 1442; they say nothing about how courts should

construe the nature of the proceeding itself—especially in the presence of a separate statute

committing the subject matter of a proceeding to state control.

       Moreover, the concern animating the principle of broad construction is not present here.

The Willingham Court explained that the availability of removal under section 1442 reflects the

concern that, in certain cases, “federal officers, and indeed the Federal Government itself, require

the protection of a federal forum.” Willingham, 395 U.S. at 407. The Mesa Court similarly

recognized section 1442’s purpose to protect against “true state hostility.” Mesa, 489 U.S. at 139.

Both cases cited Tennessee v. Davis, 100 U.S. 257 (1880) for support. See id.; Willingham, 395

U.S. at 406. Davis involved the state murder prosecution of a federal revenue officer who

returned fire when attacked in the performance of his “duty to seize illicit distilleries and the

apparatus used for the illicit and unlawful distillation of spirits.” Davis, 100 U.S. at 257. The

Court found removal of such criminal proceedings appropriate, explaining that “[t]he legislation

of a State may be unfriendly” and “affix penalties to acts done under the immediate direction of

the national government, and in obedience to its laws,” or “deny the authority conferred by those

laws.” Id. at 263. Indeed, intense state opposition to federal revenue laws motivated passage of

an early iteration of the federal officer removal statute, see David N. Goldman, The Neglected

History of State Prosecutions for State Crimes in Federal Courts, 52 Tex. Tech. L. Rev. 783,

788–89 (2020) [hereinafter Neglected History] (explaining the history of the Force Act of 1833),

an amended version of which was in force when Davis was decided, see Davis, 100 U.S. at 261.

       Davis was itself an echo of earlier cases involving sharp disagreements between the state

and federal governments. In fact, the first known case of federal officer removal involved a




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federal officer, acting under orders to enforce a treaty protecting tribal territory in Alabama from

incursion by settlers in the early 1830s, who was prosecuted by Alabama after he shot a settler

who resisted his attempts to remove him from the territory. See Goldman, Neglected History,

supra, at 813–14. With “the Alabama government and its citizens on one side and the federal

government on the other,” President Andrew Jackson ordered the case removed to federal court.

Id. at 813–15. 10 Similarly, in response to northern states’ efforts to legislatively nullify the

Fugitive Slave Act, in 1855 the Senate engaged in “epic” debate over a bill to amend the federal

officer removal statute to permit removal of cases against officers for enforcing the Act. Id. at

795–96.

       The point is that, to whatever extent Mr. Clark’s appeal to precedent counsels in favor of

a broad construction of section 1442, it equally reveals the roots of this principle in conflict

between state and federal interests. See, e.g., Davis, 100 U.S. at 263 (warning of the peril of

providing no federal forum for federal officers charged with “an alleged offense against the law

of the state, yet warranted by the federal authority they possess”). It is because of such conflict

that federal officers require the “protection of a federal forum,” Willingham, 395 U.S. at 407, lest

they be subject to “true state hostility,” Mesa, 489 U.S. at 139. See In re Gorence, 810 F. Supp.

at 1238 (“Without conflict [between state and federal interests], no purpose exists for removing

the action concerning the federal officer to federal court.”). In stark contrast to the divergent

state and federal approaches to tribal land use, revenue collection, and slaveholding that

motivated early attempts to craft federal officer removal policy, here, through section 530B,



       10
           While Congress had recently passed the first version of the federal officer removal
statute, as noted in reference to Davis above, it only covered removal of cases against federal
officers “for or on account of any act done under the revenue laws of the United States.”
Goldman, Neglected History, supra, at 788 (quoting the Force Act of 1833).


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Congress has explicitly directed that federal officers be subject to state bar rules. With federal

and state interests thus aligned, nothing in the cases cited by Mr. Clark, or in the history of the

federal officer removal statute, supports resolving any remainder of ambiguity concerning the

removability of a state bar disciplinary proceeding in favor of granting a federal forum. Indeed,

well-established principles of comity for state proceedings counsel against it. See Garden State,

457 U.S. at 431 (applying the abstention principle first outlined in Younger v. Harris, 401 U.S.

37 (1971) to a constitutional attack on state bar disciplinary rules during the pendency of a

disciplinary proceeding, explaining that such proceeding “are of a character to warrant federal-

court deference”); Klayman v. Lim, 830 Fed. Appx. 660, 662 (D.C. Cir. 2020) (affirming district

court’s abstention from deciding claims for injunctive relief “against ongoing proceedings within

the District of Columbia’s system of attorney discipline”).

       This reasoning is reinforced by the related opinions of the only courts that appear to have

directly considered a similar question. In In re Doe, 801 F. Supp. 478 (D.N.M. 1992), the court

considered the removal of a New Mexico state bar disciplinary proceeding against an Assistant

U.S. Attorney (“AUSA”) for violation of the no-contact rule. The prosecution at issue occurred

in D.C., so the Board first considered the alleged misconduct, but referred the matter to the New

Mexico Disciplinary Board (the “NM Board”) upon finding that the AUSA was licensed only in

New Mexico. See In re Doe, 801 F. Supp. at 480–81. The AUSA removed the proceeding to

federal district court in New Mexico under section 1442. See id. at 481. Considering the NM

Board’s motion to remand, the court found that the “disciplinary proceeding [was] neither a

criminal prosecution nor a civil action against [the AUSA]” and that the AUSA had no colorable

federal defense, so it granted the motion. Id. at 482–89.




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       Thereafter, back in D.C., the United States initiated an action to enjoin the NM Board’s

proceeding, giving rise to the court’s opinion in United States v. Ferrara, 847 F. Supp. 964

(D.D.C. 1993). The issue before the court on the parties’ cross motions for summary judgment

was “whether the Supremacy Clause would be violated by allowing the disciplinary proceeding

in New Mexico to go forward.” Ferrara, 847 F. Supp. at 967. The court first held that it lacked

personal jurisdiction over the NM Board, but nonetheless found, after thorough analysis, that the

“Supremacy Clause is no impediment to the maintenance of a disciplinary proceeding against

[the AUSA] by the Disciplinary Board of New Mexico.” Id. at 968. Importantly, the court

explained that the predecessor statutes to section 530B, which required that DOJ attorneys “be

duly licensed and authorized to practice as an attorney under the laws of a State, territory, or the

District of Columbia,” Department of Justice Appropriation Authorization Act, Pub. L. No. 96-

132, § 3(a), 93 Stat. 1040, 1044 (1979), 11 established that Congress “clearly contemplated

compliance with [the state of licensure’s] code of professional responsibility,” Ferrara, 847 F.

Supp. at 969. Accordingly, it reasoned that, “[b]ecause state regulation of the federal function is

here authorized by Congress, this Court will not interfere with that regulation.” Id.; see also In

re Howes, 123 N.M. 311, 320–21 (N.M. 1997) (adopting In re Doe, 801 F. Supp 478 and

Ferrara, 847 F. Supp. 964); United States v. Tapp, No. CR107-108, 2008 WL 2371422, at *9

(S.D. Ga. June 4, 2008) (describing the section 530B predecessor statute as a “major change for

Justice Department lawyers” in which “Congress mandated that they be admitted to practice and

licensed by the state courts, thereby placing them under the supervisions of these courts

concerning their professional conduct” (emphasis added)).




       11
            See supra Section II.B.


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       Section 530B crystalizes the Ferrera court’s inference in statute: Congress has

committed the regulation of federal government attorneys to the states and courts where they

practice. See N.Y. Bar Ass’n, 276 F. Supp. 2d at 133 (explaining that section 530B “reflects the

respect Congress has for the right of the states to regulate the ethical conduct of lawyers who

practice law in their jurisdictions.”). 12 Consistent with that directive, and with the tradition,

“[s]ince the founding of the Republic,” that attorney regulation be left “exclusively to the States

and the District of Columbia within their respective jurisdictions,” Leis, 439 U.S. at 442, 13 the

Court finds that Mr. Clark has not met his burden to establish federal jurisdiction over the

Board’s disciplinary proceeding under section 1442. 14

                                 B. Federal Question Jurisdiction

       Notwithstanding its finding that the Board’s disciplinary proceeding is neither a “civil

action” nor a “criminal prosecution” within the meaning of the removal statutes, the Court

briefly addresses Mr. Clark’s inconsistent alternative arguments that federal question jurisdiction



       12
          As noted above, it may be possible to imagine a state bar disciplinary proceeding
designed such that it is simply a “criminal prosecution” by another name, but for the reasons
explained supra Sections IV.A.1–2, the Board’s proceeding against Mr. Clark is not within that
category.
       13
          This tradition remains firmly established even where the state proceeding concerns a
high-ranking federal government official. See, e.g., Neal v. Clinton, No. 2000-5677, 2001 WL
34355768, at *3 (Ark. Cir. Ct. Jan. 19, 2001) (ordering 5-year suspension of President Clinton’s
law license and a fine based on conduct in office); In re Nixon, 53 A.D.2d 178, 182 (N.Y. App.
Div. 1976) (ordering disbarment of President Nixon for conduct in office); Md. State Bar Ass’n
v. Agnew, 271 Md. 543, 544–45, 552–54 (Md. 1974) (ordering disbarment of Vice President
Spiro Agnew); In re Swindall, 266 Ga. 553, 554 (Ga. 1996) (ordering disbarment of
Congressman Patrick Swindall); State Bar of Nev. v. Claiborne, 104 Nev. 115, 231-32 (Nev.
1988) (considering at length but ultimately declining to impose discipline on U.S. District Judge
Harry Claiborne).
       14
           As the Court finds that the Board’s disciplinary action is not a removeable proceeding
under section 1442, it does not reach the questions of whether Mr. Clark acted “under color” of
his office or has pled a colorable federal defense.


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lies under 28 U.S.C. § 1331. First, rehashing the argument that section 530B does not apply to

D.C., Mr. Clark’s first and second notices of removal argue that section 530B constitutes a

congressional decree that federal government attorneys in D.C. not be subject to regulation

except by the federal government. See 1d Notice of Removal at 30. Accordingly, he contends,

“the DCCA is entirely fenced out of the federal grant of authority to regulate Justice Department

lawyers engaged in internal deliberations” and “that area of regulation is, in short, completely

preempted.” Id. Next, he amends this argument in his opposition to ODC’s first motion to

remand, claiming instead that complete preemption applies because “[t]he regulation of lawyers

employed by the U.S. Justice Department was not historically within the States’ sphere of

power.” Opp’n to 1d Mot. Remand at 20. Finally, in opposition to ODC’s second motion to

remand, he reverts to his first argument, but with the twist that, even if section 530B applies to

D.C., the fact that it subjects federal government attorneys to state bar rules only “to the same

extent and in the same manner as other attorneys” somehow renders the Board’s proceeding

preempted. Opp’n to 2d Mot. Remand at 11–12.

       There is no merit to these arguments. As to the first, the Court has found that section

530B applies to D.C. See infra Section IV.A.3. As to the second, Mr. Clark, only citing two

out-of-date and largely irrelevant OLC opinions for support, misstates the history of state

regulation of attorneys. See Leis, 439 U.S. at 442 (“Since the founding of the Republic, the

licensing and regulation of lawyers has been left exclusively to the States and the District of

Columbia within their respective jurisdictions.”). As to the third, the Court struggles to see

anything in a statute that explicitly subjects federal government attorneys to regulation by states

that preempts their regulation by states. This case does not arise under federal law.




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                                      C. Ancillary Removal

       To the extent Mr. Clark argues that ODC’s motion to enforce the October 6 subpoena

should be separately removeable, see 2d Notice of Removal at 1–2; Opp’n to 1d Mot. Remand at

18–19, the Court cannot agree. “Proceedings that are ancillary to an action pending in state court

cannot be removed separately from the main claim.” Wright & Miller, supra, at § 3721.1.

Courts have found this doctrine, historically developed with respect to the general removal

statute, “applicable in the § 1442 context.” Ohio v. Doe, 433 F.3d 502, 506 (6th Cir. 2006); see

also Armistead v. C&M Transport, 49 F.3d 43, 45–46 (1st Cir. 1995); Wuxi Taihu Tractor Co. v.

York Grp., 460 Fed. Appx. 357, 358–59 (5th Cir. 2012). “This prudential doctrine seeks to avoid

the waste of having federal courts entertain satellite elements of pending state suits and

judgments.” Travelers Prop. Cas. v. Good, 689 F.3d 714, 724 (7th Cir.) (finding that federal

action for a declaratory judgment alongside a parallel state court proceeding was removeable as

an “independent controversy with some new and different party” (citation omitted)).

       Mr. Clark argues that removal of the subpoena enforcement action alone is contemplated

by the text of section 1442, which defines “civil action” and “criminal prosecution” to include

“any proceeding (whether or not ancillary to another proceeding) to the extent that in such a

proceeding a judicial order, including a subpoena for testimony or documents, is sought or

raised.” 28 U.S.C. § 1442(d)(1); see Brown & Williamson, 62 F.3d at 412–415 (finding

subpoena issued to non-party congressmen in the context of a state contract and tort suit

removeable as a “civil action”). But that provision, added to section 1442 as part of the Removal

Clarification Act of 2011, merely “respond[ed] to” what was at the time an “inter- and intra-

circuit split as to whether State ‘pre-suit discovery’ laws qualify as civil actions or criminal

prosecutions that are removeable under § 1442.” H.R. Rep. No. 112-17, at 2 (2011). The




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Committee report explains that this “problem occurs when a plaintiff who contemplates suit

against a Federal officer petitions for discovery without actually filing suit in State court.” Id. at

4. In light of the narrow purpose of this legislation to close a loophole under which certain

courts rejected removal of pre-suit civil discovery demands, the Court will not extend the reach

of section 1442(d)(1) to cover this “satellite ” enforcement action involving no new parties that is

“an integral part of” and “supplementary to” the otherwise unremovable Board proceeding.

Armistead, 49 F.3d at 46. To hold otherwise would render state bars toothless to enforce their

disciplinary rules, in defiance of section 530B’s purpose to subject federal government attorneys

to those rules. This approach also is consistent with well-established principles of comity, under

which federal courts abstain from interfering in “state criminal prosecutions” and “pending ‘civil

proceedings involving certain orders . . . uniquely in furtherance of the state courts’ ability to

perform their judicial functions.’” Spring Comms., Inc. v. Jacobs, 571 U.S. 69, 78 (2013)

(citation omitted). The Supreme Court has explained that these principles apply in the similar

context of state court contempt proceedings. See Juidice v. Vail, 430 U.S. 327, 335 (1977)

(“Whether disobedience of a court-sanctioned subpoena, and the resulting process leading to a

finding of contempt of court, is labeled civil, quasi-criminal, or criminal in nature, we think the

salient fact is that federal court interference with the State’s contempt process is ‘an offense to

the State’s interest . . . likely to be every bit as great as it would be were this a criminal

proceeding.” (quoting Huffman v. Pursue, Ltd., 420 U.S. 592, 604 (1975)).

        Accordingly, because ODC’s motion to enforce the subpoena before the DCCA is a

“supplementary proceeding” that is “incident to” and a “substantial continuation” of the Board’s

disciplinary proceeding, not an “original and independent proceeding,” and in line with




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principles of comity, the Court rejects Mr. Clark’s attempt to remove it separate from the

disciplinary proceeding to this Court. Barrow v. Hunton, 99 U.S. 80, 82–83 (1878).

                                      V. CONCLUSION

       For the foregoing reasons, ODC’s Motions to Remand (Case No. 22-mc-0096, ECF No.

5; Case No. 22-mc-0117, ECF No. 4; Case No. 23-mc-0007, ECF No. 4) are GRANTED. In

addition, because the Court lacks subject-matter jurisdiction over this matter, Mr. Clark’s Motion

to Stay Subpoena Response Deadline (Case No. 22-mc-0096, ECF No. 2) and Motion to Quash

(Case No. 22-mc-0096, ECF No. 4) are DENIED as moot. An order consistent with this

Memorandum Opinion is separately and contemporaneously issued.


Dated: June 8, 2023                                               RUDOLPH CONTRERAS
                                                                  United States District Judge




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                          Exhibit 2
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                    DISTRICT OF COLUMBIA COURT OF APPEALS

 In the Matter of
                                                                                        Clerk of the Court
 JEFFREY B. CLARK                                       Disciplinary Docket No:
                                                                             Received 06/11/2023 09:46 PM
                                                                                Filed 06/12/2023 09:46 PM
 A Member of the Bar of the District of                 2021-D193
 Columbia Court of Appeals
                                                        DCCA No:
 Bar No. 455315
                                                        22-BG-891
 Date of Admission: July 7, 1997


                      MOT I ON TO C O N T I N U E A BE YA N C E

            OF P R O C E E D I N G S BE FO R E T H I S C O UR T AN D/O R

                          D E FE R P R O C E E D I N G S BELOW


       Comes now the Respondent Jeffrey B. Clark, and moves this Court to continue its

January 17, 2023 order holding the Office of Disciplinary Counsel’s Motion to Enforce

Subpoena Duces Tecum in Abeyance and (additionally — or in the alternative) to order

that proceedings before the Board of Professional Responsibility to be deferred.

                             PROCEDURAL BACKGROUND

       Mr. Clark, the Respondent, is before the Board on Professional Responsibility

pursuant to a Specification of Charges initiated by the Office of Disciplinary Counsel.

       In the wake of a ruling by this Court on September 15, 2022, Respondent filed a

notice of removal of the case in federal court on October 17, 2022. See In Re: Jeffrey B. Clark,

1:22-mc-96, ECF 1. Mr. Clark’s removal was based in part on 28 U.S.C. § 1442, the federal

officer removal statute. ODC moved to remand the case back to this forum. Id. at ECF 5.
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Indeed, two additional removals were wastefully necessitated in federal court because

ODC kept attempting to issue subpoenas and otherwise proceed as if the case had never

been removed. That is, until this Court finally put a stop to that conduct by entering an

abeyance order. Thankfully, following Respondent’s removal(s), the Board appropriately

ceased pursuing substantive proceedings and simply began lodging ODC’s attempted

post-removal filings and any responses we saw necessary to make out of an abundance

of caution to lodge our opposition to ODC’s arguments.

       More particularly, on October 26, 2022, over a week after Mr. Clark had removed

the case to federal court, ODC filed a Motion to Enforce Subpoena Duces Tecum. This

Court issued on order holding ODC’s motion in abeyance “until respondent’s removal of

this matter to the United States District Court for the District of Columbia has been

resolved.” Exh. 1 (emphasis added).

       The district court granted ODC’s motion to remand in a 36-page opinion on June

8, 2021. Id. at ECF 20 (Exh. 2). Mr. Clark has filed a protective notice of appeal of the

District Court’s ruling. See Exh. 3.

       The issue of Respondent’s removal to the District Court has not been resolved,

however, because Mr. Clark possesses an appeal of right of that order under 28 U.S.C. §

1447(d). Additionally, the District Court’s remand order has not yet been reduced to a

judgment consistent with Federal Rule of Civil Procedure 58. See also Fed. R. Cr. P. 32(k).

Hence, the time for appeal has not even yet begun to run, which is why Respondent has



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only filed a protective notice of appeal. See, e.g., Abdulwali v. WMATA, 315 F.3d 302, 303-

04 (D.C. Cir. 2003) (appeal from order premature).

                                         ARGUMENT

   I.      This Court’s Abeyance Order Should Be Continued.

        As stated above, this Court has already ordered that Disciplinary Counsel’s

motion to enforce subpoena duces tecum be held in abeyance “until respondent’s

removal of this matter to the United States District Court for the District of Columbia has

been resolved.”

        In purely civil cases (this case is a hybrid criminal/civil matter in light of In re Artis,

883 A.2d 85, 101, 103 (D.C. 2005)), appeals from remand orders are generally not proper.

See 28 U.S.C. § 1447(d). However, there is an exception specified for federal officer statute

removals. See id. (allowing appeals from 28 U.S.C. § 1442 or § 1443 removals—and this is

a Section 1442 removal).

        In particular, Section 1447(d) states that “[a]n order remanding a case to the State

court from which it was removed is not reviewable on appeal or otherwise, except that

an order remanding a case to the State court from which it was removed pursuant to

section 1442 [the federal officer removal statute] or 1443 of this title shall be reviewable

on appeal or otherwise” (italics added). The federal statutory scheme therefore clearly

contemplates that further appellate proceedings can (and now must) be “resolved” first

before Mr. Clark’s removal action can be fully determined.



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       Obviously, there can be no final resolution of the removal issue until this appeal

as of right, which Mr. Clark desires to take and has explicitly protected his right to take,

is concluded. That is not imminent. Mr. Clark has raised a host of important removal

jurisdiction questions that have riven the federal Circuits. Compare Kolibash v. Comm. on

Legal Ethics of W. Va. Bar, 872 F.2d 571 (4th Cir. 1989) (Wilkinson, J.) (allowing removal of

bar discipline cases against the U.S. Attorney in the Northern District of West Virginia)

(one of Mr. Clark’s principal authorities for removing) with In re Echeles, 430 F.2d 347 (7th

Cir. 1970) (“disbarment and suspension proceedings are neither civil nor criminal in

nature but are special proceedings, sui generis, and result from the inherent power of

courts over their officers”) (cited by ODC for the proposition that bar proceedings are not

cases and are thus not removable).

       Moreover, this conclusion is reinforced by the obvious merit of Mr. Clark’s

potential appeal of the District Court’s action. Even a brief perusal of the District Court’s

36-page opinion will make clear that the removability of this case and others like it is an

important legal question as to which no binding D.C. Circuit precedent exists. For

example, it took the district court 12 pages of analysis (involving arguments going

through highly obscure legislative history, including from a sole, individual legislator) to

conclude that Congress had granted the District of Columbia authority to regulate federal

lawyers at all (a conclusion which we dispute). Exh. 2 at 20-32.




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       The District Court ignored that Congress was clear here. Congress knows how to

specify which categories of cases cannot be removed. Bar cases are not on the special list

Congress adopted. See 28 U.S.C. § 1445 (entitled “Nonremovable actions”) (providing

only that actions against railroads are not removable, actions against carriers, receivers,

and shippers in certain situations, workmen’s compensation cases arising under state

law, and certain Violence Against Women Act cases cannot be removed to any district

court in the United States). Additionally, the Supreme Court has specifically instructed

that the federal officer removal statute is to be broadly construed not to create gaps of

unremovable matters. See Willingham v. Morgan, 395 U.S. 402, 406-07 (1969). (“The federal

officer removal statute is not ‘narrow’ or ‘limited.’ Colorado v. Symes, 286 U.S. 510, 517

(1932). At the very least, it is broad enough to cover all cases where federal officers can

raise a colorable defense arising out of their duty to enforce federal law.”).

       Furthermore, the District Court gives little attention to Mr. Clark’s important

separation of powers and other constitutional arguments that, even assuming the District

of Columbia has some removal-proof authority to regulate federal lawyers, such

authority could not possibly extend to the legal drafting and deliberations of Senate-

confirmed Presidential advisers acting in the course of their duties. Id. at 33.

       In other words, the appeal poses various questions of first impression that the D.C.

Circuit will have to weigh carefully and it may take some time to brief, complete oral




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argument, and finally resolve.1 Mr. Clark no doubt has an appeal here that goes well

beyond the colorable (indeed, it is very strong) that he must be allowed to complete,

consistent with the statutory scheme that Congress has designed to protect federal

officers.

         Moreover, even if the textual terms of this Court’s abeyance order did not compel

this result, continuing the abeyance of proceedings below pending final resolution of the

removal issues would also promote judicial economy and align with prudent judicial

management. Were this Court to allow proceedings below to resume prior to a final

resolution of the appeal, including potential U.S. Supreme Court review of the relevant

Circuit divisions that the D.C. Circuit’s ultimate resolution will inevitably deepen in one

direction or another, future proceedings below could later be revealed to be ultra vires

and thus legally null. Granting a continued abeyance would therefore avoid potential

waste of judicial resources. This Court would do well to avoid all of the ensuing

headaches that would result from allowing proceedings below in the local bar process to

go on while, on a parallel track, a complex Article III court appeal is also underway.




1 Reinforcing this, the District Court took about eight months from the time of the first notice of removal to issue its
order and accompanying opinion. Curiously, however, the District Court did not hold oral argument in this important
matter. As we will set out at the appropriate time to the D.C. Circuit, this led to two interrelated problems: first, the
District Court crafted arguments that ODC did not itself present to that Court; and second, the District Court denied
Respondent his opportunity to respond to those newly non-advocate crafted arguments in this important case.


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   II.      This Court Should Defer Proceedings Before the Board and Hearing
            Committee.

         Under D.C. Code § 11-2501(a) this Court has authority to “make such rules as it

deems proper respecting the examination, qualification, and admission of persons to

membership in its bar, and their censure, suspension, and expulsion.” Pursuant to this

grant, this Court has the inherent authority to define and regulate the practice of law in

the District of Columbia. See In re Banks, 805 A.2d 990, 997 (D.C. 2002). Ergo, if this Court

is preliminarily inclined to agree with the District Court’s remand order (and it should

instead look to the federal statutory scheme and continue to hold this case in abeyance),

that simply means, at most, that this Court has power to decide, as a prudent case

management matter, how to proceed pending resolution of Mr. Clark’s appeal.

          ODC’s action against Mr. Clark presents a very important question for the D.C.

legal community and for the country.         Namely, the overarching question posed is

whether ODC can properly bring “quasi-criminal” proceedings (see In re Artis, 883 A.2d

at 101, 103) against Senate-confirmed presidential advisers based on draft legal

documents and non-finalized, and heavily debated legal policy proposals. Or whether

such an attempt at discipline by one city’s legal processes violates the separation of

powers, since this Court’s authorities (and that of the relevant administrative bodies

below) stem from Article I of the Constitution, whereas Mr. Clark was acting pursuant to

Article II power as flowing from the President of the United States. If ODC’s action

against Mr. Clark is successful, it will likely not be the last attempt by a state or D.C. bar


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entity to sit in judgment of presidential advisers inside the federal government, which

sits above D.C. local government. The stakes are thus enormous and of important

constitutional dimension.

       Mr. Clark’s case, and others like it, would seem to be paradigmatic examples of

why the federal officer removal statute was enacted. See, e.g., State of N.J. v. Moriarty, 268

F. Supp. 546, 555 (E.D. Okla. 1956) (purpose of federal removal privilege is to ensure that

“the officer was entitled to — and the interest of national supremacy required — his

protection in actions brought against him which attacked and threatened him with

personal liabilities or penalties”). Internal Executive Branch deliberations often involve

lawyers. Hence, there is a strong prospect that such deliberations would be liberally

disrupted and may even need to be entirely reconstructed, such as by excluding lawyers

entirely from high-level policy discussions, if ODC is allowed to proceed with this case.

Most importantly, it makes little sense to imagine local, Article I-empowered officials or

state officials sitting in judgment over federal Executive Branch decisionmaking.

       Although the district court has ruled against Mr. Clark, Judge Contreras’ lengthy

and legislative history-laden opinion shows that the question is certainly debatable.

Thus, even apart from the precise terms of this Court’s abeyance order (which requires

the abeyance to continue), it would also be an appropriate exercise of this Court’s

inherent supervisory authority of the Board of Professional Responsibility, its Hearing

Committees, and ODC to hold off on resumption of any proceedings before the assigned



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Hearing Committee and/or the Board until, at the very least, the important removal

questions are fully resolved in federal court appellate proceedings.

                                       CONCLUSION

       For the foregoing reasons, Mr. Clark respectfully requests this Court to continue

its abeyance order until Mr. Clark’s appeal of the District Court’s remand decision is

concluded and/or to order that further proceedings before the Board of Professional

Responsibility and its assigned Hearing Committee be deferred even if this Court

possessed discretion in this matter.



       Respectfully submitted this 11th day of June 2023.

 /s/ Charles Burnham                               Robert A. Destro*
                                                   Ohio Bar #0024315
 Charles Burnham                                   4532 Langston Blvd, #520
 DC Bar No. 1003464                                Arlington, VA 22207
 Burnham and Gorokhov, PLLC                        202-319-5303
 1750 K St., NW                                    robert.destro@protonmail.com
 Suite 300                                         *Motion for pro hac vice admission before
 Washington DC 20006                               DCCA in progress
 (202) 386-6920
 charles@burnhamgorokhov.com

 Harry W. MacDougald*
 Georgia Bar No. 453076
 Caldwell, Carlson, Elliott & DeLoach, LLP
 Two Ravinia Drive, Suite 1600
 Atlanta, Georgia 30346
 (404) 843-1956
 hmacdougald@ccedlaw.com
 * Motion for pro hac vice admission before DCCA
 in progress



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                             CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party with

a copy of this Motion to Continue Abeyance of Proceedings Before This Court and/or

Defer Proceedings Below through the Court’s electronic filing system.



      This this 11th day of June, 2023.



                                          /s/ Charles Burnham
                                          Charles Burnham
                                          DC Bar No. 1003464
                                          1750 K Street, NW
                                          Suite 300
                                          Washington DC 20006
                                          (202) 386-6920
                                          charles@burnhamgorokhov.com




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                          Exhibit 3
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                                  No. 22-BG-891
             DISTRICT OF COLUMBIA COURT OF APPEALS
            _______________________________________________
                                                                              Clerk of the Court
                                 In the Matter of:                    Received 06/20/2023 09:03 AM


                               Jeffrey B. Clark, Esq.
                                    Respondent,

                           A Member of the Bar of the
                      District of Columbia Court of Appeals
                                 (Bar No. 455315)
                          Board Docket No. 22-BD-039
                       Disciplinary Docket No. 2021-D193

            _______________________________________________

                DISCIPLINARY COUNSEL’S OPPOSITION
                TO MOTION TO CONTINUE ABEYANCE
            _______________________________________________

      This matter is before the Court on Disciplinary Counsel’s motion to enforce a

subpoena against Respondent Jeffrey Clark. The subpoena was issued in connection

with a disciplinary proceeding against Clark which is pending before a hearing com-

mittee of the Board of Professional Responsibility. The hearing in that matter was

scheduled to begin on January 9, 2023. On October 17, 2022, Clark filed a notice

purporting to remove the proceeding to federal court. Clark later filed notices pur-

porting to remove both this subpoena-enforcement matter and another subpoena is-

sued by Disciplinary Counsel.1 Disciplinary Counsel moved to remand all three


1
 Clark had refused to accept service of the second subpoena when a process server
attempted to serve him at this home; Clark attempted to remove the second subpoena
before any enforcement action had been initiated.

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matters, arguing that this Court has exclusive jurisdiction to discipline attorneys ad-

mitted to its bar and the federal courts lack such jurisdiction. On January 17, 2023,

this Court determined to hold the subpoena-enforcement matter in abeyance until

the removal was resolved by the federal court. The Board on Professional Respon-

sibility likewise began to treat the underlying disciplinary matter as if it were before

the federal court and did not proceed to hold the scheduled evidentiary hearing.

When Disciplinary Counsel filed its witness list, exhibit list, and proposed exhibits,

for example, the Board sent an email stating that the materials “have been received

and are lodged in Board Docket No. 22-BD-039, which has been removed to the

U.S. District Court for the District of Columbia.”

      Eight months after Clark initially filed his notice of removal, the district court

held that it lacked jurisdiction and granted Disciplinary Counsel’s three motions to

remand. Mem. Op. Granting Motions to Remand, In re Clark, No. 1:22-mc-96 (D.

D.C. Jun. 8, 2023) (“Remand Opinion”). On the same day, the district court issued a

separate order granting the motions and remanding “for further proceedings.” Order

Granting Motions to Remand, In re Clark, No. 1:22-mc-96 (D. D.C. Jun. 8, 2023).

Clark now asks this Court to continue to hold this matter in abeyance and to order




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further that the underlying disciplinary proceedings be “deferred” so that he may

appeal the district court’s remand order.2 The Court should deny the motion.

      In effect, Clark is asking this Court to stay the disciplinary proceeding while

he appeals another court’s ruling that it lacks jurisdiction over the matter. A stay

pending appeal is an “intrusion into the ordinary processes of administration and

judicial review, and accordingly is not a matter of right, even if irreparable injury

might otherwise result to the appellant.” Nken v. Holder, 566 U.S. 418, 427 (2009)

(cleaned up). “It is instead an exercise of judicial discretion, and the propriety of its

issue is dependent upon the circumstances of the particular case.” Id. at 433 (cleaned

up). The party requesting such a stay “bears the burden of showing that the circum-

stances justify an exercise of that discretion.” Id.

      The movant’s showing is evaluated under the traditional four-factor test for a

stay pending appeal: “(1) whether the stay applicant has made a strong showing that

he is likely to succeed on the merits; (2) whether the applicant will be irreparably

injured absent a stay; (3) whether issuance of the stay will substantially injure the

other parties interested in the proceeding; and (4) where the public interest lies.” Id.

at 434 (quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)); Dist. of Columbia




2
 On June 16, 2023, the hearing committee ordered the parties to file status reports
addressing the rescheduling of the hearing.

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v. Towers, 250 A.3d 1048, 1053 (D.C. 2021) (applying four-factor test to stay pend-

ing appeal).

      “The first two factors of the traditional standard are the most critical.” Nken,

556 U.S. at 434. It is not enough to show a mere possibility of success or some

possibility of irreparable injury. Id. Here, Clark has not shown that he is likely to

succeed on the merits or will suffer any irreparable injury. Further, the public interest

favors denying the stay.

A.    Clark has not established a likelihood of success on the merits.

      The district court’s opinion carefully explains why the federal court lacks ju-

risdiction to adjudicate attorney discipline matters. By their plain text, the removal

statutes apply to “civil actions” and “criminal prosecution[s].” 28 U.S.C. §§ 1441

(civil actions), 1442 (civil action or criminal prosecutions against federal officers).

Those statues do not reach disciplinary proceedings in furtherance of a court’s au-

thority to regulate the practice of law because such proceedings are neither civil ac-

tions nor criminal prosecutions. Remand Opinion 13-19. As even Clark agrees, an

attorney-discipline proceeding is not purely a civil action. Id. at 14. It “bears none

of the essential hallmarks of a civil case,” and is not “of a character traditionally

cognizable by courts of common law or equity.” Id. (cleaned up). Accordingly, nu-

merous federal courts have found that disciplinary matters are not removable as

“civil actions.” Id. at 14-15 (collecting cases). Nor is a disciplinary matter a



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“criminal prosecution” amenable to removal under 28 U.S.C. § 1442. Id. at 16-19.

Although this Court has described disciplinary matters as “quasi-criminal,” see In re

Artis, 883 A.2d 85, 103 (D.C. 2005), disciplinary proceedings do not result in crim-

inal liability. Remand Opinion 7. They also serve a different purpose than criminal

prosecutions. As this Court has repeatedly held, disciplinary sanctions are not in-

tended “to punish the attorney, but to protect the public and the courts, safeguard the

integrity of the profession, and deter respondent and other attorneys from engaging

in similar misconduct.”3 Id. at 18-19 (quoting In re Cater, 887 A.2d 1, 17 (D.C.

2005)).

      Although Clark argued that the court should ignore the plain text of the re-

moval statutes and find any form of process against a federal officer to be removable,

the district court explained in detail the error in that argument. Id. at 20-32. The court

noted first that the test Clark suggests has been rejected by multiple federal courts

of appeals and U.S. district courts. Id. at 20-21 (collecting cases). Clark’s argument

is also contrary to a federal statute that specifically makes attorneys for the govern-

ment subject to discipline by state authorities. Id. at 22-32 (analyzing 28 U.S.C.

§ 530B). Only one of the several federal courts that have considered removal of


3
  A stay would not be appropriate even if a disciplinary proceeding were properly
removable as a “criminal prosecution.” Under 28 U.S.C. § 1455, the removal of a
criminal prosecution “shall not prevent the State court in which such prosecution is
pending from proceeding further, except that a judgment of conviction shall not be
entered unless the prosecution is first remanded.”

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disciplinary actions against a federal officer has upheld removal, and that case was

decided ten years before the enactment of the statute assigning to state authorities

the responsibility to discipline federal lawyers. Kolibash v. Comm. on Legal Ethics

of W. Va. Bar, 872 F.2d 571 (4th Cir. 1989).

      Clark’s motion does not show that he is likely to obtain a different result on

appeal. He does not address the district court’s holding that the disciplinary proceed-

ing is not removable because it is neither a civil action or a criminal prosecution

within the plain meaning of the removal statutes, relying instead on the absence of

disciplinary proceedings from the list of non-removable actions in 28 U.S.C. § 1445.

Mot. 5. That argument ignores that the non-removable matters described in Section

1445 are “civil actions” that might otherwise be removable. Congress had no reason

to exclude disciplinary proceedings from statutes permitting removal of “civil ac-

tions” because the text of the removal statutes already excludes them. Beyond that

argument, Clark claims that when working for the federal government, members of

the D.C. Bar are immune from the disciplinary authority of the D.C. Court of Ap-

peals, an argument that is contrary both to the district court’s analysis of 28 U.S.C.

§ 530B, which Clark does not address, and to his own admission that the Court of

Appeals has inherent authority to regulate the practice of law in D.C. Compare Mot.

at 5 with id. at 7. Clark makes the bare claim that his appeal has “obvious merit,” but

does not show that any of his arguments are likely to succeed. He asserts only that



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“various questions of first impression” are at issue, that the appeal presents “a very

important question for the D.C. legal community and the country,” and that the ques-

tion “is certainly debatable.” Id. at 5, 7, 8. That is insufficient to show a strong like-

lihood of success on the merits.

B.    Clark has not shown irreparable harm from denying a stay.

      Clark does not allege any particular harm that would come from denying a

stay. Although he claims generally that the operation of the executive branch of the

federal government would be impeded if its government attorneys are subject to the

disciplinary authority of their licensing jurisdiction, see Mot. at 8, Clark does not

explain why a stay is necessary to prevent that outcome. Clark is no longer a lawyer

in the executive branch, and a stay of his disciplinary proceedings would affect only

the proceeding against him. Even if Clark had shown “some possibility of irreparable

injury” it would be insufficient to meet this factor. Nken, 556 U.S. at 434 (cleaned

up). In fact, Clark has not shown or even claimed he would suffer any irreparable

injury absent a stay.

C.    The public interest favors denying the stay.

      The final two factors do not favor Clark’s stay motion. The third factor (harm

to other parties) is not applicable because strictly speaking, there is no “other party”

to disciplinary proceedings. Disciplinary Counsel is an arm of the Court, as are the

hearing committees and the Board. They assist the Court in its regulation of the



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lawyers admitted to its bar. But as noted above, the purpose of disciplinary proceed-

ings is to protect the court, the public, and the integrity of the profession. Those goals

are ill-served when a lawyer whose misconduct has been documented in highly pub-

licized proceedings is permitted to continue to practice, suffering no consequences

for his misconduct. See Subverting Justice, Majority Staff Report, Senate Committee

on the Judiciary (2021)4; The Report of the Select Committee to Investigate the Jan-

uary 6th Attack on the United States Capitol, 373-403 (2022)5.

      The public interest favors a prompt resolution of this disciplinary matter. De-

lays in D.C.’s attorney disciplinary system have long been an issue of public im-

portance and concern. See, e.g., Peter H. Wolf, Fifteen Years for One Disciplinary

Case?!, 150 D.W.L.R. 2938 (Nov. 22, 2022); Michael S. Frisch, No Stone Left Un-

turned: The Failure of Attorney Self-regulation in the District of Columbia, 18 Geo.

J. Legal Ethics 325 (2005). Delays in disciplinary proceedings fail to protect the

public and reinforce the impression that the disciplinary system is too friendly to

attorneys who violate their professional obligations. Those concerns are heightened

in this case because Clark’s highly public misconduct occurred more than two years

ago. Clark’s frivolous removals have already delayed this matter by eight months,




4
  https://www.judiciary.senate.gov/subverting-justice-how-the-former-president-
and-his-allies-pressured-doj-to-overturn-the-2020-election.
5
  https://www.govinfo.gov/app/details/GPO-J6-REPORT/context

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and Clark agrees that the appeal will add further delay. Motion at 5-6 & n. 1. He has

not presented any reason why such a delay is necessary or desirable.

      Finally, Clark’s misconduct was of a most grievous nature. He attempted to

undermine the basic premise of a democracy: the winner of a majority of the votes

is elected to office. He did so by attempting to coerce the Acting Attorney General

of the United States to intervene in a presidential election based upon a baseless and

dishonest claim of election fraud. This was one of many steps to deny the 2020 elec-

tion results and attempt to perpetuate a losing incumbent in power. There is little

dispute as to what Clark did. His conduct is documented in the public record and he

has not denied it. There is an overwhelming public interest in promptly resolving

these disciplinary charges. Clark has delayed this matter for eight months already.

He should not be permitted to do so any longer.

                                    Conclusion

      The Court should deny the motion.

                                       Respectfully submitted,


                                       HAMILTON P. FOX, III
                                        Disciplinary Counsel
                                       JULIA L. PORTER
                                        Deputy Disciplinary Counsel
                                       s/Theodore (Jack) Metzler
                                       THEODORE (JACK) METZLER
                                         Senior Assistant Disciplinary Counsel
                                       JASON R. HORRELL


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                               Assistant Disciplinary Counsel
                             OFFICE OF DISCIPLINARY COUNSEL
                             515 5th Street, N.W.
                             Building A, Room 117
                             Washington, D.C. 20001




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                         CERTIFICATE OF SERVICE

      I certify that on June 20, 2023, I served the foregoing through the Court’s

electronic filing system on the following:

      Charles Burnham, counsel for Respondent, charles@burnhamgorokhov.com

      Board on Professional Responsibility, by its Executive Attorney James T.

Phalen, jtphalen@dcbpr.org

                                       s/Theodore (Jack) Metzler
                                       THEODORE (JACK) METZLER
                                       OFFICE OF DISCIPLINARY COUNSEL
                                       515 5th Street, N.W.
                                       Building A, Room 117
                                       Washington, D.C. 20001




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                          Exhibit 4
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                    DISTRICT OF COLUMBIA COURT OF APPEALS

 In the Matter of
                                                                                  Clerk of the Court
 JEFFREY B. CLARK                                   Disciplinary Docket No.
                                                                         Received 06/20/2023 09:17 PM
                                                                           Resubmitted 06/21/2023 09:57 AM
 A Member of the Bar of the District of             2021-D193              Filed 06/21/2023 09:57 AM
 Columbia Court of Appeals
                                                    22-BG-891
 Bar No. 455315

 Date of Admission: July 7, 1997


MOTION TO EXCEED LENGTH LIMITATIONS FOR RESPONDENT’S REPLY IN
SUPPORT OF MOTION TO CONTINUE ABEYANCE OF PROCEEDINGS BEFORE
         THIS COURT AND/OR DEFER PROCEEDINGS BELOW

                           PROCEDURAL BACKGROUND

      On June 8, 2023 the U.S. District Court for the District of Columbia entered an

order remanding Respondent Jeffrey Clark’s disciplinary case back into this local District

of Columbia process. Mr. Clark has appealed.

      Mr. Clark filed a Motion to Continue Abeyance (etc.) with this Court on June 11,

2023. In light of the Juneteeth holiday, the Office of Disciplinary Counsel (“ODC”) filed

its opposition on June 20, 2023. Mr. Clark now brings this motion to file a reply of up to

20 pages (a 10-page enlargement). ODC objects to the motion.

                                     ARGUMENT

      On June 11, 2023, Respondent Jeffrey Clark filed a very straightforward Motion to

Continue Abeyance (etc.). This Court had previously ordered that disciplinary subpoena

proceedings should be held in abeyance until Mr. Clark’s removal action in federal court
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is “resolved.” Mr. Clark’s motion simply sought confirmation from this Court that, under

the plain meaning of “resolved,” proceedings would not recommence here or in the

process below until all appeals were exhausted as to the District Court’s remand order.

       In its response to Mr. Clark’s Motion, ODC does not explicitly question the

propriety of this Court’s abeyance order, offer a competing interpretation of “resolved,”

or dispute that Mr. Clark has an appeal of right from the District Court’s grant of ODC’s

motion to remand his case.

       Instead ODC completely recasts Mr. Clark’s straightforward motion as “[i]n

effect” a motion for stay pending appeal under federal law. Opp. at 3. ODC then proceeds

to spend the next 6 pages briefing the four-factor test for stays pending appeal while

making a number of false assertions. See id. at 3-9. ODC proceeds in this fashion despite

the fact that this case entered an abeyance posture without ODC calling for application

of the stay framework, this Court sua sponte doing so, or this Court in its January 17, 2023

order running through that framework or citing to it in any way. ODC may wish that,

shortly after the January 17, 2023 order, it had moved to reconsider, arguing that an

abeyance should not be granted without meeting the stay factors, but ODC did not do so.

       Accordingly, although they are not framed as such, ODC’s stay arguments are

more in the nature of a “request for affirmative relief” under Rule 27(a)(4)(B) than actual

responsive arguments because they, in substance, equate to a motion to reconsider (1)

this Court’s January 17, 2023 order placing this case into abeyance pending resolution of



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the Article III court removal jurisdiction dispute and (2) the follow-on actions of the Board

of Professional Responsibility to take proceedings against Mr. Clark off the hearing

calendar and lodge rather than file all documents from the parties into its docket until the

abeyance was lifted.1 As ODC acknowledges (Opp. at 2), its past efforts to advance its

case against Mr. Clark in the face of removal proceedings have been rebuffed by the

decisions of both this Court and the Board—decisions that ODC is now seeking to revisit.

        As will be argued at greater length in his next filing, it is Mr. Clark’s position that

this Court should not entertain ODC’s attempt to smuggle in a covert motion to

reconsider under the guise of a responsive pleading (or to fuse the merits of Mr. Clark’s

defenses to the Charges into the disputed threshold issue of removal jurisdiction).

However, ODC having made its arguments, it is obviously incumbent on undersigned

counsel to respond in its forthcoming reply brief on the chance that this Court might see

fit to consider them. Thus, this response must be longer than normal because it will

necessarily include a demonstration that Mr. Clark can meet the four-part stay test as an

alternative basis for granting his motion as compared to the arguments he presented in

his actual Motion.

        Mr. Clark is well prepared to meet this undertaking because he has excellent

grounds for appeal. In order for Respondent to make sure that he can cover the ground




1 In fact, ODC’s filing arguably violates Rule 27(a)(4)(B), which requires responsive pleadings that also
request affirmative relief to have a title that “alert[s] the court to the request for relief.”


                                                                                                       3
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of defending his original Motion against the Opposition, while also responding to ODC’s

improper attempt to recast that Motion or, in effect, file its own counter-motion,

Respondent’s counsel require additional pages of briefing to do so thereby exceeding the

baseline allocation in Rule 27 of 10 pages for a reply brief.

       As mentioned above, ODC’s decision to attempt to recast the issue before the

Court as litigation over a motion to stay pending appeal is, in substance, a request for the

affirmative relief of reconsideration of this Court’s January 17 order. Under Rule 27

(a)(4)(B) and (d)(2) Mr. Clark is therefore entitled to up to 20 pages to respond to an

opposition which also requests affirmative relief (a 10-page enlargement). As a result,

Mr. Clark requests that this Court grant him this additional space.

                                      CONCLUSION

       For the foregoing reasons, Respondent Jeffrey Clark respectfully requests this

Court to grant him up to 20 pages to file his Reply in support of his Motion to Continue

Abeyance and/or Defer Proceedings below.

       Respectfully submitted this 21th day of June 2023.

 /s/ Charles Burnham                           Robert A. Destro*
                                               Ohio Bar #0024315
 Charles Burnham                               4532 Langston Blvd, #520
 DC Bar No. 1003464                            Arlington, VA 22207
 Burnham and Gorokhov, PLLC                    202-319-5303
 1750 K Street, NW                             robert.destro@protonmail.com
 Suite 300                                     *Motion for pro hac vice admission before
 Washington DC 20006                           DCCA in progress
 (202) 386-6920
 charles@burnhamgorokhov.com


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Harry W. MacDougald*
Georgia Bar No. 453076
Caldwell, Carlson, Elliott & DeLoach,
LLP
Two Ravinia Drive, Suite 1600
Atlanta, Georgia 30346
(404) 843-1956
hmacdougald@ccedlaw.com
* Motion for pro hac vice admission before
DCCA in progress




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                             CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party with

a copy of this Motion to Exceed Length Limitations for Respondent’s Reply in Support

of Motion to Continue Abeyance of Proceedings Before this Court and/or Defer

Proceedings Below by email and through the Court’s e-filing system:




      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

      This this 21 day of June, 2023.



                                        /s/ Charles Burnham
                                        Charles Burnham
                                        DC Bar No. 1003464
                                        1750 K Street, NW
                                        Suite 300
                                        Washington DC 20006
                                        202-386-6920
                                        charles@burnhamgorokhov.com




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                          Exhibit 5
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                    DISTRICT OF COLUMBIA COURT OF APPEALS

 In the Matter of
                                                                                   Clerk of the Court
 JEFFREY B. CLARK                                    Disciplinary Docket Nos.
                                                                          Received 06/22/2023 03:10 PM

 A Member of the Bar of the District of              2021-D193
 Columbia Court of Appeals
                                                     22-BG-891
 Bar No. 455315

 Date of Admission: July 7, 1997

           REPLY IN SUPPORT OF MOTION TO CONTINUE ABEYANCE
            OF P R O C E E D I N G S BE FO R E T H I S C O UR T AN D/O R
                        D E FE R P R O C E E D I N G S BELOW
       INTRODUCTION

       The Office of Disciplinary Counsel’s (“ODC’s”) Opposition to Respondent’s

Motion to Continue Abeyance of Proceedings Before This Court and/or Defer

Proceedings Below (“Motion”) offers no basis to deny the relief Respondent seeks here.

       This is true for multiple reasons: (1) The Opposition mischaracterizes the Motion

as one for a stay rather than for preservation of the status quo—abeyance—pending

Respondent’s appeal as of right to the D.C. Circuit filed on June 11, 2023, in D.C. Circuit

Case No. 23-7073. (2) The Opposition concedes that this case has been in functional

abeyance since January 17, 2023, both in this Court and as to all proceedings under the

supervision of the Board of Professional Responsibility (“Board”), and yet neglects to

explain why the issue that triggered this abeyance—removal—has been fully resolved.

(3) The Opposition smuggles in a merits discussion of certain of Respondent’s defenses

(including his jurisdictional defense that Congress did not grant ODC jurisdiction to
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bring Charges before the local D.C. Bar process against federal attorneys, especially not

in the circumstances of this case), whereas the District Court’s remand decision and the

appeal thereof could properly decide only the issue of removal jurisdiction. And (4) the

Opposition wrongly argues that Respondent has conceded the Charges against him.

        I.      ODC ’ O P P O S I T I O N F A I L S F O R N U M E R O U S R E A S O N S , I N C L U D I N G
                BECAUSE IT TRIES TO AVOID GRAPPLING WITH RESPONDENT’S
                MOTION AS IT WAS ORIGINALLY FRAMED.

        The Opposition concedes that this case has been in a functional abeyance at the

Board level (and thus at the Hearing Committee level as well).1 See Opp. at 2. What ODC

fails to note is that that ODC itself contended it was voluntarily taking down the

previously scheduled January 9, 2023, trial date below because a witness had been

exposed to COVID (without explaining whether the witness was actually ill).2 See Motion

for Continuance, filed January 4, 2023. Moreover, it was only after this Court entered an

abeyance on January 17, 2023, that proceedings by ODC in this Court or in the adjunct

forums below came to a halt. At no point did ODC contest the January 17, 2023, abeyance

Order or the Board taking the matter off the calendar pending resolution of the removal



1 “The Board on Professional Responsibility likewise began to treat the underlying disciplinary matter as
if it were before the federal court and did not proceed to hold the scheduled evidentiary hearing.” Opp. at
2.

2 We believe this may have been part of a thinly veiled attempt to save face, particularly given that ODC
went on to misrepresent Respondent’s position on the COVID issue. Respondent did not oppose a COVID-
related extension. What Respondent opposed was ODC continuing to pretend that the removal had no
impact on scheduling below, transferring venue to the Article III court. Respondent’s counsel offered to
join in a COVID-relating filing to the District Court; an offer Mr. Fox refused. See Response to Third Motion
to Remand, attached hereto as Exh. 1, pp. 6-7.


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jurisdiction dispute. As we have explained in the Motion to Exceed Length Limitations

filed June 21, 2023, for this Reply, ODC is attempting to replace its divot from the start of

2023 in failing to argue that abeyance should not occur without applying the test for

obtaining stays. But what this misses is that this Court has inherent authority to enter

abeyances to manage its own docket and extend comity to another court system. See, e.g.,

Landis v. North Am. Co., 299 U.S. 248 (1936). ODC also misses that this Court has already

properly exercised its inherent discretion to await final resolution of the removal dispute

in the Article III court process.

       1.     ODC Concessions Dictate That the Case Remain in Abeyance Pending

Final Resolution of the Removal Dispute. The District Court’s remand order issued on

June 8, 2023, did not terminate the dispute over removal jurisdiction. Respondent

possesses and has exercised an appeal as of right to contest the remand order. See 28

U.S.C. § 1447(d). ODC’s Opposition never even mentions Section 1447(d), let alone

attempts to rebut that, in light of Respondent’s Section 1447(d) appeal rights, there is no

change in the circumstances giving rise to abeyance and no reason for this Court to lift

the abeyance prematurely. As a result, ODC has effectively conceded all of the foregoing

points in this paragraph and thus forfeited its ability to contest continued abeyance,

pending final resolution of the removal dispute.

       2.     To Flip the Burden of Proof, ODC Mischaracterizes Our Motion as a

Motion for a Stay that Respondent Did Not File. Respondent clearly moved for a



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continuance of the Order placing this case into an abeyance posture and did not move for

stay pending appeal. And the plain terms of the January 17, 2023, Order clearly provided

it would last until the removal jurisdiction dispute was resolved. It is now indisputable

that the removal aspects of this controversy have not been finally resolved, given the

pendency of the D.C. Circuit appeal.3 Respondent did not move for a stay in this Court.

However much ODC might wish to recharacterize Respondent’s Motion—and as much

as ODC might wish that the District Court’s remand order were final—ODC can neither

control our motions nor cut off Respondent’s appeal rights. For this reason alone, pages

3 through 9 of ODC’s Opposition should be ignored. The reason for ODC’s

mischaracterization of our Motion for abeyance is transparent: (1) to flip the burden,

pretending that burden of proof falls on Mr. Clark rather than on ODC, which is trying

to change rather than continue the status quo; (2) to interject a misplaced discussion of the

merits into resolution of a removal jurisdiction issue; and (3) to further interject irrelevant

and inflammatory material under the guise of arguing that denying a stay Respondent

did not ask for would be in the “public interest.”

        3.      ODC Is Attempting to Cut Off and Get a Prejudgment of a Federal

Procedural Motions Deadline. Respondent’s motion in this Court merely seeks a

continuance of the abeyance posture. Should that not be forthcoming (then and only



3 Also, to be clear, the appeal Respondent is entitled to under federal statute may also entail a future en
banc petition and/or a petition for certiorari to protect Respondent’s important procedural right to obtain
resolution only by Article III courts of any form of challenge to his actions while he was a federal officer.


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then), Respondent will exercise his federal rights to seek a stay pending appeal pursuant

to Federal Rule of Appellate Procedure 8. In that event, Respondent will first seek a stay

from the District Court under FRAP 8(a)(1), and if that is denied, from the D.C. Circuit

under FRAP 8(a)(2). Pursuant to a D.C. Circuit Court Clerk’s Order of June 14, 2023,

Respondent’s stay motion in the D.C. Circuit is not due until July 15, 2023 or July 30, 2023

(depending on whether a Federal Rule of Appellate Procedure 8(a)(2) motion for stay

pending appeal will be characterized as a substantive or procedural). See Exh. 2, Clerk’s

Order. Either way, the earliest possible federal deadline for a motion to stay is two-to-

three weeks away. ODC cannot accelerate that deadline by the expedient of pretending

here that Respondent has already moved for a stay.4

        By contrast to ODC’s attempt to reformulate the Motion into a form it would

prefer, Respondent is proceeding with due respect for this Court and its adjuncts below

as well as with appropriate respect for judicial economy. There is no need, in other words,

for Respondent to seek a stay from the District Court or the D.C. Circuit under FRAP 8 if

this case remains, as it should, in an abeyance posture pending final resolution of the

removal question through all levels of Article III review. In other words, such abeyance

should last until a final judgment on removal jurisdiction unreviewable by any form of




4 Relatedly, the Chair of Hearing Committee 12 issued an order on June 16, 2023, attached hereto as Exh.
3, directing the parties to file status reports by July 23, 2023, and to make proposals for a schedule for
trial. This order is premature during the pendency of Respondent’s Motion to Continue the Abeyance,
and during the pendency of the federal appeal of the remand order.


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further appeal has issued.

       Relatedly, trying to transmute Respondent’s motion here into a stay request is

inappropriate for yet another reason. The District Court by order of the assigned Judge

or via its Clerk’s Office has not yet issued a separate judgment as contemplated by Federal

Rule of Civil Procedure 58. We did not hide the ball on that problem. We flagged it for

both this Court and for ODC in our June 11, 2023, Motion, at 2-3 (docketed on June 12,

2023) (also citing Fed. R. Cr. P. 32(k) and Abdulwali v. WMATA, 315 F.3d 302, 303-04 (D.C.

Cir. 2003) (appeal from order premature in the absence of judgment)). Yet ODC says

nothing about FRCP 58, nor FRCrP 32(k), nor about Abdulwali. Instead, it pretends that

all relevant action is occurring only in this Court and that Respondent has somehow

procedurally defaulted here by not seeking to explain why it could meet the elements of

a stay here. Worse yet, ODC demands we do so right now, even though the separate-

document judgment rule on the Article III side has not yet been complied with by the

District Court. This issue that ODC attempts to whistle past provides yet another reason

why no change in the abeyance posture status quo has occurred or should be ordered here.

       4. Indeed, ODC’s Attempts to Rewrite History or Mischaracterize the Proceedings

to Its Benefit Suffer from a Plethora of Other Defects, Including Ones That Weigh in

Favor of a Stay, Even If (Counterfactually) One Needed to be Sought. The Opposition is

so flawed it is infected by a veritable host of defects.

       First, ODC badly misrepresents the record by saying “[t]here is little dispute as to



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what Clark did. His conduct is documented in the public record and he has not denied

it.” Opp. at 9 (emphasis added). Wrong. Mr. Clark has vehemently and continuously

denied any violation of the Rules of Professional Conduct and entered a general denial in

his Answer. See Answer, at 29-30 (Fifty-Fourth Defense—Response to Enumerated

Charges/General Denial) (Sept. 1, 2022).5

        Second, ODC proceeds here as if both the Senate Judiciary and House January 6

Committee Reports are irrefutable and should be taken as gospel. See Opp. at 8. This is

not true, and, at the appropriate time, Mr. Clark will contest them as necessary. The

Reports are hearsay and they have not been admitted into evidence in whole or in part.

Moreover, Mr. Clark was not subpoenaed to and did not testify in the Senate Judiciary

Committee proceeding that led to Senator Durbin’s complaint (filed only on his own

behalf). Additionally, while the January 6 Committee subpoenaed Mr. Clark, and he

appeared before them twice, he did not testify on the merits because he invoked several

privileges based on letters from counsel for President Trump and from the U.S. Justice

Department. He also explained how that Committee was formulated in violation of law

and also acted in violation of law. The Committee disagreed but stood down after Mr.

Clark eventually invoked his Fifth Amendment rights. The Committee never took any



5 See also Answer at 29-30 (“To the extent any answer is required, and preserving his Fifth Amendment
rights against self-incrimination, Respondent generally denies all allegations of professional misconduct
in paragraphs 2-31. See In re Artis, 883 A.2d 85, 93 (D.C. 2005). To the extent any further answer is required,
and preserving his Fifth Amendment rights against self-incrimination, any allegations not otherwise
generally denied are hereby generally denied.”) (emphasis added).


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steps to try to pierce Mr. Clark’s privilege invocations in court or via a contempt referral

to the Justice Department. And although ODC has attempted to pierce Mr. Clark’s Fifth

Amendment privilege assertions, it has not succeeded. Indeed, last Summer, in July 2022,

ODC grew so impatient waiting for a decision from this Court that it dropped its motions

to enforce subpoenas, and filed the Charges, only later to issue another subpoena after

this case had already been removed, leading to this Court’s January 17, 2023, abeyance.

For these reasons, the Court should reject ODC’s invitation to assume that Mr. Clark has

conceded any merits defenses or has somehow acquiesced in the highly partisan,

politically super-charged congressional reports on which ODC relies. He has not.

       Third, ODC argues that the profession is harmed because these proceedings have

been highly publicized. That cannot be laid at the feet of the Respondent. In fact, ODC is

partly at fault for this. It appears to have been coordinating with the House January 6

Committee and we know it was coordinating with the media, as we have previously put

on the record. See Response to Motion to Unseal and Cross-Motion to Stay, filed in this

Court August 11, 2012, pp. 5-6. At the appropriate time, we will seek a full disclosure of

all of ODC’s third-party contacts with members or agents of Congress and with the

media, as well as seek the disclosure of any ex parte contacts with Hearing Committee

Twelve and/or the Board below.

       Fourth, ODC’s contends that “delays” in this matter are somehow improper in and

of themselves. They are not. We firmly believe Mr. Clark has a right to an Article III forum



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to resolve the Charges against him. That is a longer process than ODC prefers, but there

is no basis to favor its preferences over the Article III court process afforded by federal

statute. By providing an appeal as of right in 28 U.S.C. § 1447(d), Congress has decided

the right to appeal outweighs the local forum’s interest in expedition or opponents of the

federal officer’s desire for expedition as a litigant. Moreover, delay here was at least in

part caused by ODC’s own voluntary actions because it repeatedly issued new subpoenas

and attempted to proceed with this matter despite the removal. One removal should have

been sufficient, but ODC’s obdurate stubbornness necessitated three removals, no doubt

needlessly complexifying Judge Contreras’ task.6

        Fifth, if a trial is conducted below and Mr. Clark later prevails in his D.C. Circuit

appeal or at the U.S. Supreme Court—thereby establishing that there is federal-officer

removal jurisdiction here—then the entire Hearing Committee Twelve trial and any

related follow-on proceedings before the Board would become a nullity and a waste of

resources for all concerned. It makes no sense to risk wasting those resources, and it




6 As if it is somehow damning, in footnote 1 of the Opposition, ODC notes that Mr. Clark refused to accept
service of a subpoena on December 27, 2022, and removed that subpoena without waiting for an
enforcement action. This is true but neither relevant nor improper. Mr. Clark refused to accept service of
the Christmastime subpoena because the case had already been removed twice at that point and the
subpoena was plainly being used to harass Mr. Clark and his family over the holidays. We believe this is
one factor in this Court entering its abeyance on January 17, 2023. Lastly, the federal officer removal statute
explicitly permits the removal of subpoenas. There was no need for Mr. Clark to wait for ODC to seek
judicial enforcement of the subpoena. See 28 U.S.C. § 1442(d)(1) (“The terms ‘civil action’ and ‘criminal
prosecution’ include any proceeding (whether or not ancillary to another proceeding) to the extent that in
such proceeding a judicial order, including a subpoena for testimony or documents, is sought or issued.”)
(emphasis added). By attempting service of the subpoena, ODC clearly brought itself within this statute.


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would injure the public’s interest to waste quasi-judicial and prosecutorial resources in

this fashion.

        Sixth, as a general matter, the public’s interests are served by vindicating the

intended structural relationship between state and federal governments embodied in the

Supremacy Clause. An inferior level of local government should not be allowed to

second-guess, let alone even begin to penetrate into confidential deliberations between

the President and his closest legal advisors or even probe into internal deliberations

within the walls of U.S. Justice Department that did not extend as well to the White

House.7

        5.      ODC Completely Ignores the Argument That This Court Can Order a

Deferral of Proceedings Below. In the Motion, Respondent argued that this Court could

directly order a deferral pursuant to D.C. Code § 11-2501(a). ODC utterly fails to address

this argument, and thus cannot be heard now to contest this Court’s power to do so.

        II.     THE PURPOSES OF BAR DISCIPLINE ARE ANALOGOUS TO THE
                PURPOSES OF CRIMINAL PROCEEDINGS.

        One defect of the Opposition deserves its own Roman numeral. Namely, ODC’s




7 Here, of course, as we have repeatedly pointed out, the District of Columbia is not a State. We refer to
the Supremacy Clause because 99.9% of situations where attorney discipline will be sought against federal
lawyers would involve a State, one of its subdivisions including its municipal corporations. The stakes of
ODC’s case will thus carry important implications for the States. However, the fact that the locality at issue
here is the District means that the precise constitutional problem presented by attempts of the D.C. Bar, as
Article I creature, to regulate federal lawyers in the Article II Executive Branch is one of the separation of
powers. Though it is also important that the federal government, as expressed across all three of its
branches, sits at a hierarchical level of government above the District’s local authorities and courts.


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attempt to attack in this Court the removal jurisdiction dispute under the exclusive

jurisdiction of the D.C. Circuit in Respondent’s appeal there. Specifically, ODC argues

that Mr. Clark’s case is not removable pursuant to criminal removal statutes because

disciplinary proceedings “serve a different purpose than criminal prosecutions.” Opp. at

5. ODC states that:

       As this Court has repeatedly held, disciplinary sanctions are not intended
       to punish the attorney, but to protect the public and the courts, safeguard
       the integrity of the profession, and deter respondent and other attorneys
       from engaging in similar misconduct.

Id. (internal quotations and citations omitted) (emphasis added).

       However, what ODC’s argument actually shows are the many important ways

that bar proceedings are indeed analogous to criminal proceedings. The purposes of

disciplinary proceedings offered by ODC are some of the very same purposes as those of

the federal criminal process as defined in 18 U.S.C. § 3553, which states that at federal

criminal sentencings:

       The court shall impose a sentence sufficient, but not greater than necessary
       to comply with the purposes set forth in paragraph (2) of this subsection
       [including]…to promote respect for the law…to afford adequate deterrence
       to criminal conduct [and]…to protect the public from further crimes of the
       defendant.

Id. (emphasis added).

       Even the distinction that disciplinary proceedings are theoretically not for

“punishment” is only defensible at a highly rarefied level of abstraction. For instance, it

defies all common sense to regard a defendant fined $50 for reckless driving as having


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received “punishment” while a father of four like Mr. Clark permanently deprived of his

sole livelihood in his fifties has not. Even ODC implicitly recognizes the de facto punitive

nature of bar proceedings when it laments that Mr. Clark has “suffer[ed] no consequences

for his misconduct.” Opp. at 8 (emphasis added). This is a thinly veiled baying for Mr.

Clark to be punished.

       To be sure, there remains some distinction between quasi-criminal disciplinary

proceedings and the heartland of non-hybrid criminal cases. See In re Artis, 883 A.2d 85

(D.C. 2005). However, what ODC’s argument unwittingly shows is the many important

respects in which bar proceedings are like criminal cases and the consequent invalidity

of its argument that such important proceedings may not be removed.

       The main problem, however, is that it is not for this Court to decide the issue of

removability. That is now next for the D.C. Circuit to decide in the appeal. This misplaced

argument by ODC is thus one giant non sequitur.

       III.   IN THE ALTERNATIVE, RESPONDENT CAN NEVERTHELESS MEET
              THE      REQUIREMENTS FOR OBTAINING A STAY PENDING
              R E S O L U T I O N O F T H E D .C. C I R C U I T A P P E A L .

       As noted above, ODC’s attempt to convert this motion to continue the abeyance

into a motion for stay pending appeal should be rejected. ODC’s stay theory cannot even

get off the ground because the relevant appeal is not one to this Court but rather an appeal

in a different Court—the D.C. Circuit—which this Court can in no way usurp or prejudge.

       But even if Respondent’s Motion were to be considered as a motion for stay



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pending appeal, it should be granted. In both this Court and in federal practice, the test

for such a stay is as follows:

       (1) whether the stay applicant has made a strong showing that he is likely to
       succeed on the merits; (2) whether the applicant will be irreparably injured
       absent a stay; (3) whether issuance of the stay will substantially injure the other
       parties interested in the proceeding; and (4) where the public interest lies.

Nken v. Holder, 566 U.S. 418, 434 (2009) (quoting Hilton v. Braunskill, 481 U.S. 770, 776

(1987)); Dist. of Columbia v. Towers, 250 A.3d 1048, 1053 (D.C. 2021) (applying same test to

stay pending appeal and noting “where a case presents ‘a serious legal question’ and

‘when there is little risk of harm to the other parties or to the public interest, ‘[a]n order

maintaining the status quo may be appropriate.’”), citing Walter E. Lynch & Co., Inc. v. Fuisz,

862 A.2d 929, 932 (D.C. 2004).

              1.     RESPONDENT HAS A STRONG LIKELIHOOD OF PREVAILING IN
                     HIS FEDERAL APPEAL.

       The language and rationale of the federal officer removal statute, 28 U.S.C. § 1442,

as well as the clear weight of authority, support removal and demonstrate that

Respondent has a strong likelihood of prevailing on the merits. The plain language of the

federal officer removal statute covers “all” “civil actions” and “criminal prosecutions.”

The statute was amended in 2011 to add subsection (d) to broaden the definition of these

terms to include not just subpoenas, but “any proceeding … to the extent that in such

proceeding a judicial order … is sought or issued.” (Emphasis added). This bar discipline

case is unquestionably such a proceeding in that ODC seeks a judicial order from this




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Court imposing discipline on Mr. Clark.

       The District Court’s ruling, however, wrongly rules that bar disciplinary

proceedings are neither civil nor criminal and therefore fall into a gap between the two

that is not subject to removal. The 2011 amendment to § 1442 plainly forecloses the

District Court’s reading. There is no such gap in “any proceeding … to the extent that in

such proceeding a judicial order … is sought or issued.”

       The Supreme Court has made plain in several cases that “[t]he federal officer

removal statute is not ‘narrow’ or ‘limited.’ Colorado v. Symes, 286 U.S. 510, 517 (1932). At

the very least, it is broad enough to cover all cases where federal officers can raise a

colorable defense arising out of their duty to enforce federal law.” Willingham v. Morgan,

395 U.S. 402, 406-07 (1969). The statute and the oft-repeated policy of broad interpretation are

to protect the supremacy of the federal government. They find expression in the decisions of

most federal circuits holding that hybrid matters against federal officers are in fact

removable.

       Most directly on point is the Fourth Circuit decision in Kolibash v. Committee on Legal

Ethics of the West Virginia Bar, 872 F.2d 571, 576 (4th Cir. 1989), holding a bar discipline

matter removable and that “[t]he form that the state action takes is therefore not

controlling; ‘it is the state’s power to subject federal officers to the state’s process that §

1442(a)(1) curbs.’” While the District Court distinguished Kolibash here, Kolibash remains

the most closely analogous reported federal appellate decision. The only cases to the



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contrary are a smattering of district court decisions.

       The clear weight of authority with respect to other types of hybrid proceedings

favors removal. Contempt proceedings, though hybrid in nature, were held removable in

the Fourth, Fifth, Seventh, and Eleventh Circuits. North Carolina v. Carr, 386 F.2d 129, 131

(4th Cir. 1967) (“the statute looks to the substance rather than the form of the state

proceeding; this is the reason for the breadth of its language”); Boron Oil Co. v. Downie,

873 F.2d 67, 68 (4th Cir.1989); Louisiana v. Sparks, 978 F.2d 226, 231 (5th Cir.1992); Wisconsin

v. Schaffer, 565 F.2d 961, 963–64 (7th Cir.1977) (“We think it unfruitful to quibble over the

label affixed to this contempt action. Regardless of whether it is called civil, criminal, or

sui generis, it clearly falls within the language and intent of the statute.”); Florida v. Cohen,

887 F.2d 1451, 1453 (11th Cir.1989).

       Garnishments against federal officers, which are also hybrid in nature, are

removable in the Ninth Circuit, Nationwide Investors v. Miller, 793 F.2d 1044, 1046 (9th Cir.

1986), but not removable in the Fifth, Hexamer v. Foreness, 981 F.2d 821, 823 (5th Cir. 1993).

       Even before the 2011 amendment to § 1442(d) explicitly added subpoenas to the

list of “actions” that could be removed, the D.C. Circuit had interpreted the statute

broadly to include subpoenas, rejecting the formalistic argument that subpoenas were

neither a criminal prosecution nor a civil action. See Brown & Williamson Tobacco Corp. v.

Williams, 62 F.3d 408, 415 (D.C. Cir. 1995) (“We do not believe Congress used the terms

“civil action,” “against,” or “act” in the limited fashion that appellant urges, but rather



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meant to refer to any proceeding in which state judicial civil power was invoked against

a federal official.”) The D.C. Circuit is likely to apply the same reasoning to this case.

              2.     SUBJECTING MR. CLARK TO AN ADMINISTRATIVE TRIAL
                     BEFORE THE REMOVAL DISPUTE IS FULLY ADJUDICATED
                     WOULD CAUSE IRREPARABLE HARM BY DEFEATING THE
                     CONGRESSIONAL DIRECTIVE TO HOLD A JUDICIAL TRIAL IN
                     A N A R T I C L E III F O R U M .

       It is plain that lifting the abeyance posture of this case at this level and/or before

the Hearing Committee during the pendency of Respondent’s appeal of the remand

decision would irreparably deprive Respondent of his right to have this case adjudicated

in a federal forum. The purpose of the federal officer removal statute would be defeated.

       The federal officer removal statute is intended to protect federal supremacy

against encroachment by hostile state of local governments and courts. Such hostility has

historically often been largely, if not entirely, based on political affiliation and was

directed against Republicans during the Reconstruction era, and is now revived against

President Trump and those who supported him in jurisdictions around the country,

including the District of Columbia. The District is as close as this Nation comes to a

political monolith, with President Biden winning 92.1% of the vote in 2020 election, 26.06

percentage points higher than the next highest state in the Union. The D.C. government’s

hostility toward the Trump Administration reflects the views of its populace and is both

flagrant and extreme. The federal officer removal statute was tailor made for such

circumstances. Clear separation of powers and federal supremacy principles prohibit



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such a municipal government from intruding into the most private counsels the President

of the United States took with his senior legal advisors as to how to exercise his core

Article II law enforcement powers. See U.S. Const., art. II, § 3 (“[H]e [the President] shall

take Care that the Laws be faithfully executed”).

              3.     T H E R E W O U L D B E N O P R E J U D I C E T O T H E D.C. B A R O R T O
                     OTHERS.

       The D.C. Bar would not be prejudiced by continuing the abeyance posture, just as

it was not prejudiced by the case being held in abeyance since January 2023. ODC

contends that because it is an arm of this Court, the factor of harm to others from a stay

drops out of the analysis. This ignores the fact that regardless of whether this matter is

characterized as civil, criminal or hybrid, the opposing party is ODC. The case is styled

In re: Jeffrey Bossert Clark, but the charges that commenced the case were filed by ODC,

and it is the adversary in this case as a matter of realpolitik. Additionally, there is no harm

to another party relevant to this case. Mr. Clark gave confidential advice inside the

Executive Branch. The President who was the ultimate client for the advice has not

complained about it. Nor did any of Mr. Clark’s former colleagues at the Justice

Department. They were instead stirred up by a partisan inquiry by Senator Durbin that

was in turn stirred up by anonymous leaks to the New York Times in late January 2021.

       Indeed, we are here only because one individual, Senator Dick Durbin,

complained. And his complaint should never have been docketed, in the first place,

because he lacked first-hand knowledge of events outside of the Legislative Branch,


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violating one of ODC’s long-standing docketing policies. A policy that ODC has never

seriously tried to distinguish.

       Moreover, ODC is responsible for much of the delay of which it complains. It

repeatedly attempted to prosecute this case after the first removal, which necessitated

Respondent filing two additional removals. ODC filed redundant motions for remand as

to the second and third removals, increasing the burden on the District Court in ruling

on remand, in addition to the trouble and fee expense these vexatious pursuits imposed

on the Respondent. And, in any case, by authorizing appeals as of right, Congress in 28

U.S.C. § 1447(d) has resolved the competing interests in favor of an interlocutory

appellate resolution of removal, a unique privilege for federal officers unlike any other

category of removal except civil rights cases removed under 28 U.S.C. § 1443.

              4.     THE PUBLIC INTEREST SUFFERS IF THE ABEYANCE POSTURE IS
                     LIFTED.

       As noted above, the public interest is served by preserving the structure of the

relationship between the state or local governments, on the one hand, and the federal

government, on the other, embodied in the Supremacy Clause and/or the separation of

powers. Congress has explicitly commanded the proper approach. It is also one

vindicating constitutional policy—preventing a hostile and inferior level of local

government from penetrating into and/or second-guessing the federal government’s

actions or deliberations at the highest level.




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SUMMARY OF REASONS TO CONTINUE THE ABEYANCE POSTURE

       All of ODC’s points in its Opposition are wrong.

       To summarize them: (1) ODC offers no reason why the abeyance posture of this

case should be lifted before the hotly disputed issue of removal jurisdiction is fully

resolved in the Article III forums; (2) ODC fails to contest that Respondent possesses an

appeal as of right under Section 1447(d) to the D.C. Circuit, where a protective appeal is

pending and where no initial deadline has yet run and where those deadlines should not

be leapfrogged in this Article I forum; (3) ODC cannot be allowed to reformulate

Respondent’s Motion as it was framed and then attack that straw man; (4) Respondent is

proceeding here first to continue the abeyance posture for the same reasons it was initially

put in place in January 2023 and so that he can avoid burdening the Article III courts with

a threshold stay fight under FRAP 8, if the abeyance posture can instead be continued;

(5) Respondent should not be required to demonstrate here that a stay should be granted

as if none of this procedural history existed, but even if forced to do so, Respondent has

shown that (i) he has a likelihood of winning under the text of the statute and binding

Supreme Court case law on Section 1442 removals; (ii) Respondent would suffer

irreparable harm if he rightly claims and yet is denied an Article III forum in which to

present his federal defenses; (c) the balance of harms favors the Respondent; and (d) the

public interest would be served by continuing the abeyance posture; and (6) ODC failed

to respond to Respondent’s D.C. Code § 11-2501(a) argument, allowing this Court to



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directly order a deferral of the proceedings below.

                                      CONCLUSION

         For the foregoing reasons, Mr. Clark respectfully requests this Court (1) to

continue its abeyance order until Mr. Clark’s appeal of the District Court’s remand

decision is concluded and (2) to order that further proceedings before the Board of

Professional Responsibility and its assigned Hearing Committee be deferred on the same

terms.

         Respectfully submitted this 22nd day of June 2023.

 /s/ Charles Burnham                                Robert A. Destro*
 Charles Burnham                                    Ohio Bar #0024315
 DC Bar No. 1003464                                 4532 Langston Blvd, #520
 Burnham and Gorokhov, PLLC                         Arlington, VA 22207
 1424 K Street, NW, Suite 500                       202-319-5303
 Washington DC 20005                                robert.destro@protonmail.com
 (202) 386-6920                                     *Motion for pro hac vice admission before
 charles@burnhamgorokhov.com                        DCCA in progress

 Harry W. MacDougald*
 Georgia Bar No. 453076
 Caldwell, Carlson, Elliott & DeLoach, LLP
 Two Ravinia Drive, Suite 1600
 Atlanta, Georgia 30346
 (404) 843-1956
 hmacdougald@ccedlaw.com
 * Motion for pro hac vice admission before DCCA
 in progress




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                             CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party with

a copy of this Reply in Support of Motion to Continue Abeyance of Proceedings Before

This Court and/or Defer Proceedings Below by U.S. First Class Mail with sufficient

postage thereon to insure delivery, and by email addressed to:

      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

      This this 22nd day of June, 2023.



                                          /s/ Charles Burnham
                                          Charles Burnham
                                          DC Bar No. 1003464
                                          1424 K Street, NW
                                          Suite 500
                                          Washington DC 20005
                                          (202) 386-6920
                                          charles@burnhamgorokhov.com




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                          Exhibit 6
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                     DISTRICT OF COLUMBIA COURT OF APPEALS

 In the Matter of
                                                                                              Clerk of the Court
 JEFFREY B. CLARK                                           Disciplinary Docket Nos.
                                                                                 Received 07/05/2023 10:16 PM
                                                                                      Filed 07/05/2023 10:16 PM
 A Member of the Bar of the District of                     2021-D193
 Columbia Court of Appeals
                                                            22-BG-891
 Bar No. 455315

 Date of Admission: July 7, 1997


        MOTION TO EXPEDITE RULING ON MOTION TO
       CONTINUE ABEYANCE OF PROCEEDINGS BEFORE
      THIS COURT AND/OR DEFER PROCEEDINGS BELOW
       Respondent Jeffrey B. Clark moved on June 11, 2023, to continue the abeyance

ordered by this Court on January 17, 2023 and (additionally or in the alternative) to order

that proceedings before the Board of Professional Responsibility, etc. be deferred.1 The

June 11 Motion has been fully briefed and is ripe for decision. Respondent respectfully

asks the Court to expedite ruling on this Motion because the Hearing Committee issued

an order today, July 5, 2023, immediately resuming proceedings at that level without

waiting for this Court to act on the relief requested in the Motion, especially the request

for a deferral order of all proceedings below pending future Article III court action.

       Specifically, Respondent asked that the abeyance be continued because the

grounds upon which it was originally entered still apply—the question of removal




1 The January 17, 2023 Order held the Office of Disciplinary Counsel’s Motion to Enforce Subpoena Duces
Tecum in Abeyance.
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jurisdiction remains unresolved due to the pendency of Respondent’s appeal of the

remand order issued by the U.S. District Court. While normal remand decisions are not

appealable, federal officer removals may be appealed as of right under 28 U.S.C. §

1447(d).

      Respondent’s Motion to Continue Abeyance also asked this Court to hold

proceedings before the Board of Professional Responsibility and Hearing Committee

Number 12 in abeyance or to order them deferred.

      Respondent brings this Motion for Expedited Consideration because the Chair of

Hearing Committee Number 12 issued an Order on July 5, 2023 to resume proceedings

before the Committee. See Exh. 1, attached hereto. The July 5 Order directed the

resumption of proceedings before the Hearing Committee despite the pending D.C.

Circuit appeal and despite Respondent’s Motion to Continue Abeyance in this Court. The

July 5 Order set a pre-hearing conference for July 12, 2023, and directed the parties to

meet and confer on scheduling the evidentiary hearing and any associated preliminary

events and deadlines. The July 5 Order thus makes resolution of Respondent’s Motion to

Continue Abeyance an urgent priority. We thus respectfully request a resolution of the

pending Motion to Continue Abeyance on or before July 11, 2023.

      The July 5 Order rests on invalid premises. First, with respect to the pending

federal appeal, it relies at least in part on the fact that Respondent has not yet filed a

motion for stay pending appeal in the Article III court system. See July 5 Order, pp. 2-3.



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But the deadline for procedural motions in the federal appeal is July 14, 2023, and until

today it was not clear that the Hearing Committee would move forward despite the

pending federal appeal and the Motion to Continue Abeyance pending in this Court.

Respondent conspicuously noted the timing of the procedural motions deadline in the

D.C. Circuit in his Reply in Support of the Motion to Continue Abeyance, and stated that

a motion for stay in the Article III court system would be filed if abeyance was not

forthcoming from this Court. No weight can be given to Respondent not having filed a

motion whose deadline is still ten days away and which may not ever be necessary if the

abeyance is continued in this Court and extended to the Board and Hearing Committee

level via a deferral order, as common sense and comity suggest should occur.

       The January 17, 2023 abeyance order here implicitly recognized that it was

inappropriate to move forward with proceedings in this Court, and by implication at the

Board and Hearing Committee level, until the question of removal was resolved. Indeed,

the Board and Hearing Committee Number 12 took no steps to adjudicate this case while

the removal issue was under submission to the U.S. District Court. Nothing has changed

since that time except that the first stage of the removal proceedings was decided against

Mr. Clark. Hence, the logic of the January 17 abeyance applies with equal force now due

to the pendency of the federal appeal. After all, it is obvious that if a trial (denominated

a “hearing” under the disciplinary system) is conducted below and Mr. Clark later

prevails in his D.C. Circuit appeal or at the U.S. Supreme Court—thereby establishing



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that there is federal-officer removal jurisdiction here—then all proceedings before the

Hearing Committee and any related follow-on proceedings before the Board or this Court

would have been a waste of resources for all concerned. Surely that ought to be avoided.

        Second, the Committee Chair also held that the abeyance in this Court of the

motion to enforce a subpoena was collateral to the proceedings before the Hearing

Committee and did not deprive it of jurisdiction to move forward with the evidentiary

hearing. However, as noted above, after the abeyance order was entered, proceedings at

the Board and Hearing Committee level were also halted, even though there was no

specific Order to that effect entered at the Board or Hearing Committee level, a point not

addressed in the July 5 Order. Indeed, ODC itself conceded that this case has been in a

functional abeyance at the Board level (and thus at the Hearing Committee level as well).2

This is why filings at the Board level were recorded as “lodged” rather than filed from

October 17, 2022 forward. Thus, it is effectively, if not explicitly, conceded by all that the

logic of this Court’s abeyance order applies equally to proceedings before the Board and

Hearing Committee, regardless of whether the proceedings in this Court are viewed as

collateral to those before the Hearing Committee. It simply makes no sense to proceed in

this Court or its adjuncts until the question of removal has been finally resolved, and this




2 “The Board on Professional Responsibility likewise began to treat the underlying disciplinary matter as
if it were before the federal court and did not proceed to hold the scheduled evidentiary hearing.” ODC
Opposition to Motion for Abeyance at 2.



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is as true now as it was in January 2023.

       This Court has inherent authority to enter abeyances to manage its own docket

and extend comity to another court system. See, e.g., Landis v. North Am. Co., 299 U.S. 248

(1936), and to extend its orders to the Board and the Hearing Committee. The Board and

Hearing Committee processes operate under the auspices of this Court and this Court

exercises continuing supervisory authority over the Board and the Hearing Committee.

The circumstances of this case are certainly appropriate for the exercise of supervisory

authority so as to continue the abeyance posture ordered in January 2023.

                                      CONCLUSION

       For the conservation of the resources of the Court, the Hearing Committee, the

Board, the U.S. District Court, the D.C. Circuit Court of Appeals, and not least the parties,

Mr. Clark respectfully requests this Court expedite its consideration of his Motion to

Continue Abeyance until Mr. Clark’s appeal of the District Court’s remand decision, and

any potential further appellate review, is concluded. He further requests that this Court

order that proceedings before the Board of Professional Responsibility and its assigned

Hearing Committee be deferred on the same terms.

       Specifically, Mr. Clark requests that the Court issue an expedited ruling on his

pending Motion on or before July 11, 2023. Should relief not be forthcoming in this

posture, undersigned counsel will immediately begin preparing for filing here a

mandamus petition because we believe that this Court and its adjuncts lack jurisdiction



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over this matter on multiple grounds including, but not limited to (1) those based on

federal statutory and regulatory limits imposed on disciplinary proceedings against

federal attorneys and (2) the fact that removal automatically divested this Court and its

adjuncts of power to hold an adjudicatory hearing.

       Respectfully submitted this 5th day of July 2023.

 /s/ Charles Burnham                               Robert A. Destro*
 Charles Burnham                                   Ohio Bar #0024315
 DC Bar No. 1003464                                4532 Langston Blvd, #520
 Burnham and Gorokhov, PLLC                        Arlington, VA 22207
 1750 K Street, NW, Suite 300                      202-319-5303
 Washington DC 20006                               robert.destro@protonmail.com
 (202) 386-6920                                    *Motion for pro hac vice admission before
 charles@burnhamgorokhov.com                       DCCA in progress

 Harry W. MacDougald*
 Georgia Bar No. 453076
 Caldwell, Carlson, Elliott & DeLoach, LLP
 Two Ravinia Drive, Suite 1600
 Atlanta, Georgia 30346
 (404) 843-1956
 hmacdougald@ccedlaw.com
 * Motion for pro hac vice admission before DCCA
 in progress




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                               CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party with

a copy of this Motion to Expedite Ruling on Motion to Continue Abeyance of Proceedings

Before This Court and/or Defer Proceedings Below by filing with the Court’s electronic

filing system which will cause service to be made upon opposing counsel, and by email

addressed to:

                Hamilton P. Fox
                Jason R. Horrell
                Theodore (Jack) Metzler
                D.C. Bar
                Building A, Room 117
                515 5th Street NW
                Washington DC 20001
                foxp@dcodc.org
                horrellj@dcodc.org
                metzlerj@dcodc.org

      This this 5th day of July, 2023.



                                          /s/ Charles Burnham
                                          Charles Burnham
                                          DC Bar No. 1003464
                                          1750 K Street, NW
                                          Suite 300
                                          Washington DC 20006
                                          (202) 386-6920
                                          charles@burnhamgorokhov.com




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                           Exhibit 7
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                            DCCA No. 22-BG-0059

                         DISTRICT OF COLUMBIA
                           COURT OF APPEALS                                  Clerk of the Court
                                                                     Received 07/07/2023 01:46 PM


                                    :
In the Matter of                    :
                                    :
JEFFREY B. CLARK, ESQ.              :       Disciplinary Docket No. 2021-D193
                                    :       Board Docket No. 22-BD-039
      Respondent,                   :
                                    :
A Member of the Bar of the District :
  of Columbia Court of Appeals.     :
Bar Number: 455315                  :
Date of Admission: July 7, 1997     :
_______________________________:

                   DISCIPLINARY COUNSEL’S MOTION
                     TO SUPPLEMENT THE RECORD

      Pursuant to DCCA Rule 27(b), Disciplinary Counsel moves to supplement the

record to include two recordings of public statements recently made by Respondent

Jeffrey B. Clark that are directly related to the issue of whether the materials

Disciplinary Counsel has subpoenaed would incriminate Mr. Clark. The subpoenaed

materials include documents relating to election fraud of which he was aware prior

to January 4, 2021, and documents that support his contention that he was Acting

Attorney General on January 3, 2021. Mr. Clark has refused to comply with the

subpoena because he contends that the very act of producing these documents would

incriminate him.
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       On June 6, 2023, Mr. Clark testified before an ad hoc Congressional

Committee in which he claimed that he was the only person in the Department of

Justice interested in investigating election fraud. See Testimony of Jeffrey Clark,

Field Hearing on January 6th with Congressman Matt Gaetz (June 13, 2023), C-

SPAN      Video,     beginning     at     58:55,   available     at    https://www.c-

span.org/video/?528698-1/house-conservatives-investigations-prosecutions-

january-6-attack-us-capitol. This testimony is relevant to the Court’s consideration

of whether the act of producing documents on which he determined there was a basis

to investigate election fraud would incriminate him. It also relates to whether he has

waived his privilege by such testimony.

       On July 3, 2023, Mr. Clark gave an interview on a podcast. (In the podcast,

the interviewer said that the date was July 3; there is a July 1 date and a July 5 date

in the online materials as well.) See Episode 2851: The Review of The Independence

of The Justice Department (w/ Dr. Trent Talbot, Jeff Clark), www.warroom.org,

FULL EPISODES (Video).1 Mr. Clark’s interview is approximately the first 26

minutes of the 49-minute podcast video. Id.




1
 Available at https://warroom.org/episode-2607-the-hearings-for-the-national-
security-of-our-country-copy-copy-copy-copy-copy-copy-copy-copy-copy-copy-2-
copy-copy-copy-2-copy-copy-copy-copy-copy-copy-copy-2-copy-copy-copy-
copy-cop-7-6/.
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      In this interview, Mr. Clark discusses in more detail the information that led

him to conclude that there was election fraud and his conclusion that the Department

of Justice official in charge of such investigations was inept. Id. at 04:15-07:24.

He also claimed during the interview that for a nine-hour period, he had been

appointed Acting Attorney General. Id. at 13:50-14:31. This interview is relevant to

Mr. Clark’s claim that the act of producing the supporting documentation would be

incriminating as well as to the issue of waiver.

      Wherefore, Disciplinary Counsel requests that the record be supplemented to

include the lodged materials.

                                       Respectfully submitted,

                                       Hamilton P. Fox, III
                                       ______________________________
                                       Hamilton P. Fox, III
                                       Disciplinary Counsel
                                       Bar Registration No. 113050
                                       Jason R. Horrell
                                       Assistant Disciplinary Counsel
                                       Bar Registration No. 1033885

                                       OFFICE OF DISCIPLINARY COUNSEL
                                       515 5th Street, N.W.
                                       Building A, Room 117
                                       Washington, D.C. 20001
                                       202-638-1501
     Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 106 of 425




                        CERTIFICATE OF SERVICE

      I hereby certify that on this 7th day of July 2023, I caused a copy of the

foregoing Disciplinary Counsel’s Motion to Supplement the Record to be served on

the District of Columbia Court of Appeals Clerk of Court by email to

BarGovernanceFilings@dcappeals.gov, and that copies were served on the Board of

Professional Responsibility c/o Case Managers to casemanagers@dcbpr.org, and to

Respondent’s counsel via email to Harry W. MacDougald, Esquire, to

hmacdougald@CCEDlaw.com,          to     Charles    Burnham,      Esquire,    to

charles@burnhamgorokhov.com,       and    Robert   A.   Destro,    Esquire,   to

Robert.destro@protonmail.com.



                                           Julia Porter
                                           ______________________________
                                           Julia Porter
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                           Exhibit 8
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                      DISTRICT OF COLUMBIA COURT OF APPEALS

 In the Matter of
                                                                                                   Clerk of the Court
 JEFFREY B. CLARK                                              Disciplinary Docket Nos.
                                                                                    Received 07/10/2023 01:51 PM
                                                                                          Filed 07/10/2023 01:51 PM
 A Member of the Bar of the District of                        2021-D193
 Columbia Court of Appeals
                                                               22-BG-891
 Bar No. 455315

 Date of Admission: July 7, 1997


               RESPONSE TO MOTION TO SUPPLEMENT

                                           BACKGROUND

        Currently pending before this Court is ODC’s Motion to Enforce Subpoena Duces

Tecum against Respondent. That motion has been the subject of several prior filings and

the Court is referred to that record for full detail on it and related legal issues. Respondent

incorporates his past arguments as relevant to this filing, including those in his February

14, 2022 response to ODC’s original motion.

        Most recently, on July 7, ODC filed a “Motion to Supplement the Record”

(“Motion”)1 asking this Court to receive into the record two unsworn public statements

by Mr. Clark without citing any authority for doing so and despite the fact that ODC

simultaneously takes the position that the record will be developed below before Hearing

Committee Twelve.


1 ODC filed its present Motion into the wrong docket, Case Num. 22-BG-59. That case is defunct, having
been mooted by an order of this Court issued on September 15, 2022. On October 26, 2022, ODC filed a
motion to enforce a revised subpoena and the Clerk’s Office notified the parties that this should be treated
as a separate action under Case Num. 22-BG-891. See Exh. 1.
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                                       ARGUMENT

   I.       ODC’s Motion Raises New Substantive Claims and Is Not Properly Filed as
            a “Motion for Procedural Order.”

         Although ODC purports to file its Motion under Rule 27(b) as a “Motion for a

Procedural Order,” this is not an accurate characterization because the Motion raises new

substantive legal and factual issues. The Motion argues that Mr. Clark’s public statements

give rise to a waiver of his previously asserted Fifth Amendment privilege. Mr. Clark is

currently employed as a Senior Fellow and Director of Litigation for a public policy think

tank and frequently comments on matters of public concern. This was the capacity he was

acting in when he made the relevant statements.

         In ODC’s original Motion to Enforce Subpoena, which it now seeks to

“supplement,” ODC challenged Mr. Clark’s Fifth Amendment assertion in myriad ways

including (1) that ODC cannot itself bring criminal charges; (2) that law enforcement had

not specifically told Mr. Clark he was the target or subject of a criminal investigation; (3)

that Mr. Clark did not “specify[]” the criminal charge he would face; 4) that ODC’s

specification of charges was different than potential criminal charges; and 5) that, in

ODC’s view, the subpoenaed materials would be “exculpatory” rather than

“incriminating” in a “hypothetical criminal prosecution.” Mtn. to Enforce (Feb. 3, 2022)

at 5-10.

         None of these challenges were even colorable, as Mr. Clark explained at the time.

The significant fact for present purposes is that at no point did ODC include in its litany


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of challenges to Mr. Clark’s valid Fifth Amendment assertion the claim that Mr. Clark

had waived the privilege. It is therefore flatly inaccurate for ODC now to claim it is

merely “supplementing” the record with new evidence that “relates” to some existing

issue before the Court. ODC is raising an entirely new substantive claim calling for a

substantive response. Although it should be unnecessary in order to defeat a Rule 27(b)

motion, we offer a substantive response in Sections II & III below out of an abundance of

caution.

          Beyond the fact that the Motion goes beyond Rule 27(b), the Motion also ignores

Respondent’s pending motion to continue this matter in an abeyance posture or order a

general deferral pending the outcome of the removal jurisdiction dispute now on appeal

to the D.C. Circuit. If that relief is granted, there is no need to take up ODC’s new Motion

at this time.

    II.      No Waiver of Fifth Amendment

          ODC is incorrect that Mr. Clark’s public statements constitute a waiver of his Fifth

Amendment privilege. See Motion at 2-3. ODC fails to bring to this Court’s attention well-

known controlling authority contrary to its position.2 As this Court has repeatedly held,




2 Cf. Rules of Professional Conduct 3.3: Candor to Tribunal (“A lawyer shall not knowingly…[f]ail to
disclose to the tribunal legal authority in the controlling jurisdiction not disclosed by opposing counsel and
known to the lawyer to be dispositive of a question at issue and directly adverse to the position of the
client”); In re Rudolph W. Giuliani, 22-BD-027, Report and Recommendation of Ad Hoc Hearing Committee
at 17 (“Pennsylvania Rule 3.1 states ‘[a] lawyer shall not…controvert an issue…unless there is a basis in
law and fact…See also D.C. Rule 3.1(same)”). Here, perhaps, ODC asserted Fifth Amendment waiver
without researching the issue, but that would also be problematic.


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“the general rule is that a witness who voluntarily testifies in one proceeding does not

waive his Fifth Amendment privilege in a separate proceeding.” Ginyard v. United States,

816 A.2d 21, 33 (D.C. 2003). Indeed, the statement Mr. Clark made on a podcast was not

even made to any form of “proceeding.”

       This Court has recognized extremely limited exceptions to the general rule where

(1) a grand jury witness is called to testify in the same criminal case to offer substantially

the same testimony as offered to the grand jury; or (2) where a criminal defendant who

testified at his own trial is called to offer substantially the same testimony as a witness in

a codefendant’s trial. See Tomlin v. United States, 680 A.2d 1020, 1024 (D.C. 1996) (relying

on Ellis v. United States, 416 F.2d 791 (D.C. Cir. 1969)). The Tomlin panel explicitly confined

its ruling to “the limited circumstances presented here,” in view of the fact that even the

District-specific exceptions to the separate proceeding general rule constituted “a

minority rule that other jurisdictions have declined to follow and academics have

criticized.” Id. at 1022-23.

       Importantly, the District’s exceptions do not apply “when the witness is himself

accused of or under indictment.” Tomlin, 680 A.2d 1020, 1022 (quoting Ellis 416 F.2d at

805). They also do not apply to unsworn statements. See Carter v. United States, 791 A.2d

23, 24-25 (D.C. 2001) (“There is, of course, an important distinction between prior sworn

testimony at a formal proceeding, for example a grand jury hearing, and statements

volunteered during an informal investigation or properly supervised custodial



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situation.”).3 Finally, no DC case has ever found that a privilege waiver had occurred

based on a proceeding external to the particular case at issue.

           Firmly established case law in this jurisdiction therefore presents at least two

insuperable obstacles to ODC’s waiver claim (1) Mr. Clark is the Respondent in this

matter and not merely a witness; and 2) the prior statements on which ODC relies for

waiver (in addition to being made outside this case) are unsworn. ODC should know

from watching the entirety of the congressional field hearing that Mr. Clark appeared at

that and which forms part of the subject of ODC’s Motion that neither Mr. Clark nor any

other witness that day were sworn in that proceeding. And, of course, it would be absurd

to imagine that a discussion held on a private podcast was somehow sworn testimony to

a government entity. For all of these reasons, there is thus no basis in law or fact for ODC

to argue that Mr. Clark has waived his Fifth Amendment privilege.4

    III.      Act of Production

           In addition to its arguments about waiver, ODC also suggests that Mr. Clark’s




3 We do not mean to suggest that the statements Mr. Clark made on a podcast or at a public hearing in
support of individuals concerned about their due process rights being violated were or are akin to
statements made either to a law-enforcement investigator or in a supervised custodial situation. Mr. Clark’s
statements are not analogous to those situations and, even in those situations, there was no Fifth
Amendment waiver.

4 In addition to Fifth Amendment, Mr. Clark has also raised executive privilege and law enforcement
privilege. ODC’s Motion does not address those privileges and Mr. Clark is under separate letter
instructions from both the former President of the United States to invoke executive privilege and from the
U.S. Justice Department to invoke law enforcement privilege. Before the Court could rule on ODC’s
pending subpoena enforcement motion, the Court would have to take up those privilege defenses as well.


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public statements are “relevant to the Court’s consideration of whether the act of

producing documents on which he determined there was a basis to investigate election

fraud would incriminate him.” Motion at 2. Although it is difficult to tell, this appears

to be a retread of ODC’s argument that Mr. Clark has no act of production rights with

respect to documents that in ODC’s opinion would be exculpatory in a criminal case.

There is no legal support for this argument.5

    IV.      Waiver/Forfeiture by ODC

          ODC fails to cite any supporting authority that allows it to request record

supplementation in a case where ODC is simultaneously taking the position that it is ripe

for the Hearing Committee below to resume adjudication. See Exh. 2, Order (July 5, 2023)

(Hearing Committee Twelve, at least preliminarily adopting ODC’s position and

ordering a pre-hearing status conference to be held on July 12, 2023 at 1 pm). Without a

legal basis cited to support supplementation, it would seem that any factual record must

first be produced below, beginning in the Hearing Committee, and tested against

objections raised to admissibility to the Chair, rather than here.6



5 Moreover, recall that Respondent’s primary argument on this point was that the Court need not consider
act of production. As argued in the initial response to ODC’s motion, the subpoena does not merely request
documents but is in fact a disguised set of interrogatories. See Respondent’s February 14 Opposition at 11-
13. Disguised interrogatories are improper under In re Artis, 888 A.2d 85, 99, 101 & n.13 (D.C. 2005) (refusing
to order the respondent there to answer “interrogatory-like questions”).

6 These points do not waive our objection to the Chair of Hearing Committee’s Twelve’s Order issued July
5. We filed with the Chair to seek reconsideration of that Order on July 7, 2023. One of the grounds for that
reconsideration is that adjudication at the Hearing Committee should not resume until the dispute between
Respondent and ODC over removal jurisdiction now on appeal is finally resolved, as we have explained in


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       Additionally, it will be too late for ODC in a reply brief to try to set out legal

support for its Motion. See Johnson v. District of Columbia, 728 A.2d 70, n.1 (D.C. 1999) (“An

appellant may not use the reply brief to raise new issues.”); see also Rule 27(a)(3)(A)(“A

motion must state with particularity the grounds for the motion, the relief sought and the

legal argument necessary to support it”) (emphasis added). That would constitute

sandbagging. And for precisely the same reason, it would be too late for ODC on reply

to try to present authorities to the contrary of Ginyard, Tomkins, Ellis, and Carter because

ODC failed to do so in its opening Motion.

                                          CONCLUSION

       Respondent respectfully requests this Court to deny the Motion. Specifically, the

Court should rule that ODC’s Motion requests relief that falls outside the scope of a Rule

27(b) Motion to Supplement the Record. And to the extent this Court reaches the merits

of ODC’s Motion, Respondent requests this Court to hold that there is no waiver of any

of Mr. Clark’s previously asserted privileges.




our other pending motions here seeking a continuance of the present abeyance and the entry of an overall
order of deferral.


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Respectfully submitted this 8th day of July 2023.

 /s/ Charles Burnham                                Robert A. Destro*
 Charles Burnham                                    Ohio Bar #0024315
 DC Bar No. 1003464                                 4532 Langston Blvd, #520
 Burnham and Gorokhov, PLLC                         Arlington, VA 22207
 1750 K Street, NW, Suite 300                       202-319-5303
 Washington DC 20006                                robert.destro@protonmail.com
 (202) 386-6920                                     *Motion for pro hac vice admission before
 charles@burnhamgorokhov.com                        DCCA in progress


 Harry W. MacDougald*
 Georgia Bar No. 453076
 Caldwell, Carlson, Elliott & DeLoach, LLP
 Two Ravinia Drive, Suite 1600
 Atlanta, Georgia 30346
 (404) 843-1956
 hmacdougald@ccedlaw.com
 * Motion for pro hac vice admission before DCCA
 in progress




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                               CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party with

a copy of this Response to Motion to Supplement by filing with the Court’s electronic

filing system which will cause service to be made upon opposing counsel, and by email

addressed to:

                Hamilton P. Fox
                Jason R. Horrell
                Theodore (Jack) Metzler
                D.C. Bar
                Building A, Room 117
                515 5th Street NW
                Washington DC 20001
                foxp@dcodc.org
                horrellj@dcodc.org
                metzlerj@dcodc.org

      This this 8th day of July, 2023.



                                          /s/ Charles Burnham
                                          Charles Burnham
                                          DC Bar No. 1003464
                                          1750 K Street, NW
                                          Suite 300
                                          Washington DC 20006
                                          (202) 386-6920
                                          charles@burnhamgorokhov.com




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                           Exhibit 9
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                    DISTRICT OF COLUMBIA COURT OF APPEALS

In the Ma*er of:                               :
                                               :                                              Clerk of the Court
       JEFFREY B. CLARK,                       :      DCCA No.: 22-BG-891            Received 07/10/2023 10:18 PM
                                                                                     Filed 07/10/2023 10:18 PM
                                               :      Board Docket No. 22-BD-039
Respondent.                                    :      Disciplinary Docket No. 2021-D193
                                               :
A Member of the Bar of the District            :
Of Columbia Court of Appeals                   :
(Bar Registration Number 455315)               :

    MOTION TO TAKE NOTICE OF FILING TO HEARING COMMITTEE TWELVE

       Respondent hereby moves for this Court to take notice of the a*ached ﬁling made

to the Chair of Hearing Commi*ee Twelve below. See Exh. 1 (Motion to Vacate Orders

(July 9, 2023)). ODC opposes the Court taking notice of this ﬁling.1

       The Chair has issued two orders—one on June 16, 2023 and one on July 5, 2023

(the la*er se*ing a pre-hearing conference for July 12, 2023). A federal statute, 28 U.S.C.

§ 1447(c), makes those orders (and thus the pre-hearing conference date as well) legal

nullities that should be vacated. Power does not return to a state or D.C. court (or adjunct

thereof) until after the U.S. District Court Clerk mails a certiﬁed copy of a remand order

back to the clerk of this Court (or, as appropriate to this se*ing, to a clerk acting for an

adjunct body below). Id. (“A certiﬁed copy of the order of remand shall be mailed by the



1According to ODC: “The Oﬃce of Disciplinary Counsel does not consent to the motion. Clark is
a>empting supplement a motion pending before the Court of Appeals with arguments made in a
diﬀerent motion he has now made to the Hearing Commi>ee. Disciplinary Counsel will respond to the
la>er motion in the forum in which it is pending. Disciplinary Counsel does not intend to otherwise
respond to this motion unless directed to do so by the Court.”


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clerk to the clerk of the State court. The State court may thereupon proceed with such

case.”) (emphasis added). That mailing has not occurred, let alone been received below.

       The a*ached motion to vacate ﬁled to the Chair below explains this argument in

further detail and we commend that motion’s review by the Court here. We also urge the

Court to consider the points therein in connection with our pending motions here to

continue holding this ma*er in abeyance and to expedite the consideration of same.

       Indeed, today the Chair of Hearing Commi*ee Twelve has ordered ODC to

respond to the noticed motion on a highly expedited basis by 3pm tomorrow. See Exh. 2.



Respectfully submitted this 10th day of July 2023.

 /s/ Charles Burnham                               Robert A. Destro*
 Charles Burnham                                   Ohio Bar #0024315
 DC Bar No. 1003464                                4532 Langston Blvd, #520
 Burnham and Gorokhov, PLLC                        Arlington, VA 22207
 1750 K Street, NW, Suite 300                      202-319-5303
 Washington DC 20006                               robert.destro@protonmail.com
 (202) 386-6920                                    *Motion for pro hac vice admission before
 charles@burnhamgorokhov.com                       DCCA in progress




 Harry W. MacDougald*
 Georgia Bar No. 453076
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 Two Ravinia Drive, Suite 1600
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 (404) 843-1956
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 * Motion for pro hac vice admission before DCCA
 in progress



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     Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 120 of 425




                             CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party with

a copy of this Motion to Take Notice of Hearing Committee Twelve Filing by filing with

the Court’s electronic filing system which will cause service to be made upon opposing

counsel, and by email addressed to:

             Hamilton P. Fox
             Jason R. Horrell
             Theodore (Jack) Metzler
             D.C. Bar
             Building A, Room 117
             515 5th Street NW
             Washington DC 20001
             foxp@dcodc.org
             horrellj@dcodc.org
             metzlerj@dcodc.org

      This this 10th day of July, 2023.



                                          /s/ Charles Burnham
                                          Charles Burnham
                                          DC Bar No. 1003464
                                          1750 K Street, NW
                                          Suite 300
                                          Washington DC 20006
                                          (202) 386-6920
                                          charles@burnhamgorokhov.com




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                          Exhibit 10
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                       DISTRICT OF COLUMBIA COURT OF APPEALS
                       BOARD ON PROFESSIONAL RESPONSIBILITY
                         HEARING COMMITTEE NUMBER TWELVE
In the Matter of:                                 :
                                                  :
         JEFFREY B. CLARK                         :
                                                  : Board Docket No. 22-BD-039
Respondent.                                       : Disciplinary Docket No. 2021-D193
                                                  :
A Member of the Bar of the                        :
District of Columbia Court of Appeals             :
(Bar Registration No. 455315)                     :

                                            ORDER
        Upon consideration of Disciplinary Counsel’s Notice of Order Granting Remand,

informing the Hearing Committee that the United States District Court for the District of Columbia

granted Disciplinary Counsel’s motion to remand the case, following Respondent’s removal to

federal court, it is hereby

        ORDERED that no later than June 23, 2023, each party shall file a Report on the status of

this matter. The Report should also address rescheduling this matter for a hearing; identify any

issues the parties believe may need to be addressed; propose any intermediate dates that may need

to be scheduled in advance of hearing; and state the party’s position on whether it is appropriate

or necessary to schedule an additional prehearing conference.

                                     HEARING COMMITTEE NUMBER TWELVE


                                     By: _____________________________________
                                           Merril Hirsh
                                           Chair

cc:

Jeffrey Clark, Esquire
c/o Charles Burnham, Esquire
Robert A. Destro, Esquire
Harry W. MacDougald, Esquire
     Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 123 of 425




charles@burnhamgorokhov.com
robert.destro@protonmail.com
hmacdougald@ccedlaw.com

Hamilton P. Fox, III, Esquire
Jason R. Horrell, Esquire
Office of Disciplinary Counsel
foxp@dcodc.org
horrellj@dcodc.org




                                     2
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                          Exhibit 11
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                    DISTRICT OF COLUMBIA COURT OF APPEALS
                    BOARD OF PROFESSIONAL RESPONSIBILITY
                      HEARING COMMITTEE NUMBER TWELVE
                                                                                        Jun 23 2023 5:09pm

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       Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 126 of 425




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3. Divestiture of Jurisdiction. ȱ ȱĴȱȱȱȱȱ ȱȱȱ

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4. Appeal as of Right of the U.S. District Court for the District of Columbia’s Remand

    Orderǯȱȱȱȱ¢ȱȱȱ ǰȱȱǯȱȱȱȱȱȱȱȱ ȱ

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    DCCA’s January 17, 2023, stay order—was set up by the DCCA to continue until the

    removal jurisdiction dispute has been resolved. And that dispute, as noted, has not

    been resolved. Completion of the appeal (and all follow-on opportunities to challenge

    an appellate panel decisionǼȱȱęȱȱ¢ȱęȱȱȱȱȱ¢ȱher-

    level appellate review before the proceedings of    ȱĴȱ ȱ¢ȱȱ

    reactivated.

5. ȱȱȱȱ ȱȱȱĴǯ As is implicit from the

   foregoing, Respondent’s position is that it would be premature to reschedule the

   hearing at this time. Respondent cannot presently foresee when it would be ripe to set

   such a hearing dateǯȱȱȱȱspecially because Respondent will want to litigate to

   the Chair ȱȱȱȱȱĴǰȱȱ ȱre to be a

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   ȱ ȱ ȱ Ĵ, despite the fact that the District of Columbia is not a

   “State” within the meaning of 28 U.S.C. § 530B (and relatedly that the U.S. Department

   of Justice regulation issued under this statute is ultra vires for exceeding the terms of

   Section 530B’s authorization) and despite certain other of the Respondent’s defenses

   including those asserting that an exercise of D.C. Bar jurisdiction here would also

   violate the separation of powers. See  ȱǻ, Fourth, Fifth, Eighth, Eighteenth,

   ǰȱ ǰȱ ¢-Secondǰȱȱ ¢- Defenses).




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6. Intention to File a Mandamus Petition to the DCCA, ȱǯ Respondent recognizes

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     obtain a resolution of the threshold question of whether jurisdiction exists here, despite

     the limitations of Section 530B, ȱȱęȱȱȱȱring, preserving

     jurisdictional objections for review by the DCCA. With due respect, and as the Chair

     is aware, we believe that such an approach violates Ruhrgas AG v. Marathon Oil Co., 526

     U.S. 574 (1999) (threshold jurisdictional questions must be resolved before the merits);

     Steel Co. v. Citizens for a Ĵȱironment, 523 U.S. 83, 94-95 (1998) (requirement to

     ȱ ȱ Ĵȱ ȱ ȱ ȱ ȱ Ĵȱ ȱ “Ě¡ȱ ȱ ȱ

     exception” and, for that reason, the Supreme Court rejected the doctrine of

     “hypothetical jurisdiction”). 3 Cf. Coinbase, Inc. v. Bielski, Case No. 22-105, slip op. June

     22 2023 4 (whether case belongs in arbitration or district court involves the entire case,

     therefore district court proceedings stayed pending interlocutory appeal of

     arbitrability, here analogous to removability; by long-standing practice, when

     Congress wants to authorize an interlocutory appeal and automatic stay pending

     appeal, it need not say anything about a stay).




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District of ColumbiaǰȱŗŘŖȱǯŘǯȱřŝǰȱŚŘȱǻǯǯȱ ŘŖŗśǼȱ ǻȱȱȱ Ĵȱ ȱ“a threshold jurisdictional
question which must be addressed prior to and independently of the merits of a party’s claim.”).
4   Available at ĴǱȦȦ   ǯǯȦȦŘŘȦŘŘ-105_5536.pdf (last visited Jun. 23, 2023).



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       As a result, were Respondent to be faced with a future ruling holding against

   removal jurisdiction that can no longer be challenged because certiorari has been

   denied or because the U.S. Supreme Court rules against Mr. Clark, Respondent would

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   jurisdiction and thus that any general rule that the DCCA has created to the contrary

   is void as applied here. Relatedly, Respondent would take the position, at the very

   least, that it would be imprudent to hold a hearing before such a mandamus petition

   ȱę¢ȱ—and such a petition would also potentially involve U.S. Supreme

   Court review.

7. Issues That May Need to Be Addǯ Respondent cannot fully say at this premature

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   resolved by the Chair before a hearing could begin. After the October 2022 status

   conference that the Chair held was complete and the DCCA’s September 15, 2022,

   order had issued, it became clear to us that we would need to remove this case to the

   Article III courts. Without clarity as to which procedural rules would govern this

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   procedure, or a hybrid of the two if removal jurisdiction were found to exist, versus

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   if removal jurisdiction is not held to exist), it is impossible to identify or formulate all

   necessary motions in advance.

8. Five Threshold Motions Respondent Anticipates Would Need to Be Resolved Before It

   Would Be Prudent or Even Possible to Set a Hearing Date, Even If, Counterfactually,

   Both (a) the Removal Jurisdiction Dispute Were Final, and (b) the Jurisdictional

   Mandamus Petition Were Also Final. ȱ ȱ ǰȱ          ȱ ȱ ȱ ȱ ȱ ȱ ęȱ

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   issues and the mandamus-able issues are ę¢ȱǱ

     i.   Presidential Appointments Clause Prerogatives. The Charges threaten to

          interfere with the exclusive Appointments Clause power of the President of the

          United States. See Answer (Sixth Defense).

    ii.   The Charges Present Non-Justiciable Political Questions in the Context of an

          Interbranch Dispute (Partly Mooted by the Dawn of the Current Congress).

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          been docketed because he had ȱę-hand knowledge of Mr. Clark’s conduct,

          legal advice, and/or positions taken inside Executive Branch disputes.

          Numerous Democrats have objected to presidential elections, including far

          away from ȱ Ěȱ ȱ ȱ  ȱ      ȱ ȱ ǯȱ ȱ ȱ ȱ ȱ ȱ

          turniȱȱȱȱȱȱȱĴȱȱȱ, despite the fact




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       that, as is common knowledge, many members of Congress are lawyers. See

       Answer (Ninth, Thirty-Sixth, Thirty-Seventh Defenses).

iii.   Respondent’ȱȱ ȱȱȱĜȱ ¢ȱȱęȱ ¢ǯ

       And, as the Chair is no doubt aware, the presence and applicability of an

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       to a hearing before the immunity was ę¢ȱ found not to exist. See Answer

       (Twenty-Fourth Defense).

iv.    The Charges Do Not State a Violation of the Rules of Professional Conduct and

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       of Persisting in Advancing a Legal Argument After Other Lawyers Disagreed

       But the President Had Not Yet Resolved the Dispute. At the October 2022 status

       conference, you, as Chair, seemed to recognize that, after Mr. Fox’s concession

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       ȱȱĜcials, a serious issue existed as to how such persistent conduct could

       possibly violate the Rules. See Answer (Twenty-Fifth and Twenty-Sixth

       Defenses).

 v.    ODC Has Engaged in at Least Two Forms of Misconduct That Fatally Taint

       This Action: (1) ODC Improperly Threatened Respondent to Agree to Its Invalid

       Informational Demands or Discipline Would Be Heightened, Which Violates




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          Press. See Answer (Forty-Fourth, Forty-Sixth, and Forty-Seventh Defenses.

       Finally, as an overarching caveat, by Ĵȱ ȱ ȱ ęȱ ¡ȱ ȱ

motions, Respondent and his counsel do not intend to waive any of Respondent’s other

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simply trying to be as transparent as we can at this time, in our lodged response to the

June 16, 2023, Order.

9. Intermediate Dates. For the reasons listed above (and others), that we cannot hazard a

   guess at this point as to when it would be possible or prudent to set any intermediate

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   ȱ ȱ ȱ  ȱ Ǳȱ (i) even once the removal jurisdiction and mandamus

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   two weeks and possibly as long as one month in which to assess where the case stands

   in light of any intervening judicial cases and formulate defenses based thereon; and (ii)

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   sequential period of 3-4 weeks each after the general transition period ends. Each of

   the above-described motions will be complex and Respondent should not be denied

   adequate time to lay out any such defenses.

10. Aid with Obtaining Documents from DOJ and Beyond. Using its resource advantages

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   Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 134 of 425




under seal to its advantage, ODC has had the luxury of having been able to interview

witnesses it believes support the Charges and look at documents that were released by

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violation of its Touhy ǰȱ ȱǼǯȱǯȱȱȱȱȱěȱthese

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unreleased evidence may be exculpatory as to Mr. Clark, especially considering the

show-trial nature of those proceedings. In light of these issues, the Chair would need

to assist Respondent by calling for the full span of documents to be released to the

parties. Or, failing that, for Mr. Clark to approach the relevant bodies to see if they will

share all necessary information. Finally, if that will not occur for one reason or another,

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due process rights would be violated if a hearing goes forward nonetheless, since both

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obvious incentives not to want to assist Mr. Clark to assemble the full span of his own

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provided by third parties to other governmental bodies. See  ȱǻ¢-Eighth &



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      Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 135 of 425




   Forty-Ninth Defenses). Resort to FOIA requests and FOIA litigation may become

   necessary. In addition, securing the testimony of current or ȱ  ȱ ¢ȱ

   may become entangled in disputes or litigation over the application of the Touhy

   regulations.

11. Witnesses. ȱ ȱŗŜǰȱŘŖŘřȱȱȱȱȱȱȱȱǰȱȱ ȱ ȱȱȱȱ

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   ȱ   ȱ ȱ ǯȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ Ĝȱ clarity as to

   scheduling and thus ȱ ȱȱȱȱȱ ȱǻȱȱǯȱ, who would

   then be potentially blamed for trying the patience of third parties), if scheduling

   guesses are made that may not hold up.

12. Information on Other Prosecutions. Much like we anticipate that President Trump, in

   defending the Mar-a-Lago documents prosecution brought against him on grounds

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   investigations and prosecutorial decision memoranda as to other Presidents, Vice

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   want a period of discovery into whether ODC has ever brought or even considered

   bringing a bar disciplinary case remotely like this one ever before. This is because Mr.

   Clark’ȱȱȱǻȱȱǼȱȱ ȱȱȱ¢ȱȱ

   D.C. Bar prosecution. See  ȱ ǻThirty-Eighth and Thirty-Ninth Defenses). For

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      Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 136 of 425




   lawyers taking positions on those presidential elections ever even investigated for their

   positions?

13. Ex Parte Contacts. ȱȱǰȱȱȱȱǰȱ ȱ ȱęȱȱȱ

   requiring all ex parte contacts concerning non-ministerial Ĵȱ ǻwith ministerial

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   sought discovery of third-party contacts and coordination between ODC with ǻǼȱ¢ȱ

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   media. We ȱȱě there. That cannot be allowed to continue.

14. Renewed Deferral Motion. ȱȱȱȱȱȱ ǰȱȱĴȱȱjust one piece

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   President Trump’s lawyers or perceived allies of President Trump ȱȱŘŖŘŖȱȱ¢ȱ

   ŘŖŘŗ. Under standard principles animating the DCCA, Board, and Hearing Ĵȱ

   approach to granting deferrals, Respondent thus may opt to ęȱȱ ȱȱ

   motion on an appropriate future date.

15. Prehearing Conference. ȱȱȱ¡¢ȱȱȱȱĴȱȱ ȱȱȱ

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   anticipate that yes, a prehearing conference of considerable length would be required

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/s/ Charles Burnham                            Robert A. Destro*
Charles Burnham                                Ohio Bar #0024315
DC Bar No. 1003464                             4532 Langston Blvd, #520
1750 K Street, NW                              Arlington, VA 22207
Suite 300                                      202-319-5303
Washington DC 20005                            robert.destro@protonmail.com
charles@burnhamgorokhov.com                    *Motion for pro hac vice admission
                                               before DCCA in progress

Harry W. MacDougald*
Georgia Bar No. 453076
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive, Suite 1600
Atlanta, Georgia 30346
(404) 843-1956
hmacdougald@ccedlaw.com
* Motion for pro hac vice admission before
DCCA in progress




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                           CERTIFICATE OF SERVICE

      I hereby certify that I have on June 23, 2023, served counsel for the

opposing party and the executive attorney by email addressed to:

      Hamilton P. Fox                 James T. Phalen
      Jason R. Horrell                Executive Attorney
      Theodore (Jack) Metzler         Office of the Executive Attorney
      Building A, Room 117            430 E. Street, NW Suite 138
      515 5th Street NW               Washington, DC 20001
      Washington DC 20001             casemanagers@dcpbr.org
      foxp@dcodc.org


                                      /s/ Charles Burnham
                                      Charles Burnham
                                      DC Bar No. 1003464
                                      1750 K Street, NW
                                      Suite 300
                                      Washington DC 20005
                                      (202) 386-6920
                                      charles@burnhamgorokhov.com




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22-BG-0891: Case View Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 139 of 425                                          6/23/23, 12:46 PM



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  Cases                                   Case Information: 22-BG-0891

   Case Search                                                      IN RE JEFFREY B.
                                                                    CLARK, BAR
   Participant Search                                                                                            Bar Governance - Bar -
                                          Short Caption:            REGISTRATION NO.           Classification:
                                                                                                                 Disciplinary
                                                                    455315, BOARD
                                                                    DOCKET NO. 22-BD-39
                                          Superior Court or
                                          Agency Case               DDN: 2021-D193             Filed Date:       10/26/2022
                                          Number:


                                          Opening Event
                                                                    10/26/2022                 Case Status:      Pending
                                          Date:
                                                                                               Post-Decision
                                          Record Completed:                                    Matter
                                                                                               Pending:
                                          Briefs Completed:

                                          Argued/Submitted:
                                                                                               Next
                                                                                                                 Review
                                          Disposition:                                         Scheduled
                                                                                                                 Filings/Statements/Pleadings
                                                                                               Action:
                                          Mandate Issued:


                                          Party Information

                                          Appellate Role Party Name                   IFP    Attorney(s)         Arguing Attorney E-Filer
                                          Petitioner           Bar Counsel             N     Hamilton P. Fox                  N           Y

                                                                                             Jason Horrell                    N           Y

                                                                                             Theodore (Jack) Metzler          N           Y

                                          Petitioner           Board on                      James T. Phalen                  N           Y
                                                               Professional
                                                               Responsibility
                                          Respondent           Jeffrey B. Clark        N     Charles Burnham                  N           Y


                                          Events

                                          Event Date Status Description                                                           Result PDF

                                          10/26/2022 Filed          Bar Counsel's Motion To Enforce Subpoena
                                                                    Reply to Disciplinary Counsel's Motion to Enforce
                                          11/04/2022 Filed
                                                                    Subpoena. (Respondent)
                                                                    Disciplinary Counsel's Reply to Respondent's Response to
                                          11/07/2022 Filed
                                                                    Motion to Enforce (Petitioner Bar Counsel)
                                                                    Notification of Second Removal to Federal Court
                                          11/26/2022 Filed
                                                                    (Respondent)
                                                                    ORDER holding subpoena in abeyance pending outcome of
                                          01/17/2023 Filed
                                                                    removal matter in US District Court.
                                          06/09/2023 Filed          Disciplinary Counsel's Notice of Order Granting Remand
                                                                    (Petitioner Bar Counsel)


https://efile.dcappeals.gov/public/caseView.do?csIID=66986                                                                              Page 1 of 2
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22-BG-0891: Case View Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 140 of 425                                  6/23/23, 12:46 PM



                                          06/12/2023 Filed    Motion to continue abeyance of proceedings before this
                                                              court and/or defer proceedings below. (Respondent)
                                                              Appearance by Theodore (Jack) Metzler (Petitioner Bar
                                          06/16/2023 Filed
                                                              Counsel)
                                                              Opposition to Motion to Continue Abeyance (Petitioner Bar
                                          06/20/2023 Lodged
                                                              Counsel)
                                                              Motion For Leave to Exceed Length Limitations for Reply
                                                              in Support of Motion to Continue Abeyance of
                                          06/21/2023 Filed
                                                              Proceedings Before this Court and/or Defer Proceedings
                                                              Below (Respondent)
                                                            Reply in Support of Motion to Continue Abeyance of
                                          06/22/2023 Lodged Proceedings Before This Court and/or Defer Proceedings
                                                            Below (Respondent)




https://efile.dcappeals.gov/public/caseView.do?csIID=66986                                                                      Page 2 of 2
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                           District of Columbia
                            Court of Appeals
                                                                    SEP 15 2022
No. 22-BG-059

IN RE JEFFREY B. CLARK

A Member of the Bar of the
District of Columbia Court of Appeals                 DDN2021-'193
Bar Registration No. 445315                           Board Docket No.: 22-BD-39


BEFORE: Glickman and Howard, Associate Judges, and Steadman, Senior Judge.


                                  ORDER
                           (FILED— September 15, 2022)

        This matter began as a sealed motion to enforce a subpoena duces tecum to
assist in the investigation of a potential disciplinary violation, respondent then filed
motions for leave to file his lodged opposition that exceeded the page limits and a
motion to quash that was opposed by Disciplinary Counsel to which respondent filed
a reply; Disciplinary Counsel filed a motion to supplement the record, respondent
filed a response and Disciplinary Counsel filed a reply; Disciplinary Counsel then
filed a motion to unseal the case stating that it had filed a petition and specification
of charges that has been sent to a Hearing Committee (2022 BDN 39) but still seeks
enforcement of the subpoena duces tecum to assist in presenting its case, respondent
opposes and filed a motion to stay the proceedings before the Hearing Committee
pending resolution of this matter that is opposed by Disciplinary Counsel and
respondent filed a reply, and finally respondent has filed a D.C. App. R. 28(k) letter,
it is

      ORDERED that respondent’s motions for leave to file his opposition are
granted. It is

     FURTHER ORDERED that Disciplinary Counsel’s motion to supplement the
motion is granted. It is


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     Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 142 of 425




No. 22-BG-59


       FURTHER ORDERED that the motion to unseal is granted and the case
number and caption are changed as reflected in this order. Because Disciplinary
Counsel has now filed a petition and specification of charges pursuant to D.C. Bar
R. XI, § 8(c), D.C. Bar R. XI, § 17(a) no longer applies. Any request for a protective
order must be made to the Hearing Committee pursuant to D.C. Bar R. XI, § 17(d).
It is

      FURTHER ORDERED that respondent’s motion to stay the disciplinary
proceedings is denied. It is

      FURTHER ORDERED that respondent’s motion to quash the subpoena is
denied. D.C. Bar R. XI, § 18(c) requires that all motions to quash a subpoena must
be heard and decided by a Hearing Committee designated by the Executive Attorney.
It is

        FURTHER ORDERED that because disciplinary proceedings have been
initiated the pending subpoena issued pursuant to D.C. Bar R. XI, § 18(b) no longer
applies. D.C. Bar R. XI, § 18(a) provides that once formal disciplinary proceedings
are initiated the subpoena to compel attendance and production of documents may
be issued by either Disciplinary Counsel or a member of the Hearing Committee.
By reaching this resolution we express no opinion on whether the subpoenas was
properly served. Therefore, the motion to compel is denied as moot.



                                  PER CURIAM


Copies e-served to:

Charles Burnham, Esquire

Hamilton Fox, Esquire
Disciplinary Counsel
     Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 143 of 425




No. 22-BG-59


Jason Horrell, Esquire
Office of Disciplinary Counsel

James Phalen, Esquire
Executive Attorney - BPR

Lucy Pittman, Esquire
Chair - BPR
        Case
     Case    1:22-mc-00096-RC
          1:22-mc-00117-RC     Document
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                                                             Page144
                                                                  1 ofof2425




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

 IN RE: JEFFREY B. CLARK,

       A member of the Bar of the                    Case Nos. 22-mc-00096, 22-mc-00117,
       District of Columbia Court of                 and 23-mc-00007 (consolidated)
       Appeals (Bar No. 455315)


                               NO TICE O F APPEAL

      Plaintiff/Charge Respondent Jeffrey B. Clark hereby files this notice of appeal to

the United States Court of Appeals for the District of Columbia Circuit from the Order of

the United States District Court for the District of Columbia, entered June 8, 2023,

granting motions to remand filed by Defendant/Charging Party Disciplinary Counsel

Hamilton P. (“Phil”) Fox. Appeals of right lie from remand orders arising from federal

officer removal cases pursuant to 28 U.S.C. § 1447(d).


Respectfully submitted this 11th day of June 2023.

 /s/ Charles Burnham                         /s/ Harry W. MacDougald
 Charles Burnham                             Harry W. MacDougald
 DC Bar No. 1003464                          Georgia Bar No. 463076
 Burnham and Gorokhov, PLLC                  Caldwell, Carlson, Elliott & DeLoach LLP
 1750 K St. NW                               Two Ravinia Drive, Suite 1600
 #300                                        Atlanta, Georgia 30346
 Washington, DC 20006                        (404) 843-1956
 (202) 386-6920                              hmacdougald@ccedlaw.com
 charles@burnhamgorokhov.com




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          1:22-mc-00117-RC     Document
                            Document 18-121 Filed
                                             Filed07/25/23
                                                   06/11/23 Page
                                                             Page145
                                                                  2 ofof2425




                           CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party with

a copy of this Notice of Appeal by filing with the Court’s electronic filing system and by

email addressed to:

      Hamilton P. Fox, Esq.
      Jason P. Horrell, Esq.
      Office of Disciplinary Counsel
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org
      horrellj@dcodc.org



      This 11th day of June 2023.

                                         /s/ Charles Burnham
                                         Charles Burnham
                                         DC Bar No. 1003464
                                         Burnham and Gorokhov, PLLC
                                         1750 K St. NW
                                         #300
                                         Washington, DC 20006
                                         (202) 386-6920
                                         charles@burnhamgorokhov.com




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                          Exhibit 12
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             DISTRICT OF COLUMBIA COURT OF APPEALS
             BOARD ON PROFESSIONAL RESPONSIBILITY
              HEARING COMMITTEE NUMBER TWELVE

_______________________________
                                    :                                     Jun 23 2023 4:35pm

In the Matter of                    :
                                    :
JEFFREY B. CLARK, ESQUIRE :                  Disciplinary Docket No. 2021-D193
                                    :        Board Docket No. 22-BD-039
      Respondent,                   :        DCCA No. 21-BS-0059
                                    :
A Member of the Bar of the District :
  of Columbia Court of Appeals.     :
Bar Number: 455315                  :
Date of Admission: July 7, 1997     :
_______________________________:


              DISCIPLINARY COUNSEL’S STATUS REPORT

      Mr. Clark has noted an appeal from the district court’s order of remand to the

United States Court of Appeals for the District of Columbia Circuit. There is also

pending before the D.C. Court of Appeals a motion by Disciplinary Counsel to

enforce a subpoena for documents from Mr. Clark. That enforcement proceeding

was held in abeyance by the Court pending resolution of the removal issue and

should now be ripe for decision. Mr. Clark has asked the Court to continue to hold

the matter in abeyance. Disciplinary Counsel has opposed that request, and the issue

is pending. Finally, it came to Disciplinary Counsel’s attention that Mr. Clark had

written a draft of a memoir of some sort in which he discussed the conduct that lies

at the basis of this proceeding. Disciplinary Counsel subpoenaed those materials in
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December, but Mr. Clark refused to accept the subpoena when a process server

attempted to serve it.

      The Hearing Committee should re-set this case for a hearing as soon after

Labor Day as possible. Disciplinary Counsel believes that its case should take two

days to try but recommends that the Committee schedule three days (plus however

long Mr. Clark believes his case will take) out of caution. (The initial hearing was

scheduled for five days.)        Disciplinary Counsel is available any day in

September, other than September 18-21, and any other date later in the year other

than November 16-19.       The parties have already submitted witness lists and

exhibit lists, but we suggest that they be given a chance to amend them. We suggest

that the dates for those amendments should be three weeks before the hearing date.

      Mr. Clark has heretofore asserted his privilege against self-incrimination in

these proceedings as well as before the January 6 Committee. We note, however,

that on June 6, 2023, he appeared before an ad hoc Congressional Committee and

did not assert. His testimony touched on his investigation of election fraud while at

the Department of Justice following the November 2020 election. It may be that he

no longer intends to assert his privilege or that he has waived it.

Disciplinary Counsel intends to call him as a witness in its case. If he does refuse to

testify, the issue will arise as to what inference the Committee will be permitted to

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draw from that refusal. This is an issue that has not been addressed in our

disciplinary process. We believe that this issue should be the subject of a pre-hearing

ruling so that Mr. Clark and Disciplinary Counsel will know in advance the

consequences of Mr. Clark’s refusal to testify. For example, Disciplinary Counsel

would conduct its examination of Mr. Clark differently if the Hearing Committee

determines that it may draw inferences from his invocation of the privilege.

Accordingly, Disciplinary Counsel believes that a pre- hearing conference is needed

to schedule a process to resolve this issue as well as the production of the materials

Disciplinary Counsel attempted to subpoena and whatever other evidentiary issues

Mr. Clark might raise. This conference should be scheduled for July.

                                              Respectfully submitted,

                                              Hamilton P. Fox, III
                                              ______________________________
                                              Hamilton P. Fox, III
                                              Disciplinary Counsel
                                              Bar Registration No. 113050

                                              /s/ Jason R. Horrell
                                              Jason R. Horrell
                                              Assistant Disciplinary Counsel
                                              Bar Registration No. 1033885

                                              OFFICE OF DISCIPLINARY COUNSEL
                                              515 Fifth Street, N.W.
                                              Building A, Room 117
                                              Washington, D.C. 20001
                                              (202) 638-1501

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    Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 150 of 425




                       CERTIFICATE OF SERVICE

     I hereby certify that on this 23rd day of June 2023, I caused a copy of the

foregoing Disciplinary Counsel’s Status Report to be served via email on the

Board on Professional Responsibility, at CaseManager@dcbpr.org and a copy sent

via email to Jeffrey B. Clark’s c/o Harry W. MacDougald, Esquire, at

hmacdougald@CCEDlaw.com,          to        Charles Burnham,         Esquire,     at

charles@burnhamgorokhov.com,      and       to   Robert A. Destro,     Esquire,   at

Robert.destro@protonmail.com.


                                             Hamilton P. Fox, III
                                             ______________________________
                                             Hamilton P. Fox, III
                                             Disciplinary Counsel




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                          Exhibit 13
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               DISTRICT OF COLUMBIA COURT OF APPEALS
               BOARD ON PROFESSIONAL RESPONSIBILITY
                 HEARING COMMITTEE NUMBER TWELVE
                                                                                  
In the Matter of:                        :
                                         :                                      Jul 5 2023 12:04pm

      JEFFREY B. CLARK,                  :
                                                                                      
                                         :
Respondent.                              :   Board Docket No. 22-BD-039
                                         :   Disciplinary Docket No. 2021-D193
A Member of the Bar of the               :
District of Columbia Court of Appeals    :
(Bar Registration No. 455315)            :

                                     ORDER

      Disciplinary Counsel filed the Specification of Charges in this matter on July

19, 2022. Respondent filed his Answer on September 1, 2022. The matter was set

for a hearing to begin on January 9, 2023.

      On October 17, 2022, Respondent filed a notice of removal of this matter to

the United States District Court for the District of Columbia. Disciplinary Counsel

filed a motion to remand on October 21, 2022. On June 9, 2023, Disciplinary

Counsel notified the Hearing Committee that the District Court had granted

Disciplinary Counsel’s motion to remand on June 8, 2023. See Order In re Clark,

Case Nos.: 22-mc-0096, 22-mc-0117, 23-mc-0007 (D.D.C. June 8, 2023) (“this

matter shall be REMANDED for further proceedings”) (emphasis in original); see

also Memorandum Op., In re Clark, Case Nos.: 22-mc-0096, 22-mc-0117, 23-mc-

0007 (D.D.C. June 8, 2023) (setting forth basis for remand order). On June 16, 2023,

the Hearing Committee ordered each party to report on the status of this matter,
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specifically addressing rescheduling this matter for a hearing; identifying any issues

the parties believe may need to be addressed; proposing any intermediate dates that

may need to be scheduled in advance of hearing; and stating the party’s position on

whether it is appropriate or necessary to schedule an additional prehearing

conference. Both parties submitted timely reports, which Disciplinary Counsel

purported to file and Respondent, Mr. Clark, to “lodge.”

      Disciplinary Counsel asserts that the case is ready for hearing, which should

be scheduled as soon as possible after Labor Day. Mr. Clark lodged his report

because he maintains that this matter should be held in abeyance pending the Court

of Appeals’ consideration of a subpoena dispute between Mr. Clark and Disciplinary

Counsel (In re Clark, D.C. App. No. 22-BG-0891). Mr. Clark’s Report at 2.

      The fact that a party is seeking to enforce a subpoena for use in this

proceeding, however, neither requires nor justifies holding this proceeding in

abeyance, at least at this point. A subpoena enforcement is not an appeal of this

action. It is a collateral proceeding that does not affect jurisdiction here. Nor does

its pendency justify delaying all other preparation in this matter. See In re Clark,

Board Dkt. 22-BD-039, at 4-5 (H.C. Report, Sept. 12, 2022), adopted on other

grounds, Order, In re Clark, Board Dkt. 22-BD-039 (BPR, Sept. 27, 2022).

      Regarding scheduling, Mr. Clark also notes that he has appealed the District

Court’s June 8 Order, attaches his Notice of Appeal, and argues that Hearing

Committee proceedings may not commence until that appeal is complete and “not

subject to any higher level appellate review.” Mr. Clark’s Report at 4. Mr. Clark



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does not assert that the District Court’s remand order has been stayed pending

appeal, or that any court has issued an order specifically prohibiting further

proceedings before this Hearing Committee.

         Mr. Clark also argues that the remand order is not immediately effective to

dispose of the controversy over removal jurisdiction because the District Court has

not yet issued a separate “judgment” pursuant to Fed. R. Civ. P. 58, which requires

that a judgment “must be set out in a separate document.” Mr. Clark’s Report at 3.

As noted above, Mr. Clark’s statement that the District Court did not create a

separate document does not appear to be true. The District Court did enter a separate

order remanding the case. See In re Clark, No. 23-7073 (D.D.C.), Dkt. Nos. 19-20.

Indeed, Mr. Clark has appealed the order and the United States Court of Appeals for

the District of Columbia Circuit has docketed the appeal. In re Clark, 23-7073 (D.C.

Cir.).

         But even if Mr. Clark were correct that the District Court did not properly

enter a judgment in a separate document, that would raise a potential question only

about whether his appeal was valid. It would not change the fact that the District

Court ordered the case to be remanded. The Supreme Court has concluded that

“[t]he sole purpose of the separate-document requirement, which was added to Rule

58 in 1963, was to clarify when the time for appeal under 28 U.S.C. § 2107 begins

to run.” Bankers Trust Co. v. Mallis, 435 U.S. 381, 384 (1978); accord Diamond by

Diamond v. McKenzie, 770 F.2d 225, 230–31 (D.C. Cir. 1985). Courts enter many

orders (for example, discovery rulings, injunctions, scheduling orders and pro hac



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     Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 155 of 425




vice orders), that do not operate by themselves as final judgments. Those orders are

nonetheless effective unless they are stayed.

      Mr. Clark’s decision to appeal did not stay the District Court’s Order. “A

stay” of a motion to remand pending appeal “is not a matter of right even if

irreparable injury might result.” Leroy v. Hume, 563 F.Supp.3d 22 (E.D. N.Y 2021)

(quoting Virginia Ry. Co. v. United States, 272 U.S. 268, 272 (1926)). See also, e.g.,

Wilde v. Huntington Ingalls, Inc., 616 Fed. Appx. 710 (5th Cir. 2015) (denying

motion to stay an order of remand pending appeal); Martin v. Serrano Post Acute

LLC, 2020 WL 13302380 (C.D. Cal. 2020) (same) Mayor of Baltimore v. BP P.L.C.,

2019 WL 3464667 (D. Md. 2019) (same). The docket reflects that Mr. Clark did

not even seek to stay order, much less obtain a stay.

      Mr. Clark also asserts that it would be premature to reschedule the hearing at

this time because, among other things, Mr. Clark will want to litigate to the Chair

via motions practice “numerous threshold matters,” and that mandamus proceedings

may be required. Mr. Clark’s Report at 4-5. However, Board Rule 7.16 does not

permit our Committee to delay the hearing to resolve motions that are not directed

to the manner in which the hearing is to be conducted, or the admissibility of

evidence. Instead “the Hearing Committee shall include in its report to the Board a

proposed disposition and the reasons therefor. The Board will rule on all such

motions in its disposition in the case.” See also In re Stanton, 470 A.2d 281, 285

(D.C. 1983) (appended Board report) (once a Specification of Charges has been

filed, “the underlying purposes of the Board require that we proceed directly to a



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hearing on the merits rather than being detoured into questions of pleading and

form.”).1

      Upon consideration of the foregoing, and it appearing that this matter has been

remanded to the Hearing Committee, and it further appearing that a pre-hearing

conference would assist the Hearing Committee in scheduling this matter for a

hearing, it is hereby

      ORDERED that a pre-hearing conference will be held in the above-captioned

matter at 1:00 p.m. on July 12, 2023, via Zoom video conference, in accordance

with Board Rule 7.24, and will be live-streamed on the Hearing Committees’

YouTube channel. Disciplinary Counsel and Mr. Clark and/or his counsel shall

appear promptly at that time. The parties are directed to avoid scheduling conflicting



1 Mr. Clark renews an argument he has made before that the Committee should not

follow the Board’s procedures because, if this Committee were a federal court, it
could not avoid reaching a difficult jurisdictional issue by resolving the case based
on merits arguments that are easier to adjudicate. Mr. Clark’s Report at 5.
Mr. Clark’s argument misstates our role. The Committee is not a federal court and
does not determine merits at all. Rather, it issues a report and recommendation that
is filed with the Board (under procedures the Board establishes). Nothing in the
decisions Mr. Clark cites involving federal courts bars the Board from having the
Committee issue a report and recommendation on all issues at once. Nor does it
authorize (much less require) the Committee to establish a motion practice that the
Board did not contemplate. In any event, even if we assumed that the federal court
principle Mr. Clark references applied to this Committee, following Board Rule 7.16
(by making a report and recommendation after hearing rather than deciding a case
on papers), would not violate that principle. Complying with Board Rule 7.16 does
not mean that the Committee will overlook a difficult “jurisdictional” argument in
order to resolve the case on the merits. To the contrary, the Rule contemplates that
we carefully consider all issues, report on the relate facts and make
recommendations on all appropriate determinations.

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matters and shall inform any court or administrative agency of this prior commitment

to the disciplinary system; and it is further

       ORDERED that prior to the pre-hearing conference, the parties are directed

to meet and confer with respect to scheduling the evidentiary hearing of this matter

during 2023, and any intermediate dates that may need to be scheduled in advance

of hearing. When considering scheduling, the parties are reminded that subpoenas

are available to compel the attendance of witnesses, and witness testimony may be

taken from a remote location pursuant to Board Rule 11.4. The parties are further

reminded to allow time for opening statements and closing arguments when

estimating the time necessary for the hearing; and it is further

       ORDERED that Mr. Clark’s attention is drawn to Board Administrative Order

2023-01, which provides, among other things, that

       Board oral arguments and Hearing Committee hearings in contested
       cases and reinstatement cases that have not yet been scheduled for a
       hearing, shall be scheduled for an in-person proceeding unless the
       respondent requests that the proceeding be held over Zoom. For Board
       arguments, the request to conduct the argument over Zoom, if any, shall
       be contained in the respondent’s brief, immediately before the
       respondent’s or counsel’s signature. For Hearing Committee hearings
       in contested cases and reinstatement cases, the request to conduct the
       hearing over Zoom, if any, shall be made as soon as practicable, but no
       later than the date set for the pre-hearing conference. Such request shall
       be filed with the Office of the Executive Attorney and served on
       Disciplinary Counsel;

and it is further




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       ORDERED that the Office of the Executive Attorney is directed to serve this

order by email, and to circulate the link for the Zoom pre-hearing conference.



                                 HEARING COMMITTEE NUMBER TWELVE

                                 By: _____________________________________
                                      Merril Hirsh
                                      Chair

cc:

Jeffrey Clark, Esquire
c/o Charles Burnham, Esquire
Robert A. Destro, Esquire
Harry W. MacDougald, Esquire
charles@burnhamgorokhov.com
robert.destro@protonmail.com
hmacdougald@ccedlaw.com

Hamilton P. Fox, III, Esquire
Jason R. Horrell, Esquire
Office of Disciplinary Counsel
foxp@dcodc.org
horrellj@dcodc.org




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                          Exhibit 14
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                DISTRICT OF COLUMBIA COURT OF APPEALS

                BOARD ON PROFESSIONAL RESPONSIBILITY

                      Hearing Committee Number Twelve

                                                                      -XO\SP

In the Matter of

JEFFREY B. CLARK                               Disciplinary Docket No.

A Member of the Bar of the District            2021-D193
of Columbia Court of Appeals

Bar No. 455315

Date of Admission: July 7, 1997


                  LODGED NOTICE OF MOTION TO
                 EXPEDITE FILED IN THE COURT OF
                            APPEALS

      Respondent hereby lodges this Notice of Motion to Expedite Filed in the

Court of Appeals with the Board and Hearing Committee. The filing and exhibit

are attached.


      Respectfully submitted July 5, 2023 .

/s/ Charles Burnham                      Robert A. Destro*
                                         Ohio Bar #0024315
Charles Burnham                          4532 Langston Blvd, #520
DC Bar No. 1003464                       Arlington, VA 22207
Burnham and Gorokhov, PLLC               202-319-5303
1750 K Street, NW                        robert.destro@protonmail.com
Suite 300                                *Motion for pro hac vice admission
Washington DC 20006                      before DCCA in progress
(202) 386-6920
charles@burnhamgorokhov.com
    Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 161 of 425




Harry W. MacDougald*
Georgia Bar No. 453076
Caldwell, Carlson, Elliott & DeLoach,
LLP
Two Ravinia Drive, Suite 1600
Atlanta, Georgia 30346
(404) 843-1956
hmacdougald@ccedlaw.com
* Motion for pro hac vice admission
before DCCA in progress




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this lodged filing by email:

      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

                                       /s/ Charles Burnham
                                       Charles Burnham
                                       DC Bar No. 1003464
                                       1750 K Street, NW
                                       Suite 300
                                       Washington DC 20006
                                       202-386-6920
                                       charles@burnhamgorokhov.com




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                     DISTRICT OF COLUMBIA COURT OF APPEALS

 In the Matter of

 JEFFREY B. CLARK                                           Disciplinary Docket Nos.

 A Member of the Bar of the District of                     2021-D193
 Columbia Court of Appeals
                                                            22-BG-891
 Bar No. 455315

 Date of Admission: July 7, 1997


        MOTION TO EXPEDITE RULING ON MOTION TO
       CONTINUE ABEYANCE OF PROCEEDINGS BEFORE
      THIS COURT AND/OR DEFER PROCEEDINGS BELOW

       Respondent Jeffrey B. Clark moved on June 11, 2023, to continue the abeyance

ordered by this Court on January 17, 2023 and (additionally or in the alternative) to order

that proceedings before the Board of Professional Responsibility, etc. be deferred.1 The

June 11 Motion has been fully briefed and is ripe for decision. Respondent respectfully

asks the Court to expedite ruling on this Motion because the Hearing Committee issued

an order today, July 5, 2023, immediately resuming proceedings at that level without

waiting for this Court to act on the relief requested in the Motion, especially the request

for a deferral order of all proceedings below pending future Article III court action.

       Specifically, Respondent asked that the abeyance be continued because the

grounds upon which it was originally entered still apply—the question of removal




1 The January 17, 2023 Order held the Office of Disciplinary Counsel’s Motion to Enforce Subpoena Duces
Tecum in Abeyance.
     Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 164 of 425




jurisdiction remains unresolved due to the pendency of Respondent’s appeal of the

remand order issued by the U.S. District Court. While normal remand decisions are not

appealable, federal officer removals may be appealed as of right under 28 U.S.C. §

1447(d).

      Respondent’s Motion to Continue Abeyance also asked this Court to hold

proceedings before the Board of Professional Responsibility and Hearing Committee

Number 12 in abeyance or to order them deferred.

      Respondent brings this Motion for Expedited Consideration because the Chair of

Hearing Committee Number 12 issued an Order on July 5, 2023 to resume proceedings

before the Committee. See Exh. 1, attached hereto. The July 5 Order directed the

resumption of proceedings before the Hearing Committee despite the pending D.C.

Circuit appeal and despite Respondent’s Motion to Continue Abeyance in this Court. The

July 5 Order set a pre-hearing conference for July 12, 2023, and directed the parties to

meet and confer on scheduling the evidentiary hearing and any associated preliminary

events and deadlines. The July 5 Order thus makes resolution of Respondent’s Motion to

Continue Abeyance an urgent priority. We thus respectfully request a resolution of the

pending Motion to Continue Abeyance on or before July 11, 2023.

      The July 5 Order rests on invalid premises. First, with respect to the pending

federal appeal, it relies at least in part on the fact that Respondent has not yet filed a

motion for stay pending appeal in the Article III court system. See July 5 Order, pp. 2-3.



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     Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 165 of 425




But the deadline for procedural motions in the federal appeal is July 14, 2023, and until

today it was not clear that the Hearing Committee would move forward despite the

pending federal appeal and the Motion to Continue Abeyance pending in this Court.

Respondent conspicuously noted the timing of the procedural motions deadline in the

D.C. Circuit in his Reply in Support of the Motion to Continue Abeyance, and stated that

a motion for stay in the Article III court system would be filed if abeyance was not

forthcoming from this Court. No weight can be given to Respondent not having filed a

motion whose deadline is still ten days away and which may not ever be necessary if the

abeyance is continued in this Court and extended to the Board and Hearing Committee

level via a deferral order, as common sense and comity suggest should occur.

       The January 17, 2023 abeyance order here implicitly recognized that it was

inappropriate to move forward with proceedings in this Court, and by implication at the

Board and Hearing Committee level, until the question of removal was resolved. Indeed,

the Board and Hearing Committee Number 12 took no steps to adjudicate this case while

the removal issue was under submission to the U.S. District Court. Nothing has changed

since that time except that the first stage of the removal proceedings was decided against

Mr. Clark. Hence, the logic of the January 17 abeyance applies with equal force now due

to the pendency of the federal appeal. After all, it is obvious that if a trial (denominated

a “hearing” under the disciplinary system) is conducted below and Mr. Clark later

prevails in his D.C. Circuit appeal or at the U.S. Supreme Court—thereby establishing



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that there is federal-officer removal jurisdiction here—then all proceedings before the

Hearing Committee and any related follow-on proceedings before the Board or this Court

would have been a waste of resources for all concerned. Surely that ought to be avoided.

        Second, the Committee Chair also held that the abeyance in this Court of the

motion to enforce a subpoena was collateral to the proceedings before the Hearing

Committee and did not deprive it of jurisdiction to move forward with the evidentiary

hearing. However, as noted above, after the abeyance order was entered, proceedings at

the Board and Hearing Committee level were also halted, even though there was no

specific Order to that effect entered at the Board or Hearing Committee level, a point not

addressed in the July 5 Order. Indeed, ODC itself conceded that this case has been in a

functional abeyance at the Board level (and thus at the Hearing Committee level as well).2

This is why filings at the Board level were recorded as “lodged” rather than filed from

October 17, 2022 forward. Thus, it is effectively, if not explicitly, conceded by all that the

logic of this Court’s abeyance order applies equally to proceedings before the Board and

Hearing Committee, regardless of whether the proceedings in this Court are viewed as

collateral to those before the Hearing Committee. It simply makes no sense to proceed in

this Court or its adjuncts until the question of removal has been finally resolved, and this




2 “The Board on Professional Responsibility likewise began to treat the underlying disciplinary matter as
if it were before the federal court and did not proceed to hold the scheduled evidentiary hearing.” ODC
Opposition to Motion for Abeyance at 2.



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is as true now as it was in January 2023.

       This Court has inherent authority to enter abeyances to manage its own docket

and extend comity to another court system. See, e.g., Landis v. North Am. Co., 299 U.S. 248

(1936), and to extend its orders to the Board and the Hearing Committee. The Board and

Hearing Committee processes operate under the auspices of this Court and this Court

exercises continuing supervisory authority over the Board and the Hearing Committee.

The circumstances of this case are certainly appropriate for the exercise of supervisory

authority so as to continue the abeyance posture ordered in January 2023.

                                      CONCLUSION

       For the conservation of the resources of the Court, the Hearing Committee, the

Board, the U.S. District Court, the D.C. Circuit Court of Appeals, and not least the parties,

Mr. Clark respectfully requests this Court expedite its consideration of his Motion to

Continue Abeyance until Mr. Clark’s appeal of the District Court’s remand decision, and

any potential further appellate review, is concluded. He further requests that this Court

order that proceedings before the Board of Professional Responsibility and its assigned

Hearing Committee be deferred on the same terms.

       Specifically, Mr. Clark requests that the Court issue an expedited ruling on his

pending Motion on or before July 11, 2023. Should relief not be forthcoming in this

posture, undersigned counsel will immediately begin preparing for filing here a

mandamus petition because we believe that this Court and its adjuncts lack jurisdiction



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over this matter on multiple grounds including, but not limited to (1) those based on

federal statutory and regulatory limits imposed on disciplinary proceedings against

federal attorneys and (2) the fact that removal automatically divested this Court and its

adjuncts of power to hold an adjudicatory hearing.

       Respectfully submitted this 5th day of July 2023.

 /s/ Charles Burnham                               Robert A. Destro*
 Charles Burnham                                   Ohio Bar #0024315
 DC Bar No. 1003464                                4532 Langston Blvd, #520
 Burnham and Gorokhov, PLLC                        Arlington, VA 22207
 1750 K Street, NW, Suite 300                      202-319-5303
 Washington DC 20006                               robert.destro@protonmail.com
 (202) 386-6920                                    *Motion for pro hac vice admission before
 charles@burnhamgorokhov.com                       DCCA in progress

 Harry W. MacDougald*
 Georgia Bar No. 453076
 Caldwell, Carlson, Elliott & DeLoach, LLP
 Two Ravinia Drive, Suite 1600
 Atlanta, Georgia 30346
 (404) 843-1956
 hmacdougald@ccedlaw.com
 * Motion for pro hac vice admission before DCCA
 in progress




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                               CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party with

a copy of this Motion to Expedite Ruling on Motion to Continue Abeyance of Proceedings

Before This Court and/or Defer Proceedings Below by filing with the Court’s electronic

filing system which will cause service to be made upon opposing counsel, and by email

addressed to:

                Hamilton P. Fox
                Jason R. Horrell
                Theodore (Jack) Metzler
                D.C. Bar
                Building A, Room 117
                515 5th Street NW
                Washington DC 20001
                foxp@dcodc.org
                horrellj@dcodc.org
                metzlerj@dcodc.org

      This this 5th day of July, 2023.



                                          /s/ Charles Burnham
                                          Charles Burnham
                                          DC Bar No. 1003464
                                          1750 K Street, NW
                                          Suite 300
                                          Washington DC 20006
                                          (202) 386-6920
                                          charles@burnhamgorokhov.com




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               DISTRICT OF COLUMBIA COURT OF APPEALS
               BOARD ON PROFESSIONAL RESPONSIBILITY
                 HEARING COMMITTEE NUMBER TWELVE
                                                                                  
In the Matter of:                        :
                                         :                                      Jul 5 2023 12:04pm

      JEFFREY B. CLARK,                  :
                                                                                      
                                         :
Respondent.                              :   Board Docket No. 22-BD-039
                                         :   Disciplinary Docket No. 2021-D193
A Member of the Bar of the               :
District of Columbia Court of Appeals    :
(Bar Registration No. 455315)            :

                                     ORDER

      Disciplinary Counsel filed the Specification of Charges in this matter on July

19, 2022. Respondent filed his Answer on September 1, 2022. The matter was set

for a hearing to begin on January 9, 2023.

      On October 17, 2022, Respondent filed a notice of removal of this matter to

the United States District Court for the District of Columbia. Disciplinary Counsel

filed a motion to remand on October 21, 2022. On June 9, 2023, Disciplinary

Counsel notified the Hearing Committee that the District Court had granted

Disciplinary Counsel’s motion to remand on June 8, 2023. See Order In re Clark,

Case Nos.: 22-mc-0096, 22-mc-0117, 23-mc-0007 (D.D.C. June 8, 2023) (“this

matter shall be REMANDED for further proceedings”) (emphasis in original); see

also Memorandum Op., In re Clark, Case Nos.: 22-mc-0096, 22-mc-0117, 23-mc-

0007 (D.D.C. June 8, 2023) (setting forth basis for remand order). On June 16, 2023,

the Hearing Committee ordered each party to report on the status of this matter,
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specifically addressing rescheduling this matter for a hearing; identifying any issues

the parties believe may need to be addressed; proposing any intermediate dates that

may need to be scheduled in advance of hearing; and stating the party’s position on

whether it is appropriate or necessary to schedule an additional prehearing

conference. Both parties submitted timely reports, which Disciplinary Counsel

purported to file and Respondent, Mr. Clark, to “lodge.”

      Disciplinary Counsel asserts that the case is ready for hearing, which should

be scheduled as soon as possible after Labor Day. Mr. Clark lodged his report

because he maintains that this matter should be held in abeyance pending the Court

of Appeals’ consideration of a subpoena dispute between Mr. Clark and Disciplinary

Counsel (In re Clark, D.C. App. No. 22-BG-0891). Mr. Clark’s Report at 2.

      The fact that a party is seeking to enforce a subpoena for use in this

proceeding, however, neither requires nor justifies holding this proceeding in

abeyance, at least at this point. A subpoena enforcement is not an appeal of this

action. It is a collateral proceeding that does not affect jurisdiction here. Nor does

its pendency justify delaying all other preparation in this matter. See In re Clark,

Board Dkt. 22-BD-039, at 4-5 (H.C. Report, Sept. 12, 2022), adopted on other

grounds, Order, In re Clark, Board Dkt. 22-BD-039 (BPR, Sept. 27, 2022).

      Regarding scheduling, Mr. Clark also notes that he has appealed the District

Court’s June 8 Order, attaches his Notice of Appeal, and argues that Hearing

Committee proceedings may not commence until that appeal is complete and “not

subject to any higher level appellate review.” Mr. Clark’s Report at 4. Mr. Clark



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does not assert that the District Court’s remand order has been stayed pending

appeal, or that any court has issued an order specifically prohibiting further

proceedings before this Hearing Committee.

         Mr. Clark also argues that the remand order is not immediately effective to

dispose of the controversy over removal jurisdiction because the District Court has

not yet issued a separate “judgment” pursuant to Fed. R. Civ. P. 58, which requires

that a judgment “must be set out in a separate document.” Mr. Clark’s Report at 3.

As noted above, Mr. Clark’s statement that the District Court did not create a

separate document does not appear to be true. The District Court did enter a separate

order remanding the case. See In re Clark, No. 23-7073 (D.D.C.), Dkt. Nos. 19-20.

Indeed, Mr. Clark has appealed the order and the United States Court of Appeals for

the District of Columbia Circuit has docketed the appeal. In re Clark, 23-7073 (D.C.

Cir.).

         But even if Mr. Clark were correct that the District Court did not properly

enter a judgment in a separate document, that would raise a potential question only

about whether his appeal was valid. It would not change the fact that the District

Court ordered the case to be remanded. The Supreme Court has concluded that

“[t]he sole purpose of the separate-document requirement, which was added to Rule

58 in 1963, was to clarify when the time for appeal under 28 U.S.C. § 2107 begins

to run.” Bankers Trust Co. v. Mallis, 435 U.S. 381, 384 (1978); accord Diamond by

Diamond v. McKenzie, 770 F.2d 225, 230–31 (D.C. Cir. 1985). Courts enter many

orders (for example, discovery rulings, injunctions, scheduling orders and pro hac



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vice orders), that do not operate by themselves as final judgments. Those orders are

nonetheless effective unless they are stayed.

      Mr. Clark’s decision to appeal did not stay the District Court’s Order. “A

stay” of a motion to remand pending appeal “is not a matter of right even if

irreparable injury might result.” Leroy v. Hume, 563 F.Supp.3d 22 (E.D. N.Y 2021)

(quoting Virginia Ry. Co. v. United States, 272 U.S. 268, 272 (1926)). See also, e.g.,

Wilde v. Huntington Ingalls, Inc., 616 Fed. Appx. 710 (5th Cir. 2015) (denying

motion to stay an order of remand pending appeal); Martin v. Serrano Post Acute

LLC, 2020 WL 13302380 (C.D. Cal. 2020) (same) Mayor of Baltimore v. BP P.L.C.,

2019 WL 3464667 (D. Md. 2019) (same). The docket reflects that Mr. Clark did

not even seek to stay order, much less obtain a stay.

      Mr. Clark also asserts that it would be premature to reschedule the hearing at

this time because, among other things, Mr. Clark will want to litigate to the Chair

via motions practice “numerous threshold matters,” and that mandamus proceedings

may be required. Mr. Clark’s Report at 4-5. However, Board Rule 7.16 does not

permit our Committee to delay the hearing to resolve motions that are not directed

to the manner in which the hearing is to be conducted, or the admissibility of

evidence. Instead “the Hearing Committee shall include in its report to the Board a

proposed disposition and the reasons therefor. The Board will rule on all such

motions in its disposition in the case.” See also In re Stanton, 470 A.2d 281, 285

(D.C. 1983) (appended Board report) (once a Specification of Charges has been

filed, “the underlying purposes of the Board require that we proceed directly to a



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hearing on the merits rather than being detoured into questions of pleading and

form.”).1

      Upon consideration of the foregoing, and it appearing that this matter has been

remanded to the Hearing Committee, and it further appearing that a pre-hearing

conference would assist the Hearing Committee in scheduling this matter for a

hearing, it is hereby

      ORDERED that a pre-hearing conference will be held in the above-captioned

matter at 1:00 p.m. on July 12, 2023, via Zoom video conference, in accordance

with Board Rule 7.24, and will be live-streamed on the Hearing Committees’

YouTube channel. Disciplinary Counsel and Mr. Clark and/or his counsel shall

appear promptly at that time. The parties are directed to avoid scheduling conflicting



1 Mr. Clark renews an argument he has made before that the Committee should not

follow the Board’s procedures because, if this Committee were a federal court, it
could not avoid reaching a difficult jurisdictional issue by resolving the case based
on merits arguments that are easier to adjudicate. Mr. Clark’s Report at 5.
Mr. Clark’s argument misstates our role. The Committee is not a federal court and
does not determine merits at all. Rather, it issues a report and recommendation that
is filed with the Board (under procedures the Board establishes). Nothing in the
decisions Mr. Clark cites involving federal courts bars the Board from having the
Committee issue a report and recommendation on all issues at once. Nor does it
authorize (much less require) the Committee to establish a motion practice that the
Board did not contemplate. In any event, even if we assumed that the federal court
principle Mr. Clark references applied to this Committee, following Board Rule 7.16
(by making a report and recommendation after hearing rather than deciding a case
on papers), would not violate that principle. Complying with Board Rule 7.16 does
not mean that the Committee will overlook a difficult “jurisdictional” argument in
order to resolve the case on the merits. To the contrary, the Rule contemplates that
we carefully consider all issues, report on the relate facts and make
recommendations on all appropriate determinations.

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matters and shall inform any court or administrative agency of this prior commitment

to the disciplinary system; and it is further

       ORDERED that prior to the pre-hearing conference, the parties are directed

to meet and confer with respect to scheduling the evidentiary hearing of this matter

during 2023, and any intermediate dates that may need to be scheduled in advance

of hearing. When considering scheduling, the parties are reminded that subpoenas

are available to compel the attendance of witnesses, and witness testimony may be

taken from a remote location pursuant to Board Rule 11.4. The parties are further

reminded to allow time for opening statements and closing arguments when

estimating the time necessary for the hearing; and it is further

       ORDERED that Mr. Clark’s attention is drawn to Board Administrative Order

2023-01, which provides, among other things, that

       Board oral arguments and Hearing Committee hearings in contested
       cases and reinstatement cases that have not yet been scheduled for a
       hearing, shall be scheduled for an in-person proceeding unless the
       respondent requests that the proceeding be held over Zoom. For Board
       arguments, the request to conduct the argument over Zoom, if any, shall
       be contained in the respondent’s brief, immediately before the
       respondent’s or counsel’s signature. For Hearing Committee hearings
       in contested cases and reinstatement cases, the request to conduct the
       hearing over Zoom, if any, shall be made as soon as practicable, but no
       later than the date set for the pre-hearing conference. Such request shall
       be filed with the Office of the Executive Attorney and served on
       Disciplinary Counsel;

and it is further




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       ORDERED that the Office of the Executive Attorney is directed to serve this

order by email, and to circulate the link for the Zoom pre-hearing conference.



                                 HEARING COMMITTEE NUMBER TWELVE

                                 By: _____________________________________
                                      Merril Hirsh
                                      Chair

cc:

Jeffrey Clark, Esquire
c/o Charles Burnham, Esquire
Robert A. Destro, Esquire
Harry W. MacDougald, Esquire
charles@burnhamgorokhov.com
robert.destro@protonmail.com
hmacdougald@ccedlaw.com

Hamilton P. Fox, III, Esquire
Jason R. Horrell, Esquire
Office of Disciplinary Counsel
foxp@dcodc.org
horrellj@dcodc.org




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                          Exhibit 15
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                   DISTRICT OF COLUMBIA COURT OF APPEALS
                   BOARD OF PROFESSIONAL RESPONSIBILITY
                     HEARING COMMITTEE NUMBER TWELVE
                                                                             -XO\SP
In the Ma*er of:                         :
                                         :
      JEFFREY B. CLARK,                  :
                                         :      Board Docket No. 22-BD-039
Respondent.                              :      Disciplinary Docket No. 2021-D193
                                         :
A Member of the Bar of the District      :
Of Columbia Court of Appeals             :
(Bar Registration Number 455315)         :

     LODGED RESPONDENT’S MOTION FOR RECONSIDERATION AND FOR
            POSTPONEMENT OF PRE-HEARING CONFERENCE

      On July 5, 2023, the Chair of Hearing Commi*ee Number Twelve (“Chair”) issued

an Order (“July 5 Order”) reactivating disciplinary proceedings in this local Article I

process against Respondent. Respectfully, undersigned submits that this Order is

erroneous in several respects. As a result, this Order should be withdrawn entirely or

reconsidered. Accordingly, the pre-hearing conference currently scheduled for July 12,

2023 should be taken oﬀ calendar, or at the very least postponed for 28 days, to await the

outcome of entirely foreseeable pending decisions in the Article I and Article III court

systems.

     1. It Is Abuse of Scheduling Discretion to Set a Pre-Hearing Conference Without
        Waiting for Rulings by Either the District of Columbia Court of Appeals or the
        District Court and the D.C. Circuit.

      a. Pending DCCA Abeyance Continuance/Deferral Motion and Expedition

Thereof. As the Chair is aware, based on our lodgings at the Board level, we have moved


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the District of Columbia Court of Appeals (“DCCA”) to continue this case in an abeyance

posture and asked for additional or alternative relief. Speciﬁcally, consistent with the

DCCA’s supervisory jurisdiction of this adjunct process, we have asked that court to

order the case deferred pending resolution in the Article III court system of Respondent’s

appeal as of right on the disputed issue of removal jurisdiction. Indeed, on July 5, 2023,

we ﬁled a motion at the DCCA to ask it to expedite its resolution of our pending abeyance

continuance motion (and lodged notice of it at the Board level here). We asked for the

DCCA to resolve the abeyance continuance motion by July 11, 2023, in an a*empt to

resolve our dispute with the Chair as soon as possible.1

          b. Holding a Status Conference Before the DCCA Rules on These MaMers is

Premature and Ultra Vires. This Hearing Commi*ee is indisputably subordinate to the

DCCA. Hence, the Chair is acting ultra vires to set a pre-hearing conference for July 12,

2023 when it is quite possible that the DCCA, despite our best eﬀorts, may not have

resolved the disputed abeyance continuance motion by that time and despite the fact that

the DCCA could easily decide to continue this case in abeyance mode. Se*ing a pre-

hearing conference anyway, as the Chair’s Order two days ago did, thus eﬀectively

prejudges the result of an exercise of DCCA discretion.

          c. The July 5 Order Did Not Take Account of Key Context. In the Order issued

two days ago, the Chair emphasized that the January 17, 2023 abeyance order from the


1   Though obviously, we cannot guarantee that the DCCA will act on any particular timetable.


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DCCA stayed only a petition to enforce a particular subpoena drafted by the Oﬃce of

Disciplinary Counsel (“ODC”) last October. See July 5 Order at 2. This is true but it ignores

key context acknowledged in the July 5 order’s recitation of certain dates and events

relevant to this ma*er. See id. at 1. Speciﬁcally, the Board appears to have treated this

ma*er as existing in an abeyance posture starting at the point in time when Respondent

removed this ma*er to the U.S. District Court on October 17, 2022. That is evidenced by

the fact that from that time forward, all case event documents in this ma*er were labeled

as “lodged.”2

       Taking account of all events at the two levels of process that rest above Hearing

Commi*ee Twelve, we also submit that the DCCA’s January 17, 2023 Order was

manifestly intended to harmonize the status of the subpoena dispute with the more

general abeyance posture that had been in place at the Board level for the three prior

months. The eﬀect of the January 17 Order was thus to force ODC to stop harassing Mr.

Clark with subpoenas as if the removal had not occurred, for instance by a*empting to

serve a subpoena three days after Christmas 2022 on Mr. Clark while he was home with

his family for the holidays.

       The July 5 Order ignores all of the foregoing context. In our view, nothing has




2 Notably, the Chair, functionally criticizes undersigned counsel’s decision lodge our response to the
Chair’s June 16, 2023 Order when that Order put the word “lodge” in quotation marks to describe our
ﬁling. See July 5 Order at 2. But we were merely proceeding in the same fashion as the Board, using
terminology the Board was also using.


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changed from the time this overall abeyance posture was, in eﬀect, conﬁrmed by the

DCCA on January 17, 2023. The DCCA entered a stay pending resolution of the removal

jurisdiction dispute. That was a live dispute subject to a diﬀerent court process this

Hearing Commi*ee had no control over on January 17, 2023. And it remains a live

dispute subject to a diﬀerent court process this Hearing Commi*ee still has no control

over on July 7, 2023. Moreover, this disputed posture will continue into the foreseeable

future to a date that the Chair cannot precisely predict or prejudge.

       d. The July 5 Order Ignores Our Pending Request to the DCCA for an Overall

Deferral of All Aspects of This MaMer. Additionally, the July 5 Order ignores that we

did not just ask the DCCA to continue the abeyance posture of the subpoena dispute until

the removal jurisdiction dispute is entirely ﬁnal, through all appellate levels, we also

asked the DCCA formally to order a deferral of the entirety of this ma*er pending that

same contingency. Hence, it is analytically deﬁcient for the July 5 Order to presume, in

eﬀect, that all that is pending before the DCCA is an ancillary subpoena enforcement

ma*er that can continue before the DCCA while a pre-hearing and hearing process

continues on a parallel track here. That is not all that is pending before the DCCA. The

deferral relief request is also pending there and, once more, the Chair should not prejudge

the outcome of that request and should not issue scheduling orders in this ma*er that

assume that the requested deferral relief will be denied.




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         e. The July 5 Order Erroneously Relies on a September 27, 2022 Board Order

That Was Issued Before Removal Occurred. The Chair states the following in the July 5

Order:

         The fact that a party is seeking to enforce a subpoena for use in this
         proceeding, however, neither requires nor justiﬁes holding this proceeding
         in abeyance, at least at this point. A subpoena enforcement is not an appeal
         of this action. It is a collateral proceeding that does not aﬀect jurisdiction
         here. Nor does its pendency justify delaying all other preparation in this
         ma*er. See In re Clark, Board Dkt. 22-BD-039, at 4-5 (H.C. Report, Sept. 12,
         2022), adopted on other grounds, Order, In re Clark, Board Dkt. 22-BD-039
         (BPR, Sept. 27, 2022).

         Respectfully, the logic here is internally ﬂawed for an additional reason. The

September 27, 2022 ruling of the Board that the Chair points to was issued on a date that

precedes removal. The problem with presuming that the January 17, 2023 order

(especially combined with the Board’s functional abeyance since October 17, 2023) is as

narrow as the Chair frames it is that it ignores that the removal occurred in between (1)

the September 15, 2022 DCCA order granting a particular motion,3 which is what the

September 27, 2022 Board order relied on, and (2) the January 17, 2023 DCCA order. The

Chair’s order ignores the eﬀect of the critical removal event that occurred between those

two bracketing orders. This makes it arbitrary and capricious for the Chair to rely on the

September 27, 2022 Board order. Neither the September 15, 2022 DCCA order nor the

September 27, 2022 Board order were framed to decide how this case proceeds while the



3The September 15, 2022 DCCA Order resolved three pending motions: granting a motion to unseal,
denying a motion to quash the subpoena, and denying a motion to compel as moot.


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removal jurisdiction dispute is live. And it is plainly very much alive. Only the functional

abeyance at the Board level and the abeyance entered in the January 17 DCCA Order

arose after removal occurred and thus those events and not a pre-removal event (the

September 27, 2022 Board Order) should govern now.

       f. The July 5 Order Also AMempts to Prejudge the Outcome of Potential Stay

Litigation in the Article III Court System. What is more, the July 5 Order draws

improper inferences from the status of District Court proceedings. That Order states: “Mr.

Clark does not assert that the District Court’s remand order has been stayed pending

appeal, or that any court has issued an order speciﬁcally prohibiting further proceedings

before this Hearing Commi*ee.“ July 5 Order at 2-3. This is true but misses two key

points: (1) we will be ﬁling a stay motion with the District Court, on or before July 11,

2023, which we expect to be denied because that Court believes (wrongly) that it lacks

removal jurisdiction and thus we will follow that up with a stay motion to the D.C. Circuit

before the D.C. Circuit’s procedural motion deadline; and (2) no “court ha[d] issued an

order speciﬁcally prohibiting further proceedings before this Hearing Commi*ee” in the

period in between our October 17, 2022 removal and the Chair’s July 5, 2023 Order either.

Moreover, no such proceedings were conducted, ODC never complained after January

17, 2023 that proceedings at this level needed to resume, and the DCCA did not sua sponte

order that any proceedings resume before Hearing Commi*ee Twelve.

       The Chair thus fails to explain how (1) it can fail to wait for Mr. Clark to pursue



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and exhaust his Article III stay remedies (should those become necessary in light of how

this Hearing Commi*ee and/or the DCCA proceeds in pending motions practice

occurring two levels above this Hearing Commi*ee); and (2) why this ma*er was in an

abeyance posture from October 17, 2022 at the Board level, undisturbed by any signiﬁcant

action by this Hearing Commi*ee in the period October 17, 2021 until July 5, 2023.

        g. The Chair Cannot Prejudge the Motions Deadlines Set by the D.C. Circuit.

Additionally, of course, no motions deadline set by the D.C. Circuit in the appeal will run

out until the earliest of July 14, 2023 (the procedural motions deadline). And the

substantive motions deadline does not elapse until July 31, 2023, weeks after the

premature pre-hearing conference the Chair set for July 12 on July 5.

        Moreover, D.C. Circuit Rules permit the ﬁling of a dispositive motion (i.e., for

summary reversal) coupled with a motion for a stay. See D.C. Cir. R. 8(b) (“A party ﬁling

or opposing a motion for a stay or other emergency relief may, in addition or in the

alternative, ﬁle a motion to dispose of the appeal in its entirety.”). Hence, the Chair’s July

5 Order thus not only boils down to an a*empt to override or jump the gun on Mr. Clark’s

procedural motions deadline of July 14, 2023, but also to an improper a*empt to override

or jump the gun on Mr. Clark’s dispositive motions deadline of July 31, 2023. Ignoring

just one of those deadlines would be improper, let alone both.4 Nevertheless, so as to



4 The Chair’s July 5 Order also argues that our indication that the District Court has not entered a separate
judgment under Federal Rule of Civil Procedure 58 “does not appear to be true.” July 5 Order at 3. The
Chair states: “The District Court did enter a separate order remanding the case.” Id. That is a separate order


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make clear that Respondent is not seeking delay for delay’s sake, we will forego our

option to ﬁle a combined dispositive and stay motion on or before July 31, 2023. Indeed,

we are willing to go even farther than that and have moved up our plan (should it become

necessary to execute) to ﬁle a stay motion in the District Court on July 11, 2023 instead of

on the July 14, 2023 D.C. Circuit procedural motions deadline, as would be our right

without the improper timing pressure of the July 5 Order. The Chair should thus reject

out of hand the re-sounding of predictable refrains by ODC that we are seeking to delay

this ma*er.



but Rule 58 calls for a separate judgment. See Fed. R. Civ. P. 58(a) (“Every judgment and amended judgment
must be set out in a separate document, but a separate document is not required for an order disposing of
a motion [going on to list 5 irrelevant categories of motion].”). Additionally, Rule 58 cross-references
Federal Rule of Civil Procedure 79(a). See Fed. R. Civ. P. 58(c)(1). And Rule 79(a) speciﬁcally contrasts
“orders” with “judgments.” See Fed. R. Civ. P. 79(a)(3) (“Each [docket] entry must brieﬂy show the nature
of the paper ﬁled or writ issued, the substance of each proof of service or other return, and the substance
and date of entry of each order and judgment.”) (emphasis added). Hence, the Chair’s treatment of the Rule
58 issue is another error infecting the July 5 Order.

In any event, the July 5 Order’s ruling on the Rule 58 separate judgment issue misses a key part of our
point: ODC has not called on the District Court or its Clerk to issue the required separate judgment and yet
it is rushing to reignite the proceedings here. What is it that explains that rush, we ask? The Chair should
put that question to ODC on the record.

Finally, the July 5 Order is also ﬂawed in asserting that even if we were right about the need for a Rule 58
separate judgement “that would only raise a question about whether [the] appeal was valid.” Order at 3.
This is incorrect and at odds with federal procedural law. See Fed. R. App. P. 4(a)(7)(B) (“A failure to set
forth a judgment or order on a separate document when required by Federal Rule of Civil Procedure 58(a)
does not aﬀect the validity of an appeal from that judgment or order.”). What Rule 58 noncompliance (again
which ODC could readily seek to address) impacts is the timing for ﬁling a notice of appeal. See Fed. R.
App. P. 4(a)(7)(A)(ii)(second bullet). Hence, a repeated theme becomes that ODC’s unexplained desire to
hurry this maeer appears designed to shorten three federal law timelines that Respondent would otherwise
be able to take advantage of. There is no reason to favor ODC’s wishes over the timelines set by federal
procedural law in connection with the federal appeal, especially where ODC has been on notice for weeks
that delay could potentially result from the failure of the District Court to enter a separate judgment,
without taking any steps to solve that problem by making a ﬁling to the District Court.



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        h. Mr. Clark Cannot Be Faulted for Not Having Sought a Stay by July 5.

Additionally, the July 5 Order is highly erroneous and prejudicial in faulting Mr. Clark

for not seeking a stay. See July 5 Order at 4 (“The docket reﬂects that Mr. Clark did not

even seek to [obtain a] stay order, much less obtain a stay.”). Mr. Clark did not seek to

stay the June 8 District Court order because his alternative D.C. Circuit ﬁling deadlines

for doing so have not yet run. It was not reasonably foreseeable to Mr. Clark that this

Hearing Commi*ee would act in derogation of those deadlines, blame us for not moving

faster, all while not waiting for the pending abeyance continuance/deferral motion to be

resolved at the DCCA level.5

        i. Requested Relief. For the foregoing reasons alone the Chair should reconsider



5The propriety of any stay litigation in the Article III court system is not properly before the Hearing
Commieee. Hence we will not take any steps to somehow put it at issue here.

But it appears to us that the Chair may be motivated in part by thinking that stay relief is unlikely based
on the cases it cites on page 4 of the July 5 Order. These cases were all exceptionally weak removal
candidates, however. Leroy v. Hume, 554 F. Supp. 3d 470 (E.D.N.Y. 2023), is not a case that involved a federal
oﬃcer at all but instead medical personnel at private, non-federal hospitals who tried to argue they should
not be liable for malpractice because they were following federal COVID-19 treatment protocols. See id at
482 (“In the present case, by contrast, defendants have merely shown that they were complying with federal
directives. Without showing that a ‘special relationship’ of delegation exists, defendants have not
established that they are persons ‘acting under’ a federal oﬃcer for the purposes of the federal oﬃcer
jurisdiction statute.”). By contrast, Mr. Clark was not a private actor trying to claim he was “acting under”
a federal actor, he was a Senate-conﬁrmed oﬃcer of the United States.

Additionally, Martin v. Serrano Post Acute LLC, CV 20-5937 DSF (SKx), 2020 WL 5422949 (C.D. Cal. Sept. 10,
2020), is exactly the same sort of inapposite case involving private medical actors as Leroy. Wilde v.
Huntington Ingalls, Inc., 616 Fed. App’x 710 (5th Cir. 2015), did not involve federal oﬃcers either but a
private ship manufacturer. Mayor and City Council of Baltimore v. BP plc., 388 F. Supp. 3d 538 (D. Md. 2019),
involved the weak claim that the oil company BP was a government actor, an argument BP advanced to
avoid a state court forum for climate change nuisance claims. And ﬁnally, Virginia Railway Co. v. United
States, 272 U.S. 658 (1926), is an irrelevant administrative law case about the Interstate Commerce
Commission.


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its July 5 Order se*ing a status conference for July 12, 2023, remove that date from the

calendar, or at the very least postpone the hearing conference until the DCCA rules on

the pending abeyance continuance/deferral motion (which is fully briefed) and until both

the District Court and D.C. Circuit have ruled on the impending stay motion or motions

to be ﬁled there.

       Even if the Chair were correct it need not wait for the stay decisions to be issued

(though the Board was obviously willing to wait from October 17, 2022 until at least July

5, 2023), there is no reason the Chair should not show the Article III courts comity and

enter a brief pause to await the resolution of the impending stay dispute. If the Chair does

not prefer for some reason, that ﬁts within a Hearing Commi*ee’s discretion, to reset the

date pending the conclusion of the events noted above in the DCCA and the Article III

courts, we would propose rese*ing the pre-hearing conference date until August 9, 2023

(four weeks from the July 12, 2023 date). Both the open abeyance continuance/deferral

dispute at the DCCA and the Article III stay motions could realistically be resolved by

then. If not, then the parties could be ordered to make status ﬁlings on that date.

       2.     The Chair Should Not Prejudge the Motions We Intend to File to Defend

Mr. Clark. At the bo*om of page 4 and over on to page 5 of the July 5 Order, the Chair

suggests that the Hearing Commi*ee has no power to resolve such motions and instead

must proceed to a merits hearing “rather than being detoured into questions of pleading

and form.” July 5 Order at 4-5, citing In re Stanton, 470 A.2d 281, 285 (D.C. Cir. 1983). With



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due respect, we have not proposed to ﬁle motions on “questions of pleading and form.”

Instead, we are raising serious constitutional issues this Hearing Commi*ee, the Board,

and the DCCA has never encountered before that, in our view, should make holding a

merits hearing entirely unnecessary.

       At that point, the Chair includes a footnote indicating that the Hearing Commi*ee

is not a federal court. See July 5 Order at 5 n.1. Again, with respect, we submit that this is

erroneous. The Hearing Commi*ee is plainly a quasi-adjudicator acting at the ﬁrst stage

of a three-stage process culminating in review by the DCCA, which is an Article I federal

court. Magistrate Judges operating as adjuncts within the Article III courts are themselves

creatures of Article I, but no one could properly maintain that they are not wielding the

powers of federal courts, especially when the parties consent to see certain ma*ers

resolved by Magistrate Judges. We submit that the Hearing Commi*ee cannot sidestep

the limitations the U.S. Supreme Court has recognized that the Constitution imposes on

all federal courts to decide jurisdictional issues ﬁrst. And if the Chair’s footnote suggests

that the DCCA set up the Hearing Commi*ee (a non-court in the Chair’s view as

expressed in footnote 1 of the July 5 Order) in order to evade that important limitation,

that would only compound the constitutional problem, making it worse than if the DCCA

had simply set up a system that inadvertently runs afoul of cases like Steel Company v.

Citizens for a Be<er Environment, 523 U.S. 83 (1998).

       Our suggestion is that, if he grants this Motion to Reconsider, the Chair should



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strip out references suggesting how it would rule on motions we have not yet prepared

and ﬁled. However, the language and analysis in footnote one does cause us to alert the

Chair to an additional threshold motion we will prepare and ﬁle. Speciﬁcally, Mr. Clark

was an Article II, Senate-conﬁrmed senior oﬃcer in the U.S. Justice Department. It is one

thing to try to subject his actions and legal analysis to second guessing by an Article I

adjunct tribunal (we think that alone is unconstitutional). But it is quite another that one

of the members of the ﬁrst-stage tribunal will be a lay person. No lay person can be

invested with the authority to question complex legal advice given by an Article II oﬃcial

to the President of the United States.

       3.     Additional Ancillary MaVers. Without waiving any of Respondent’s legal

rights or any of the arguments set forth above, undersigned counsel inform the Chair that

we have arranged for a meet-and-confer with ODC set for Monday afternoon, July 10,

2023 at 4 pm. See July 5 Order at 6. We will use that to inform any positions we take at a

July 12, 2023 pre-hearing conference, should one go forward because this Motion is

denied or because the DCCA denies our abeyance continuance/deferral motion at any

point before July 12, 2023 at 1 pm.

       Finally, there is the issue of Zoom hearings and the application of Board

Administrative Order 2023-01. As we understand that order, Hearing Commi*ee

hearings must observe a default rule of being held in person unless Respondent requests

a hearing to be held by Zoom and the Chair agrees. By contrast, the Chair’s order seems



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to read Administrative Order 2023-01 to mean that this default rule exists only after a pre-

hearing conference has ﬁrst been held. In any event, Respondent agrees to hold the July

12, 2023 hearing, if its Reconsideration Motion here is rejected or his DCCA abeyance

continuance/deferral motion is denied before the pre-hearing conference begins, via

Zoom and not in person.

       Respectfully submitted July 7, 2023 .

 /s/ Charles Burnham                           Robert A. Destro*
                                               Ohio Bar #0024315
 Charles Burnham                               4532 Langston Blvd, #520
 DC Bar No. 1003464                            Arlington, VA 22207
 Burnham and Gorokhov, PLLC                    202-319-5303
 1750 K Street, NW                             robert.destro@protonmail.com
 Suite 300                                     *Motion for pro hac vice admission before
 Washington DC 20006                           DCCA in progress
 (202) 386-6920
 charles@burnhamgorokhov.com



 Harry W. MacDougald*
 Georgia Bar No. 453076
 Caldwell, Carlson, Elliott & DeLoach,
 LLP
 Two Ravinia Drive, Suite 1600
 Atlanta, Georgia 30346
 (404) 843-1956
 hmacdougald@ccedlaw.com
 * Motion for pro hac vice admission before
 DCCA in progress




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                             CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Motion to Reconsider by email addressed to:

      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

      This this 7 day of June, 2023.



                                        /s/ Charles Burnham
                                        Charles Burnham
                                        DC Bar No. 1003464
                                        1750 K Street, NW
                                        Suite 300
                                        Washington DC 20006
                                        (202) 386-6920
                                        charles@burnhamgorokhov.com




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                          Exhibit 16
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                   DISTRICT OF COLUMBIA COURT OF APPEALS
                   BOARD OF PROFESSIONAL RESPONSIBILITY
                     HEARING COMMITTEE NUMBER TWELVE
                                                                               -XO\SP
In the Ma*er of:                          :
                                          :
       JEFFREY B. CLARK,                  :
                                          :      Board Docket No. 22-BD-039
Respondent.                               :      Disciplinary Docket No. 2021-D193
                                          :
A Member of the Bar of the District       :
Of Columbia Court of Appeals              :
(Bar Registration Number 455315)          :

              LODGED RESPONDENT’S MOTION TO VACATE ORDERS

       Introduction. On June 16, 2023, the Chair of this Hearing Commi*ee issued an

order requiring status reports to be ﬁled by the Oﬃce of Disciplinary Counsel (“ODC”)

and Respondent. And on July 5, 2023, after review of those reports, the Chair ordered that

a pre-hearing conference would be calendared for July 12, 2023. Both of these orders

presume that immediately after the U.S. District Court had issued a remand order in the

removal proceedings occurring there, the Hearing Commi*ee, in turn, had reacquired

the power to resume adjudicating this case.

       But 28 U.S.C. § 1447(c) Means That Jurisdiction Has Not Yet Returned to the

Hearing CommiEee. The Chair’s unstated presumption that jurisdiction has returned to

the Hearing Commi*ee is plainly incorrect. The issue is controlled by a plainly wri*en

federal statute, 28 U.S.C. § 1447(c). In relevant part, Section 1447(c) provides as follows:

“A certiﬁed copy of the order of remand shall be mailed by the clerk to the clerk of the



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State court. The State court may thereupon proceed with such case.” (Emphasis added.)

Under this plain text, remand orders are not immediately eﬀective. Instead, the U.S.

District Court Clerk must ﬁrst mail a certiﬁed copy of the remand order to the Hearing

Commi*ee (presumably via the Board of Professional Responsibility or the District Court

for the District of Columbia (“DCCA”)). The statute also appears to contemplate receipt

of the certiﬁed copy mailed by the U.S. District Court clerk by the state/D.C. clerk.

       No Mailing of a Certiﬁed Copy of the Remand Order Has Occurred Here. We are

aware of no indication such a mailing has occurred. See Exh. 1 (U.S. District Court Docket

Sheet). That docket sheet shows the remand order’s entry on June 8, 2023 and four later

entries: (1) 6/11/23 notice of appeal; (2) 6/12/23 transmission of notice of appeal to the D.C.

Circuit; (3) 6/14/23 case number entered for the D.C. Circuit appeal; and (4) 7/7/23

payment for notice of appeal. None of those four entries indicate that the Section 1447(c)

mailing has occurred. Similarly, to our knowledge there are no events that will be

reﬂected on the Board of Professional Responsibility’s docket sheet showing that the

Board’s clerk has received a certiﬁed mailing from the U.S. District Court clerk compliant

with Section 1447(c).

       The Second and Third Circuits Have Adopted the Most Straightforward Reading

of Section 1447(c). Judicial precedent supports our argument, which two Circuits (the

Second and the Third) have adopted:

       According to our precedent, the mailing of a certiﬁed copy of the remand
       order to state court is the event that formally transfers jurisdiction from a


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       district court within this Circuit to a state court. Trans Penn Wax Corp. v.
       McCandless, 50 F.3d 217, 225 (3d Cir. 1995) (“The general rule is that a
       district court loses jurisdiction over a case once it has completed the remand
       by sending a certiﬁed copy of the remand order to state court.”) ….

       In our view, the text of 28 U.S.C. § 1447(c) establishes that jurisdiction
       remains with the district court until the jurisdiction-transferring event has
       occurred: “[a] certiﬁed copy of the order of remand shall be mailed by the
       clerk to the clerk of the State court. The State court may thereupon proceed
       with such case.” 28 U.S.C. § 1447(c).2

       FN2. This accords with the rule recognized by the Court of Appeals for the
       Second Circuit as well. Shapiro v. Logistec USA, Inc., 412 F.3d 307, 312 (2d
       Cir. 2005) (“Section 1447(c) ... is not self-executing.... This provision creates
       legal signiﬁcance in the mailing of a certiﬁed copy of the remand order in
       terms of determining the time at which the district court is divested of
       jurisdiction....”).

Agostini v. Piper Aircraft Corp., 729 F.3d 350, 355-56 & n.2 (3d Cir. 2013) (paragraph breaks

added) (emphasis added).

       Relevance of Respondent’s Appeal as of Right as a Federal Oﬃcer. This is not a

situation where Respondent is somehow seeking appellate review of a remand order in

contravention of the typical ban on such appellate review, since he possesses an appeal

as of right to appeal to the D.C. Circuit the remand of his federal oﬃcer removal under

28 U.S.C. § 1447(d). Hence, cases that have tried to leverage the ﬁrst clause of Section

1447(d) (“An order remanding a case to the State court from which it was removed is not

reviewable on appeal or otherwise ….”) into the conclusion that remand orders must be

immediately eﬀective are inapposite. See, e.g., In re Lowe, 102 F.3d 731, 734 (4th Cir. 1996).

This precludes any ability here to try to use Section 1447(d) to try to blunt the plain



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meaning and import of Section 1447(c). We nevertheless point the Chair (and ODC) to the

In re Lowe case consistent with our duty of candor.

       Only One Potential Reading of Section 1447(c) Could Make the June 16 and July

5 Orders Viable and Non-Void, But That Reading Violates the Most Basic Principles of

Statutory Interpretation. Indeed, a survey of this area of law indicates that there are

three possible alternatives for when remand orders become eﬀective to return jurisdiction

to the state/D.C. court from which a removal has occurred:

       In brief, federal courts have ruled that state courts are reinvested with
       jurisdiction after remand at three diﬀerent times:

          (1) immediately upon the oral order of the federal court to remand the
          case to the state court;

          (2) upon the federal court clerk’s mailing of the federal remand order to
          the state court; and

           (3) upon the state court’s receipt of the federal remand order.

David A. Furlow & Charles W. Kelly, Removal and Remand: When Does a Federal District

Court Lose Jurisdiction Over a Case Remanded to State Court? 41 SW. L.J. 999, 1002 (1987)

(footnotes omi*ed).

       The June 16 and July 5 orders (and holding a July 12 pre-hearing conference) are

proper only under possibility (1). The Chair should reject that alternative, however, ﬁrst

and foremost because it is contrary to the plain text of Section 1447(c). That provision

speaks, in relevant part, in mandatory terms. It directs that the federal court clerk “shall”

“mail[]” a “certiﬁed copy of the order of remand” to the clerk of the state/D.C. court. And,


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even more importantly, Section 1447(c)’s last sentence states that only once that mailing

occurs “may” the state/D.C. court “thereupon proceed with such case.” (Emphasis

added.) The word “thereupon” becomes surplusage if the mailing (or impliedly, the

receipt of the mailing by the state/D.C. court clerk) is not the operative date for when

jurisdiction is returned to the state/D.C. court. And it violates the cardinal rule of

statutory construction to interpret the word “thereupon” as if it were surplusage, which

is what possibility (1) contemplates.1 See Kungys v. United States, 485 U.S. 759, 778 (1988)

(plurality) (explaining and applying this cardinal rule); Amoco Production Co. v. Watson,

410 F.3d 722, 733 (D.C. 2005) (“It is a familiar canon of statutory construction that, if

possible, we are to construe a statute so as to give eﬀect to every clause and

word.”)(quotation marks omi*ed).

        Relief Requested in Light of the Void Nature of the June 16 and July 5 Orders. For

these reasons, the Chair should choose to follow the Second and Third Circuits and vacate

its June 16, 2023 and July 5, 2023 orders and take the July 12, 2023 pre-hearing conference

oﬀ of the calendar until, at the very least, some date after the mailing of a certiﬁed copy

is completed and preferably, until after the date at which the reception of the certiﬁed

remand order occurs. For the only extent to which any ambiguity exists in Section 1447(c)




1 See OXFORD LEARNERS DICTIONARY (deﬁnition of “thereupon” as “immediately after the situation
mentioned; as a direct result of the situation mentioned. The audience thereupon rose cheering to their
feet.”), available at h@ps://www.oxfordlearnersdictionaries.com/deﬁnition/english/thereupon (last visited
July 9, 2023).


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is whether the “thereupon” refers to the act of mailing alone (the equivalent of contract

law’s “mailbox rule”) or to the completion of the federal clerk mailing and the receipt of

the certiﬁed order by the state/D.C. clerk.

        In any event, it would not be proper for the Chair to proceed with the Wednesday,

July 12, 2023 pre-hearing conference without addressing this issue after the completion

of brieﬁng by the parties, and the study of the issue by the Chair and issuance by the

Chair of a reasoned decision on this point explaining its choice of which of the three

conceptual timing possibilities best comports with Section 1447(c). State/D.C. court

orders issued in between the time of removal and remand are void. See Roman Catholic

Archdiocese of San Juan, P.R. v. Acevedo Feliciano, 140 S. Ct. 696, 700 (2020).2




2 “Once a notice of removal is ﬁled, ‘the State court shall proceed no further unless and until the case is
remanded.’ 28 U. S. C. § 1446(d). The state court ‘los[es] all jurisdiction over the case, and, being without
jurisdiction, its subsequent proceedings and judgment [are] not ... simply erroneous, but absolutely void.’
Kern v. Huidekoper, 103 U.S. 485, 493 (1881). ‘Every order thereafter made in that court [is] coram non judice,”
meaning ‘not before a judge.’ Steamship Co. v. Tugman, 106 U.S. 118, 122 (1882) ….” Roman Catholic
Archdiocese of San Juan, 140 S. Ct. at 700 (footnote omi@ed).

As we have argued to the U.S. District Court, in removal papers that were ﬁled to the Board of Professional
Responsibility, Mr. Clark removed this ma@er to federal court as both a civil ma@er and a criminal ma@er,
arguing that bar discipline cases are hybrids of civil and criminal cases. We have also argued for
applicability of Section 1446(d) here, meaning that the bar operative on the civil side on any proceedings in
the DCCA and its adjunct forums makes void any proceedings to the contrary prior to a legally eﬀective
remand. And we believe recognition of the rule the Roman Catholic Archdiocese of San Juan outlines is the
reason why this case was placed into an abeyance posture beginning from the October 17, 2022 date of
removal. This bar, pursuant to Section 1447(c) continues here until the provisions of that statute are
complied with.

The Chair should not wish to violate this ban until it is lifted or to risk building upon prior orders it issued
before it was made aware of Section 1447(c)’s import. Additionally, any orders that build upon orders
issued during the void phase would themselves be the fruit of such a tree of voidness and would risk later
invalidation, which would not serve the purposes of judicial eﬃency.


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        Independent Ground for Vacatur and Taking the July 12, 2023 Hearing Oﬀ

Calendar. The grounds set out in this Motion to Vacate, which we again lodge so as not

to be taken to concede the point that this Hearing Commi*ee has reacquired jurisdiction,

is in addition to the grounds set out in the Motion for Reconsideration for waiting for the

DCCA to resolve the issue of whether to continue the abeyance posture this ma*er was

in from October 2022 until at least June 7, 2023, and especially after the January 17, 2023

DCCA abeyance order.3 This Motion to Vacate is also in addition to the grounds set out

in the Motion to Reconsider requesting a voluntary abeyance pending the outcome of the

D.C. Circuit appeal—or, at the very least, a temporary one for four weeks to see how

proceedings in the DCCA, U.S. District Court (initial stay request soon to be ﬁled), and

D.C. Circuit (likely follow-on stay request soon to be ﬁled).4

                                          CONCLUSION

        Since the June 8, 2023 remand order (which again, has not yet been certiﬁed and

mailed in accord with Section 1447(c)), the Chair has been se*ing fast deadlines and doing

so during the Summer without soliciting information from Respondent’s counsel about



3Indeed, Section 1447(c) aﬀects not only proceedings before the Hearing Commi@ee prior to the time at
which jurisdiction actually resumes here but proceedings before the DCCA as well. Hence, the Section
1447(c) issue provides yet another reason for the DCCA to continue the abeyance posture that this ma@er
has been in since October 2022.

4Take a step back and realize that the current noncompliance with Section 1447(c) has already prejudiced
Respondent and undersigned counsel by imposing risks on us if we did not move up our planned timetable
for ﬁling stay motions with the District Court and the D.C. Circuit. We should not have been leveraged in
that way based on an inaccurate presumption that the District Court remand order was immediately
eﬀective and self-executing. It was not.


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their availability. Despite this, undersigned counsel has been working as quickly as

possible to meet the deadlines, despite our disagreement with the Chair that this ma*er

can or should resume before the D.C. Circuit appeal as of right is ﬁrst resolved. Consistent

with the demands the June 16 and July 5 orders created for us, we are presenting this

Motion to Vacate to you as expeditiously as we could research and write it.

       In light of the foregoing, we request that the Chair vacate the June 16 and July 5

orders, and consistent with that relief, take the July 12, 2023 pre-hearing conference oﬀ

calendar. Instead, the Chair should await both (1) the sending by the U.S. District Court

clerk of the certiﬁed copy by mail to at least one of the DCCA or its adjunct forums’ clerks;

and (2) the receipt of that certiﬁed copy in the mail, the method of delivery speciﬁed by

Section 1447(c), by one or more of the DCCA and its adjuncts’ clerks.

       Once both of those events are complete, but without prejudice to the separate and

independent arguments presented in the pending Motion for Reconsideration, we would

request that a pre-hearing status conference be reset for a date no sooner than two weeks

after the completion of both events.

Respectfully submitted this 9th day of July 2023.

 /s/ Charles Burnham                                Robert A. Destro*
 Charles Burnham                                    Ohio Bar #0024315
 DC Bar No. 1003464                                 4532 Langston Blvd, #520
 Burnham and Gorokhov, PLLC                         Arlington, VA 22207
 1750 K Street, NW, Suite 300                       202-319-5303
 Washington DC 20006                                robert.destro@protonmail.com
 (202) 386-6920                                     *Motion for pro hac vice admission before
 charles@burnhamgorokhov.com


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                                                  DCCA in progress




Harry W. MacDougald*
Georgia Bar No. 453076
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive, Suite 1600
Atlanta, Georgia 30346
(404) 843-1956
hmacdougald@ccedlaw.com
* Motion for pro hac vice admission before DCCA
in progress




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                              CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party with

a copy of this Motion to Vacate by filing with the Court’s electronic filing system which

will cause service to be made upon opposing counsel, and by email addressed to:

             Hamilton P. Fox
             Jason R. Horrell
             Theodore (Jack) Metzler
             D.C. Bar
             Building A, Room 117
             515 5th Street NW
             Washington DC 20001
             foxp@dcodc.org
             horrellj@dcodc.org
             metzlerj@dcodc.org

      This this 9th day of July, 2023.



                                         /s/ Charles Burnham
                                         Charles Burnham
                                         DC Bar No. 1003464
                                         1750 K Street, NW
                                         Suite 300
                                         Washington DC 20006
                                         (202) 386-6920
                                         charles@burnhamgorokhov.com




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                                                                                                                APPEAL

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    IN RE: JEFFREY B. CLARK                                                       Da e Filed: 10/17/2022
    A igned o: J dge R dolph Con e a                                              J   Demand: Defendan
     Ca e: 1:22-mc-00117-RC                                                       Na e of S i : 890 O he S a o Ac ion
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    I R
    JEFFREY B. CLARK                                                  ep e en ed b C a      B     a
                                                                                   BURNHAM & GOROKHOV PLLC
                                                                                   1424 K S . NW
                                                                                   S i e 500
                                                                                   Wa hing on, DC 20005
                                                                                   202-386-6920
                                                                                   Email: cha le @b nhamgo okho .com
                                                                                   LEAD ATTORNEY
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    JEFFREY B. CLARK                                                  ep e en ed b Ha     W. Ma D    a
    (A M b        Ba     D                       c                                 CALDWELL, CARLSON, ELLIOTT &
    C    baC       A a (Ba                                                         DELOACH, LLP
    R    a   N . 455315)                                                           2 Ra inia D i e
                                                                                   S i e 1600
                                                                                   A lan a, GA 30346
                                                                                   404-843-1956
                                                                                   Fa : 404-843-2737
                                                                                   Email: hmacdo gald@ccedla .com
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    V.
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    D.C. OFFICE OF DISCIPLINARY                                       ep e en ed b Ha        P. F , III
    COUNSEL                                                                        OFFICE OF DISCIPLINARY COUNSEL
                                                                                   515 5 h S ee , N.W.
                                                                                   B ilding A
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                                                                   ATTORNEY TO BE NOTICED


    Da     F              #    D         T
    10/17/2022             1 NOTICE OF REMOVAL f om DC Co of Appeal (Boa d of P ofe ional
                             Re pon ibili ), ca e n mbe 22-BD-039 led b Jeff e B Cla k. (A achmen : # 1
                             E hibi Ba Docke Shee , # 2 E hibi Speci ca ion of Cha ge , # 3 E hibi Af da i of
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                          Exhibit 17
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                DISTRICT OF COLUMBIA COURT OF APPEALS
                BOARD ON PROFESSIONAL RESPONSIBILITY
                  HEARING COMMITTEE NUMBER TWELVE
                                                                                      
In the Matter of:                           :
                                            :                                       Jul 12 2023 9:33am
        JEFFREY B. CLARK,                   :
                                            :                                             
Respondent.                                 :   Board Docket No. 22-BD-039
                                            :   Disciplinary Docket No. 2021-D193
A Member of the Bar of the                  :
District of Columbia Court of Appeals       :
(Bar Registration No. 455315)               :

                                        ORDER

        Respondent Jeffrey B. Clark has Lodged a Motion to Vacate Orders, in which

he argues, among other things, that the Hearing Committee lacks jurisdiction

because the Clerk of the United States District Court for the District of Columbia

has not mailed a certified copy of the District Court’s June 8, 2023 remand order to

the Hearing Committee. Respondent relies on 28 U.S.C. § 1447(c), which provides

that

        (c) A motion to remand the case on the basis of any defect other than
        lack of subject matter jurisdiction must be made within 30 days after
        the filing of the notice of removal under section 1446(a). If at any time
        before final judgment it appears that the district court lacks subject
        matter jurisdiction, the case shall be remanded. An order remanding the
        case may require payment of just costs and any actual expenses,
        including attorney fees, incurred as a result of the removal. A certified
        copy of the order of remand shall be mailed by the clerk to the clerk of
        the State court. The State court may thereupon proceed with such case.
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(emphasis added). Mr. Clark urges that, notwithstanding the District Court’s June

8, 2023 order remanding this case, proceedings before the Hearing Committee

cannot resume unless and until the District Court Clerk mails a certified copy of the

June 8 order (and preferably, until the certified copy is received). Motion to Vacate

at 5.

         Disciplinary Counsel opposes Mr. Clark’s motion on various grounds, and

represents that the District Court Clerk has informed Disciplinary Counsel that “the

clerk would not mail a certified copy of the order (or place a notation of remand on

the docket indicating a certified copy was sent), because there is no state court clerk

in this case to receive it.” Response at 5.

         In reply, Mr. Clark argues, among other things, that the statement in

Disciplinary Counsel’s brief attributed to the District Court Clerk, “is unsworn, the

specific Clerk’s office attendant is not identified, and the specifics of the dialogue

are not recounted.” Reply at 7. Mr. Clark’s Reply also notes that he has filed a copy

of a motion seeking a stay pending appeal, which he has filed in the United States

District Court for the District of Columbia.

         Upon consideration of the foregoing, and it appearing that Disciplinary

Counsel has not offered evidence of its conversation with the Clerk of the United

States District Court for the District of Columbia, it is hereby

         ORDERED that Mr. Clark’s Lodged Motion to Vacate Orders shall remain

under advisement, pending receipt of an affidavit filed by Disciplinary Counsel

identifying the Clerk’s Office employee referenced in Disciplinary Counsel’s



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response, that employee’s authority to speak on behalf of the Clerk’s Office, and

setting forth the specifics of the dialogue that was summarized in Disciplinary

Counsel’s motion; and it is further

       ORDERED that Respondent’s Lodged Motion for Reconsideration and for

Postponement of Prehearing Conference is granted in part; and it is further

       ORDERED that the pre-hearing conference set for July 12, 2023 is postponed,

pending resolution of Respondent’s Motion to Vacate.



                                 HEARING COMMITTEE NUMBER TWELVE

                                 By: _____________________________________
                                      Merril Hirsh
                                      Chair

cc:

Jeffrey Clark, Esquire
c/o Charles Burnham, Esquire
Robert A. Destro, Esquire
Harry W. MacDougald, Esquire
charles@burnhamgorokhov.com
robert.destro@protonmail.com
hmacdougald@ccedlaw.com

Hamilton P. Fox, III, Esquire
Jason R. Horrell, Esquire
Office of Disciplinary Counsel
foxp@dcodc.org
horrellj@dcodc.org




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                          Exhibit 18
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              DISTRICT OF COLUMBIA COURT OF APPEALS
              BOARD ON PROFESSIONAL RESPONSIBILITY
                HEARING COMMITTEE NUMBER TWELVE
             _______________________________________________

                                   In the Matter of:

                                Jeffrey B. Clark, Esq.
                                     Respondent,
                          A Member of the Bar of the
                     District of Columbia Court of Appeals
                                (Bar No. 455315)
                         Board Docket No. 22-BD-039
                      Disciplinary Docket No. 2021-D193
             _______________________________________________

                       DISCIPLINARY COUNSEL’S
                  OPPOSITION TO MOTION TO VACATE
             _______________________________________________

      Respondent Jeffrey Clark asks the Chair to vacate two orders issued following

the federal district court’s decision that this disciplinary proceeding was not remov-

able and that the district court does not have jurisdiction to consider it. Clark argues

that it is instead the Hearing Committee which lacks jurisdiction to proceed. Clark

cites 28 U.S.C. § 1447(c), which states that in a case “removed from a State court,”

an order remanding the case “shall be mailed by the clerk [of the district court] to

the clerk of the State court,” after which “[t]he State court may thereupon proceed

with such case.” Clark argues that because the district court’s docket does not indi-

cate that the clerk mailed a certified copy, the district court retains jurisdiction over

the matter and the Hearing Committee may not act.

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      That is incorrect. The plain language of the removal statutes authorizes only

the removal of a “civil action” or a “criminal prosecution” that was commenced “in

a State court.” See 28 U.S.C. § 1441(a) (civil actions), § 1442(a) (civil actions or

criminal prosecutions against federal officers). As the federal district court held, this

disciplinary proceeding is neither a civil action nor a criminal prosecution within the

meaning of the removal statutes. More importantly—at least for determining

whether the Hearing Committee may proceed—neither the Hearing Committee nor

the Board on Professional Responsibility is a “State court.” As a result, Clark’s at-

tempted removal of the disciplinary proceeding never divested the hearing commit-

tee of jurisdiction to proceed in the first place. The district court clerk is not required

to mail a certified copy of the court’s order to “the clerk of the State court” under

Section 1447(c) because there is no such clerk. Indeed, the district court clerk con-

firmed with undersigned counsel that it would not mail a copy of the district court’s

order for precisely that reason.

A.    Neither the notice of removal nor 28 U.S.C. § 1447(c) prevents the
      Hearing Committee from proceeding.

      The right to remove a case from state court to federal court is “purely statu-

tory” and “its scope and the terms of its availability therefore are entirely dependent

on acts of Congress.” 14C Wright & Miller, Fed. Prac. & Proc. Juris. § 3721 (Rev.

4th ed.); see, e.g., Finn v. Am. Fire & Cas. Co., 207 F.2d 113, 115 (5th Cir. 1953)

(removal jurisdiction is “purely statutory”). It is axiomatic that statutory


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interpretation begins with the text of the statute; if the language is plain and unam-

biguous, then the language controls. McPherson v. United States, 692 A.2d 1342,

1344 (D.C. 1997) (“In interpreting a statute, we are mindful of the maxim that we

must look first to its language; if the words are clear and unambiguous, we must give

effect to its plain meaning.”). Here, the removal statutes plainly authorize only the

removal of cases from “State court”; they do not authorize removal from non-court

bodies like the Board on Professional Responsibility or this Hearing Committee. In

fact, “[t]he entire series of code sections dealing with removal refer only to removal

from state courts, and not to removal from administrative bodies.” California Pack-

ing Corp. v. I.L.W.U. Local 142, 253 F. Supp. 597, 598 (D. Haw. 1966).

      The limitation to cases originating in state court appears throughout the stat-

utes describing the procedural aspects of removal and remand. See 42 U.S.C.

§§ 1446, 1447. Specifically, Section 1446 specifies the procedures to be followed

when a defendant wishes “to remove any civil action from a State court.” 42 U.S.C.

§ 1446(a) (emphasis added). Among other requirements, the defendant must “file a

copy of the notice [of removal] with the clerk of such State court.” Id. § 1446(d)

(emphasis added). The clerk of the state court then “shall effect the removal,” and

“the State Court shall proceed no further unless and until the case is remanded.” Id.

(emphasis added). Section 1447 then specifies the procedure after removal for “any

case removed from a State court.” 28 U.S.C. § 1447(a) (emphasis added). It provides


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that an “order of remand shall be mailed by the clerk [of the district court] to the

clerk of the State court,” and that “[t]he State court may thereupon proceed with

such case.” Id. § 1447(c) (emphasis added).

      By the plain language, none of those provisions applies to matters like this

one, in which removal was not sought from an action brought in a state court. This

proceeding, like all contested disciplinary matters, was initiated by Disciplinary

Counsel’s filing of a petition and specification of charges with the Executive Attor-

ney of the Board on Professional Responsibility and then assigned to this Hearing

Committee. See D.C. Bar Rule XI, § 8(c). Neither the Board on Professional Re-

sponsibility nor the Hearing Committee is a court, nor are their members judges. See

D.C. Bar. Rule XI, §§ 4(a) (composition of the Board), 5(a) (composition of hearing

committees); cf. In re Greenspan, 910 A.2d 324, 338 (D.C. 2006) (finding Maryland

Grievance Commission was not a “disciplining court” for reciprocal discipline under

prior version of D.C. Bar R. XI, § 11). Accordingly, Clark could not comply with

the requirement to file a copy of his notice of removal with the clerk of the state

court because the matter was not pending in state court. There was likewise no clerk

of a state court to “effect the removal,” and no state court that was required to “pro-

ceed no further unless and until the case is remanded.” See 28 U.S.C. § 1446(d).

      Section 1447(c) does not apply for the same reason. Clark sought to remove

this proceeding while it was pending before a Hearing Committee—not a state court;


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therefore, Section 1447 does not apply because the matter is not a “case removed

from a State court.” 28 U.S.C. § 1447(a). The district court’s clerk likewise cannot

mail a certified copy of the district court’s order to the “clerk of the State court”

because there is no court, much less a clerk of that court.1 Indeed, on July 7, 2023,

undersigned counsel spoke with the clerk for the U.S. District Court for the District

of Columbia to determine whether the clerk intended to mail a certified copy of the

district court’s order, and if so, to whom. The clerk advised counsel that the clerk

would not mail a certified copy of the order (or place a notation of remand on the

docket indicating a certified copy was sent), because there is no state court clerk in

this case to receive it.

B.     Clark’s authorities are not applicable.

       Clark argues that the Chair should follow cases holding that “a district court

loses jurisdiction over a case once it has completed the remand by sending a certified

copy of the remand order to state court.” Br. 2-3 (quoting Trans Penn Wax Corp. v.

McCandless, 50 F.3d 217, 225 (3d Cir. 1995)). But those cases involved matters that

had been removed from state courts, not, as here, one in which the purported removal

was not from a court at all. Unlike here, when a case is removed from state court,



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  Clark recognizes the mismatch between the statutory language and his argument
when he asserts that the clerk of the district court must send a copy of its order not
to the clerk, but “to the Hearing Committee (presumably via the Board of Profes-
sional Responsibility or the District Court for the District of Columbia).” Br. 2.

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Section 1446(d) vests jurisdiction over the case solely in the district court while it

determines whether the case should be remanded, to the exclusion of the state court.

Section 1447(c) then controls when jurisdiction returns to the state court following

a remand. Accordingly, it is not surprising that courts in such cases have discussed

when “a district court loses jurisdiction” such that it returns to state court. See Trans

Penn Wax Corp., 50 F.3d at 225.

      Those cases are not applicable here. Instead, because the plain language of

Section 1446(d) does not apply to Clark’s purported removal, the district court never

had jurisdiction over the case to the exclusion of the Hearing Committee. The district

court thus had no more than the jurisdiction vested in all courts to determine their

own jurisdiction. See United States v. United Mine Workers of Am., 330 U.S. 258,

291 (1947); Timus v. Dist. of Columbia Dept. of Human Rights, 633 A.2d 751, 757

(D.C. 1993). It does not matter that the Board treated this matter as if it were removed

in the interim. The Board does not have the power to grant the district court jurisdic-

tion that is not granted by the removal statutes. Moreover, in exercising its jurisdic-

tion to decide its own jurisdiction, the district court found that this matter was not in

fact removable and that the federal courts lacked jurisdiction to hear it. See Mem.

Op. Granting Motions to Remand, In re Clark, No. 1:22-mc-96 (D. D.C. Jun. 8,

2023). Clark’s argument that the district court retains jurisdiction to the exclusion of

the Hearing Committee is thus contrary not only the plain language of the removal


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statutes, it is also contrary to the district court’s thorough analysis and rejection of

the argument that it has jurisdiction over this matter, and to the district court clerk’s

view that Section 1447(c) does not require it to send a certified copy of the district

court’s judgment to anybody.

                                      Conclusion
      The motion should be denied.

                                         Respectfully submitted,


                                         HAMILTON P. FOX, III
                                          Disciplinary Counsel
                                         JULIA L. PORTER
                                          Deputy Disciplinary Counsel
                                         s/Theodore (Jack) Metzler
                                         THEODORE (JACK) METZLER
                                           Senior Assistant Disciplinary Counsel
                                         JASON HORRELL
                                          Assistant Disciplinary Counsel
                                         OFFICE OF DISCIPLINARY COUNSEL
                                         515 5th Street, N.W.
                                         Building A, Room 117
                                         Washington, D.C. 20001




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                         CERTIFICATE OF SERVICE

      I certify that on July 11, 2023, I caused the foregoing to be filed by email to

casemanager@dcbpr.org and also served it on the following:

      Charles Burnham, counsel for Respondent, charles@burnhamgorokhov.com

      Board on Professional Responsibility, by its Executive Attorney James T.

Phalen, jtphalen@dcbpr.org.

                                      s/Theodore (Jack) Metzler
                                      THEODORE (JACK) METZLER
                                      OFFICE OF DISCIPLINARY COUNSEL
                                      515 5th Street, N.W.
                                      Building A, Room 117
                                      Washington, D.C. 20001




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                          Exhibit 19
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                   DISTRICT OF COLUMBIA COURT OF APPEALS
                   BOARD OF PROFESSIONAL RESPONSIBILITY
                     HEARING COMMITTEE NUMBER TWELVE
                                                                             -XO\SP
In the Ma)er of:                         :
                                         :
      JEFFREY B. CLARK,                  :
                                         :      Board Docket No. 22-BD-039
Respondent.                              :      Disciplinary Docket No. 2021-D193
                                         :
A Member of the Bar of the District      :
Of Columbia Court of Appeals             :
(Bar Registration Number 455315)         :

 LODGED RESPONDENT’S REPLY IN SUPPORT OF MOTION TO VACATE ORDERS

      The Oﬃce of Disciplinary Counsel, in its a)empt to barrel ahead with merits

adjudication, despite the pendency of a good-faith (and strong) appeal to the D.C. Circuit

of the federal-oﬃcer removal jurisdiction issue—and a potent stay motion (a)ached as

Exhibit 1)—is grasping at straws.

      All it can oﬀer is (1) a totally new argument it never once made in the four-month

period from October 2022 to February 2023 either here in the local Article I forums or in

the District Court Article III forum—namely, that this Hearing Commi)ee and the Board

of Professional Responsibility (“Board”) are not courts; and (2) an unsworn sentence

saying the District Court Clerk’s Oﬃce told ODC that it will not be issuing a certiﬁed

copy of the June 8, 2023 remand order and mailing it over to this local Article I process.

Neither of these grounds provide a reason to ignore the plain text of 28 U.S.C. § 1447(c).

      1.      Mr. Fox has repeatedly told both the D.C. Court of Appeals and its adjunct
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forums and the U.S. District Court that ODC is a creature of the DCCA. Just one of those

instances should suﬃce for present purposes to show his radical volte face:

       As authorized by Congress, the Court sets its own rules for admission to its
       Bar and for the conduct of its members. The Board on Professional
       Responsibility, including the hearing commi:ees appointed by the Board,
       are agents of the Court. The Board also appoints Disciplinary Counsel,
       who is also not an agent of the D.C. Bar. Thus, disciplinary proceedings
       are not bar proceedings, but court proceedings.

Disciplinary Counsel’s Omnibus Response to Respondent's September 1, 2022, Pleadings

at 4 (Sept. 6, 2022) (internal citations omi)ed). For the convenience of the Chair, we have

a)ached the Omnibus ﬁling in which Mr. Fox makes this argument as Exhibit 2.

       2.     This point was so obvious that it was cited as a key concession in our ﬁrst

removal notice ﬁled on October 17, 2022. See In re Clark, No. 1:22-mc-00096-RC, Dkt. #1 at

¶ 20 (“Disciplinary Counsel Fox has ﬁled charges against Mr. Clark before the Board,

which Mr. Fox has repeatedly emphasized operates as part of the DCCA. See, e.g., Exhibit

B20 at 3 (characterizing the Board as ‘an agency of this Court,’ i.e., the DCCA).”

       3.     Indeed, we anticipated this a)empt by ODC to pivot and sealed oﬀ this

avenue of retreat even further in our removal notice. For in Paragraph 51, we went farther:

       For purposes of Section 1442, this case was “commenced in a State Court.”
       The DCCA is clearly a court of the District of Columbia. And Section
       1442(d)(5) deﬁnes the “District of Columbia” and certain other federal
       entities as “States.” 42 U.S.C. § 1442(d)(5). The Board of Professional
       Responsibility is, in turn, part of the DCCA. See D.C. Bar Rule XI, § 1(a)
       (referring to “the disciplinary jurisdiction of this Court and its Board on
       Professional Responsibility”) (emphasis added). The DCCA thus clearly
       regards the Board as a possessive creature of that court itself. In turn, the
       Board appoints the members of its Hearing Commi)ees, such as Hearing


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        Commi)ee Number Twelve, which has been assigned Respondent’s case.
        And D.C. Bar Rule XI, § 4(e)(4), “Board of Professional Responsibility”
        (italics in original) provides as follows:

                The Board shall have the power and duty to …. To appoint two or
                more Hearing Commi@ees, each consisting of two members of the
                Bar and one person who is not a lawyer, and such alternate Hearing
                Commi@ee members as may be required, who shall conduct hearings
                under this rule and such other hearings as the Court or the Board
                may direct, and shall submit their ﬁndings and recommendations,
                together with the record, to the Board or, if required under this rule,
                to the Court.

        Clearly, both the Board and the Board’s Hearing Commi)ees are adjuncts
        of the DCCA. All of these bodies, taken together, constitute either the
        DCCA (a court proper) or arms of that court.

        4.      The Chair should order ODC to be estopped from making a contrary

argument now, even if ODC somehow could somehow get past D.C. Bar Rule XI, § 1(a)

and D.C. Bar Rule XI, § 4(e)(4), which it does not even try to do in its responsive brief ﬁled

today at 3 pm. Mr. Fox is plainly blowing hot and cold on the issue of whether the

DCCA’s adjuncts are part of that Court or not, in order to “deliberately chang[e] positions

according to the exigencies of the moment.” New Hampshire, 532 U.S. 742, 749–50 (2001).

Mr. Fox is trying to “derive an unfair advantage or impose an unfair detriment on the

opposing party if not estopped,” Id. at 750-51. And that’s precisely why he should be

estopped from pulling a “J-turn” here.1 See also Lofchie v. Washington Square Ltd. P’Ship,




1 “A J-turn is a driving maneuver in which a reversing vehicle is spun 180 degrees and continues, facing
forward, without changing direction of travel. The J-turn is also called a ‘moonshiner's turn’ (from the
evasive driving tactics used by bootleggers), a ‘reverse 180,’ a reverse ﬂick, a ‘Rockford Turn’, a ‘Rockford


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580 A.2d 665, 668 (D.C. 1990) (concurrence) (“The independent doctrine of judicial

estoppel precludes a litigant from playing fast and loose with a court of justice by

changing his position according to the vicissitudes of self-interest.”).

         5.    Mr. Fox is no doubt a)empting to pivot from his prior representations and

removal brieﬁng in order to capitalize on this language in footnote 1 of the Chair’s July 5

Order:

         Mr. Clark renews an argument he has made before that the Commi)ee
         should not follow the Board’s procedures because, if this Commi)ee were a
         federal court, it could not avoid reaching a diﬃcult jurisdictional issue by
         resolving the case based on merits arguments that are easier to adjudicate.
         Mr. Clark’s Report at 5. Mr. Clark’s argument misstates our role. The
         Commi)ee is not a federal court and does not determine merits at all.

Reliance on this footnote as a springboard for Mr. Fox’s J-turn is misplaced, because it is

not responsive to the point that jurisdiction has not returned the DCCA, the Board or the

Hearing Commi)ee unless and until the formal statutorily required act of mailing a

certiﬁed copy of the remand order has occurred, which it has not. In any event, the

footnote sets up a conﬂict with Mr. Fox’s prior positions and the rules of the DCCA upon

which he relied when previously making the contrary argument.

         6.    If Mr. Fox were right in now claiming that the adjunct entities south of the

Board were not courts such that so removal could occur, any hostile State or the District

of Columbia could frustrate federal oﬃcer removals—or indeed any form of removal—



Spin’, or simply a ‘Rockford’ popularized by the 1970s              TV   show   The   Rockford   Files.”
hOps://en.wikipedia.org/wiki/J-turn (last visited July 11, 2023).


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to federal court by the expedient of creating administrative bodies with quasi-judicial

powers and claiming they were not courts. That would hand the keys of the kingdom to

States and D.C. to control the removal issues entirely and frustrate the whole purpose of

removal and especially defeat the purpose of federal oﬃcer removal, which is the

preservation of federal supremacy and oﬀering the forum change as a corrective to local

bias. Congress and the Supreme Court have emphasized and reiterated many times that

federal oﬃcer removal is wide-ranging and is to be broadly construed, and not evaded

by pe)ifogging distinctions.

      7.     The argument that neither the Hearing Commi)ee nor the Board are

courts—and therefore this case was never removable in the ﬁrst place—cannot survive

the text of 28 U.S.C. § 1442(d)(1), which after amendment by Pub. L. 112-239, 126 Stat.

1969, § 1087 (Jan. 2, 2013), expanded the deﬁnitions of “civil actions” and “criminal

prosecutions” to include not just subpoenas, but “any proceeding … to the extent that in

such proceeding a judicial order … is sought or issued.” This bar discipline case is

unquestionably such a proceeding in that ODC seeks a judicial order from the DCCA

imposing discipline on Mr. Clark. Just yesterday, during the meet and confer ordered by

the Chair, Mr. Fox disclosed for the ﬁrst time that he is seeking disbarment. And that

sanction can only be imposed by order of the DCCA. See D.C. Rule XI, § 9 (any Board

recommendation for discipline greater than an informal admonition or reprimand is

decided by the D.C. Court of Appeals). Therefore, the gambit of claiming this ma)er is



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not removable because it did not originate in a court is without merit and should be

rejected.

       8.      Moreover, the second and third removals to federal court were of a

subpoena enforcement motions in the DCCA—clearly a “court.” And note that the federal

oﬃcer removal statute explicitly makes subpoenas removable. The D.C. Circuit has now

consolidated all three of the removals together for purposes of the appeal. Hence, they

cannot be disentangled in this forum because exclusive power over that appeal rests in

the D.C. Circuit. The U.S. District Court is divested of any disentanglement power by the

appeal, and this body is also stripped of that power by the removal. Nor has this body

regained any such power in the manner speciﬁed by 28 U.S.C. § 1447(c).

       9.     As we argue in the motion for stay pending appeal a)ached hereto as

Exhibit 1, the decision in BP plc. v. Mayor & City Council of Baltimore, 141 S. Ct. 1532 (2021)

makes clear that in federal oﬃcer removal cases the case remains stayed in the court of

origin pending the conclusion of any appeal.          “Here, too, Congress has deemed it

appropriate to allow appellate review before a district court may remand a case to state

court.” Id. at 1536. The Court explicitly rejected the argument that it would be imprudent

policy to delay proceedings in the state or D.C. forum pending the appeal because

Congress explicitly permi)ed the appeal to be concluded before the forum of origin could

resume its proceedings. The Chair is respectfully referred to Section I(A) of the Motion

for Stay for a fuller presentation of this important argument, which is incorporated herein



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by reference.

       10.      Mr. Fox next asserts that he was told by a Clerk of the U.S. District Court

that no certiﬁed copy of the remand order would be sent as required by Section 1447(c).

We do not see how this could possibly excuse non-compliance with § 1447(c). But in any

case, the statement in the brief is unsworn, the speciﬁc Clerk’s oﬃce a)endant is not

identiﬁed, and the speciﬁcs of the dialogue are not recounted. Unsworn anonymous

hearsay recitations of the statements of a person in a clerk’s oﬃce are not the law and do

not control over the text of § 1447(c). In any event, we have now placed the § 1447(c)

argument before the U.S. District Court in our motion for stay. See Exhibit 1, Section I.B.

That is the court which will decide that question, not an unsworn statement of an

unnamed person in the Clerk’s Oﬃce.

                                      CONCLUSION

       The Hearing Commi)ee, and indeed any court or body hearing a ma)er, has an

independent duty to ascertain whether it has jurisdiction over the ma)er before it, and to

stop whenever it appears that jurisdiction is lacking. It is lacking in this case because the

statutorily prescribed and mandatory procedure for returning jurisdiction to this forum

has not been carried out. The arguments presented by ODC to evade this reality are

without merit at best and disingenuous at worst. The Chair should vacate its orders of

June 16 and July 5, and cancel the hearing set for July 12, 2023.




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     Respectfully submi)ed this 11th day of July 2023.

/s/ Charles Burnham                               Robert A. Destro*
Charles Burnham                                   Ohio Bar #0024315
DC Bar No. 1003464                                4532 Langston Blvd, #520
Burnham and Gorokhov, PLLC                        Arlington, VA 22207
1750 K Street, NW, Suite 300                      202-319-5303
Washington DC 20006                               robert.destro@protonmail.com
(202) 386-6920                                    *Motion for pro hac vice admission before
charles@burnhamgorokhov.com                       DCCA in progress
Harry W. MacDougald*
Georgia Bar No. 453076
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive, Suite 1600
Atlanta, Georgia 30346
(404) 843-1956
hmacdougald@ccedlaw.com
* Motion for pro hac vice admission before DCCA
in progress




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                             CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party with

a copy of this Lodged Respondent’s Reply In Support Of Motion To Vacate Orders by

ﬁling with the Board’s Case Manager, who will cause service to be made upon opposing

counsel, and by email addressed to:

             Hamilton P. Fox
             Jason R. Horrell
             Theodore (Jack) Metzler
             D.C. Bar
             Building A, Room 117
             515 5th Street NW
             Washington DC 20001
             foxp@dcodc.org
             horrellj@dcodc.org
             metzlerj@dcodc.org

      This this 11th day of July, 2023.



                                          /s/ Charles Burnham
                                          Charles Burnham
                                          DC Bar No. 1003464
                                          1750 K Street, NW
                                          Suite 300
                                          Washington DC 20006
                                          (202) 386-6920
                                          charles@burnhamgorokhov.com




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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



IN RE: JEFFREY B. CLARK,

       A member of the Bar of the                  Case No. 1:23-mc-00007-RC
       District of Columbia Court of               Case No. 1:22-mc-00096-RC
       Appeals (Bar No. 455315)                    Case No. 1:22-mc-00117-RC




                   M OT ION F O R STAY PE ND IN G APP EAL

       All three of these cases are currently on consolidated appeal. Pursuant to Federal

Rule of Appellate Procedure 8(a)(1)—though only out of an abundance of caution—

Respondent-Appellant Jeffrey B. Clark hereby moves for a stay pending appeal of the

Court’s remand order dated June 8, 2023.

       Based on the Supreme Court’s decision in BP plc. v. Mayor & City Council of

Baltimore, 141 S. Ct. 1532 (2021), and 28 U.S.C. § 1446(d), seeking a stay should not be

necessary. Instead, the local D.C. process must stand down and first await the outcome

of all stages of appeals in this case. Additionally, a stay is not necessary because, while

the D.C. Office of Disciplinary Counsel (“ODC”), along with the Chair of D.C. Bar

Hearing Committee Number Twelve, are harrying Mr. Clark in the local D.C. processes

adjunct to the D.C. Court of Appeals (“DCCA”), the DCCA and its adjuncts have not yet

acquired power over the case pursuant to 28 U.S.C. § 1446(c).

       On July 10, 2023, at a Hearing Committee Twelve-ordered meet and confer session,
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ODC informed us it will argue that we engaged in laches by not filing this stay motion

sooner. That wholly ignores that this Court’s June 8, 2023 remand order could not

possibly return any jurisdiction to the DCCA and its adjuncts any earlier than some date

after today—i.e., until Section 1447(c) is complied with by this Court’s Clerk sending a

mailed certified copy of the June 8 remand order to a relevant clerk acting for the D.C.

Bar disciplinary process. And to our knowledge, that event has not yet occurred.

       Nevertheless, because ODC and Hearing Committee Twelve are threatening to

begin a trial against Mr. Clark at some point after Labor Day this year (and we do not

anticipate that appellate proceedings will be complete before then), we are compelled to

seek a stay out of an abundance of caution. We have done our best to avert the need to

come to this Court for a stay under FRAP 8(a)(1) and indeed we have a pending motions

before the Hearing Committee both to vacate its scheduling orders setting a pre-trial

conference for tomorrow, July 12, 2023 and to reconsider its decision to plow ahead with

local adjudication.

                        PROCEDURAL BACKGROUND

       After this Court entered its remand order, Mr. Clark filed a notice of appeal on

June 11, 2023, pursuant to 28 U.S.C. § 1447(d) which provides for appeal as of right from

remand orders in cases removed under the federal officer removal statute. See 28 U.S.C.

§ 1442. On June 12, 2023, Mr. Clark moved the DCCA to continue its January 17, 2023,

order that was holding the proceedings before that Court (a motion to enforce a



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subpoena) in abeyance and to extend the abeyance to proceedings down to the level of

Hearing Committee Twelve.

       This Court should also be aware that at all points from the October 17, 2022,

removal of this case here, the Board of Professional Responsibility’s Clerk marked any

documents sent to them by either side as lodged. This did not stop ODC from peppering

Mr. Clark with briefs, a new local subpoena, and other local litigation filings prior to the

time the DCCA acted to issue its January 17 order. Once the DCCA issued that January

17 order, however, ODC and Hearing Committee Twelve did stand down, even though

the DCCA’s abeyance order, by its textual terms, only ordered an abeyance of

adjudication of ODC’s motion to enforce its October 6, 2022, subpoena. Nevertheless,

once ODC notified the Hearing Committee that this Court’s June 8 Order had issued, this

quickly led to the Chair of Hearing Committee Twelve on June 16, 2023, ordering the

parties to file status reports by June 23, 2023.

       In his June 23, 203 status report, Mr. Clark noted the pendency of the appeal in this

case and of his motion to continue abeyance and/or defer consideration of all interrelated

disputes until after the appeal to the D.C. Circuit and any follow-on levels of appellate

review were complete. Despite this, on July 5, 2023, the Hearing Committee Chair issued

an order, attached hereto as Exh. 1, rejecting Mr. Clark’s arguments that the case should

not proceed before the ultimate conclusion of his appeal of the remand order, setting a

hearing for July 12, 2023, directing the parties to meet and confer on scheduling an



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evidentiary hearing, and otherwise pressing forward with the local disciplinary

proceeding. Later that same day, as a result of the July 5, 2022, Hearing Committee Chair

order, Mr. Clark moved the DCCA to expedite its consideration of the motion to continue

the abeyance as well as extend the abeyance to the Board and Hearing Committee below

(termed a “deferral”).

       No ruling from the DCCA on the motion to continue abeyance/defer the matter

has issued before it became necessary for us, again out of an abundance of caution, to

make this FRAP 8(a)(1) stay filing, even though we do not think it should be necessary

for the reasons quickly summarized above and set out in more detail below.

       Accordingly, the current status in the local process is that the Chair of the Hearing

Committee may be intending to go forward with his ordered July 12, 2023, pre-hearing

conference despite the fact that he lacks power over this case—something this Court

should remedy by issuing a stay to confirm, by binding ODC, that the local process

should proceed no further until the appeal is complete. As of the time we are filing this

stay motion, we do not know whether the July 12, 2023 at 1 pm conference will go

forward, but as of now it is on the Board’s calendar. See https://www.dcbar.org/attorney-

discipline/board-on-professional-responsibility/hearing-and-oral-argument-schedule

(last visited July 11, 2023). Therefore, having exhausted his only means of resolving this

issue in the DCCA and its adjunct processes, so as to avoid troubling this Court, Mr. Clark

now brings this FRAP 8(a)(1) motion for stay pending appeal.



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               ARGUMENT AND CITATION OF AUTHORITY

       We first argue below that the Supreme Court’s 2021 BP decision, combined with

Section 1446(d), which the BP decision invokes, makes seeking a discretionary stay

unnecessary. This is because the appeal is effectively a continuation of Section 1446(d)’s

command to the state/D.C. courts from which the case was removed to cease adjudication

of such cases from the point when they are removed until the propriety of removal has

been fully and finally tested (which in many cases does not include an appeal, but which

does here in this federal officer removal situation). Additionally, Section 1447(c) has not

yet been complied with because no certified copy of this Court’s June 8 Order has yet

been mailed by this Court’s Clerk or received by a local D.C. Clerk.

       In the alternative, this Motion argues that Mr. Clark can satisfy the traditional four-

factor test for obtaining a discretionary stay pending appeal:

       (1) whether the stay applicant has made a strong showing that he is likely
       to succeed on the merits; (2) whether the applicant will be irreparably
       injured absent a stay; (3) whether issuance of the stay will substantially
       injure the other parties interested in the proceeding; and (4) where the
       public interest lies.

Nken v. Holder, 556 U.S. 418, 434 (2009).

       The Court is to exercise its discretion on whether to grant a stay according to the

individual circumstances of the case. Granting an equitable stay under the four-factor test

is

       “an exercise of judicial discretion,” and “[t]he propriety of its issue is
       dependent upon the circumstances of the particular case.” [Virginia R. Co.


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       v. United States, 272 U.S. 658], 672–73 [(1926)]; see Hilton [v. Braunskill, 481
       U.S. 770], 777 [(1987)], (“[T]he traditional stay factors contemplate
       individualized judgments in each case”). The party requesting a stay bears
       the burden of showing that the circumstances justify an exercise of that
       discretion.

Id. at 433-34. As the Court noted in Nken,

       There is substantial overlap between these and the factors governing
       preliminary injunctions, see Winter v. Natural Resources Defense Council, Inc.,
       555 U.S. 7, 24 (2008); not because the two are one and the same, but because
       similar concerns arise whenever a court order may allow or disallow
       anticipated action before the legality of that action has been conclusively
       determined.”

Id. at 434.1 “The first two factors of the traditional standard are the most critical.” Id.

        All four elements for a stay pending appeal are present in this case.

I.     U N D E R S U P R E M E C O U R T P R E C E D E N T , S E C T I O N 14 46( D ) , A N D
       T E M P O R A R I L Y U N D E R S E C T I O N 1447( C ) , A M A N D A T O R Y S T A Y
       SHOULD BE GRANTED.

       In its BP v. Mayor and City Council of Baltimore decision, the Supreme Court

considered federal officer removals like this one and it plainly instructed that State and




1 There is a circuit split over whether the decision in Winter overrules the sliding scale for

evaluating the four-factor test for granting a preliminary injunction. See Sherley v.
Sebellius, 644 F.3d 388, 393 (D.C. Cir. 2011) (noting split). And some judges on the D.C.
Circuit favor that view. See Davis v. PBGC, 571 F.3d 1288 (2009) (Kavanaugh, J.,
concurring). The D.C. Circuit has thus far not definitively resolved this issue for
preliminary injunctions. In any event, the test for preliminary injunctions is merely
similar, not identical to the test for stay pending appeal. The latter test is set forth with
sufficient clarity in Nken and is satisfied in this case. Compare Shapiro v. U.S. Department of
Justice, Case No. 13-555 (RDM), 2016 WL 3023980 (D.D.C. May 25, 2016) (discussing
foregoing issues in granting motion for stay of a FOIA production order pending final
judgment).


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District of Columbia courts (for under 28 U.S.C. § 1451, the District is a “State” for

removal purposes) lack the power to adjudicate cases pending the resolution of appealed

remand orders because the state/D.C. adjudication is interrupted by the removal and the

appeal. See Section I.A., infra.

       Additionally, at least a temporary stay is required under Section 1446(c), which

provides that state/D.C. courts cannot resume adjudication pending at least the mailing

(and likely the reception as well) of a certified copy of this Court’s remand order. See

Section I.B., infra.

       A.      The BP Case Contemplates That Appealed Federal Officer Removals Are
               Continuations of the Automatic District Court Stay in Section 1446(d).

       In the BP decision, the City of Baltimore brought common law nuisance and tort

claims against the oil company BP, arguing that it had concealed the connection between

fossil fuels and climate change and thus was responsible for damaging the City. See 141

S. Ct. at 1535; id. at 1546 (Sotomayor, J., dissenting). BP thereupon removed that case from

state court to federal court on a variety of removal theories, one of which was that BP was

acting at the government’s request as to “some of their challenged exploration, drilling,

and production operations,” and so was entitled to make use of federal officer removal

under 28 U.S.C. § 1442. Id. at 1535.

       The District of Maryland ordered a remand and BP appealed with the Fourth

Circuit affirming. The Supreme Court took the case because of a split in the Circuits on

the issue of whether in a case involving a federal officer removal, Section 1447(d) permits


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all removal grounds to go up on appeal or only the federal-officer removal ground

because remand orders are typically not reviewable on appeal. See id. at 1537. The

Supreme Court vacated the Fourth Circuit’s decision and remanded after holding that all

grounds for removing go up on appeal when one of the grounds is federal officer removal.

See id. at 1543.

         In the course of reaching its holding, the Supreme Court had to reject several

arguments by the City that if all removal grounds go up on appeal from a remand order,

the merits of litigation would be slowed down in state courts (or, in accord with Section

1451, in the District of Columbia’s courts). Many of these points of majority analysis are

relevant to require a stay here, but the clearest is this statement: “Here, too, Congress has

deemed it appropriate to allow appellate review before a district court may remand a

case to state court.” BP, 141 S. Ct. at 1536 (emphasis added). That directive cannot be

complied with if the DCCA and adjuncts can continue with merits litigation on a separate

track.

         The Court next explained that removal and its consequences for appeals as of right

of federal-officer-based removals rests in the hands of removing defendants, not in the

hands of district courts or even intermediate appellate courts:

         All of which leaves the City to offer a different argument from a new
         direction. Now, the City contends, the defendants never really removed this
         case pursuant to § 1442. On this account, a case is not “removed pursuant
         to section 1442 or 1443” until a federal court (district or appellate) holds that
         one of these statutes authorizes removal. Because that never happened
         here, the City reasons, the defendants were not entitled to any appellate


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       review. But this argument isn’t only novel—the City didn’t pursue it below
       and no court of appeals has adopted it. It is also mistaken.

       As we’ve seen, it is generally a defendant’s actions under § 1446 that “effect
       the removal.” Once a defendant complies with § 1446, a state court may
       not proceed “further unless and until the case is remanded.” 28 U.S.C. §
       1446(d). That’s why normally it’s the plaintiff who must seek judicial
       intervention if it wishes to have the matter remanded to state court—just as
       the City did here.

Id. at 1539 (emphasis and one paragraph break added). And this teaching makes clear the

statutory underpinning for the Court’s conclusion that “appellate review” must occur

“before a district court may remand a case to state court.” Id. at 1536. Namely, it is Section

1446(d), which provides that “a state court may not proceed ‘further unless and until the

case is remanded.’” BP, 141 S. Ct. at 1539 (quoting Section 1446(d)).

       This caused the City to respond with policy arguments that allowing appeals

would simply delay litigation back in state court—with the Court again making quite

clear that appeals stop proceedings on remand (more precisely, they simply continue the

stay posture created by Section 1446(d) as soon as removal occurs), otherwise there would

be nothing for the City to have complained about if the Supreme Court were

contemplating federal officer removal-jurisdiction appeals occurring on one track but

remanded state/D.C. merits litigation occurring a parallel track.

       Specifically, the City argued as follows: “Barring appellate review of remand

orders, the City says, serves the worthy goal of allowing the parties to get on with

litigating the merits of their cases in state court. Meanwhile, the City submits, allowing



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exceptions to this rule promises only to impair that efficiency interest.” Id. at 1542. The

Supreme Court rejected that argument cannot occur : “For that subset of cases [i.e., when

Congress has provided an exception to the non-appealability of remand orders, such as

under Section 1442 federal officer removals and under 28 U.S.C. § 1443 civil rights case

appeals], Congress has expressed a heightened concern for accuracy, authorized

appellate review, and accepted the delay it can entail.” BP, 141 S. Ct. at 1542 (emphasis

added).

       Finally, the majority, in the opinion written by Justice Gorsuch, reasoned that the

delay-based policy argument was wrong on its own terms:

       In fact, allowing a fuller form of appellate review may actually help
       expedite some appeals. Suppose a court of appeals finds the § 1442 or § 1443
       issue a difficult and close one, but believes removal is clearly and easily
       warranted on another basis. Allowing the court to address that easier
       question and avoid harder ones may facilitate a prompter resolution of the
       proceeding for all involved. At the least, a rational Congress could have
       thought that considerations like these warranted allowing a court of
       appeals the power to review the whole of a district court’s remand order
       rather than just certain select aspects of it.

Id.

       This argument by the Supreme Court would be incoherent if it contemplated

appeals of removal jurisdiction disputes would take place on one track but also remanded

so that unstayed merits litigation could simultaneously take place in a state/D.C.-court

track on another. If that were the case, the Court would have said that the policy

arguments based on the delay of state/D.C. court litigation were a red herring because



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the district courts possess the power to deny stays pending appeal in cases the district

courts have ordered remanded. But that’s not what the Supreme Court said at all. It

plainly contemplated that the Section 1446(d)-based delay would continue on until

appellate proceedings on the removal jurisdiction questions (all of them even, not even

just questions of Section 1442-based federal officer-based removals) were concluded.

          Indeed, while the lone dissenter, Justice Sotomayor disagreed with the majority as

to whether all removal grounds should go up on appeal where Section 1447(d)-based

federal officer removals are among the full range of grounds invoked or only federal

officer removal ground alone, she agreed that such appeals (of any scope) create delay.

Again, this would make no sense if she had the ready response of—'never fear, denied

stays of remand orders pending appeal can eliminate or at least significantly reduce

delay.’

          Instead, Justice Sotomayor said:

          For more than a century, the rule has been that such remand orders are
          generally not subject to appellate review. See In re Pennsylvania Co., 137 U.S.
          451, 453–454 (1890). This rule, codified at 28 U.S.C. § 1447(d), “reflects
          Congress’s longstanding policy of not permitting interruption of the
          litigation of the merits of a removed case by prolonged litigation of
          questions of jurisdiction of the district court to which the cause is
          removed.” Powerex Corp. v. Reliant Energy Services, Inc., 551 U.S. 224, 238
          (2007) (internal quotation marks omitted).

BP, 141 S. Ct. at 1544 (Sotomayor, J., dissenting); see also id. at 1544-45 (Sotomayor, J.,

dissenting). She thus fully ancticipated that interruption of state/D.C. proceedings would

occur when federal-officer removal appeals occur.


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       Why was Justice Sotomayor saying this? Because she recognized that “litigation of

the merits of a removed case” would be “interrupt[ed].” The majority was willing to

accept that policy consequence because it was clearly chosen by Congress in the statute.

She was not. Therefore, all Justices in the BP case fully recognized that delay of merits

litigation resumption in state/D.C. courts would be delayed pending unusual situations

where remand orders are appealable, as here.

       A stay of the disciplinary process of the DCCA and its adjuncts is plainly

warranted based on Section 1446(d) and in light of the plain import of the BP case.

Beginning with the original notice of removal (and continuing into the second and third

removals that ODC’s vexatious attempts to continue litigating in the DCCA adjunct

processes triggered) Mr. Clark prominently urged that Section 1446(d), which was pivotal

to the outcome and reasoning of the BP decision, would automatically apply. See Notice

of Removal, Dkt. # 1 at ¶ 77 (“But Section 1446(d) provides that once notice of removal is

filed as to a civil action with the clerk of the ‘State court’ and notice is given to adverse

parties ‘the State court shall proceed no further unless and until the case is remanded.’ 42

U.S.C. § 1446(d).”); see also id. at ¶¶ 78-79. All of these paragraphs of the removal notice

will not be repeated here but should be deemed incorporated by reference. This is a

hybrid civil-criminal matter, and it should be deemed subject to the Section 1446(d) ban

on post-removal state/D.C. court proceedings, which pursuant to the BP decision,

continue through the appeal’s completion.



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       And this outcome makes perfect sense. If an appeal track of the removal

jurisdiction questions goes forward while merits litigation resumes in the DCCA’s

superintended process and Mr. Clark prevails in the appeal, all such post-remand merits

litigation would need to be reversed as a nullity. State/D.C. court orders issued in

between the time of removal and remand are void. See Roman Catholic Archdiocese of San

Juan, P.R. v. Acevedo Feliciano, 140 S. Ct. 696, 700 (2020).2 Here, Mr. Clark is entitled to a

federal Article III forum under Section 1442 and an appeal as of right on that issue to the

D.C. Circuit under Section 1447(d). He should not be put to the diversion, the time, and

the expense of litigating in two forums until the D.C. Circuit decides this appeal or

potentially until the Supreme Court does after taking certiorari.

       B.     At the Very Least, a Temporary Mandatory Stay of the Remand Should Be
              Granted Given Section 1447(c)’s Plain Text.

       In relevant part, Section 1447(c) provides as follows: “A certified copy of the order



2 “Once a notice of removal is filed, ‘the State court shall proceed no further unless and

until the case is remanded.’ 28 U. S. C. § 1446(d). The state court ‘los[es] all jurisdiction
over the case, and, being without jurisdiction, its subsequent proceedings and judgment
[are] not ... simply erroneous, but absolutely void.’ Kern v. Huidekoper, 103 U.S. 485, 493
(1881). ‘Every order thereafter made in that court [is] coram non judice,” meaning ‘not
before a judge.’ Steamship Co. v. Tugman, 106 U.S. 118, 122 (1882) ….” Roman Catholic
Archdiocese of San Juan, 140 S. Ct. at 700 (footnote omitted).

Here, since June 16, 2023, Mr. Clark is being subjected to Hearing Committee Chair orders
that are void because they were issued, at the very least, prior to compliance with Section
1447(c). They were also issued in violation of the BP case’s teachings and the continuance
of Section 1446(d)’s automatic stay. Any orders that build upon orders issued during the
void phase would themselves be the fruit of such a tree of voidness and would risk later
invalidation, which would not serve the purposes of judicial efficiency.


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of remand shall be mailed by the clerk to the clerk of the State court. The State court may

thereupon proceed with such case.” (Emphasis added.) Even putting aside the

commands and logic of the BP decision covered above, the plain text of this statute makes

clear that remand orders are not immediately effective. Instead, the U.S. District Court

Clerk must first mail a certified copy of the remand order to the Hearing Committee

(presumably via the Board of Professional Responsibility or the District of Columbia

Court of Appeals (“DCCA”)). The statute also appears to contemplate receipt of the

certified copy mailed by the U.S. District Court clerk by the state/D.C. clerk.

           We are aware of no indication such a mailing has occurred from this Court’s

Clerk. (The Court can consult the docket sheets for the three cases in this Court, now

consolidated on appeal to confirm this.) That docket sheet shows the remand order’s

entry on June 8, 2023, and five later entries: (1) 6/11/23 notice of appeal; (2) 6/12/23

transmission of notice of appeal to the D.C. Circuit; (3) 6/14/23 case number entered for

the D.C. Circuit appeal; (4) 7/7/23 payment for notice of appeal; and (5) 7/11/23 entry of

appearance by Mr. Metzler for ODC. None of those five entries indicate that the Section

1447(c) mailing has occurred. Similarly, to our knowledge there are no events reflected

on the Board of Professional Responsibility’s docket sheet showing that the Board’s clerk

has received a certified mailing from the U.S. District Court clerk compliant with Section

1447(c).

       Judicial precedent supports our argument, which two Circuits (the Second and the



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Third) have adopted:

       According to our precedent, the mailing of a certified copy of the remand
       order to state court is the event that formally transfers jurisdiction from a
       district court within this Circuit to a state court. Trans Penn Wax Corp. v.
       McCandless, 50 F.3d 217, 225 (3d Cir. 1995) (“The general rule is that a
       district court loses jurisdiction over a case once it has completed the remand
       by sending a certified copy of the remand order to state court.”) ….

       In our view, the text of 28 U.S.C. § 1447(c) establishes that jurisdiction
       remains with the district court until the jurisdiction-transferring event has
       occurred: “[a] certified copy of the order of remand shall be mailed by the
       clerk to the clerk of the State court. The State court may thereupon proceed
       with such case.” 28 U.S.C. § 1447(c).2

       FN2. This accords with the rule recognized by the Court of Appeals for the
       Second Circuit as well. Shapiro v. Logistec USA, Inc., 412 F.3d 307, 312 (2d
       Cir. 2005) (“Section 1447(c) ... is not self-executing.... This provision creates
       legal significance in the mailing of a certified copy of the remand order in
       terms of determining the time at which the district court is divested of
       jurisdiction....”).

Agostini v. Piper Aircraft Corp., 729 F.3d 350, 355-56 & n.2 (3d Cir. 2013) (paragraph breaks

added) (emphasis added).

       Only one potential reading of Section 1447(c) could allow the Hearing Committee

adjunct to the DCCA able to proceed prior to the mailing of a certified copy of the June 8

remand order from this Court’s Clerk, but as we explain below, that reading runs afoul

of the plain text of Section 1447(c). Courts have reacted differently to the import of Section

1447(c):

       In brief, federal courts have ruled that state courts are reinvested with
       jurisdiction after remand at three different times:

           (1) immediately upon the oral order of the federal court to remand the


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          case to the state court;

          (2) upon the federal court clerk’s mailing of the federal remand order to
          the state court; and

           (3) upon the state court’s receipt of the federal remand order.

David A. Furlow & Charles W. Kelly, Removal and Remand: When Does a Federal District

Court Lose Jurisdiction Over a Case Remanded to State Court? 41 SW. L.J. 999, 1002 (1987)

(footnotes omitted).

       The first approach must be rejected here. The key language of Section 1447(c)

speaks, in relevant part, in mandatory terms. It directs that the federal court clerk “shall”

“mail[]” a “certified copy of the order of remand” to the clerk of the state/D.C. court. And,

even more importantly, Section 1447(c)’s last sentence states that only once that mailing

occurs “may” the state/D.C. court “thereupon proceed with such case.” (Emphasis

added.) The word “thereupon” becomes surplusage if the mailing (or impliedly, the

receipt of the mailing by the state/D.C. court clerk) is not the operative date for when

jurisdiction is returned to the state/D.C. court. And it violates the cardinal rule of

statutory construction to interpret the word “thereupon” as if it were surplusage, which

is what possibility (1) necessarily entails. See Kungys v. United States, 485 U.S. 759, 778

(1988) (plurality) (explaining and applying this cardinal rule); Amoco Production Co. v.

Watson, 410 F.3d 722, 733 (D.C. 2005) (“It is a familiar canon of statutory construction that,

if possible, we are to construe a statute so as to give effect to every clause and word.”)

(quotation marks omitted).


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       The only extent to which any ambiguity exists in Section 1447(c) is whether the

“thereupon” refers to the act of mailing alone (the equivalent of contract law’s “mailbox

rule”) or to the completion of the federal clerk mailing and the receipt of the certified

order by the state/D.C. clerk. And as to that choice, we urge the third reading of Section

1447(c) on this Court (i.e., a remand order can be effective no earlier than the receipt of a

certified copy mailed to the state/D.C. clerk by the Clerk of this Court). But at the very

least, the second reading of the statute should be adopted. Even under that reading, the

Hearing Committee across town does not yet have the power to proceed to resume

litigation of this case under its Article I processes.

II.    A STAY SHOULD ALSO BE GRANTED UNDER THE TRADITIONAL FOUR-
       PART TEST OF A PROPER EXERCISE OF EQUITABLE DISCRETION.

       All four elements of the traditional equitable test tracing back to the English

Chancellor for granting a stay pending appeal are met here. See Nken, supra. We treat each

of those four factors in turn below.

       A.     Respondent Has a Strong Likelihood of Prevailing in His Federal Appeal.

       The language and purpose of the federal officer removal statute, 28 U.S.C. § 1442,

as well as the clear weight of authority, support removal and demonstrate that Mr. Clark

has a strong likelihood of prevailing on the merits. The plain language of the federal

officer removal statute covers “all” “civil actions” and “criminal prosecutions.” The

statute was amended by Pub. L. 112-239, 126 Stat. 1969, § 1087 (Jan. 2, 2013) (emphasis

added) to add subsection (d) to broaden the definition of “civil actions” and “criminal


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prosecutions” to include not just subpoenas, but “any proceeding … to the extent that in

such proceeding a judicial order … is sought or issued.” This bar discipline case is

unquestionably such a proceeding in that ODC seeks an ultimate judicial order from the

DCCA imposing discipline on Mr. Clark.

       Additionally, Congress knows how to specify which cases are unremovable. The

U.S. Code contains a dedicated provision setting out the categories of unremovable

actions:

       28 U.S. Code § 1445 - Nonremovable actions

       (a) A civil action in any State court against a railroad or its receivers or
       trustees, arising under sections 1–4 and 5–10 of the Act of April 22, 1908 (45
       U.S.C. 51–54, 55–60), may not be removed to any district court of the United
       States.

       (b) A civil action in any State court against a carrier or its receivers or
       trustees to recover damages for delay, loss, or injury of shipments, arising
       under section 11706 or 14706 of title 49, may not be removed to any district
       court of the United States unless the matter in controversy exceeds $10,000,
       exclusive of interest and costs.

       (c) A civil action in any State court arising under the workmen’s
       compensation laws of such State may not be removed to any district court
       of the United States.

       (d) A civil action in any State court arising under section 40302 of the
       Violence Against Women Act of 1994 may not be removed to any district
       court of the United States.

       State/D.C. bar disciplinary cases fit into none of these specifically enumerated

categories. Ergo the plain language of Section 1442 controls and this case can be removed




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pursuant to the special forum protections afforded to federal officers.3

       The Court’s ruling, however, holds that bar disciplinary proceedings are neither

civil nor criminal and therefore fall into a gap between the two that is not subject to

removal. The amendment to Section 1442 cited above precludes this reading. There is no

such gap in “any proceeding … to the extent that in such proceeding a judicial order …

is sought or issued.” And that lack of a gap is reinforced by the existence of Section 1445,

which sets up explicitly which kinds of cases are not removable.

       The Supreme Court has made plain in several cases that “[t]he federal officer

removal statute is not ‘narrow’ or ‘limited.’ Colorado v. Symes, 286 U.S. 510, 517 (1932). At

the very least, it is broad enough to cover all cases where federal officers can raise a

colorable defense arising out of their duty to enforce federal law.” Willingham v. Morgan,

395 U.S. 402, 406-07 (1969). The statute and the oft-repeated policy of broad interpretation are

to protect the supremacy of the federal government. They find expression in the decisions of

most federal circuits holding that hybrid matters against federal officers are in fact

removable.

       Most directly on point is the Fourth Circuit decision in Kolibash v. Committee on Legal




3 We also removed on a Section 1331-related complete preemption ground under 28

U.S.C. § 1441. See Dkt. # 1 ¶¶ at 60-74. And under the BP decision, we are entitled to take
that issue up to the D.C. Circuit as well, even though ordinarily, Section 1441 case remand
orders are not appealable. But, they are only not appealable standing on their own. With
Section 1442 as part of this case, the Section 1441 ground of removal does not stand alone
and is part of the appealable June 8 order remanding this case.


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Ethics of the West Virginia Bar, 872 F.2d 571, 576 (4th Cir. 1989), holding a bar discipline

matter removable and that “[t]he form that the state action takes is therefore not

controlling; ‘it is the state’s power to subject federal officers to the state’s process that §

1442(a)(1) curbs.’” While the Court distinguished Kolibash here, Kolibash remains the most

closely analogous reported federal appellate decision. The only cases to the contrary are

a smattering of district court decisions, which are not precedential even within the

confines of the individual districts that issued them.4

       The clear weight of authority with respect to other types of hybrid proceedings

favors removal. Contempt proceedings, though hybrid in nature, were held removable

in the Fourth, Fifth, Seventh, and Eleventh Circuits. See North Carolina v. Carr, 386 F.2d

129, 131 (4th Cir. 1967) (“the statute looks to the substance rather than the form of the

state proceeding; this is the reason for the breadth of its language”); see also ; Louisiana v.

Sparks, 978 F.2d 226, 231 (5th Cir.1992); Florida v. Cohen, 887 F.2d 1451, 1453 (11th

Cir.1989); Boron Oil Co. v. Downie, 873 F.2d 67, 68 (4th Cir. 1989); Wisconsin v. Schaffer, 565

F.2d 961, 963–64 (7th Cir.1977) (“We think it unfruitful to quibble over the label affixed to

this contempt action. Regardless of whether it is called civil, criminal, or sui generis, it

clearly falls within the language and intent of the statute.”).




4 The Seventh Circuit did issue a ruling ODC tried to draw on. See In re: Echeles, 430 F.2d

347 (7th Cir. 1970) (holding attorney discipline proceedings before an executive
committee of the U.S. District Court were neither civil nor criminal). However, that case
did not involve removal under Section 1442 and is readily distinguishable.


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       Garnishments against federal officers, which are also hybrid in nature, are

removable in the Ninth Circuit, see Nationwide Investors v. Miller, 793 F.2d 1044, 1046 (9th

Cir. 1986), but not removable in the Fifth, see Hexamer v. Foreness, 981 F.2d 821, 823 (5th

Cir. 1993). The existence of a Circuit split here in any area that could be analogized in

some way to the hybrid nature of bar discipline cases only reinforces why a stay should

be granted, since the issues are, at best, debatable and until the D.C. Circuit comes down

one way or the other, Mr. Clark should be shielded from irreparable harm that would

result from having to litigate in two courts systems at once (one under Article I and the

other under Article III) and face wasteful proceedings in the local D.C. process that could

be entirely nullified later.

       Even before the broadening amendment to Section 1442(d) in Pub. L. 112-239, 126

Stat. 1969, § 1087 (Jan. 2, 2013) explicitly added subpoenas to the list of “actions” that

could be removed, the D.C. Circuit had interpreted the statute broadly to include

subpoenas, rejecting the analogously formalistic argument that subpoenas were neither

a criminal prosecution nor a civil action. See Brown & Williamson Tobacco Corp. v. Williams,

62 F.3d 408, 415 (D.C. Cir. 1995) (“We do not believe Congress used the terms “civil

action,” “against,” or “act” in the limited fashion that appellant urges, but rather meant

to refer to any proceeding in which state judicial civil power was invoked against a federal

official.”). This holding neatly anticipated the amendment to Section 1442(d)(1).

       The D.C. Circuit is likely to apply the same reasoning to this case, particularly since



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§ 1442(d) by its plain terms applies to “any proceeding … to the extent that in such

proceeding a judicial order … is sought or issued” is unquestionably broad enough to

include D.C. bar discipline cases in which serious discipline can only be imposed by order

of the D.C. Court of Appeals. See D.C. Rule XI, § 9 (any Board recommendation for

discipline greater than an informal admonition or reprimand is decided by the D.C. Court

of Appeals). ODC informed us for the first time on July 10, 2023, that it seeks disbarment.

       The Board of Professional Responsibility is a creature of the DCCA since the Board

was formulated via the DCCA adopting D.C. Bar Rule XI, § 4. The Board and its Hearing

Committees perform a quintessentially judicial function in adjudicating bar discipline

cases. The manifest congressional intent that the federal officer removal statute be

broadly construed—applied over and over again—precludes the sort of interpretive

gymnastics that would be required to say that this case is not removable.

       Thus, Mr. Clark has shown a sufficient likelihood of prevailing on his appeal.5

       B.     Subjecting Mr. Clark to an Administrative Trial Before the Removal
              Jurisdiction Dispute Is Fully Adjudicated Would Cause Irreparable Harm
              by Defeating the Congressional Directive to Hold Merits Proceedings Only
              in an Article III Forum.

       It is plain that permitting the D.C. Bar to move forward with disciplinary




5 In Shapiro v. U.S. Department of Justice, Case No. 13-555 (RDM) (D.D.C. May 25, 2016)

2016 WL 3023980 at 8, while discussing this factor, observed that even if the sliding scale
for preliminary injunctions is no longer applicable after Winter v. Natural Resources
Defense Council, supra, “it makes little sense to make the issuance of a stay contingent on
the Court’s determination that its own ruling was likely wrong.”


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proceedings during the pendency of Mr. Clark’s appeal of the remand decision would

irreparably deprive him of his right to have this case adjudicated in a federal forum. The

purpose of the federal officer removal statute would be defeated and if the D.C. Circuit

reverses, all the time, trouble and expense of such proceedings would have been wasted.

       The federal officer removal statute is intended to protect federal supremacy

against encroachment by hostile state or local governments and courts. Such hostility has

historically often been largely based on bitter policy disagreements over taxes, tariffs,

prohibition and the like. See Laible v. Lanter, No. 21-102-DLB-CJS, 2022 WL 1913420, at 3-

4 (E.D. Ky. Jun. 6, 2022) (recounting history), and authorities cited therein. Often in our

history these disputes have fallen along partisan lines. Now, in this era, there are deeply

held biases against President Trump and those who supported him in jurisdictions

around the country, and especially in the District of Columbia. The District is as close as

this Nation comes to a political monolith, with President Biden winning 92.1% of the vote

in 2020 election, 26.06 percentage points higher than the next highest state in the Union.

The D.C. government’s antipathy toward the Trump Administration reflects the views of

its populace and is immoderate to say the least. The federal officer removal statute was

tailor made for such circumstances.

       On the merits, but plainly of some relevance to the jurisdictional analysis and any

discretionary stay choices here, clear separation of powers and federal supremacy

principles prohibit such a municipal government from intruding into the most private



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counsels the President of the United States took with his senior legal advisors as to how

to exercise his core Article II law enforcement powers. See U.S. Const., art. II, § 3 (“[H]e

[the President] shall take Care that the Laws be faithfully executed”).

       If the merits litigation processes of the DCCA and its adjuncts are not stayed (on a

mandatory or discretionary basis), then Mr. Clark will be put through local litigation that

will irreparably harm his reputation as printed news stories, blog entries, TV spots, and

other forms of media are constantly attacking Mr. Clark. This is especially true because

the D.C. Bar broadcasts its hearings (trials) on YouTube. None of that will be a bell that

can be unrung. A stay is warranted to avoid that irreparable harm.

       C.     There Would Be No Prejudice to the DCCA, the D.C. Bar, or to Others.

       The D.C. Bar would not be prejudiced by continuing the abeyance posture, just as

it was not prejudiced by the case being held in abeyance since January 2023. Indeed, ODC

contended before the DCCA that because it is an arm of the DCCA, the factor of harm to

others from a stay drops out of the analysis. This ignores that regardless of whether this

matter is characterized as civil, criminal or hybrid, the opposing party is ODC. The case

is styled In re: Jeffrey Bossert Clark, but the charges that commenced the case were filed by

ODC, and it is a determined adversary in this case. Additionally, there is no harm to

another party relevant to this case. Mr. Clark gave confidential advice inside the

Executive Branch. The President, who was the ultimate client for the advice, has not filed

complaints about it to the D.C. Bar. Nor did any of Mr. Clark’s former colleagues at the



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Justice Department, even though they may have disagreed with it, even vehemently.

       Any claim of prejudice to ODC is undermined by this case being docketed contrary

to its long-standing policy of not docketing complaints lodged by persons who lack first-

hand knowledge. Instead, it was docketed in response to a complaint from a partisan

political actor, Senator Dick Durbin.6

       Moreover, should ODC complain of prejudice due to delay, it is responsible for

much of the delay of which it complains. It repeatedly attempted to prosecute this case

after the first removal, which necessitated Mr. Clark having to file two additional

removals. ODC then filed redundant motions for remand as to the second and third

removals, increasing the burden on this Court in ruling on remand, in addition to the

trouble and fee expense this needless multiplication of proceedings imposed on the

Respondent. And, in any case, as the Supreme Court held in the BP case recognized, by

authorizing appeals as of right, Congress in 28 U.S.C. § 1447(d) has resolved the

competing interests in favor of an interlocutory appellate resolution of removal. Notably,

this provision for appeal as of right is a relatively recent addition to the long history of

federal officer removal statutes. See Pub. L. 112-239, 126 Stat. 1969, § 1087.


6 We were also informed yesterday at a local process-based meet and confer, that ODC

had no contact from Senator Durbin inquiring of the status of action on the letter he sent
commencing this matter (though ODC tried to claim, implausibly in our view, that the
Senator Durbin letter in 2021, out of which emerged ODC’s investigation, was not the
basis for the investigation). Hence, Senator Durbin obviously thinks his political objective
of sending a complaint letter about Mr. Clark has already been achieved, which means
there is no harm to him or those he represents from entering a stay.


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       D.     The Public Interest Suffers If the Stay Is Not Granted.

       As noted above, the public interest is served by preserving the structure of the

relationship between the state or local governments, on the one hand, versus the federal

government, on the other, embodied in the Supremacy Clause as to the 50 States and in

the separation of powers here as to D.C. Congress has explicitly commanded the proper

approach. A stay pending appeal also vindicates constitutional policy by preventing a

hostile and inferior level of local government from penetrating into and/or second-

guessing the federal government’s actions or deliberations at the highest level.

                                     CONCLUSION

       A stay of this Court’s June 8 remand order and opinion should be granted,

preferably on the grounds that such a stay is mandatory (see Section I, supra), but

alternatively on the grounds that such a stay meets the four-factor test for granting

discretionary stays as a matter of equity (see Section II, supra).

       We have done our best to avert the need to seek a stay from this Court, sparing its

resources. But ODC and the Hearing Committee assigned below have left us no choice

but to seek this relief. Additionally, given ODC’s constant pressure applied to Hearing

Committee Twelve and the various orders issued by its Chair as a result, we will deem

inaction on this stay motion to be a denial unless it occurs before 5 p.m. EDT on July 13,

2023. We will then seek a FRAP 8(a)(2) stay from the D.C. Circuit before that Court’s

procedural motion deadline of July 14, 2023.




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    Respectfully submitted this 11th day of July 2023.

/s/ Charles Burnham                       /s/ Harry W. MacDougald
Charles Burnham                           Harry W. MacDougald
DC Bar No. 1003464                        Georgia Bar No. 463076
Burnham and Gorokhov, PLLC                Caldwell, Carlson, Elliott & DeLoach LLP
1424 K Street, NW                         Two Ravinia Drive, Suite 1600
Suite 500                                 Atlanta, Georgia 30346
Washington DC 20005                       (404) 843-1956
(202) 386-6920                            hmacdougald@ccedlaw.com
charles@burnhamgorokhov.com               Admitted Pro Hac Vice in Case No. 1:22-mc-
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                             CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party with

a copy of this Motion for Stay Pending Appeal by filing with the Court’s electronic filing

system and by email addressed to:

      Hamilton P. Fox, Esq.
      Jason P. Horrell, Esq.
      Office of Disciplinary Counsel
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org
      horrellj@dcodc.org



      This 11th day of July 2022.

                                         /s/ Charles Burnham
                                         Charles Burnham
                                         DC Bar No. 1003464
Burnham and Gorokhov, PLLC
1424 K Street, NW
Suite 500
Washington DC 20005
(202) 386-6920
charles@burnhamgorokhov.com




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               DISTRICT OF COLUMBIA COURT OF APPEALS
               BOARD ON PROFESSIONAL RESPONSIBILITY
                 HEARING COMMITTEE NUMBER TWELVE
                                                                                  
In the Matter of:                        :
                                         :                                      Jul 5 2023 12:04pm

      JEFFREY B. CLARK,                  :
                                                                                      
                                         :
Respondent.                              :   Board Docket No. 22-BD-039
                                         :   Disciplinary Docket No. 2021-D193
A Member of the Bar of the               :
District of Columbia Court of Appeals    :
(Bar Registration No. 455315)            :

                                     ORDER

      Disciplinary Counsel filed the Specification of Charges in this matter on July

19, 2022. Respondent filed his Answer on September 1, 2022. The matter was set

for a hearing to begin on January 9, 2023.

      On October 17, 2022, Respondent filed a notice of removal of this matter to

the United States District Court for the District of Columbia. Disciplinary Counsel

filed a motion to remand on October 21, 2022. On June 9, 2023, Disciplinary

Counsel notified the Hearing Committee that the District Court had granted

Disciplinary Counsel’s motion to remand on June 8, 2023. See Order In re Clark,

Case Nos.: 22-mc-0096, 22-mc-0117, 23-mc-0007 (D.D.C. June 8, 2023) (“this

matter shall be REMANDED for further proceedings”) (emphasis in original); see

also Memorandum Op., In re Clark, Case Nos.: 22-mc-0096, 22-mc-0117, 23-mc-

0007 (D.D.C. June 8, 2023) (setting forth basis for remand order). On June 16, 2023,

the Hearing Committee ordered each party to report on the status of this matter,
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specifically addressing rescheduling this matter for a hearing; identifying any issues

the parties believe may need to be addressed; proposing any intermediate dates that

may need to be scheduled in advance of hearing; and stating the party’s position on

whether it is appropriate or necessary to schedule an additional prehearing

conference. Both parties submitted timely reports, which Disciplinary Counsel

purported to file and Respondent, Mr. Clark, to “lodge.”

      Disciplinary Counsel asserts that the case is ready for hearing, which should

be scheduled as soon as possible after Labor Day. Mr. Clark lodged his report

because he maintains that this matter should be held in abeyance pending the Court

of Appeals’ consideration of a subpoena dispute between Mr. Clark and Disciplinary

Counsel (In re Clark, D.C. App. No. 22-BG-0891). Mr. Clark’s Report at 2.

      The fact that a party is seeking to enforce a subpoena for use in this

proceeding, however, neither requires nor justifies holding this proceeding in

abeyance, at least at this point. A subpoena enforcement is not an appeal of this

action. It is a collateral proceeding that does not affect jurisdiction here. Nor does

its pendency justify delaying all other preparation in this matter. See In re Clark,

Board Dkt. 22-BD-039, at 4-5 (H.C. Report, Sept. 12, 2022), adopted on other

grounds, Order, In re Clark, Board Dkt. 22-BD-039 (BPR, Sept. 27, 2022).

      Regarding scheduling, Mr. Clark also notes that he has appealed the District

Court’s June 8 Order, attaches his Notice of Appeal, and argues that Hearing

Committee proceedings may not commence until that appeal is complete and “not

subject to any higher level appellate review.” Mr. Clark’s Report at 4. Mr. Clark



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does not assert that the District Court’s remand order has been stayed pending

appeal, or that any court has issued an order specifically prohibiting further

proceedings before this Hearing Committee.

         Mr. Clark also argues that the remand order is not immediately effective to

dispose of the controversy over removal jurisdiction because the District Court has

not yet issued a separate “judgment” pursuant to Fed. R. Civ. P. 58, which requires

that a judgment “must be set out in a separate document.” Mr. Clark’s Report at 3.

As noted above, Mr. Clark’s statement that the District Court did not create a

separate document does not appear to be true. The District Court did enter a separate

order remanding the case. See In re Clark, No. 23-7073 (D.D.C.), Dkt. Nos. 19-20.

Indeed, Mr. Clark has appealed the order and the United States Court of Appeals for

the District of Columbia Circuit has docketed the appeal. In re Clark, 23-7073 (D.C.

Cir.).

         But even if Mr. Clark were correct that the District Court did not properly

enter a judgment in a separate document, that would raise a potential question only

about whether his appeal was valid. It would not change the fact that the District

Court ordered the case to be remanded. The Supreme Court has concluded that

“[t]he sole purpose of the separate-document requirement, which was added to Rule

58 in 1963, was to clarify when the time for appeal under 28 U.S.C. § 2107 begins

to run.” Bankers Trust Co. v. Mallis, 435 U.S. 381, 384 (1978); accord Diamond by

Diamond v. McKenzie, 770 F.2d 225, 230–31 (D.C. Cir. 1985). Courts enter many

orders (for example, discovery rulings, injunctions, scheduling orders and pro hac



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vice orders), that do not operate by themselves as final judgments. Those orders are

nonetheless effective unless they are stayed.

      Mr. Clark’s decision to appeal did not stay the District Court’s Order. “A

stay” of a motion to remand pending appeal “is not a matter of right even if

irreparable injury might result.” Leroy v. Hume, 563 F.Supp.3d 22 (E.D. N.Y 2021)

(quoting Virginia Ry. Co. v. United States, 272 U.S. 268, 272 (1926)). See also, e.g.,

Wilde v. Huntington Ingalls, Inc., 616 Fed. Appx. 710 (5th Cir. 2015) (denying

motion to stay an order of remand pending appeal); Martin v. Serrano Post Acute

LLC, 2020 WL 13302380 (C.D. Cal. 2020) (same) Mayor of Baltimore v. BP P.L.C.,

2019 WL 3464667 (D. Md. 2019) (same). The docket reflects that Mr. Clark did

not even seek to stay order, much less obtain a stay.

      Mr. Clark also asserts that it would be premature to reschedule the hearing at

this time because, among other things, Mr. Clark will want to litigate to the Chair

via motions practice “numerous threshold matters,” and that mandamus proceedings

may be required. Mr. Clark’s Report at 4-5. However, Board Rule 7.16 does not

permit our Committee to delay the hearing to resolve motions that are not directed

to the manner in which the hearing is to be conducted, or the admissibility of

evidence. Instead “the Hearing Committee shall include in its report to the Board a

proposed disposition and the reasons therefor. The Board will rule on all such

motions in its disposition in the case.” See also In re Stanton, 470 A.2d 281, 285

(D.C. 1983) (appended Board report) (once a Specification of Charges has been

filed, “the underlying purposes of the Board require that we proceed directly to a



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hearing on the merits rather than being detoured into questions of pleading and

form.”).1

      Upon consideration of the foregoing, and it appearing that this matter has been

remanded to the Hearing Committee, and it further appearing that a pre-hearing

conference would assist the Hearing Committee in scheduling this matter for a

hearing, it is hereby

      ORDERED that a pre-hearing conference will be held in the above-captioned

matter at 1:00 p.m. on July 12, 2023, via Zoom video conference, in accordance

with Board Rule 7.24, and will be live-streamed on the Hearing Committees’

YouTube channel. Disciplinary Counsel and Mr. Clark and/or his counsel shall

appear promptly at that time. The parties are directed to avoid scheduling conflicting



1 Mr. Clark renews an argument he has made before that the Committee should not

follow the Board’s procedures because, if this Committee were a federal court, it
could not avoid reaching a difficult jurisdictional issue by resolving the case based
on merits arguments that are easier to adjudicate. Mr. Clark’s Report at 5.
Mr. Clark’s argument misstates our role. The Committee is not a federal court and
does not determine merits at all. Rather, it issues a report and recommendation that
is filed with the Board (under procedures the Board establishes). Nothing in the
decisions Mr. Clark cites involving federal courts bars the Board from having the
Committee issue a report and recommendation on all issues at once. Nor does it
authorize (much less require) the Committee to establish a motion practice that the
Board did not contemplate. In any event, even if we assumed that the federal court
principle Mr. Clark references applied to this Committee, following Board Rule 7.16
(by making a report and recommendation after hearing rather than deciding a case
on papers), would not violate that principle. Complying with Board Rule 7.16 does
not mean that the Committee will overlook a difficult “jurisdictional” argument in
order to resolve the case on the merits. To the contrary, the Rule contemplates that
we carefully consider all issues, report on the relate facts and make
recommendations on all appropriate determinations.

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matters and shall inform any court or administrative agency of this prior commitment

to the disciplinary system; and it is further

       ORDERED that prior to the pre-hearing conference, the parties are directed

to meet and confer with respect to scheduling the evidentiary hearing of this matter

during 2023, and any intermediate dates that may need to be scheduled in advance

of hearing. When considering scheduling, the parties are reminded that subpoenas

are available to compel the attendance of witnesses, and witness testimony may be

taken from a remote location pursuant to Board Rule 11.4. The parties are further

reminded to allow time for opening statements and closing arguments when

estimating the time necessary for the hearing; and it is further

       ORDERED that Mr. Clark’s attention is drawn to Board Administrative Order

2023-01, which provides, among other things, that

       Board oral arguments and Hearing Committee hearings in contested
       cases and reinstatement cases that have not yet been scheduled for a
       hearing, shall be scheduled for an in-person proceeding unless the
       respondent requests that the proceeding be held over Zoom. For Board
       arguments, the request to conduct the argument over Zoom, if any, shall
       be contained in the respondent’s brief, immediately before the
       respondent’s or counsel’s signature. For Hearing Committee hearings
       in contested cases and reinstatement cases, the request to conduct the
       hearing over Zoom, if any, shall be made as soon as practicable, but no
       later than the date set for the pre-hearing conference. Such request shall
       be filed with the Office of the Executive Attorney and served on
       Disciplinary Counsel;

and it is further




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       ORDERED that the Office of the Executive Attorney is directed to serve this

order by email, and to circulate the link for the Zoom pre-hearing conference.



                                 HEARING COMMITTEE NUMBER TWELVE

                                 By: _____________________________________
                                      Merril Hirsh
                                      Chair

cc:

Jeffrey Clark, Esquire
c/o Charles Burnham, Esquire
Robert A. Destro, Esquire
Harry W. MacDougald, Esquire
charles@burnhamgorokhov.com
robert.destro@protonmail.com
hmacdougald@ccedlaw.com

Hamilton P. Fox, III, Esquire
Jason R. Horrell, Esquire
Office of Disciplinary Counsel
foxp@dcodc.org
horrellj@dcodc.org




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             DISTRICT OF COLUMBIA COURT OF APPEALS                           Sep 6 2022 2:42pm
             BOARD ON PROFESSIONAL RESPONSIBILITY
              HEARING COMMITTEE NUMBER TWELVE

_______________________________
In the Matter of                    :        Board No. 22-BD-039
                                    :
JEFFREY B. CLARK, ESQUIRE :                  Disciplinary Docket No. 2021-D193
                                    :
      Respondent,                   :
                                    :
A Member of the Bar of the District :
  of Columbia Court of Appeals.     :
Bar Number: 455315                  :
Date of Admission: July 7, 1997     :
_______________________________:


           DISCIPLINARY COUNSEL’S OMNIBUS RESPONSE
          TO RESPONDENT’S SEPTEMBER 1, 2022 PLEADINGS

      Disciplinary Counsel submits this Omnibus Response to the pleadings filed

by Respondent on September 1, 2022.

      On September 1, 2022, Respondent filed an Answer, a Motion to Dismiss, and

three motions to file various pleadings under seal. The next day, September 2, 2022,

the Board resolved the motions to file under seal: only the portions of the pleadings

that refer to a confidential matter are to be place under seal; redacted versions of

pleadings are to be filed in the public record. The Answer requires no response.

Only the Motion to Dismiss now requires a response. Under the Board Rules, rather

than engage in extensive pre-hearing rulings on motions, the Hearing Committee is

required to conduct the evidentiary hearing on the merits of the Specification of
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Charges and in its report and recommendation, make recommendations to the Board

as to the disposition of the motion to dismiss. Board Rule 7.16(a). Even if the Rules

did not require this procedure, it would nonetheless be the only reasonable procedure

to follow given the nature of the allegations made in the Motion to Dismiss.

      Many of Respondent’s arguments are dependent upon factual issues that have

not yet been litigated. For example, all his arguments relating to his claim that the

charges fail to state a violation of the Rules are heavily fact-dependent. They assume

that the conduct at issue was a pre-decisional recommendation, part of providing

advice to the President, or an honest expression of opinion on a legal issue, and

therefore does not implicate Rule 8.4. The evidence will show that this is not so.

Had Respondent merely suggested sending the so-called “Proof of Concept” letter

to various Georgia officials, this case would not have been brought. It is generally

not a disciplinary violation to make a stupid suggestion. Rather, these charges arise

from Respondent’s conduct after he proposed sending the letter and was informed

by his superiors that there was no factual basis for the claims made in it—most

significantly that there was no evidence of fraud in the 2020 presidential election

that might have affected to results in Georgia. The Department lawyers who were

familiar with the investigations into election fraud told Respondent that there was

no such evidence and attempted to put him in touch with the United States Attorney

who had conducted the Georgia investigation. Respondent did not follow up with



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the U. S. Attorney. Nevertheless, he persisted in attempting to persuade and then

coerce his superiors to send the letter asserting the false information, and when they

still refused to do so, attempted to have himself appointed Acting Attorney General

based upon his assurances to the President that if he were so appointed, he would

send the letter.

       Perhaps Respondent contests these facts. It is impossible to say since his

Answer provides only a general denial. Therefore, the facts need to be determined

at an evidentiary hearing before Respondent’s Motion to Dismiss can be resolved.

Even his jurisdictional arguments are at least partially dependent upon unresolved

facts. For example, part of his separation of powers argument and his official

immunity argument turned on his claim that he was giving legal advice to the

President. Those arguments have no merit, and Disciplinary Counsel believes the

evidence will show that rather than advise the President, Respondent was engaged

in an attempt to interfere improperly in state election proceedings. This case does

not attempt to intrude upon internal Department deliberations or regulate president

authority, but rather regulate the conduct of an individual attorney subject to the

Court’s disciplinary authority who attempted to engage in dishonest conduct. But

those issues can only be resolved by airing the facts.

       Moreover, Disciplinary Counsel believes that once the facts are developed at

an evidentiary hearing, many of the convoluted legal arguments Respondent has put



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forth will disappear, and that the logical time to address those arguments is after the

facts have been established. Accordingly, except to touch lightly on three points,

Disciplinary Counsel does not intend to address them in this pleading, but rather to

defer to the post-hearing briefing, as is the standard procedure.

   1. The D.C. Court of Appeals is an Article I Court Established by Federal
      Law and is Empowered to Regulate the Conduct of Members of Its Bar.

      While at times recognizing the unique status of the District of Columbia—

“All law in the District is federal law . . .” (Motion to Dismiss at 18)—Respondent

continually treats these proceedings as though they are an effort by a “mere” organ

of a city government or a local bar association to regulate the operation of the federal

government. In fact, the Court of Appeals was created by a 1970 act of Congress.

District of Columbia Court Reorganization Act of 1970, Pub. L. No. 91-358, 84 Stat.

473 (1970). Its judges are appointed by the President and confirmed by the Senate.

It is not an organ of the D.C. Government; the mayor and city council are not

involved in the appointment process, for example.

      As authorized by Congress, the Court sets its own rules for admission to its

Bar and for the conduct of its members. Id. at 521. See also D.C. App. R. 46; D.C.

Bar Rule XI. The Board on Professional Responsibility, including the hearing

committees appointed by the Board, are agents of the Court. See Rule XI, § 4. They

are not agents of the D.C. Bar. The Board also appoints Disciplinary Counsel, who

is also not an agent of the D.C. Bar. See Rule XI, § 4(e)(2). Thus, disciplinary

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proceedings are not bar proceedings, but court proceedings. Lawyers who are

members of the D.C. Bar, but who are employed by the federal government, must

still adhere to the standards of conduct to which all D.C. Bar members are held.

      In a recent disciplinary matter, the Court reminded lawyers of its authority to

regulate the conduct of members of its bar. Bar membership “arises from consensual

covenant” between the Court and the attorney admitted to practice before it, and

“[i]n return for the benefits of bar membership, members agree to be bound by Bar

Rules and Rules of Professional Conduct … and to be subject to the disciplinary

authority of this court and the Board ….” In re O’Neill, 276 A.3d 492, 500 (D.C.

2022). The Court went on to remind attorneys that bar membership is a privilege,

the receipt of which carries a duty “at all times and in all conduct, both professional

and personal, to conform to the standards imposed upon members of the Bar,” and

that a violation of that duty “shall be grounds for discipline ….” Id.

      2. The Department of Justice has Authority to Require its Lawyers to
         Comply with the Standards of Conduct of the Bars to Which They Are
         Admitted.

      Although the Court is empowered to discipline members of its bar, if

necessary, Disciplinary Counsel can address in post-hearing briefing Respondent’s

contrived argument as to why he is not subject to the Rules of Professional Conduct,

issued by the Court to which he is admitted to practice, by virtue of his status as an

officer or employee of the Justice Department. Department lawyers and other high



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federal officials who have been disciplined by the Court of Appeals would be

surprised to learn of this immunity. See In re Howes, 52 A.3d 1 (D.C. 2012); In re

Kline, 113 A.3d 202 (D.C. 2015); In re Dobbie & Taylor (BPR Jan. 13, 2021)

(pending before DCCA); see also In re Abrams, 689 A.2d 6 (D.C. 1997) (Assistant

Secretary of State for Inter–American Affairs); In re Berger, 927 A.2d 1032 (D.C.

2007) (National Security Advisor); In re Sofaer, 728 A.2d 625 (D.C. 1999) (Legal

Advisor to U.S. State Department). In fact, although not members of the D.C. Bar,

two presidents of the United States have been disbarred or suspended by state bars

for their conduct while in office. See Matter of Nixon, 53 A.D.2d 178, 385 N.Y.S.2d

305 (1976) (disbarred); Neal v. Clinton, No. CIV 2000-5677, 2001 WL 34355768

(Ark. Cir. Ct. Jan 19, 2001) (five-year suspension).

      But the Department of Justice has adopted a regulation that subjects its

lawyers to compliance with the rules of the bars of the courts to which they are

admitted “to the same extent and in the same manner” as other attorneys admitted to

those bars. 28 C.F.R. § 77.3. While Respondent puts forth a complex argument as

to why D.C. is not a “state” for purposes of 28 U.S.C. § 530B(a), if true, this would

only mean that the Department was not required by the statute to make its D.C. Bar

members—in contrast to all other lawyers employed by the Department—adhere to

the rules of the jurisdiction to which they were admitted. Respondent does not say

why this result would make any policy sense. Surely, in setting the employment



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     Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 272 of 425




rules for its employees, the Department has independent authority, regardless of

whether there is a federal statute that so requires, to mandate its D.C. Bar members

to adhere to the D.C. Rules of Professional Conduct—specious arguments about

ultra vires regulations, the Chevron doctrine, and the newly-minted “major

question” doctrine, notwithstanding.

      3. The Only Proceeding Pending Before the Court of Appeals is a Motion
         to Enforce a Subpoena.

      This proceeding did not originate before the Court of Appeals, and the merits

of Respondent’s conduct are not under consideration by the Court.             When

Respondent refused to comply with a subpoena for documents during the

investigation of this matter, Disciplinary Counsel moved to enforce the subpoena

before the Court pursuant to Rule XI, § 18(d). Then Respondent sought to have the

subpoena quashed by the Board, to which Disciplinary Counsel pointed out that the

matter—meaning only the issue of the enforcement of the subpoena because that

was the only matter pending—was before the Court. The primary issue before the

Court is whether the Fifth Amendment right against self-incrimination permits

Respondent to refuse to comply with a subpoena that sought any evidence he had to

support the claims made in the “Proof of Concept” letter that there was sufficient

evidence of fraud in Georgia to affect the outcome of the 2020 election.

      While the motion was under advisement, Disciplinary Counsel continued to

investigate and concluded there was sufficient evidence to charge Respondent

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without a response to its subpoena. These charges were brought approximately six

months after the motion to enforce the investigative subpoena was filed with the

Court. That does not mean that the subpoenaed evidence is not relevant, just not

essential. (One might think that evidence supporting the claims Respondent sought

to put forward in the “Proof of Concept” letter would be exculpatory and therefore

something that Respondent would want made part of the record.) Respondent,

however, wants to treat this ancillary evidentiary matter as though the entire case

were under consideration by the Court. His only hook for doing so is that, as a make-

weight argument to his extensive discussion of the Fifth Amendment issues, he

threw into his brief arguments about lack of jurisdiction over Department of Justice

employees. But even he admits that the law in the District of Columbia does not

require one tribunal to defer to another if efficiency is not served—if resolution in

one tribunal will not resolve the issues in another. And of course, here we do not

have separate tribunals—the Board and its hearing committees are agencies of the

Court of Appeals. In any case, Respondent admits, in his discussion of the D.C. case

law, that the “divestiture-of jurisdiction rule” is not really a jurisdictional

prohibition. So it is not true, despite the heading to his argument, that “The Board

Lacks Jurisdiction.” Motion to Dismiss at 9.

*     *      *     *      *     *      *       *    *     *      *     *      *




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      There is one genuine pre-litigation motion pending before the Hearing

Committee — its recommendation on Respondent’s request to defer these

proceedings. That issue is briefed. If the decision is not to defer, the Hearing

Committee should promptly schedule a status conference to establish a hearing date.

Respondent’s counsel requested and received access to Disciplinary Counsel’s file

last Fall. There may be some additional documents acquired since then, but there

will not be many, if any. The exhibits will be sparse, and Disciplinary Counsel

estimates that it would call three witnesses. There is no reason this case cannot be

heard in the second half of October 2022.

                                     Respectfully submitted,

                                     Hamilton P. Fox, III
                                     ______________________________
                                     Hamilton P. Fox, III
                                     Disciplinary Counsel


                                     /s/ Jason R. Horrell
                                     Jason R. Horrell
                                     Assistant Disciplinary Counsel

                                     OFFICE OF DISCIPLINARY COUNSEL
                                     515 Fifth Street, N.W.
                                     Building A, Room 117
                                     Washington, D.C. 20001
                                     (202) 638-1501




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 6th day of September 2022, I caused a copy of the

foregoing Disciplinary Counsel’s Omnibus Response to Respondent’s September 1,

2022 Pleadings to be served on the Board of Professional Responsibility c/o Case

Managers to casemanagers@dcbpr.org and to Respondent’s counsels via email to

Harry W. MacDougald, Esquire, to hmacdougald@CCEDlaw.com, to Charles

Burnham, Esquire, to charles@burnhamgorokhov.com, and Robert A. Destro,

Esquire, to Robert.destro@protonmail.com.


                                              Hamilton P. Fox, III
                                              ______________________________
                                              Hamilton P. Fox, III




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                          Exhibit 20
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                                                                              Jul 12 2023 4:04pm



             DISTRICT OF COLUMBIA COURT OF APPEALS
             BOARD ON PROFESSIONAL RESPONSIBILITY
               HEARING COMMITTEE NUMBER TWELVE
            _______________________________________________

                                    In the Matter of:

                               Jeffrey B. Clark, Esq.
                                    Respondent,
                         A Member of the Bar of the
                    District of Columbia Court of Appeals
                               (Bar No. 455315)
                        Board Docket No. 22-BD-039
                     Disciplinary Docket No. 2021-D193
            _______________________________________________

                              AFFIDAVIT
            _______________________________________________

      I, Theodore (Jack) Metzler, hereby state as follows:

      1.     I am an attorney in the D.C. Office of Disciplinary Counsel. I represent

the Office in the above-captioned matter and the related proceedings in the U.S. Dis-

trict Court for the District of Columbia and the U.S. Court of Appeals for the D.C.

Circuit.

      2.     On July 5, 2023, I telephoned the district court clerk’s office to deter-

mine whether the clerk intended to mail a certified copy of the district court’s

June 8, 2023, remand order pursuant to 28 U.S.C. § 1447(c), and if so, to whom the

clerk intended to send the order.




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      3.     I spoke to a clerk and explained that I was calling in regard to the court’s

order of remand in Case No. 1:22-mc-96. I referred the clerk to the provision of 28

U.S.C. § 1447(c) that states the clerk shall mail a certified copy of an order of re-

mand to the clerk of the state court from which the case was removed. The clerk told

me she was familiar with that rule.

      4.     I asked the clerk whether the docket would reflect that a certified copy

was sent. She stated that when the clerk sends a copy of a remand order, the clerk

enters a notation on the docket that the case is remanded.

      5.     I then noted that the remand order had been issued on June 8, 2023, but

no clerk’s notation had appeared on the docket almost a month later. I asked whether

there was a timetable for mailing the order and entering the clerk’s notation.

      6.     I referred the clerk to the docket in another case, No. 1:20-cv-01932,

District of Columbia v. ExxonMobil Corp., in which the clerk’s Section 1447(c)

mailing was delayed only by multiple administrative stays, beginning with an emer-

gency motion on the day after the remand order. I noted that in that case the clerk’s

remand notation appeared just two weeks after D.C. Circuit denied an emergency

motion to stay and lifted its interim administrative stay. See District of Columbia v.

Exxon Mobil Corp., No. 22-7163, 2023 WL 1480039, at *1 (D.C. Cir. Jan. 30, 2023).

(The appeal of the remand order in that case still has not been resolved. See Docket,




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District of Columbia v. ExxonMobil Corp., No. 22-7163 (D.C. Cir.) (argued May 8,

2023).)

      7.     The clerk explained that she was not the clerk assigned to the case and

that the clerk who was assigned to the case was out that day. She said she would

check with her colleague and call me back.

      8.     I asked the clerk if she would also ask her colleague to whom the clerk

would mail a copy of the remand order. I noted that in this case, the removal had

been noticed from a disciplinary proceeding before a hearing committee of the D.C.

Board on Professional Responsibility, which does not have a clerk’s office. The clerk

agreed to ask her colleague that question.

      9.     The clerk returned my call the next day. She stated that she had talked

to her colleague about case 22-mc-96 and about the ExxonMobil case I had referred

to. She relayed that her colleague said there would be no remand notation on the

docket in 22-mc-96. To the best of my recollection, she said something like: “be-

cause like you said, there is no court clerk, so we would treat it like an agency case.”

      10.    To confirm my understanding, I asked the clerk whether, when a case

is purportedly removed from an agency, there is no remand notation on the docket

because there is no court clerk. She agreed.

      11.    The clerk identified herself when she called, but I did not write down

her name and I do not recall it. I do not recall whether she told me the name of her


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     Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 280 of 425




colleague. While preparing this affidavit, I contacted the clerk’s office again to as-

certain whether I could provide the clerk’s name. My call was returned by Simone

Logan, who identified herself as the original clerk’s colleague and a supervisor in

the clerk’s office. Ms. Logan agreed that I could provide her name in this affidavit.

      12.       When preparing Disciplinary Counsel’s opposition to the motion to va-

cate, I mistakenly recalled that original return call from the clerk occurred on July 7.

After reviewing my records, I see that the correct date was July 6.

      13.       I do not claim that the information provided by the clerk is binding or

an authoritative statement from the U.S. District Court. It reflects only the informal

view of the clerk about an administrative aspect of her job—whether to send a copy

of an order in the mail and make a particular notation on the docket. Nevertheless, I

believe the clerk’s view is relevant to Clark’s argument that the Hearing Committee

may not proceed because no such mailing has been made.


      I swear that the foregoing is true and correct to the best of my knowledge and

recollection.

                                         s/Theodore (Jack) Metzler
                                         THEODORE (JACK) METZLER




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                         CERTIFICATE OF SERVICE

      I certify that on July 12, 2023, I caused the foregoing to be filed by email to

casemanager@dcbpr.org and also served it on the following:

      Charles Burnham, counsel for Respondent, charles@burnhamgorokhov.com

Board on Professional Responsibility, by its Executive Attorney

James T. Phalen, jtphalen@dcbpr.org
                                       s/Theodore (Jack) Metzler
                                       THEODORE (JACK) METZLER
                                       OFFICE OF DISCIPLINARY COUNSEL
                                       515 5th Street, N.W.
                                       Building A, Room 117
                                       Washington, D.C. 20001




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                          Exhibit 21
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                DISTRICT OF COLUMBIA COURT OF APPEALS
                BOARD ON PROFESSIONAL RESPONSIBILITY
                  HEARING COMMITTEE NUMBER TWELVE
                                                                                      
In the Matter of:                           :
                                            :                                       Jul 12 2023 9:33am
        JEFFREY B. CLARK,                   :
                                            :                                             
Respondent.                                 :   Board Docket No. 22-BD-039
                                            :   Disciplinary Docket No. 2021-D193
A Member of the Bar of the                  :
District of Columbia Court of Appeals       :
(Bar Registration No. 455315)               :

                                        ORDER

        Respondent Jeffrey B. Clark has Lodged a Motion to Vacate Orders, in which

he argues, among other things, that the Hearing Committee lacks jurisdiction

because the Clerk of the United States District Court for the District of Columbia

has not mailed a certified copy of the District Court’s June 8, 2023 remand order to

the Hearing Committee. Respondent relies on 28 U.S.C. § 1447(c), which provides

that

        (c) A motion to remand the case on the basis of any defect other than
        lack of subject matter jurisdiction must be made within 30 days after
        the filing of the notice of removal under section 1446(a). If at any time
        before final judgment it appears that the district court lacks subject
        matter jurisdiction, the case shall be remanded. An order remanding the
        case may require payment of just costs and any actual expenses,
        including attorney fees, incurred as a result of the removal. A certified
        copy of the order of remand shall be mailed by the clerk to the clerk of
        the State court. The State court may thereupon proceed with such case.
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(emphasis added). Mr. Clark urges that, notwithstanding the District Court’s June

8, 2023 order remanding this case, proceedings before the Hearing Committee

cannot resume unless and until the District Court Clerk mails a certified copy of the

June 8 order (and preferably, until the certified copy is received). Motion to Vacate

at 5.

         Disciplinary Counsel opposes Mr. Clark’s motion on various grounds, and

represents that the District Court Clerk has informed Disciplinary Counsel that “the

clerk would not mail a certified copy of the order (or place a notation of remand on

the docket indicating a certified copy was sent), because there is no state court clerk

in this case to receive it.” Response at 5.

         In reply, Mr. Clark argues, among other things, that the statement in

Disciplinary Counsel’s brief attributed to the District Court Clerk, “is unsworn, the

specific Clerk’s office attendant is not identified, and the specifics of the dialogue

are not recounted.” Reply at 7. Mr. Clark’s Reply also notes that he has filed a copy

of a motion seeking a stay pending appeal, which he has filed in the United States

District Court for the District of Columbia.

         Upon consideration of the foregoing, and it appearing that Disciplinary

Counsel has not offered evidence of its conversation with the Clerk of the United

States District Court for the District of Columbia, it is hereby

         ORDERED that Mr. Clark’s Lodged Motion to Vacate Orders shall remain

under advisement, pending receipt of an affidavit filed by Disciplinary Counsel

identifying the Clerk’s Office employee referenced in Disciplinary Counsel’s



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response, that employee’s authority to speak on behalf of the Clerk’s Office, and

setting forth the specifics of the dialogue that was summarized in Disciplinary

Counsel’s motion; and it is further

       ORDERED that Respondent’s Lodged Motion for Reconsideration and for

Postponement of Prehearing Conference is granted in part; and it is further

       ORDERED that the pre-hearing conference set for July 12, 2023 is postponed,

pending resolution of Respondent’s Motion to Vacate.



                                 HEARING COMMITTEE NUMBER TWELVE

                                 By: _____________________________________
                                      Merril Hirsh
                                      Chair

cc:

Jeffrey Clark, Esquire
c/o Charles Burnham, Esquire
Robert A. Destro, Esquire
Harry W. MacDougald, Esquire
charles@burnhamgorokhov.com
robert.destro@protonmail.com
hmacdougald@ccedlaw.com

Hamilton P. Fox, III, Esquire
Jason R. Horrell, Esquire
Office of Disciplinary Counsel
foxp@dcodc.org
horrellj@dcodc.org




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                          Exhibit 22
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                   DISTRICT OF COLUMBIA COURT OF APPEALS
                   BOARD OF PROFESSIONAL RESPONSIBILITY
                     HEARING COMMITTEE NUMBER TWELVE
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ȱ ȱ ǯȱ ȱ ȱ ěȱ ȱ ¢ȱ ȱ ŗŚŚŝǻǼȱ ȱ ȱ ȱ

  ǯȱȱȱȱ¢ȱȱȱȱȱŗŚŚŝǻǼǯ

       5. ȱ ȱ ȱ   ȱ Ĵȱ ȱ         ȱ ȱ ȱ ȱ ȱ

ŗŚŚŝǻǼȱ ȱ ȱ ȱĜȱ ȱ ȱ ȱ ȱ -ȱ ȱ ȱ ǯȱ ȱ

ȱȱǯȱĵǯȱȱęȱȱȱȱȱȱȱŗŚŚŝǻǼȱȱȱȱ

ȱȱȱȱȱȱȱȱȱĴȱȱȱ ȱĴȱ

ȱȱȱ¢ȱǰȱȱȱ. See ¢ȱŗŘȱȱȱŗǯȱ ȱǰȱ

ȱ Ĵȱ ȱ  ȱ ȱ      ȱ ǯȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ 

ȱ ȱ ȱ ȱ ȱ possibly ȱ ȱ ȱ ȱ ǯǯȱ ȱ ȱȱ

(“ȄǼ ȱ¢ǯȱ ȱȱȱȱȱȱȱ ȱȱ£ȱ

ȱ ȱ ȱ ŗŚŚŝǻǼǯȱȱ ǰȱ ȱĜȱ ȱ ¢ȱ ȱ ȱ  ȱ

ǯȱ ǻȱ ȱ ȱ ǰȱ   ȱ ȱ ȱ ȱ ȱ ȱ ȱ ¢ȱ ȱ ȱ



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ȱȱǰȱȱȱȱȱȱȱȱȱȱȱȱȱȱ

ȱȱȱȱȱȱȱǯȱ ȱǰȱȱȱȱȱ

 ȱthe -ȱȱ ȱȱȱ ȱȱ ȱȱ

ȱ ȱ ȱ  ȱ ¢ȱ ęȱ ȱ ȱ Ĝȱ ȱ ȱ ȱ ȱ

ŗŚŚŝǻǼȱ ǯȱ ȱ  ȱ ȱ ȱ ȱ Ĝȱ ȱ £ȱ ęȱ ȱ ȱ

ŗŚŚŝǻǼȱǯ ȱȱȱȱȱ ¡ȱȱȱ ȱȱ

 ȱȱȱ’ȱǲȱ¢ȱȱȱȱǯ

       6.   ȱȱȱ¢ȱȱ ȱȱǰȱ¡ȱ ȱ ȱ ȱȱ

ȱȱȱ¢ȱȱȱȱȱȱȱȱĜǱ

               a. ȱŗǱȱȱǯ

               b. ȱŘǱȱ ȱȱȱ ȱȱȱȱȱȱȱ

       ȱ ȱ ȱ ȱ  ǻȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ

       Ǽǰȱ ȱȱȱ¢ȱȱ¡ȱǯȱĵȱȱȱȱȱ

       ȱ ȱ ȱ ȱ ȱ ȱ ŗŚŚŝǻǼȱ ȱ ȱ

       ȱȱȱȱȱȱǯǯȱȱ’ȱ’ȱĜȱȱȱ ¢ȱśǰȱ

       ŘŖŘřȱȱȱ ȱ¢ȱ ȱȱȱȱęȱ¢ȱȱȱ ȱŞǰȱŘŖŘřȱ

       ȱǯ ŗ ȱȱȱęȱȱȱȱȱȱȱ ¢ȱ9ǰȱŘŖŘřǯȱȱ

       ȱȱȱȱȱȱȱȱ¢ȱǰȱȱȱȱȱȱȱ




ŗȱ¢ȱȱȱȱȱǯȱĵȱȱȱ   ȱȱȱȱȱ
ȱ’ȱĜȱȱȱǯȱSee ĜȱȱŗŘǯ


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 ȱȱȱȱȱ ȱȱȱȱȱȱȱȱ ȱęȱ

 ȱ ¢ȱ şȱ ȱ ȱ ȱ Şǰȱ ŘŖŘřȱ ȱ ȱ ȱ ȱ ȱ ȱ   ȱ -

 ¡ǯȱȱ ȱȱȱȱȱ ȱȱǯȱ

        ȱ ȱ ȱ ȱ dubitante ȱ ǯȱ ĵ’s ȱ ȱ ȱ Řȱ ȱ

 ȱ ¢ȱ śȱ ȱ ȱ many weeks after ȱ aȱ ȱ ęȱ ȱ ȱ

 ȱȱǯȱȱęȱȱęȱ ȱȱ ȱşǰȱŘŖŘřǰȱ ȱȱ

 ȱ ȱ ȱ ęȱ ȱ ȱ ȱ Şȱ ȱ ȱ ȱ ȱ ǯȱ ȱ ȱ ȱ

 ȱȱȱȱȱŘȱȱȱĜȱȱȱȱȱȱ ȱŞȱȱ

 ȱ ȱ¢ȱȱȱȱȱȱȱǲȱȱȱȱ¢ȱȱȱǯȱ

        ¢ǰȱ ȱ ȱ ȱ Řȱ ȱ ȱĜȱ ȱ ȱ ȱ ǰȱ ’s

  ȱȱ ȱ ȱĴȱȱȱȱȱęȱȱ¢ȱ

 before ȱȱ¢ȱ ȱȱȱȱȱȱȱ

  ȱȱȱ  ’s ¢ȱȱǯȱ

        ȱ ŗŚŚŝǻǼȱ ȱ ȱ jurisdictional ǯȱ ǰȱ ȱ ȱ Řȱ ȱ

 ě¢ȱ¢ȱ ȱ ȱ ȱ knew, ȱ ȱ ȱ ¢ȱęȱ , that the

 ȱ ȱ ȱ ęȱ ¢ȱ ȱ ȱ ȱ Şȱ ȱ ȱ ȱ ȱ

 ęǯȱǰȱȱ ȱę ȱ ¢ȱşȱȱȱȱ ȱ ¢s

 ȱȱȱȱ ȱȱȱȱȱ ǯȱ¢ȱ

 ȱȱȱȱȱȱȱȱȱȱȱęȱĵȱȱȱȱǯǯȱ

 ȱȱ’ȱĜȱ¢ȱȱ ¢ȱśǯȱ



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               There has been a troubling Ĵȱ ȱ ȱ £ȱ ȱ ǯȱ

       ǯ It ȱ ȱǯȱ¡ȱȱȱȱȱǯȱ’s prior lawyers, Robert

       ǰȱȱȱȱȱ-ȱȱȱȱȱȱǯȱ¡ȱȱ

       ǯȱǯȱȱ ȱǯȱSee AĜȱȱȱǯȱȱǻǯȱŗŗǰȱŘŖŘŘǼǯȱǯȱ

       ¡ȱ ȱ ȱ ȱ “ȱ ” ȱ ȱ ȱ ǯȱ ȱ  ȱ ȱ

        ¢ȱ ŘŞǰȱ ŘŖŘŘȱ ȱ ǯȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ

       ȱȱȱȱǯȱSee Ĝȱȱ ¢ȱǯȱȱǻǯȱŗśǰȱ

       ŘŖŘŘǼǯȱȱȱȱ ȱĴȱȱȱȱȱȱȱȱȱ-

       ȱȱȱęȱȱȱȱǯȱ¡ȱęȱȱtry to ȱȱ

          ȱȱǯ Ř

               As ȱ ¢¢ǰȱ ¢ȱ ŗŘǰȱ ŘŖŘřǰȱ ȱ ȱ  ȱ ȱ ȱ ȱ ȱ ȱ ȱ

       ue,      ǯȱ¡ ȱȱȱȱȱȱȱ¢ȱ ȱȱȱȱ

        ¢ȱśǰȱŘŖŘř, ȱȱ ȱȱȱȱȱȱhere but ¢ȱȱ

       ȱ ȱ  ǻor the  -ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ

       ’ȱĜǼ ȱȱęȱȱǯȱĵ’ȱĜ ¢¢ǯȱ

               c. ȱ řǱȱ ȱ ȱ ǯȱ ĵȱ ȱ ȱ ȱ ȱ ȱ

       ’ȱĜȱȱȱȱȱȱ ȱȱŗŚŚŝǻǼ’ȱęȱ¢ȱȱȱ

       ȱ ȱ ȱ ǯȱ ȱ ȱ ȱ ȱ          ȱ ȱ “repeat




ŘȱȱȱȱȱĜȱȱ¡ȱȱȱȱȱȱȱȱȱ-
ȱȱǯȱȱȱȱĴȱȱ¢ȱȱȱȱȱ¡ȱŗ ǯ


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 players” ȱȱȱȱȱȱȱ’ȱĜȱ ȱȱ

 ȱȱȱȱǯ ¢ȱȱȱȱ ¢ǯȱ’ȱȱǯ

        d. ȱŚȱǭȱśǱȱȱȱęm ȱȱȱȱȱęȱ

 ¢ȱȱȱ ȱŞȱȱȱȱȱȱ ȱȱ ȱȱȱ

 ȱȱȱȱȱȱȱȱ—¢ȱȱ ȱȱȱ

 ȱȱǯȱǰȱȱ ȱ ǰȱȱȱȱȱȱȱȱȱǰȱ

 ȱ ȱȱȱȱȱȱȱȱǯȱȱȱȱȱȱ

 ȱ ȱ ȱ ȱ —ȱ ȱ ŗŚŚŝǻǼȱ ȱ ȱ           ȱ ȱ ȱ

 ȱ ȱ ¢ȱ ȱ ȱ ȱ ǻȱ ȱ           no other

 ȱȱȱȱȱǰȱ ȱȱǰȱsee infraǼǯ

        e. ȱŜǱȱȱȱȱȱȱȱDistrict of

 Columbia v. ExxonMobil Corp.ǰȱǯȱŗǱŘŖ--ŖŗşřŘȱǻǯǯǯȱȱ ¢ȱŗŝǰȱŘŖŘŖǼǯȱ

 Paragraph 6 ¢ȱȱȱȱȱȱȱȱȱǯǯȱȱȱ

 was ȱ ȱ ExxonMobil ȱ ȱ ȱ ȱ ȱ  ȱ ȱ ȱ ȱ ȱ ǯǯȱ

 ǯȱȱ6 ȱȱȱȱȱȱǯȱǯȱĵǰȱ ǰȱ

 ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ        ȱ

 ¢ȱ ȱ ¢ȱ řŗǰȱ ŘŖŘřȱ ȱ ȱ ȱ ȱ ŜŖȱ ¢ȱ “ȱ ȱ ȱ ȱ ȱ ȱ

 ȱȱǯǯȱȱȱȱȱȱȱȱȱǯ” ¡ȱŘ

 ǻȱ ȱ’ ȱȱ¢ȱǼǯȱǰȱȱȱŜȱ

 ǰȱthe ExxonMobil appeal has already been argued ǻŘřȱ¢ȱȱȱ



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 ȱ¢ȱȱȱȱȱ¢Ǽǯȱ¢ȱǰȱȱȱǰȱȱȱȱȱ ȱ

 ŗŗȱȱȱȱȱ¢ȱ¢ȱȱȱȱȱȱȱęȱȱǰȱ

 ȱȱȱęȱȱȱǯǯȱȱȱȱȱǯ

        ȱȱȱȱǯ ȱȱȱȱȱȱhere ȱȱ

 ¢ȱ ȱ ȱ ȱ ȱ ȱ ȱ řŖȱ ȱ ŜŖȱ ¢ȱ ȱ  ȱ at least the stay

 litigation iȱȱȱȱȱǯǯȱȱȱȱȱȱȱȱ to

 ȱȱǯȱȱȱwith       ȱȱis intent ȱȱȱȱ-ȱ

 Ĵ ȱȱǯȱ’ȱǯǯȱȱȱǯȱȱȱȱȱȱ

 a temporary stay in tȱ      ȱȱȱȱȱ

 ȱ ȱ ȱ ȱ ȱ  ȱ ȱ ȱ ȱ ȱ ȱ      ȱ

 ȱŗŚŚŝǻǼȱȱȱȱ ȱȱ ǯ

        f. ȱŝǱȱȱ ȱȱȱȱȱȱȱȱ

 ȱȱ¡ȱȱȱȱȱŘǯ

        g. ȱ ŞǱȱ ȱ ȱ ȱ ǯȱ ĵȱ ȱ ȱ ęȱ

 ȱȱȱȱȱȱȱ ȱĴȱ ȱȱȱȱȱ

 ’ȱĜǯȱȱȱȱǰȱ ǰȱȱȱȱȱęȱ ȱ

 ȱȱȱȱȱ¢ȱǻȃȄǼȱȱȱȱȱȱ

 Ĵǯȱ ȱ ȱ ǯȱ ĵȱ ȱ ȱ ęȱ ȱ ȱ ȱ ȱ

 Ĵȱȱȱȱȱȱȱȱȱ, which it is beyond

 dispute is a court, with a clerk’ȱ Ĝǯ ǯȱ ĵȱ ȱ ȱ ȱ  ȱ ȱ



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 ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ

 ȱ ȱ  ȱ ȱ ȱ ’ȱ ǯȱ ȱ       ȱ ȱ   ǰȱ    ȱ

 ȱ¢ȱ ȱȱȱ ¢ǰȱwho has ȱ¢ȱ ȱȱǯǯȱĴy

 ȱ ¢, to say when ǯȱ ĵȱ ȱ ȱ ȱ ¢ȱ ȱ ȱ

 ¢ȱ ȱ ȱ ȱ ȱ ȱ Ĵȱ ’ȱ ȱ ȱ

  ȱ’ȱĜǵȱȱǰȱȱmost natural response is going to be what we see

 ȱ ȱ ȱ ȱ ȱ Ĝȱ — ‘ ǰȱ ȱ ȱ ȱ ȱ ’t mail out a

 ęȱ¢ȱȱȱȱǰȱǯȱĵǯ’

        h. ȱ şǱȱ  sure enough, this Paragraph hȱ ȱ ȱ ¢ȱ

 ¡¢ȱ ȱǯȱĵȱ her to sayǯȱ ȱǯȱĵǱȱ“ȱȱȱȱ

 ¢ȱǰȱȱȱȱǱȱ‘ǽǰǾȱlike you saidǰȱȱȱȱȱ

 ǰȱȱ ȱ ȱȱȱȱȱ¢ȱǯ” ǻȱǼǯȱǯȱĵȱȱ

  ȱȱȱ’ȱĜȱ ȱ¢ȱ ȱȱȱ ȱȱ

 ȱ ȱ ȱ ȱ that ȱ ȱ ȱ ȱ ȱ ȱ impossibleǯ This

 Ĵȱ  illustrates both      ¢ȱȱȱȱȱȱȱȱ          ȱ

   ¢ȱ ¢ȱ ȱ ǯ ȱ ¢ȱ ǰȱ ȱ ȱ ¢ȱ is ȱ ȱ  ȱ

  ŗŚŚŝǻǼȱ ǯ

        ǰȱ ȱ ȱ ȱ ȱ ¢ȱ ǯȱ ȱ ȱ ȱ ȱ ȱ

  ȱǰȱȱ ȱĴǰȱȱȱȱȱ¡ȱȱ

 ǯȱȱȱȱ ȱȱȱ¡ȱ as we



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 explained recently in our Reply in Support of Motion to Vacate Orders and as Mr.

 Fox agreed until two days ago ȱřȱǯǯȱ ȱȱęȱȱȱȱȱȱ

 ȱ . Instead, the ȱ ȱ ȱ ȱ ȱ ȱ          ȱ Ĵȱ

 (including this one) and the Board are all adjuncts of that court. From Paragraph 9

 ȱȱȱȱǯȱĵȱȱȱ’ȱĜ     ȱȱȱȱȱȱǰȱ

 and even if he had, she may not have understood it. And she shouldn’t be expected

 to.

         i.    ȱŗŖǱȱ ǰȱǯȱĵȱȱ ȱȱȱthat is removed

 from an agency will fail to include a “remand notation on the [U.S. District Court

 ȱȱȱȱǾȱȱȱȱȱȱȱǯȱȱǯ”

 She ¢ȱȱȱȱǰȱȱȱȱĴȱ¢ȱȱǯȱȱȱȱ

 ȱ ȱȱȱ’ȱĜȱȱȱȱ¢ȱǯȱȱ ȱȱ¢ȱ it

 is entirely inaccurate that ȱȱȱȱǯȱȱǰȱ¢ȱǯȱȱěȱ

 just one example—the Environmental Protection Agency’s Environmental

 Appeals       Board       has      a       “ȱ    ȱ    ȱ      ǯ”     See

 ĴǱȦȦ¢ǯǯȦȦȏȏǯȦ Ƹ ȦƸ

 ƸƸƸǵ (last visited July 12, 2023). ȱ                   ȱ

 interchange recounted in Paragraph 10 is a poster child for why it is impossible to

 ¢ȱ ȱ ¢ȱ ȱ   ȱ ȱ ’ȱ Ĝȱ ȱ ȱ ȱ ȱ ,

 especially not in complex jurisdictional disputes.



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        j. Paragraphs 11 & 12: No objections subject to our proviso reserving our

 rights to conduct an examination as provided in Paragraph 2.

        k. ȱ ŗřǱȱ ȱ ȱ ȱ ȱ ȱ ęǯȱ        ǰȱ ǯȱ

 ĵȱ ȱ ȱ ȱ ȱ —“I do not claim that the information

 ȱ ¢ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ statement from the U.S.

 District Court.     ȱ Ěȱ ¢ȱ ȱ ȱ  ȱ ȱ ȱ ȱ ȱ ȱ

 administrative aspect of her job—whether to send a copy of an order in the mail

 ȱ ȱ ȱ ȱ ȱ ȱ ȱ .” Ĝǰȱ ȱ ŗřǯȱ ȱ 

 ǯȱ ȱ ȱ ȱ ȱ ǯȱ ĵȱ ¢ȱ ȱ ȱ ’ȱ Ĝȱ

   ȱȱȱǯȱȱȱȱȱȱȱȱȱȱǰȱ

   ȱ ȱ ȱ ȱ   ȱ ȱ ȱ ȱ ȱ ¡ȱ  ȱ ȱ ȱ ǯȱ ȱ

 ’ȱĜȱȱȱȱǯȱȱȱ ȱĴǰȱȱȱǰȱ

 do not have it. And yes, it is correct that this was only the “informal view” of the

   ȱ ȱ ȱǯ

        ȱȱ ȱȱȱȱȱȱŗřǰȱ¢ǰȱǯȱĵ’s

 “beliǽǾȱ ȱ ’ȱ  ȱ ȱ ȱ ȱ ’s argument that the Hearing

 Ĵȱ¢ȱȱȱȱȱȱȱȱȱǯ” Id. ǯȱ

 ȱ ’ȱ Ĝȱ ’s view is not relevant because it is legally

 indisputable ȱ ȱ ȱ ȱ ȱ ’ȱ Ĝȱ ȱȱ       ȱ  ȱ ȱ ȱ

 Section 1447(c) has not been complied with. Allowing reports of conversations



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          ȱ ’ȱ Ĝȱ ȱ ȱ ȱ ǯȱ ĵȱ ȱ to govern jurisdictional

       issues, such as when jurisdiction changes hands, would lead to chaosǯȱȱȱ

       ȱ ȱ ȱ ĵȱ Ĝȱ ¢ȱ ȱ           ȱ ȱ ȱ ȱ -

       jurisdiction dispute that currently precludes the Chair and this Hearing

       Ĵȱfrom proceeding any further.

               ȱȱȱ ȱȱȱȱĜȱȱȱȱȱ

       or a legal opinion as to the requirements of Section 1447(c) as applied here and

       whether the C’s OĜȱȱȱ ȱȱǯȱȱȱȱ

       Ĵȱȱȱȱǰȱ  constitutes the practice of law. 28 U.S.C. §

       955 is explicit and unambiguous: “ȱȱȱȱȱȱȱȱȱ

       assistants shall not practice law in any court of the United States.”

               ȱȱȱȱȱȱȱȱ£ȱȱvide legal
               advice to pro se litigants. See, e.g., Madison v. BP Oil Co., 928 F. Supp.
               1132, 1134 (S.D. Ala. 1996) (“ȱ ȱ ȱ ȱ ȇȱ Ĝȱ ǯǯǯȱ
               cannot give legal advice”); Ayers v. Jacobs & Crumpler, P.A., Civ. A.
               No. 94-658-ǰȱŗşşśȱȱŝŖŚŝŞŗ, *4 (D. Del. Nov. 2, 1995) (stating
               that “[t]he Rules of Professional Conduct and the law of common
               sense” ȱȱȱȱȱȱȱȱȱȱȱȱȱ
               advice).[ 3]

       Roosevelt Land, LP v. Childress, No. Civ. A. 05-ŗŘşŘȱǻǼǰȱŘŖŖŜȱȱŗŞ77014, at *2

       (D.D.C. July 5, 2006). See also Uzoukwu v. Metropolitan Washington Council of Gov’ts,




3 ¢ȱ Ayers case’s holding presents another irony, as we have ODC lawyers purporting to enforce the
Rules of Professional Conduct doing something the Rules of Professional Conduct do not permit — trying
to rely, to some extent, oȱȱǻǼȱȱȱȱȱȱȱ’ȱĜǯ


                                                 11
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      983 F. Supp. 2d 67, 78 (D.D.C. 2013) (“ȱȱȱĴǰȱȱǰȱȱȱȱ

      ȱ ȱ ȱ ’ȱ Ĝȱ ȱ ȱ ȱ ȱ ȱ ǯ”) s

      prohibition, while expressed in cases involving a pro se litigant, should logically

      apply with even greater force where, as here, the party or advocate is a very

      experienced lawyer.

      7. ȱȱȱȱȱȱǯȱAll of this is a problem of ODC’s own

. ǯȱĵ’s ex parte ȱ ȱȱ ’ȱĜǰȱ ȱ ȱ ȱ

ȱȱȱȱȱ ȱȱęȱȱȱȱȱǰȱȱ¢ȱcompounded

ODC’s predicamentǯȱȱȱȱȱȱȱŗŚŚŝǻǼȱȱȱȱcomplied with

ȱȱȱȱȱȱȱȱȱȱǯȱȱ ȱŗŜǰȱŘŖŘřȱ

and July 5 Orders should be vacated.

      8. ȱĜȱȱȱ¢—a statement by an Ĝȱrepeating the statements

of an out of court declarant oěȱȱȱȱȱȱȱĴȱǯȱParagraph 9

relates double hearsay —    ȱȱȱȱȱȱęȱȱ(both unsworn and out

of court)   ȱ ȱ ȱ ǯȱ ĵǯȱ ȱ ȱ ǰȱ Respondent also lodges a general

objection on this basis ȱȱĜȱȱȱ ¢ȱ.

      9. ¢ǰȱȱ ȱȱǰȱȱȱ ȱ£ȱ ȱȱȱ

and prudential objections to the Chair proceeding further here stand:

             a. Section 1447(c) has not been complied with. Heǰȱ ȱĴȱ

       ȱȱȱǯ



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        b. As we explained recently to the District Court in our stay motion that we

 also lodged here to incorporate the arguments therein by reference, the Hearing

 Ĵȱ ȱ ȱ ȱ ȱ se under 28 U.S.C. § 1446(d), which

 continues ȱȱȱ¢ȱěȱthrough conclusion of the appeal as of right

 ȱȱǯȱȱȱȱȱĜȱȱŘŞȱǯǯǯȱ§ 1447(d), and as ȱ

 in by the U.S. Supreme Court’s decision in BP plc. V. Mayor & City Council of

 Baltimore, 141 S. Ct. 1532, 1536 (2021) (“Here, too, Congress has deemed it

 appropriate to allow appellate review before a district court may remand a case

 to state court.”).    ǰȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ

 ěȱȱǯȱ’s D.C. Circuit appeal is complete.

        c. ȱȱ¢ȱǯȱ¡ȱȱȱȱȱȱȱDCCA’s

 ȱȱȱȱȱȱȱȱȱȱtutes in a bid to try

 ȱȱȱȱȱ ȱĴ.

        d. ȱȱȱ ȱȱǰȱȱ ȱȱȱȱȱ

 ȱǻ¢ȱȱĜȱǼȱȱȱȱȱȱȱȱ

 could use their courts to create non-court agents upon which to ĝȱȱ

 business, while simultaneously ȱ ȱ ȱ ĝȱ ȱ ȱ ȱ

  and was not produced by courts. That         ȱȱȱ, a -

 ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ , the barn

 door open. That is not and cannot be the law.



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                e. ȱȱȱȱȱȱȱ ȱȱǰȱ

        28 U.S.C. § 1442(d)(1) (emphasis added), wherein the amendment adopted by Pub.

        L. 112-239, 126 SǯȱŗşŜşǰȱȗȱŗŖŞŝȱǻ ǯȱŘǰȱŘŖŗřǼǰȱ¡ȱȱęȱȱ“ȱ

        actions” and “criminal prosecutions” ȱ ȱ ȱ ȱ ǰȱ ȱ “any

        proceeding … to the extent that in such proceeding a judicial order … is sought or

        issued.” It is now beyond dȱȱȱȱȱȱȱȱ

        ǰȱ¢ȱȱǯȱ¡ȱȱȱȱȱȱ ȱǻ ¢ȱŗŖǰȱŘŖŘřǼȱȱȱȱ

        ȱȱȱȱǰȱȱǯȱȱȱȱȱ

        with disbarment. Once again, as ocȱ ȱ ȱ ¢ȱ ŘŖŘŘǰȱ ǯȱ ¡ȱ ȱ

        colorful language ȱĚȱȱȱ: “He can run, but he can’t hide.” 4 This is

        thuggish and it is conduct that the Chair (and other members of the Hearing

        Ĵǰȱȱȱ¡ȱ¢ȱȱǼȱȱȱǯȱSee D.C. Rule XI,

        § 9 (any Board recommendation for discipline greater than an informal

        admonition or reprimand is decided by the D.C. Court of Appeals). Hence, it is

        ȱ ȱ ȱ ȱ ȱ ȱ ȱ ǰȱ ȱ ȱ ȱ ’ȱ Ĵȱ ȱ

        ȱȱȱȱ ȱȱȱȱ ȱĴȱȱȱȱǯȱ ȱȱ

        ȱȱȱȱȱ       ȱĴȱ ȱȱȱȱǻȱ ȱȱ




4ȱ ȱęȱȱĜȱȱȱȱȱȱȱȱȱȱȱ¢ǯȱȱ ȱ
ȱǯȱ¡ȱ ȱ¢ȱǯ ȱȱǯȱ’s lawyers—all of the undersigned aȱ ȱȱȱ ȱ
on the call to hear it.



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 ȱȱȱȱȱȱȱȱ Ǽǰȱȱȱȱȱ

 hinge on that point, meaning that Section 1447(c) cannot be dodged. It must be

 ęǯ

        f. ȱȱȱǰȱion, and Section 1442(d)(1) arguments

   ȱǰȱȱȱǯǯȱȱȱȱȱȱȱ

 that it is beyond the Chair’ȱ  ȱ ȱ ǯȱ ȱ  ȱ ȱ ȱ ȱ

 ȱȱȱȱȱȱǰȱ ȱȱȱǯȱȱ ¢ȱȱ

 ǰȱȱĴȱȱȱȱȱȱȱȱȱȱǯ

        g. ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ ŗŜȱ ȱ ¢ȱ śȱ

 ȱ ȱ ȱ ȱ ǰȱ ę¢ǰȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ

 Ĵȱȱȱ ȱȱȱȱȱȱȱȱȱȱȱ

 an abeyance and deferral of ȱȱȱȱȱ ȱ¢ȱȱȱȱȱ

 from January 17, 2023 until at least June 7, 2023. This is particularly true because

 in its July 5 Order, the Chair wrongly relied on a pre-ȱȱȱȱȱ

 ȱȱ¢ȱȱd that the relief we sought from the DCCA included

 ȱȱȱȱȱȱ ¢ȱŗŝǰȱŘŖŘřȱ¢ȱȱȱȱȱǯȱ

 See ȱȱȱǻ ¢ȱŝǰȱŘŖŘřǼǯ

        h. ¢ǰȱȱȱȱǰȱsupra Paragraph 6.e., discussing the D.C.

 Superior Court stay in the Exxon litigation (which similarly is on appeal to the D.C.

 ȱ ȱ ȱ ȱ ȱ Ĝȱ ȱ Ǽǰȱ ȱ ȱ ȱ BP and



                                         15
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 ȱŗŚŚŜǻǼȱȱ ȱȱȱǰȱthere is no reason why it would not

 be wise to enter a temporary stay in this case to see how the stay litigation in the

 ȱȱȱȱǯǯȱȱ¢ȱǯȱȱǰȱȱȱ¢ȱǰȱ ȱ

 ȱȱȱȱȱȱŝȱȱȱȱȱȱǯ Additionally, the

 July 5 Ordeȱȱȱȱȱȱȱȱęȱ¢ȱȱȱȱȱ

 District Court, ȱ the applicable D.C. Circuit deadlines had not yet

 ȱ ǻȱ ¢ȱ ŗŚȱ ȱ ȱ ȱ ȱ ¢ȱ řŗȱ ȱ ȱ Ǽǯȱ

 And, as the Chair is no ȱ ǰȱ ȱȱ ȱęȱȱęȱȱȱ¢ȱȱȱ

 the District Court on July 11, 2023.

        i. Lastly, there is no reason not to enter into a prudentially based pause in

 ȱȱȱȱȱȱȱȱȱȱȱȱȱȱ the

 D.C. Circuit, any proceedings held here will be “¢ȱǯ” “Once a notice

 ȱȱȱęǰȱ‘the State court shall proceed no further unless and until the

 case is remanded.’ 28 U. S. C. § 1446(d). The state court ‘ǽǾȱȱȱȱ

 ȱ ǰȱ ǰȱ ȱ    ȱ ǰȱ ȱ ȱ ȱ ȱ

 ȱǽǾȱȱǯǯǯȱ¢ȱǰȱȱ¢ȱǯ’ Kern v. Huidekoper,

 103 U.S. 485, 493 (1881). ‘¢ȱȱȱȱȱȱȱǽǾȱcoram non

 judice,” meaning ‘ȱȱȱǯ’ Steamship Co. v. Tugman, 106 U.S. 118, 122

 (1882) ....” Roman Catholic Archdiocese of San Juan, P.R. v. Acevedo Feliciano, 140 S. Ct.

 ŜşŜǰȱŝŖŖȱǻŘŖŘŖǼȱǻȱĴǼǯȱȱȱȱȱ ¢ȱȱȱȱȱ



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           members of the       ȱĴȱ ȱ ȱȱȱȱȱǯ

                                              CONCLUSION

           ȱ ȱȱȱȱȱȱǰȱȱ ȱĴȱ

 ǰ ȱȱ¢ȱȱǰȱ ȱȱȱ ȱȱŗŚŚŝǻǼȱȱȱ

ȱ ȱ ȱ  ȱ ȱ ȱ ǯ ȱ ȱ ȱ ȱ ȱ ¢ȱ

¢ȱ Ĝȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ ȱ ǯǯȱ

ȱ ȱ   ȱ ¢ȱ Ĝ ȱ ȱ ȱ ȱ  or

ȱs ȱ ǯ ȱȱ¢ȱȱȱȱȱȱǯ

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                                   DCCA NO. 22-BS-0059

                                DISTRICT OF COLUMBIA

                                   COURT OF APPEALS


In the Matter of

CONFIDENTIAL (J.B.C.), ESQ.                         Disciplinary Docket

       Respondent,                                  No. 2021-D193

A Member of the Bar of the District of
Columbia Court of Appeals



                   R E S P O N S E TO M O T I O N TO C O M P E L A N D
                             C R O S S- MOTION TO QUASH




Charles Burnham                              Robert A. Destro*
DC Bar No. 1003464                           Ohio Bar #0024315
1424 K Street, NW                            4532 Langston Blvd, #520
Suite 500                                    Arlington, VA 22207
Washington DC 20005                          202-319-5303
(202) 386-6920                               robert.destro@protonmail.com
charles@burnhamgorokhov.com                  *Motion for pro hac vice admission in
                                             progress
Harry W. MacDougald*
Georgia Bar No. 453076
Two Ravinia Drive, Suite 1600
Atlanta, Georgia 30346
(404) 843-1956
hmacdougald@ccedlaw.com
* Motion for pro hac vice application in
progress
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                                      INTRODUCTION

       The Motion to Compel should be denied and the subpoena quashed on three grounds: (1)

Respondent Mr. Clark properly invoked his Fifth Amendment rights, see infra Section I; (2) the

Bar’s disciplinary authority does not extend to the preparation of privileged Executive Branch

discussion drafts of letters never sent, see infra Section II; and (3) investigating and potentially

punishing the preparation of confidential, non-public discussion drafts pertaining to a very

contentious political dispute, at the behest of a highly partisan member of the opposite party in a

rival branch of government, would embroil the Bar in matters far beyond its charter, and pervert

the disciplinary process to purely political ends, see infra Section III. Oral argument is requested.

                                 STATEMENT OF FACTS

NATURE AND ORIGIN OF COMPLAINT FROM SENATOR DURBIN

       The Office of Disciplinary Counsel (“ODC”) began its investigation of Respondent a week

after receiving a letter from Senator Richard Durbin, Chairman of the Senate Judiciary Committee.

Senator Durbin has no personal knowledge of the matters complained of. At least one other

politically motivated complaint was filed by a collection of third-party detractors but was rightly

rejected by ODC for lack of personal knowledge, which should similarly have been fatal to the

Durbin complaint as well.

       Senator Durbin, a partisan opponent of President Trump, here complains about a

confidential and privileged discussion draft of a letter calling for more legislative investigation

allegedly prepared by Respondent while he was a senior DOJ official about a matter of intense

political controversy. The draft was reportedly the subject of vigorous internal privileged and

confidential debate involving legal judgment, first among senior DOJ officials including

Respondent, and later played out before the President himself and his most senior legal advisors

at the White House and DOJ. After considering the letter, the President appears to have decided
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against sending it, and so it was never sent. That was the end of the matter, at least until the phalanx

of privileges attending the preparation and discussion of the draft—executive, law enforcement,

and attorney-client—were all breached via anonymous leaks to the New York Times, and it became

fodder for the lawfare element of the political witch hunt currently underway against Respondent.

        The crux of the allegations are that Respondent made knowingly false statements of fact

about possible election anomalies in the never-sent discussion draft of a letter calling for

investigation. The allegations of “knowing falsity” rest on the dogged premise that there was no

possible good-faith belief that there were any election irregularities sufficient to suggest a state

legislature engage in further investigation. But premises do not equal truth; they are just the

position of one side in an intense partisan political controversy that evenly divides Americans.

        Being evenly balanced between the political parties, Senator Durbin’s Senate Judiciary

Committee could not issue subpoenas.1 Senator Durbin’s letter to the ODC consequently spoke

only for himself, not the entire Committee. ODC has thus taken up a complaint from a single

politically motivated member of one branch of government who is trying to weaponize the bar

disciplinary process against a senior official (from a rival political party) at an Executive Branch

department over a never-sent privileged and confidential discussion draft of a letter calling for

more state legislative process. The complaint, the investigation, and any potential punishment are

thus all directed not against conduct but against constitutionally protected thoughts and legal

advice deemed contrary to the foundational premise upon which the allegations rest.

        To proceed further, ODC would have to distinguish among (1) the true state of the facts;

(2) individual perceptions of the facts; (3) opinions about the significance of the perceived facts;



1  See Rule IX of the Rules of Procedure of the United States Senate, available at
https://tinyurl.com/36uuee5f (last visited Feb. 15, 2022), a rule with constitutional imprimatur,
U.S. Const., art. I, § 5 (“Each House may determine the Rules of its Proceedings ....”).

                                                   2
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and (4) legal, policy and prudential judgments about what ought to be done or not done in light of

the perceived facts. At the time, there were intense controversies attached to each of these four

tiers of inquiry. Those controversies still exist and will persist well into the future—just as they

still do with respect to the Bush v. Gore controversy arising back in 2000.

ODC’ S A C T I O N S T O D A T E

       After docketing Senator Durbin’s complaint on October 14, 2021, ODC made immediate

resort to a subpoena, bypassing less invasive or aggressive methods of trying to gather information.

       ODC’s aggression out of the gate stumbled on a series of procedural faults along the way.

A first letter purporting to transmit the subpoena to Respondent’s former counsel dated October

18, 2021, the so-called “B letter,” was never received. See Affidavit of Robert A. Driscoll, ¶¶ 4-11

(attached as Exhibit 1). A follow-up “D letter,” premised on the lack of any response to the first

letter and dated November 9, 2021 and purportedly sent to Respondent’s former counsel, was also

never received. See generally Driscoll Affidavit.

       On November 22, 2021, Disciplinary Counsel, Mr. Fox, left a voice mail for Respondent’s

former counsel saying that no response had been received to either letter and that a motion to

compel would be filed that day or early the next morning. See id. at ¶ 6. The former counsel, Mr.

Driscoll, immediately returned the call and informed Mr. Fox that he had never received anything

from him and that he no longer represented Mr. Clark. See id. at ¶ 7. Mr. Driscoll then double-

checked all incoming email systems including filters and regular mail and confirmed that nothing

had been received from Mr. Fox, and so informed Mr. Fox. See id. at ¶ 8-9.

       Importantly, Mr. Fox never mentioned or discussed a subpoena with Mr. Driscoll, and Mr.

Driscoll never made any agreement to accept service of the subpoena on behalf of the Respondent.

Thereafter, Mr. Fox attempted to deliver a new “B letter” dated November 22, 2021 and subpoena

directly to Respondent. This letter, however, was initially not received either.


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       Next, Respondent got Covid, and Mr. Fox very kindly accommodated his recovery. Mr.

Fox and Respondent later began exchanging emails in which Mr. Fox attempted to deliver the

letter and its exhibits via email. This too was beset with delivery problems. Some of the email

exchanged between Respondent and Mr. Fox and his assistants was intercepted by each side’s

spam filters. Mr. Clark thus did not receive the full set of documents comprising the “B letter” and

its attachments until January 6, 2022. See Aff. of Resp., ¶¶ 4-6 (attached as Exhibit 2).

       Respondent agreed to and did respond to ODC’s letter and subpoena on January 31, 2022.

See id. at ¶ 6. But he never agreed to accept service of the subpoena via email.

       The subpoena called for Respondent to either produce documents or appear at the Bar

offices on the return date (which was never corrected by ODC to the agreed-on January 31, 2022

date) if documents were not to be produced. On Friday January 28, 2022, new counsel for

Respondent spoke to Mr. Fox by telephone to say that Respondent would invoke the Fifth

Amendment and would not be producing any documents, inquiring if Respondent nevertheless

needed to appear. Mr. Fox replied, “no,” but that if Mr. Clark claimed the Fifth Amendment against

the production of documents, “I promise you I will ratchet up the discipline” and that a motion to

compel would be rapidly filed. Mr. Fox followed up with an email at 8:30 PM that Friday evening

reiterating that threat. See Harry MacDougald Aff. at ¶¶ 5-6 (attached as Exhibit 3).

       On January 31, 2022, Mr. MacDougald (one of Mr. Clark’s undersigned counsel) delivered

to Mr. Fox two lengthy letters responding to the unserved subpoena. The shorter letter invoked,

inter alia, Mr. Clark’s Fifth Amendment privilege against self-incrimination as well as the act of

production doctrine, and laid out in detail the basis for a well-founded fear of criminal prosecution

and the overlap with a document subpoena issued by the January 6 House Select Committee. The

letter thus requested a deferral under Board Rule 4.1, noted the defects in the subpoena’s service,




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highlighted separation of powers issues, and reserved all other rights, defenses, and objections.

The longer letter asserted a series of substantive legal objections to the ODC proceeding with the

investigation and attached the full set of letters to the January 6 Committee as exhibits.

       Mr. Fox filed this Motion to Compel on February 3, 2022. There was no meet and confer

(see Board Rule 2.9(a)) or other discussion about Respondents’ objections. While the Motion

recites that it was served with exhibits by regular mail and email on February 3, 2022, a remarkable

series of clerical problems in ODC prevented delivery of the complete motion and exhibits from

being accomplished until February 14, 2022. See Exhibit 3 ¶¶ 7-15. When Mr. Fox was first

informed of non-deliver, he quickly sent the Motion to Compel to undersigned counsel, informed

us that the exhibits were documents we already had, and agreed that the response to his Motion

could be filed on February 15, 2022, and a motion to that effect was filed in this Court. Id. at ¶ 10.

       Mr. Fox produced certain correspondence with Senator Durbin and his staff dated October

14, 2021, which informed the Senator that his complaint had been docketed as an investigation

rather than a charge, that the matter was confidential, and that he would automatically furnish the

Senator with any response made by Mr. Clark. In his letters to Mr. Fox of January 31, 2022 in

response to the subpoena, undersigned counsel vigorously objected to furnishing Mr. Clark’s

response to Senator Durbin on the grounds that it would breach the confidentiality of the

proceedings, as Senator Durbin was not Respondent’s client, and that in the supercharged political

atmosphere surrounding the underlying issues, doing so would very likely result in a media leak

of the information, further fueling the partisan furor raging against Mr. Clark.

       Mr. Fox also produced “Touhy correspondence” with DOJ (see 28 C.F.R. § 16.21 et seq.),

seeking access to former DOJ officials as witnesses. DOJ replied, agreeing to Mr. Fox’s request.

However, DOJ failed in multiple respects to comply with its own regulations governing such




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matters, as we are just setting before DOJ today and thus which we do not further address here,

pending a response by DOJ. Lastly, Mr. Fox also shared two additional Touhy-related documents

with us on February 11, 2022.

                                           ARGUMENT

PROCEDURAL BACKGROUND

        A. Enforcement of Subpoenas

        When conducting an investigation, Disciplinary Counsel may propound “written inquiries”

with the explicit limitation that the investigation is subject to “constitutional limitations.” D.C. Bar

Rule XI, § 8(a). But no subpoena may include inquiries crossing over into the impermissible

territory of litigation-like interrogatories. See In re Artis, 883 A.2d 85 (D.C. 2005). This Court

frames disciplinary proceedings as “adversary, adjudicatory proceedings” related to property rights

and which therefore are attended by due process protections. See In re Benjamin, 698 A.2d 434,

439 (D.C. 1997) (citing In re Thorup, 432 A.2d 1221, 1225 (D.C. 1981)).

        Disciplinary Counsel may compel the attendance of witnesses and the production of

pertinent books, papers, documents, etc., but only subject to D.C. Superior Court Rule 45. See D.C.

Bar Rule XI, § 18(a). This Court may, “on proper application,” enforce a subpoena. See id., §

18(d).2 Superior Court Rule 45(b)(1) prescribes the manner for service of subpoenas, requiring

delivery to the person named by anyone over the age of 18 years who is not a party to the action

and the tendering of certain fees if attendance is demanded (as it originally was in the alternative

here). Rule 45(b)(3) requires the one serving the subpoena to certify proof of service showing the


2 However, if there is a challenge to the subpoena, Bar Rule XI, § 18(c) contemplates a Board of
Professional Responsibility’s Hearing Committee to hear and determine the challenge. We did not
bring such a challenge because ODC did not engage in the required meet and confer after we filed
the January 31, 2022 letters. ODC simply proceeded immediately to this Court. Especially given
the pendency of various investigations—and the interim nature of the report that Senator Durbin’s
staff prepared, we are at a loss to explain why ODC considers this matter to be exigent.

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date and manner of service and the name of the person served.

       Board Rules 3.14 through 3.16 also control subpoenas issued during an investigation, and

they allow for Disciplinary Counsel to apply directly to this Court for enforcement. On February

3, 2022, Disciplinary Counsel chose to file a motion to enforce directly with this Court.

       Pursuant to Superior Court Rule 45(c)(3)(A), as transplanted here, subpoenas may be

quashed on timely motion if they require disclosure of privileged or protected matter not subject

to exception or waiver, is unduly burdensome or fails to provide a reasonable time to comply; and

under sub-rule (c)(3)(B)(i) if the subpoena requests “confidential research.” Parties may also

describe their objections, if substantiated, to a subpoena as “overbroad” or amounting to a “fishing

expedition.” In re Confidential, 701 A.2d 842, 842 (D.C. 1997). If there is an assertion of a

privilege, etc., then under Superior Court Rule 45(d)(2), the claim must be expressly made.

       B. Standard of Review

       Since Disciplinary Counsel chose to seek enforcement of his subpoena directly with the

Court of Appeals, any issues and objections must be decided here in the first instance and not on

review. Since the subpoena enforcement involves questions of law, questions of fact, and mixed

questions of law and fact, the Court should act in the same vein as a trial court, deciding questions

of law and finding facts. Cf. In re Public Defender Serv., 831 A.2d 890, 898-99 (D.C. 2003), which

discussed the various roles in the context of a grand jury subpoena. This analysis applies here by

analogy as well, especially given the assertion of constitutional and other privileges.

       C. The Subpoena Was Improperly Served and Should Be Quashed.

       The applicable procedure for service of subpoenas is very clear. Superior Court Rule

45(b)(1) requires that the subpoena be served by an adult who is not party to the action, coupled

with certified proof of subpoena service and tendered fees (if attendance might be required). There

is no certified proof of service by an adult here (and no fees tendered) because the subpoena was


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not so served. Service was not waived, no testimony has been given, and objections were timely

made, preserving all rights. See In re Sealed Case, 116 F.3d 550, 561-62 (D.C. Cir. 1997).

        Thus, the service requirement has not been met. And where subpoenas are not properly

served, they must be quashed. See Hamer v. Eastern Credit Ass’n, Inc., 192 A.2d 127 (D.C. 1963);

see also Pulley v. United States, 532 A.2d 651, 653 (D.C. 1987) (citing CF&I Steel Corp. v. Mitsui

& Co. (U.S.A.), Inc., 713 F.2d 494 (9th Cir. 1983) (quashing subpoena for failure to tender fees)).

        Further, since Superior Court Rule 45 is “virtually identical” to Fed. R. Civ. P. Rule 45, it

is instructive to refer to the importance of maintaining the integrity of the service requirement. See

also FTC v. Compagnie De Saint-Gobain-Pont-A-Mousson, 636 F.2d 1300, 1312-13 (D.C. Cir.

1980), which underscored the point:

        By contrast, Federal Rule 45(c), governing subpoena service, does not permit any
        form of mail service, nor does it allow service of the subpoena merely by delivery
        to a witness’ dwelling place. Thus, under the Federal Rules, compulsory process
        may be served upon an unwilling witness only in person. Even within the United
        States, and even upon a United States citizen, service by registered U.S. mail is
        never a valid means of delivering compulsory process ….

See also id. at 1307.

        The Supreme Court has repeatedly emphasized the importance of service. See, e.g., Murphy

Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344 (1999) (even actual notice via fax of a

file-stamped copy of a pleading was not valid service). “Service of process, under longstanding

tradition in our system of justice, is fundamental to any procedural imposition on a named

defendant …. Unless a named defendant agrees to waive service, the summons continues to

function as the sine qua non directing an individual or entity to participate in a civil action or forgo

procedural or substantive rights.” Id. at 350-51.

I.      THE FIFTH AMENDMENT BARS ENFORCEMENT OF THE SUBPOENA.

        The Fifth Amendment privilege against self-incrimination:



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       not only protects the individual against being involuntarily called as a witness
       against himself in a criminal prosecution but also privileges him not to answer
       official questions put to him in any other proceeding, civil or criminal, formal or
       informal, where the answers might incriminate him in future criminal proceedings.

Lefkowitz v. Turley, 414 U.S. 70, 77 (1973) (emphasis added).

       A. Mr. Clark Properly Invoked the Fifth Amendment.

       In the District, it has long been settled that a court evaluating a Fifth Amendment claim

should not speculate about whether criminal prosecution is “likely” but should instead limit its

inquiry to whether criminal prosecution is “possible.” Carter v. United States, 684 A.2d 331, 334-

35, 338 (D.C. 1996) (en banc). The Carter decision overruled a line of cases requiring courts to

assess the probability of prosecution before upholding Fifth Amendment privilege.

       Moreover, the Fifth Amendment is to be “liberally construed” and thus is not limited to

situations where the compelled disclosures themselves would be incriminating. It is sufficient if

the disclosure could possibly supply a “link in the chain” leading to prosecution. Wilson v. United

States, 558 A.2d 1135, 1141 (D.C. 1989), overruled on other grounds by Carter, 684 A.2d 331

(D.C. 1996) (en banc). In a foundational case, the United States Supreme Court described this

concept as follows: “A question which might appear at first sight a very innocent one might, by

affording a link in a chain of evidence, become the means of bringing home an offense to the party

answering.” Mason v. United States, 244 U.S. 362, 364-66 (1917) (citing 1861 English decision).

       Although the Fifth Amendment must normally be asserted on a question-by-question basis,

this Court recognizes that the combination of the “possible prosecution” standard and the “link in

the chain” doctrine can easily render entire areas of testimony privileged. See, e.g., Butler v. United

States, 890 A.2d 181, 188 (D.C. 2006) (granting a witness blanket immunity was procedurally

flawed but harmless since it was “obvious that any testimony” would be incriminating) (italics in

original); Johnson v. United States, 746 A.2d 349, 356 (D.C. 2000) (same).



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       ODC’s investigation of Mr. Clark presents an obvious Fifth Amendment case. The letter

from Senator Durbin that triggered this investigation itself states that “Mr. Clark appears to have

violated Rule 1.2(e)’s prohibition against counseling a client to engage, or assisting a client, in

conduct the lawyer knows is criminal or fraudulent.” Exhibit 4 at 2 (internal quotations and

brackets omitted) (emphasis added). This allegation of criminal conduct in the triggering

complaint, standing alone, is sufficient to justify Mr. Clark’s Fifth Amendment invocation. If

further reinforcement is needed, Mr. Clark’s letter in response to this subpoena detailed many

examples of lawyers implicitly or explicitly calling for Mr. Clark’s criminal prosecution based on

his service in the Justice Department. See Exhibit C to Motion to Enforce at 6-8. Notably, the

January 6 Select Committee appears to have accepted Mr. Clark’s invocation of the Fifth

Amendment as to the same subject matter and has publicly pivoted to the topic of whether to grant

him immunity.3

       In contesting the validity of Mr. Clark’s Fifth Amendment invocation, Disciplinary Counsel

first argues that the Office of Disciplinary Counsel itself cannot charge crimes. Motion at 7. As

quoted above, however, the Supreme Court has long held that the Fifth Amendment applies outside

of the strictly criminal context, if the disclosures “might incriminate in [] future criminal

proceedings.” Lefkowitz, 414 U.S. at 77. And most importantly, this Court has held repeatedly that

Fifth Amendment protection applies in Disciplinary Counsel cases. See, e.g., In re Artis, 883 A.2d

85, 103 (D.C. 2005); In re Burton, 472 A.2d 831, 845-46 (D.C. 1984).

       Disciplinary Counsel then argues that Mr. Clark has not asserted he is “even the subject,

much less the target, of any criminal investigation.” Motion at 7. Putting aside the obvious point



3 See, e.g., Daniel Chaitin, Jan. 6 Committee Member Floats Immunity for Trump Justice Official,
WASH. EXAMINER (Feb. 3, 2022), available at https://tinyurl.com/bdemy976, (last visited Feb. 15,
2022); https://tinyurl.com/2n6cu36c (Rep. Lofgren, YouTube video) (last visited Feb. 15, 2022).

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the criminal investigations are often confidential, no Court has ever held that Fifth Amendment

protection is only available to persons known to be under active criminal investigation.

Disciplinary counsel cites no cases in support of this argument.

       Next, Disciplinary Counsel argues that Mr. Clark has not “specif[ied] what criminal

charges [he] might realistically be subject to.” Id. This argument is unavailing for two reasons.

First, Mr. Clark has no burden to show that he “might realistically be subject to” criminal

prosecution. This standard for Fifth Amendment protection was explicitly rejected by this Court

en banc in Carter, cited above. Second, this Court has never required individuals seeking Fifth

Amendment protection to identify specific criminal statutes. Disciplinary Counsel cites no case

imposing this requirement. In any event, in his counsel’s letter to Disciplinary Counsel, Mr. Clark

cited an editorial by several prominent law professors that did identify several specific statutes the

authors contended could serve as a basis for criminal investigation of former President Trump and

“members of his inner circle.” Motion, Exhibit 3 at 8 (collected list of statutes below):

       Obstruction of an Official Proceeding (18 U.S.C. § 1512); Conspiracy to Defraud
       the Government (18 U.S.C § 371); Voter Fraud for Pressuring State Officials Not
       to Certify the Election (52 U.S.C. § 20511); the Hatch Act (5 U.S.C. § 7323); the
       Racketeer Influenced and Corrupt Organizations Act (RICO, 18 U.S.C. § 1962(c));
       Insurrection (18 U.S.C. § 2383); and Seditious Conspiracy (18 U.S.C. § 2384).

       B. Disciplinary Counsel’s Subpoena Amounts to an Improper Set of
          Interrogatories and Thus It Is Not Even Necessary to Reach the Act of
          Production Doctrine.

       Disciplinary Counsel also disputes Mr. Clark’s invocation of the Fifth Amendment “act of

production” privilege. But Disciplinary Counsel’s arguments in that vein fail because ODC’s

subpoena is plainly more than a simple demand for documents.

       To be sure, the Fifth Amendment privilege does not ordinarily apply to “pre-existing,

voluntarily prepared documents.” Fisher v. United States, 425 U.S. 391, 408-09 (1976). However,

when a given request goes in any way beyond mere production of pre-existing documents, the


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Fifth Amendment bar arises. See, e.g., United States v. John Does, 465 U.S. 605, 610-15 (1984)

(compelled oral or written testimony that restates the contents of documents would be privileged).

        In In re Artis, this Court considered a case where Disciplinary Counsel had issued

“interrogatory-like questions” to respondent. 888 A.2d 85 (D.C. 2005). This Court affirmed the

respondent’s right to assert his Fifth Amendment privilege and did not order the respondent to

answer Disciplinary Counsel’s “interrogatory-like questions.” Id. at 99, 101 & n.13.

        Here, Disciplinary Counsel incorrectly claims that its subpoena merely seeks “five

categories of documents.” Motion at 11-12. To the contrary, the subpoena seeks much more than

that and is in fact directly analogous to the “interrogatory-like questions” (i.e., those inherently

forcing respondent admissions) at issue in In re Artis. The emphasized portions of the following

subpoena requests make clear that more than simple production of documents is demanded:

   •    Produce all documents and records … of which you were aware before January 4, 2021,
        that contain evidence of irregularities in the 2020 presidential election and that may
        have affected the outcome in Georgia or any other state;

   •    Identify the source of any document (including contact information for any persons
        bringing the document to your attention, how it came to your attention, and the date it
        came to your attention;

   •    Specify what information of election fraud came to your attention following the
        announcement of Attorney General Barr on December 1, 2020 that the Department found
        no evidence of fraud on a scale that could have affected the results of the presidential
        election;

   •    Produce any file or collection of materials or correspondence, written or electronic,
        relating to any efforts that you made between the November 3, 2020 presidential election
        and January 4, 2021, that relate in any way to any efforts you made to persuade officials
        of the United States Department of Justice to intervene in the certification by any state;

   •    Provide the results of any legal research that you conducted, had conducted, or received
        before January 4, 2021 … [t]his information should include any research that addresses
        the responsibility of the Assistant Attorney General of the Civil Division or the Assistant
        Attorney General of the Environmental [sic] and Natural Resources Division to investigate
        allegations of election fraud;



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   •    Provide all written policies and guidelines of the Department of Justice, of which you were
        aware and that were in effect between November 3, 2020 and January 4, 2021, relating to
        the circumstances in which lawyers at the Department of Justice were permitted to be in
        direct contact with officials of the White House or the Executive Office of the President;

        The emphasized portions of the foregoing list of demands make clear that the subpoena

does not simply request “categories of documents.” It requires Mr. Clark to make substantive

assertions or concessions about such things as: (1) when he became aware of certain documents;

(2) how and by whom the documents came to his attention; (3) the relationship between the

documents and his “efforts”; (4) the “results” of his legal research and when he conducted it; and

(5) which policies he was “aware [of] that were in effect” at certain times. These requests go far

beyond the type of “preexisting documents” that fall outside the scope of the Fifth AmendmentThe

requests demand substantive admissions from Mr. Clark about facts relating to his mens rea and

that could obviously be used as a “link in the chain” of some future criminal case. And even if

there are no responsive documents to a given request, this answer itself could be used as an

admission to incriminate Mr. Clark. It is therefore not necessary even to engage in an “act of

production” analysis to sustain Mr. Clark’s Fifth Amendment invocation.

        C. Even to the Extent It Is Implicated Here, Mr. Clark Has a Strong and Valid
           Basis to Claim the Act of Production Privilege.

        However, to the extent this Court decides the Fifth Amendment act of production doctrine

is implicated here, District law clearly supports Mr. Clark’s ability to assert this privilege in

response to the subpoena. In In re Public Defender Service, this Court held as follows:

        A government subpoena compels the holder of the document to perform an act that
        may have testimonial aspects and an incriminating effect. That is, by producing
        documents in compliance with a subpoena, the witness would admit that the papers
        existed, were in his possession or control, and were authentic.

                                                ***
        Even where the contents of a subpoenaed document may be incriminating, the act
        of production privilege is not automatic. The act of production privilege does not
        apply if the existence and authenticity of a document is a foregone conclusion as


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       would be the case if the act of production adds little or nothing to the sum total of
       the Government’s information.

831 A.2d 890, 912 (D.C. 2003) (internal quotations and citations omitted).

       Instead of attempting to meet In re Public Defender Service’s “foregone conclusion”

standard, Disciplinary Counsel argues that Mr. Clark has not shown that responding to the

subpoena will conclusively prove him guilty of a crime:

       This is far removed from the situation in Hubble, where a criminal defendant was
       required to produce to the grand jury personal financial records which established
       his income tax evasion, or in Public Defender Service, where a grand jury
       subpoena, if complied with, might have linked the defendant to a coerced witness
       statement.

Motion at 13 (emphasis added). However, there is no requirement that Mr. Clark demonstrate that

responding to the subpoena will conclusively prove him guilty of a criminal act. Ohio v. Reiner,

532 U.S. 17, 18 (2001) (Fifth Amendment “protects the innocent as well as the guilty”); see also

In re Artis, 883 A.2d at 99 (noting Board’s conclusion, which was affirmed in relevant part, that

respondents “should not be obligated to respond to vague and overly broad questions that require

him or her to make Bar Counsel’s case”). It is sufficient if the subpoena response could furnish a

“link in the chain” of possible prosecution, even if meritless. Mr. Clark has met that standard.

II.    THE SUBPOENA SHOULD BE QUASHED BECAUSE THE CHALLENGED
       CONDUCT IS NOT SUBJECT TO BAR DISCIPLINE.

       In the grand jury context, this Court has held that a subpoena must have a “legitimate

purpose.” Brooks v. United States, 448 A.2d 253, 261 (D.C. 1982). See also In re Horowitz, 482

F.2d 72, 80 (2d. Cir. 1973) (documents that have “no conceivable relevance” to legitimate object

of grand jury investigation need not be produced); In re Rabbinical Seminary Netzach Israel

Ramailis, 450 F. Supp. 1078, 1084 (E.D.N.Y. 1978) (“The documents requested must be shown to

have some general relevance to the subject matter of a legitimate grand jury investigation.”).

       The same rationale of these grand jury cases applies in the bar discipline context. As


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explained below, ODC’s subpoena should be quashed because it has no reasonable relation to a

legitimate area of bar discipline enforcement.

        A. 28 USC § 530B(a) Does Not Confer on the D.C. Bar Unfettered Authority
           to Investigate or Regulate the Discretionary Actions of DOJ Lawyers.

        Under the U.S. Constitution, the President of the United States, not the Attorney General

is its chief law enforcement officer. See U.S. Const., art. II, § 3 (the President “shall take Care that

the Laws be faithfully executed ….”). It is therefore far from obvious that state and local bar

authorities can always wield disciplinary jurisdiction over lawyers authorized by virtue of their

appointments pursuant to Article II, to exercise executive authority and advise the President, as

that could hamper the President’s ability to obtain legal advice.

        In keeping with the President’s authority and right to receive full and frank advice and

information, senior federal officers have a reciprocal duty to provide it upon request. See U.S.

Const., art. II, § 2, cl. 1 (Opinion Clause); 28 U.S.C. § 506 (Assistant Attorney Generals, like Mr.

Clark, to be appointed by President with advice and consent of Senate); OLC Opinion, State Bar

Disciplinary Rules as Applied to Federal Government Attorneys (Aug. 2, 1985) (“Rules

promulgated by state courts or bar associations that are inconsistent with the requirements or

exigencies of federal service may violate the Supremacy Clause.”), available at

https://tinyurl.com/56bft7sb, last visited (Feb. 15, 2022) (hereafter “OLC Opinion”).

        Where, as here, the face of Disciplinary Counsel’s interrogatories show that they seek

access to information that ODC has no authority to seek or review, the Court need not reach the

constitutional arguments in order to quash the subpoena. We nevertheless reserve them.4




4 See Bond v. United States, 572 U.S. 844, 855 (2014) (“well-established principle governing the
prudent exercise of this Court’s jurisdiction [is] that normally the Court will not decide a
constitutional question if there is some other ground upon which to dispose of the case.”).


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       That is because even beyond the Fifth Amendment as applied here, there is a more than

sufficient basis on which to deny enforcement of the subpoena. For the statute Congress passed

purporting to subject Justice Department lawyers to state and local bar rules, 28 U.S.C. § 530B(a),

does not authorize any inquiry into the internal policy deliberations of the Department of Justice

or of any other agency of the federal government that employs lawyers. Nor does the statute, by

its terms, authorize the D.C. Bar to oversee the enforcement of internal DOJ and Executive Branch

policies governing the conduct of their respective internal operations. See 28 U.S.C. § 530B(a)

(“An attorney for the Government shall be subject to State laws and rules, and local Federal court

rules, governing attorneys in each State where such attorney engages in that attorney’s duties, to

the same extent and in the same manner as other attorneys in that State.”) (emphasis added).

Relatedly, in 1999 DOJ improperly purported to extend the reach of Section 530B(a), by regulation

issued under Section 530(B)(b), to the District of Columbia. See 28 C.F.R. § 77.2(h).5



5 The relevant preamble (hastily assembled via an interim final rule) does not even address how
the Justice Department could try, via its subordinated rulemaking powers, to extend the statute to
the District of Columbia when the statute does not mention the District. The preamble cites to 28
U.S.C. §§ 509, 510, 515(a), 516, 517, 519, 533, and 547. See 64 Fed. Reg. 19,273, 19274 (Apr.
20, 1999). But none of these statutes even reference the District of Columbia specifically. And
these provisions say nothing about the power of D.C. Bar authorities to sit in oversight of the
discretionary actions of Justice Department lawyers. The 1999 rule is thus invalid under step one
of the Chevron test, which voids regulatory interpretations of any statute that conflict with the
statute’s plain text, interpreted using “traditional tools of statutory construction.” Chevron, U.S.A.,
Inc. v. NRDC, Inc., 467 U.S. 837, 843 n.9 (1984). And the canon of interpreting statutes as part of
the corpus juris (the whole body of the law) is no doubt such a traditional tool of statutory
interpretation. See, e.g., Branch v. Smith, 538 U.S. 254, 282 (2003) (“courts do not interpret
statutes in isolation, but in the context of the corpus juris of which they are a part, including later-
enacted statutes.”). The plain text is violated here because D.C. is not a “State,” see infra.

The preamble also mentions (1) Pub. L. 96-132, 93 Stat. 1040, 1044 (1979); and (2) Pub. L. 105-
277 (1998), section 102 of the Departments of Commerce, Justice and State, the Judiciary, and
Related Agencies Appropriations Act. But both of these provisions are appropriations law limited
to one-off fiscal years; they lack general effect. Moreover, the former provision predates Section
530B(a) and the latter provision is silent on 530B(a) and thus cannot be read to amend it. Finally,



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       All lawyers who practice before this Court and in the federal courts of the District of

Columbia are, by statute, subject to the authority of each court to control the conduct of the

attorneys who appear there. Significantly, there is an established, but limited, procedure for doing

so. See, e.g., D.C. Code § 11-944(a) (contempt for “disobedience of an order or for contempt

committed in the presence of the court”); 28 U.S.C. § 1927 (counsel’s liability for excessive costs);

see also generally D.C. Code § 23-1330 (preserving contempt power). The D.C. Bar, by contrast,

has no general investigatory authority over the ethics of Department of Justice lawyers. The

Constitution reserves that power to the Executive Branch.

       Section 530B(a) reflects this division of authority. The District of Columbia is not a “State.”

All law in the District is federal law and Congress alone defines the nature, scope, and means of

enforcement of all federal powers exercised here, including that of the D.C. Bar. U.S. Const., art.

I, § 8, cl. 17 (“Seat of the Government”). Specific language is ordinarily required to treat the

District as if it were a State. See, e.g., District of Columbia v. Carter, 409 U.S. 418, 432-33 (1973)

(D.C. not a State for purposes of 42 U.S.C. § 1983). The United States Code is replete with

examples where Congress has specifically defined D.C. to fall within the meaning of the term

“State,” but only for purposes of that particular statute.6 Indeed, by contrast, Chapter 31 of part II

of title 28 of the United States Code lacks any specialized definition section. Congress thus knows


the fact that the statutes DOJ cited to extend Section 530B(a) to District of Columbia Bar rules
point to two specific appropriations statutes mentioning the District shows that not even the DOJ
of 1999 thought that it would be plausible to argue that D.C. Bar’s rules were “local Federal court
rules” within the meaning of Section 530B(a) or the preamble would have made that argument.
6 See, e.g., 28 U.S.C. § 1257(b) (“For the purposes of this section, the term ‘highest court of a
State’ includes the District of Columbia Court of Appeals.”); 42 U.S.C. § 8285a(2) (“the term
‘State’ means any of the several States, the District of Columbia …”); see also, e.g., 26 U.S.C. §
170(c)(1) (applying term “charitable contribution” for tax purposes to include gifts for the use of
“States, a possession of the United States … or the United States or the District of Columbia”);.
And Supreme Court Rule 47 states that “[t]he term “state court,” when used in these Rules,
includes the District of Columbia Court of Appeals.”


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how to confer power on District authorities when it wants to. And it expressly withheld it here.

       And for good reason. The conduct that Disciplinary Counsel seeks to investigate is not

behavior committed in the presence of a court and found by it to have violated its rules of conduct.

Mr. Clark was a senior Executive Branch official who served as the head of two of Main Justice’s

seven litigating divisions, each with nationwide jurisdiction. His client was the Executive Branch,

and the power to define the nature and scope of his duties to that client and its member departments

and agencies, and to investigate alleged violations of DOJ and other federal rules of lawyer

conduct, rest in the first instance with the Executive Branch alone. The same holds true for

allegations that an attorney employed by the federal government has violated federal law.

       To be clear, this does not mean that Mr. Clark is free of all ethical obligations here. DOJ

houses both an Office of Professional Responsibility and an Office of Inspector General (“OIG”).

The OIG is investigating the matters Senator Durbin’s complaint involves. See DOJ Office of

Inspector General, available at https://tinyurl.com/2p9ad5tm (Jan 25, 2021) (last visited Feb. 15,

2022). That ODC seeks, through this subpoena, to jump ahead of that investigation and, in effect,

preempt it (rather than vice versa) is clear from ODC’s refusal to defer under Board Rule 4.1 until

federal authorities with authority over DOJ officials complete their respective investigations.

       ODC’s rush to assert disciplinary jurisdiction in this case is a clear indication that its

investigation is intended to thrust itself into the administration of the federal Executive Branch and

to use its subpoena power for partisan purposes. Senator Durbin has no direct knowledge of the

facts, and only the Department of Justice knows what information it holds concerning how and to

what extent it investigated the 2020 election. It is undisputed that DOJ has denied the Senate

Judiciary Committee access to DOJ’s investigative records. See Exhibit 5 (Letter, ADAG

Weinsheimer to Mr. Clark (July 26, 2021)). It is also likely that it will object if Mr. Clark seeks




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these records to defend against the allegations of misconduct made by Senator Durbin.

       Senator Durbin thus turned to ODC, in the hope that it would lend its subpoena power to

the effort to advance the political narrative of his investigation. This Court should reject that end

run around the limits on the Senate Judiciary Committee’s party balance and quash the subpoena.

       B. Under 28 U.S.C. § 530B and 28 C.F.R. § 77.2, the Bar Has No Jurisdiction
          Over Respondent Because It Does Not “Ordinarily Apply” Discipline to the
          Particular Conduct in Question.

       Even if the foregoing jurisdictional hurdle were overcome, 28 U.S.C. § 530B extends state

bar disciplinary jurisdiction over federal government lawyers only “to the same extent and in the

same manner as other attorneys in that State.” Similarly, the regulation subjecting lawyers working

for the federal government to local bar disciplinary processes, 28 C.F.R. § 77.2(j)(2) (emphasis

added), contains an important exception: it does not apply if the local jurisdiction “would not

ordinarily apply its rules of ethical conduct to particular conduct or activity by the attorney.”

       Neither the D.C. Bar, nor any bar in America, “ordinarily” disciplines lawyers over never-

sent confidential internal discussions of letters drafted for assessment and consideration. It is

unheard of. And neither Mr. Fox nor undersigned counsel have been able to identify any such case

anywhere. This alone should be fatal to the Bar’s jurisdiction in this case.

       C. There Is No Precedent for Disciplining a Lawyer Over a Never-Sent
          Discussion Draft of a Document Calling for State Investigation.

       D.C. Rules of Professional Conduct (hereafter “RPC”) 8.4(c) prohibits “conduct involving

dishonesty, fraud, deceit, or misrepresentation.” The people to whom the draft letter was allegedly

delivered, and whose signature would be required thereon, were the Acting Attorney General Jeff

Rosen and the Principal Associate Deputy Attorney General Richard Donoghue. They are not

minors or seniors with diminished capacity who might easily be misled. They are instead seasoned

lawyers who make no claim of having been deceived and no doubt understood the draft letter to



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be a proposal contingent on facts they were in superior possession of. Instead, they are reported to

have vehemently rejected the draft letter, and to have persuaded the President to reject it as well.

       Of the species of misconduct prohibited by RPC 8.4(c), dishonesty sometimes appears the

most broadly construed. In the Matter of Shorter, 570 A.2d 760, 767–68 (D.C. 1990), the lawyer

answered questions posed by the IRS honestly, but only answered the questions asked and did not

volunteer information not asked for that he knew they would want to know. Though not “legally

… characterized as an act of fraud, deceit or misrepresentation,” the conduct showed “a lack of

honesty, probity or integrity in principle; a lack of fairness and straightforwardness.” And in In re

Romansky, 825 A.2d 311, 315–17 (D.C. 2003), the lawyer instructed an associate to record time

to a client other than the one for whom the work was actually done. Though it was an internal

accounting matter that did not operate to the financial detriment of either client, it was held to be

dishonest because it simply was not true. But the conduct challenged in this case falls far short of

even the highwater marks of RPC 8.4(c)’s reach as reflected in Shorter and Romansky.

       In this case, a privileged and confidential draft of a letter appears to have been discussed

amongst strong-willed senior officials who had diverging access to facts, diverging views of the

facts, diverging views of the facts’ significance, and diverging views of what ought to be done.

There appears to have been a frank exchange of views on each of these areas of disagreement—as

the rules of privilege and confidentiality are meant to protect and indeed foster. The matter was

presented to the ultimate decision maker, President Trump, and after hearing differing views, he

decided against the letter, and that was the end of the matter. RPC 8.4(c) thus has no application,

and, to the knowledge of the undersigned, has never applied to anything like this situation.

       D. Rule 8.4(d) Does Not Apply.

       In In re Yelverton, 105 A.3d 413, 426 (D.C. 2014), this Court held that “[c]onduct violates

RPC 8.4(d) when it is (1) improper, (2) bears directly on the judicial process with respect to an


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identifiable case or tribunal, and (3) harms the judicial process in a more than a de minimis way.”

(emphasis added). And In re Pearson is to the same effect, stating the third element in slightly

different verbiage to require the conduct to “taint[s] the judicial process in more than a de minimis

way’” 228 A.3d 417,426 (D.C. 2020), citing In re Hopkins, 677 A.2d 55, 59–61 (D.C. 1996).

        Not one of these three essential elements is remotely established by what is alleged here.

First, confidential and privileged internal deliberations and debates over legal theories and

arguments are not improper. Second, there is no identifiable case or tribunal because the entire

discussion appears to have been internal and confidential, and no document was ever filed in any

court or tribunal anywhere. Third, no judicial process was harmed because nothing was ever filed

in any court or tribunal anywhere. RPC 8.4(d) simply does not apply to the conduct in question.

        The application of Bar discipline, at the behest of a bitter political adversary of the former

President, to a confidential discussion draft of a letter never sent, which simply called for more

state legislative investigation, is unprecedented, unfounded, and improper. One must ask why this

docket was opened and whether political influence was at play.

III.    THE POLITICAL PANDORA’S BOX HERE SHOULD NOT BE OPENED.

        It should be self-evident that a bar disciplinary process may not be appropriately used as

an instrumentality of partisan political warfare. The country is sharply divided over the propriety

of the 2020 election. Investigations into and litigation over the conduct of the election rage across

many States around the country, with notable decisions finding irregularities and illegality. Absent

affirmative misconduct in a particular case or before a particular tribunal, the Bar should not join

the victors on the battlefield in the grisly business of dispatching the wounded, especially in a case

such as this. Among the many evils that would ensue, the Bar’s neutrality would suffer gravely.

Presidential Administrations change hands and weeding out frivolous complaints protects the Bar.




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       A. Legislators in Georgia and Other States                       Called    for   Legislative
          Reexaminations of Their Electoral Votes.

       In Georgia, a Committee of the State Senate held hearings on election irregularities and

found that “[t]he oral testimonies of witnesses on December 3, 2020, and subsequently, the written

testimonies submitted by many others, provide ample evidence that the 2020 Georgia General

Election was so compromised by systemic irregularities and voter fraud that it should not be

certified.”7 The Report recommended, inter alia, calling a special session of the legislature to

consider whether to rescind the certification of Georgia’ electors and determine the “proper

Electors” for the State of Georgia. Id. at p. 15. Other States acted similarly.

       B. Under Disciplinary Counsel’s Unrestrained Theory, a Host of Members of
          Congress Who Are Lawyers Committed Ethical Violations by Questioning
          the Election.

       Numerous members of Congress over the years, especially on one side of the political

divide, have questioned presidential election results. Indeed, the Chair of the House January 6

Select Committee, Bennie Thompson, objected to the certification of the 2000 and 2004

presidential elections.8 And his fellow January 6 Committee member, Jaime Raskin—both a

lawyer and constitutional law professor—objected to certification during the 2016 presidential

election. See Rep. Raskin Challenges Awarding of Electors, YOUTUBE, available at

https://tinyurl.com/wa6735ty (Jan 8, 2017) (last visited Feb. 15, 2022). Indeed, Senator Durbin,

the sole complainant here, defended Senator Boxer’s right to object to certification of the 2004




7 Chairman’s Report of the Election Law Study Subcommittee of the Standing Senate Judiciary
Committee, available at https://tinyurl.com/3dzkfmxf (Dec. 17, 2020) (last visited Feb. 15, 2022).
8 The Congressional Black Caucus objected to the certification of Florida’s electoral votes. See
147 Cong. Rec. H34 (Jan. 6, 2001). Representative Thompson is a member of that caucus See also
151 Cong. Rec. H127 (Jan. 6, 2005).

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election, assuming her good faith, even though he opted not to object himself.9 No leaked,

purported facts show Mr. Clark to have done anything other than raise questions inside DOJ and

at the White House about the 2020 presidential election’s regularity in particular States and

counties. See, e.g. Trump 2d Impeachment Trial, Day 2 Tr. (Feb. 10, 2021), available at

https://tinyurl.com/ryd3ktzk (last visited Feb. 15, 2022) (impeachment manager stating that

President Trump “turned to Jeffrey Clark, another Department lawyer, who had allegedly

expressed support for using the Department of Justice to investigate the election results,” going on

to say Acting Attorney General Rosen “refuse[d] to reopen investigations”). That is a debatable,

internal DOJ decision as to how much or little to investigate, not a disciplinary matter.

       Indeed, just as Senator Durbin did with Senator Boxer, Mr. Clark’s good faith should be

presumed, even if his DOJ superiors and colleagues disagreed with him on the merits, just as every

other Senator in 2004 disagreed with Senator Boxer, who stood as the sole Senator challenging the

Bush v. Kerry election. Objections and a desire to further investigate the results of presidential

elections are simply not the stuff of proper bar complaints, especially not by politically motivated

complainants like Senator Durbin, who have no personal knowledge of the underlying conduct.

       In this past presidential election, 147 members of the House and Senate (including 8

Senators (i.e., 7 more than in the 2004 election where Senator Durbin defended Senator Boxer’s

right to object) plus 139 House members) objected to certifying Arizona’s or Pennsylvania’s




9 See Amanda Prestigiacomo, Democrats Objected to Electoral Vote Certification in 2000, 2004,
2016, DAILY WIRE (Jan. 4, 2021) (“‘Some may criticize our colleague from California for bringing
us here for this brief debate,’ Durbin said on the Senate floor following Boxer’s objection, while
noting that he would vote to certify the Ohio electoral votes for Bush. ‘I thank her for doing that
because it gives members an opportunity once again on a bipartisan basis to look at a challenge
that we face not just in the last election in one State but in many States.’”), available at
https://tinyurl.com/yjyw7x83 (last visited Feb. 15, 2022).

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electoral votes.10 And 35 of those members are lawyers (two of whom are former Supreme Court

clerks, Senators Cruz and Hawley, who once were Texas Solicitor General and Missouri Attorney

General, respectively). Are those nearly three dozen lawyer-legislators to be subjected to bar

discipline in their respective States or in D.C., where they typically made media statements, on the

theory that they were lying when they appeared on TV to demand more investigation or make

factual claims? That is unthinkable and would plunge this or any state or local bar deep into purely

political waters, taking it far afield from its traditional compass. No bar, including this one, is

equipped to retry the presidential election and the privileged options debated inside the Executive

Branch or with the President himself in the wake of a truly unique election where standard voting

rules were jettisoned or changed in the wake of the COVID pandemic. See Letter, H. MacDougald

to Chair Thompson (Nov. 5, 2021) (attached as Exhibit 6) (by attaching this letter, the executive

privilege, deliberative process privilege, and attorney-client privilege arguments are incorporated).

       C. Leaked Media Reports of Mr. Clark’s Conduct Reflect That He Held Views
          Generally Consistent with Those of Three Dissenting Supreme Court
          Justices and 18 State Attorneys General.

       The Court should terminate this matter and preclude the Bar from re-litigating the 2020

election by holding there is no colorable discipline case where three Supreme Court Justices and

18 State Attorneys General raised similar questions about the 2020 election’s regularity.

       Most important in that regard is Republican Party of Pennsylvania v. Degraffenreid, 141

S. Ct. 732 (2021). There, Justice Thomas dissented from the denial of certiorari because non-

legislative state officials had changed the statutory rules for federal elections and the appointment

of presidential electors in violation of the Electors and Elections Clauses of the Constitution. See

U.S. Const., art. 1, § 4, cl. 1; art. II, § 1, cl. 2. Justice Alito wrote a separate dissent joined by


10 See Li Zhou, 147 Republican Lawmakers Still Objected to the Election Results After the Capitol
Attack, VOX (Jan. 7, 2021), available as https://tinyurl.com/4v6w229c (last visited Feb. 15, 2022).

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Justice Gorsuch to flag the same infirmity. Both dissents noted the public importance of resolving

the questions presented. If three Justices of the Supreme Court took this view and Mr. Clark is

alleged to have advanced similar views, bar discipline should be out of the question.

       Also relevant, Justices Thomas and Alito dissented in Texas v. Pennsylvania, 141 S. Ct.

1230 (2020), a 2020 election challenge filed by Texas (and later joined by 17 other States) that

complained about similar unconstitutional election-rule changes made in the so-called

battleground States. They would have allowed Texas’s bill of complaint to be filed, potentially

putting the merits of the election challenge before the Supreme Court. And those two Justices,

whatever the Court’s view of their jurisprudence, surely did not act unethically in the Texas case.

Mr. Clark was also entitled to presume, if that is what he did, that 18 State Attorneys General were

presenting good-faith objections and for that reason to press for the President and DOJ to agree

with the position of the State Attorneys General as well. In other words, this Court should not start

down Disciplinary Counsel’s slippery slope lest it find itself necessarily implying that three

Supreme Court Justices and 18 State Attorneys General were all acting beyond the pale of

legitimate legal debate, the judicial canons, and the Model Code of Professional Responsibility.

       This Court should deny enforcement of the subpoena and act now to register its disapproval

of this witch hunt. Doing so would send a strong signal that this Court will not allow the bar

discipline process to be perverted for political ends, or to become a tool of persecution, inflicting

significant legal costs on a former official like Mr. Clark and chilling the public service of those

on either side of the aisle who must come to D.C. to serve varying presidential administrations.

       D. The View That Unlawful Election Procedures Were Used in at Least Some
          States Has Been Vindicated in Several Respects.

       The dogmatic premise of Senator Durbin’s complaint that there were no significant

irregularities in the 2020 election, accepted by ODC as sufficient to docket this case, has been



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refuted by subsequent judicial decisions. In McLinko v. Commonwealth of Pennsylvania, et al.,

No. 244 M.D. 2021, 2022 WL 257659 (Pa. Commw. Ct. Jan. 28, 2022), the Commonwealth Court

of Pennsylvania held that Pennsylvania’s Act 77, allowance of universal mail-in balloting in

Pennsylvania in the 2020 election, was unconstitutional under the Pennsylvania Constitution’s

strict limitations on absentee balloting. Approximately 2.6 million absentee ballots were thus cast

by means held unconstitutional by a Pennsylvania court, well in excess of the margin of Biden

victory.11 McLinko thus bears out the views of Justices Thomas, Alito, and Gorsuch.

       The Wisconsin Supreme Court, in a 4-3 ruling in Trump v. Biden, 394 Wis. 2d 629, 951

N.W.2d 568 cert. denied, 141 S. Ct. 1387 (2021), declined to consider whether drop boxes were

illegal under Wisconsin law. The three dissenters, all writing separately but all joining the other

dissents, concluded in exceptionally strong terms that the drop box procedures in the 2020 election,

used by “hundreds of thousands of voters,” were clearly illegal, also exceeding the margin of

victory. And on January 14, 2022, a Wisconsin trial court ruled that drop boxes were illegal under

Wisconsin law, in apparent accord with the views of the dissenters in Trump v. Biden.12 Of course,

the Judges taking either position were not acting unethically. Being on the losing side in a

controversy, internal or external (but especially internal), does not equate to unethical conduct.

        Additionally, a post-election audit of the 2020 election in Maricopa County, Arizona

conducted by the Arizona Senate found, inter alia. substantial defects in signature verification,

including the presence of 17,322 duplicates (alone exceeding the margin of victory), and



11 See https://tinyurl.com/2p8u55cn (last visited Feb. 15, 2022)

12 Moreover, on Friday, February 11, 2022, the Wisconsin Supreme Court reportedly voted 4-3 the
other way to allow a trial court order banning drop boxes to remain in effect for an April 2022
local election. See Zach Montellaro, Wisconsin State Supreme Court Lets Ban on Drop Boxes Go
Into Effect for Spring Election, POLITICO (Feb. 11, 2022), available at
https://tinyurl.com/y32cy8xc (last visited Feb. 15, 2022).

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intentional and substantial spoliation of digital records on the voting equipment shortly before it

was delivered for forensic examination.13

       While not yet the subject of a judicial decision on the merits, evidence has emerged of a

vast scheme to violate Georgia’s law against ballot harvesting, O.C.G.A. § 21-2-385(a), which was

in effect for the 2020 election. That statute permits only near relatives or cohabitants to mail or

deliver absentee ballots. Strong evidence has emerged since 2020 proving this limitation was

violated on a large-scale basis in Georgia and other battleground States with similar laws.

       An election integrity group, “True the Vote,” has collected cell phone location data in key

election hotspots around the country including Georgia, Arizona, Wisconsin, Pennsylvania, and

Michigan. See Matthew Boyle, Exclusive—True The Vote Conducting Massive Clandestine Voter

Fraud Investigation, BREITBART, available at https://tinyurl.com/3bwujuxv (Aug. 4, 2021) (last

visited Feb. 15, 2022). “[True the Vote’s] document says that [it] has spent the last several months

since late last year collecting more than 27 terabytes of geospatial and temporal data—a total of

10 trillion cell phone pings—between Oct. 1 and Nov. 6 in targeted areas in Georgia, Arizona,

Michigan, Wisconsin, Pennsylvania, and Texas. The data includes geofenced points of interest like

ballot dropbox locations, as well as UPS stores and select government, commercial, and non-

governmental organization (NGO) facilities.” Id.

       As a result of a complaint by True the Vote, the Georgia Secretary of State’s Office is now

investigating the ballot harvesting scheme in Georgia. See John Solomon, Georgia Opens

Investigation Into Possible Illegal Ballot Harvesting in 2020 Election (Jan. 4, 2022), available at



13 See Michael Patrick Leahy, Arizona Senate Report on the Maricopa County Election Audit
Highlights 49,000 Questionable Votes, Asks AG to Investigate, BREITBART (Sept. 25, 2021),
available at https://tinyurl.com/4kh45tup (last visited Feb. 15, 2022). This is the same
investigation that the Biden DOJ’s Civil Rights Division threatened to derail in a letter actually
sent to the State of Arizona. See https://tinyurl.com/2437rmb6 (last visited Feb. 15, 2022).

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https://tinyurl.com/yprpt44m (last visited Feb. 15, 2022). True the Vote has identified a

confidential whistleblower who claims he was paid $10 per ballot he put into dropboxes.

       The expert affidavit of Gregg Phillips, filed April 8, 2021 in Schmitz v. Barron, et al., Fulton

Super. Ct, Civ. A. No. 2020CV342969, describes his geotracking analysis of 1.2 trillion mobile

device signals showing 240 unique devices making multiple runs to and from drop boxes. Mr.

Phillips concludes that “[a]round 7% of the total votes in Fulton County, GA (or 36,000 of the total

votes in Fulton) were influenced by this ballot harvesting scheme after taking into consideration

the amount of targeted devices and the frequency of drop box visits.” Exhibit 7 at ¶ 46. If correct,

this was a systematic violation of O.C.G.A. § 21-2-385(a) and exceeded the margin of victory. See

id. This pattern of conduct is further documented in dropbox surveillance video collected by local

governments and obtained by True the Vote. Filmmaker and conservative commentator Dinesh

D’Souza has announced a movie called “2,000 Mules”. While information on the film is currently

quite limited, the trailer claims to show “never before seen security footage” of ballot harvesters.

The video shows these alleged harvesters (termed “mules” by the filmmakers) stuffing what appear

to be multiple ballots or even sets of ballots into ballot boxes, with some then “snapping photos

[on their phones] to get paid.” https://tinyurl.com/2p86dznj (last visited Feb. 15, 2022).

       There was ample evidence before January 4, 2021 that could cause a reasonable attorney

to be skeptical of some parts of the 2020 election. Further evidence has emerged since then, and

in some States it has even ripened into trial and appellate court decisions revealing that the

elections in Wisconsin and Pennsylvania were conducted unlawfully, at least in part.

                                        CONCLUSION

       ODC has no proper role investigating Respondent here and, at the very least, it should

await the conclusion of federal and state investigations before trying to do so. For the foregoing

reasons, ODC’s motion should be denied and the cross-motion to quash should be granted.


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      Respectfully submitted this 15th day of February 2022.

/s/ Charles Burnham                            Robert A. Destro*
                                               Ohio Bar #0024315
Charles Burnham                                4532 Langston Blvd, #520
DC Bar No. 1003464                             Arlington, VA 22207
1424 K Street, NW                              202-319-5303
Suite 500                                      robert.destro@protonmail.com
Washington DC 20005                            *Motion for pro hac vice admission in
(202) 386-6920                                 progress
charles@burnhamgorokhov.com


Harry W. MacDougald*
Georgia Bar No. 453076
Two Ravinia Drive, Suite 1600
Atlanta, Georgia 30346
(404) 843-1956
hmacdougald@ccedlaw.com
* Motion for pro hac vice admission in
progress
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                              C E RT I F I C AT E O F S E RV I C E

       I hereby certify that I have on this day served counsel for the opposing party with a copy

of this Response to Motion to Compel and Cross-Motion to Quash by U.S. First Class Mail with

sufficient postage thereon to insure delivery, and by email addressed to:

       Hamilton P. Fox
       D.C. Bar
       Building A, Room 117
       515 5th Street NW
       Washington DC 20001
       foxp@dcodc.org

       This 15th day of February 2022.


                                             /s/ Charles Burnham

                                             Charles Burnham
                                             DC Bar No. 1003464
1424 K Street, NW
Suite 500
Washington DC 20005
(202) 386-6920
charles@burnhamgorokhov.com
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                               Exh. 1

             Affidavit of Robert N. Driscoll
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                              Exh. 2

            Affidavit of Jeffrey B. Clark
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                                     DCCA NO. 22-BS-0059

                                  DISTRICT OF COLUMBIA

                                     COURT OF APPEALS


 In the Matter of

 CONFIDENTIAL (J.B.C.), ESQ.                              Disciplinary Docket

        Respondent,                                       No. 2021-D193

 A member of the Bar of the District of
 Columbia Court of Appeals


                        AFFIDAVIT OF JEFFREY B. CLARK

       Personally appeared before the undersigned officer, duly authorized to administer oaths,

Jeffrey B. Clark, who, after being duly sworn, testified and stated as follows:

                                                  1.

       My name is Jeffrey B. Clark. I am over the age of 18, suffer no mental imparities. and

have personal knowledge of the following:

                                                  2.

       I am an attorney licensed to practice law in the District of Columbia since 1997. I am

admitted to the bars of the U.S. Supreme Court, the U.S. Courts of Appeal for all Circuits, the

U.S. District Court for Southern District of Alabama, the District of Columbia, District of

Nebraska, and Eastern District of Texas, as well as the Court of Federal Claims. I am the

Respondent in the above-referenced matter.
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                                                  3.

       I was previously represented in this matter by Robert N. Driscoll. However, that

engagement terminated on October 25, 2021. Between October 25, 2021 and mid-January 2022,

I was seeking counsel to represent me in this matter.

                                                  4.

       I began corresponding directly with Hamilton Fox, the D.C. Bar Disciplinary Counsel in

late November 2021 into early December 2022, especially after discovering that emails notifying

me of documents from the DC Bar being available on a file sharing service had been caught in

my spam filter. As a result, I had not received or been able to retrieve the material Mr. Fox's

assistant had been trying to send me. I emailed Mr. Fox about this problem on December 2,

2021, and he replied the same day. See Exh. 1.

                                                  5.

       On December 3, 2021, I tested positive for Covid, and let Mr. Fox know about that via

email shortly thereafter. He very graciously gave me time to recover, which took the month of

December and required a hospital trip to receive monoclonal antibodies.

                                                  6.

       When I had recovered from Covid, I had an email dialog with Mr. Fox and one of his

assistants. Delivery problems persisted such that I did not receive a complete copy of Mr. Fox's

letter transmitting the subpoena and its attachments until January 6, 2022. Mr. Fox and I agreed

that I would respond to the subpoena on January 31, 2022.




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                                                 7.

       At no point did I agree to accept legal service of the subpoena by email.



                                          lark

Sworn to and sj_lusribed b      me, this 15 day of February, 2022.

                                                          KIRAN R. SHRESTHA
Notary Public                                                NOTARY PUBLIC
My commission expires:    6c1 b612,02-3                 COMMONWEALTH OF VIRGINIA
                                                            REGISTRATION #7130618
                                                      MY COMMISSION EXPIRES APRIL 30, 2023




                                                 3
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                        Clark Affidavit

                               Exh. 1
                   Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 353 of 425
Subject: RE: [EXT]DC Bar Correspondence
From: Jeﬀrey Clark - To: Phil Fox - Cc: Harry MacDougald - Date: December 2, 2021 at 11:29 AM



Thank you Mr. Fox and I wish you are at your professional best in the argument.

Jeff Clark

From: Phil Fox <      dcodc.org>
Sent: Thursday, December 2, 2021 11:24 AM
To: Jeffrey Clark <
Cc: Harry MacDougald <hmacdougald@ccedlaw.com>
Subject: RE: [EXT]DC Bar Correspondence

I am preparing for an argument at 2:00 today. I have asked my secretary to resend the
material, but I am confident that you have most of it since it is the public record stuff from the
Judiciary Committee. I’ll get back to you after the argument. For future reference, my direct
dial number is 202/454-1728.

From: Jeffrey Clark <
Sent: Thursday, December 2, 2021 11:12 AM
To: Phil Fox <        dcodc.org>
Cc: Harry MacDougald <hmacdougald@ccedlaw.com>
Subject: [EXT]DC Bar Correspondence
Importance: High

Mr. Fox,

Apologies. After I discovered a few days ago that materials from some kind of dropbox-like site were sitting
in my spam folder and emailing with Ms. Thornton, I was hoping to give you a call yesterday, but the January
6 Committee is setting unrealistic deadlines. Despite the fact that my lawyer has a hearing in Atlanta on
Friday, they are insisting on a second deposition on Saturday, and I need to use the time between now and
then to get ready.

Juggling a lot on my end and so don’t have the to-spam emails in front of me but my understanding is that
they indicated the dropbox-type access expired on 11/29. So it would be best if you re-sent them to me, if
that is not too much to ask. Given the spam problem, I authorize you to send anything you need to, to me to
this email address as direct attachments, but maybe with a CONFIDENTIAL header on it, assuming the file
size is not too large that they will go through as ordinary attachments. If there is a file-size issue, please re-
ripen the dropbox-type access but send me an email here, since your test on that (when the sending email
address was yours and not the more general email address) worked, to let me know to check my spam box.
When I can free up some time, I’ll figure out how to put that general address you use to keep confidentiality
into my trusted senders or whatever the Outlook term is for that in the program.

Also, I will need to get separate counsel for this and to contact my malpractice carrier to inquire re how that
works as no claim has ever been filed against me in my 25-year career, so I am not familiar with any of
these processes. My lawyer for the Committee interaction may be able to help me for a bit but I think I
should retain someone who regularly practices ethics law to assist me and that will take some time to find
and get retention/insurance arrangements worked out with, particularly given that the political issues
involved impact the pool of lawyers that I can attract. I’ve copied my lawyer for Committee matters, Mr.
Harry MacDougald here, for the limited temporary purpose of helping me as I search for ethics counsel.

I hope you will bear with me. The legal issues here are far from ordinary.

Thank you very much Mr. Fox.

Respectfully submitted,
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Jeff Clark
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                               Exh. 3

          Affidavit of Harry W. MacDougald
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                                    DCCA NO. 22-BS-0059

                                 DISTRICT OF COLUMBIA

                                    COURT OF APPEALS


 In the Matter of

 CONFIDENTIAL (J.B.C.), ESQ.                             Disciplinary Docket

        Respondent,                                      No. 2021-D193

 A member of the Bar of the District of
 Columbia Court of Appeals


                    A F F I D AV I T O F HARRY W. MACDOUGALD

       Personally appeared before the undersigned officer, duly authorized to administer oaths,

Harry W. MacDougald, who, after being duly sworn, testified and stated as follows:

                                                 1.

       My name is Harry W. MacDougald. I am over the age of 18, suffer no mental imparities,

and have personal knowledge of the following:

                                                 2.

       I am an attorney licensed to practice law in the State of Georgia since 1985. I am

admitted to the bars of the U.S. Supreme Court, the U.S. Courts of Appeal for the 11th and D.C.

Circuits, and the Northern and Southern U.S. District Courts in Georgia, and all Georgia trial and

appellate courts. I am a partner in Caldwell, Carlson, Elliott & DeLoach, LLP in Atlanta,

Georgia.

                                                 3.

       I represent the Respondent in connection with the January 6 Select Committee and in

connection with the above-referenced disciplinary matter. I did not begin representing
      Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 357 of 425




Respondent in the above-referenced matter until January, 2022, though I was copied on some

emails between the Respondent and Disciplinary Counsel beginning December 2, 2021 while

Respondent was looking for other counsel to represent him in this matter.

                                                   4.

       At no point did I ever agree on behalf of the Respondent to accept service of a subpoena

from Mr. Fox, nor agree on any due dates for responses to any such subpoena.

                                                   5.

       On the afternoon of January 28, 2022, I had a telephone conversation with Phil Fox, D.C.

Bar Disciplinary Counsel. I told Mr. Fox we would not be producing any documents in response

to the subpoena and whether, in light of that, asked if the Respondent needed to appear at the Bar

offices in response to the subpoena. Mr. Fox replied that Respondent was not required to appear

but that we “would be in court very quickly” on a motion to compel. He indicated that asserting

the act of production privilege would be frivolous and that doing so would not stand Respondent

in good stead when it came time for imposing disciplinary sanctions. He added “I promise you I

will ratchet up” the sanction to be imposed if we asserted the Fifth.

                                                   6.

       At 8:30 PM Friday evening, January 28, 2022, Mr. Fox sent me an email, attached hereto

as Exh. 1, in which he reiterated this threat as follows:

       Just to be clear, because our proceedings are not criminal, if we bring charges, we
       will contend that any assertion of the privilege against self-incrimination can be
       construed against Mr. Clark on the merits and may be considered in aggravation of
       any sanction. We have not yet decided whether to bring charges, but a frivolous
       assertion of the privilege may lead to an additional charge or may the basis of an
       independent specification of charges in the event that we conclude not to bring
       charges on the underlying matters.




                                                  2
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                                                  7.

       On the morning of Saturday February 5, 2022, I received an email from Mr. Fox’s

assistant, Angela Thornton, which attached a letter from Mr. Fox dated February 3, 3022

purporting to transmit his motion to compel and the exhibits thereto. However, Ms. Thornton’s

email included only the letter, and not the motion or any of its exhibits. See Exh. 2.

                                                  8.

       I promptly replied to Ms. Thornton and said that I didn’t see the motion. Ms. Thornton

replied “Motion? No motion with this email, just the letter addressed to you from Mr. Fox.” I

replied as follows:

       The first sentence of the letter says: "Accompanying this letter is a Motion to
       Compel that we filed with the Court of Appeals today.”

       That is the motion after which I am inquiring.

       Thanks for any help you can provide on that.

Id.

                                                  9.

       After about an hour with no response from Ms. Thornton, I emailed her again at 11:05

AM, saying the following:

       Ms. Thornton:

       The letter you sent me this morning from Mr. Fox is dated 2/3, and states it is being
       transmitted to me on 2/3 via email. However, I do not have an email from 2/3 from
       Mr. Fox, or a letter from Mr. Fox sent to me that day, much less a copy of the motion
       it says is enclosed.

       And today, your email transmitting the letter did not include the motion either.

       I did receive some document production via a file share type of thing, but there was
       no motion in there, either.




                                                 3
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         It’s possible I have missed something as I was in court all day Thursday and had
         outpatient surgery yesterday, but searching my emails I don’t have anything from Mr.
         Fox on 2/3. Perhaps someone else in your office sent it?

         In any event, we would appreciate your sending us the motion at your earliest
         convenience and letting me know one way or the other whether I have overlooked its
         prior transmittal from your office.

         Thanks in advance.

Id.

                                                 10.

         Ms. Thornton never responded to three emails to her asking for a copy of the motion.

Therefore, at 5:20 PM I emailed this conversation to Mr. Fox, informed him I still did not have

the motion, and asking if he could please email it to me. Mr. Fox responded promptly, and we

exchanged numerous emails on the topic. See Exh. 3. The upshot of those emails was that I

received an email with the motion attached, but never received an email with the exhibits. Mr.

Fox was clearly exerting himself to deliver the documents to me, and indicated he had emailed

the exhibits, but I never got them. He identified the exhibits, which were documents that I

already had. He added that he would send the motion and exhibits via FedEx on Monday. Id. at

p. 2.

                                                 11.

         By mid-afternoon Friday February 11, 2022, I still had not received the motion by regular

mail, nor had I received any of the exhibits via email, nor had I received a FedEx delivery as Mr.

Fox had indicated the previous Saturday would be forthcoming. I therefore emailed Mr. Fox to

let him know I still had not received the exhibits and would he mind putting the material on a file

sharing site for download. Mr. Fox replied that he would look into it but “I am pretty sure that we

sent the complete package by FedEx last Monday and that we have the receipt.” See Exh. 4.




                                                 4
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                                                  12.

       In response to that information, two assistants and I looked in every office in our firm and

queried everyone in the office but we could not find any such FedEx package. We also had

someone check on the 16th floor of the two other buildings in our office park to seek if perhaps

the package had been misdelivered, but we could not find it that way either. Id.

                                                  13.

       I kept Mr. Fox apprised of these efforts as they unfolded and asked him if he could

identify who had signed for the package, or perhaps give me the tracking number and we would

check that ourselves. Id. At first he indicated that would have to wait until Monday, but among

several emails passing between us that afternoon, Mr. Fox forwarded me the FedEx airbill for the

delivery. See Exh. 5. This email was actually received before my last reply to Mr. Fox asking for

the tracking number in Exh. 4, but I did not see it until after I sent that reply because I was

looking around the office trying to find the package. Once I saw the airbill, which has the

tracking number on it, I entered that tracking number into the FedEx package tracking webpage.

The result was that there was no such tracking number in the FedEx system. I then had two

assistants search for the tracking number on the FedEx website with the same result. I relayed

that information to Mr. Fox. See Exh. 6. For reasons unknown to me, it appears this package

tracking number never made it into the FedEx system.

                                                  14.

       On February 14, 2022, Mr. Fox’s assistant. Ms. Thornton sent me a DropBox link from

which I was able to download Mr. Fox’s letter of February 3, 2022 (which I had first received

February 5, 2022), and the motion with all of its exhibits. This was the first time I had received

the complete package of the motion and all of its exhibits.




                                                  5
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                   MacDougald Affidavit

                               Exh. 1
                   Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 363 of 425
Subject: Re: [EXT]Jeﬀrey Clark
From: Phil Fox - To: hmacdougald@ccedlaw.com - Cc: - Date: January 28, 2022 at 8:30 PM



Just to be clear, because our proceedings are not criminal, if we bring charges, we will contend that any
assertion of the privilege against self-incrimination can be construed against Mr. Clark on the merits and may
 be considered in aggravation of any sanction. We have not yet decided whether to bring charges, but a frivolous
assertion of the privilege may lead to an additional charge or may the basis of an independent specification of
charges in the event that we conclude not to bring charges on the underlying matters.

Get Outlook for iOS

From: Harry MacDougald <hmacdougald@ccedlaw.com>
Sent: Friday, January 28, 2022 3:34 PM
To: Phil Fox
Subject: RE: [EXT]Jeffrey Clark

Any time is fine including tonight or this weekend. My direct rings over to my cell, which is 404-388-8622.

Best,

-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956
Direct: 404-843-4109

From: Phil Fox <       dcodc.org>
Date: January 28, 2022 at 3:32:32 PM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Subject: RE: [EXT]Jeffrey Clark


        I am in the middle of a meeting. How long will you be available?



        From: Harry MacDougald <hmacdougald@ccedlaw.com>
        Sent: Friday, January 28, 2022 3:32 PM
        To: Phil Fox <        dcodc.org>
        Subject: [EXT]Jeffrey Clark



        Mr. Fox:



        Can you give me a call at the number below regarding Mr. Clarke’s response to your subpoena?
        Maybe 5 min.
Thanks.
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-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956

Direct: 404-843-4109
Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 365 of 425




                   MacDougald Affidavit

                              Exh. 2
                   Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 366 of 425
Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary
From: hmacdougald@ccedlaw.com - To: Angela Thornton - Cc: - Date: February 5, 2022 at 11:05 AM



Ms. Thornton:

The letter you sent me this morning from Mr. Fox is dated 2/3, and states it is being transmitted to me on
2/3 via email. However, I do not have an email from 2/3 from Mr. Fox, or a letter from Mr. Fox sent to me
that day, much less a copy of the motion it says is enclosed.

And today, your email transmitting the letter did not include the motion either.

I did receive some document production via a file share type of thing, but there was no motion in there,
either.

It’s possible I have missed something as I was in court all day Thursday and had outpatient surgery
yesterday, but searching my emails I don’t have anything from Mr. Fox on 2/3. Perhaps someone else in your
office sent it?

In any event, we would appreciate your sending us the motion at your earliest convenience and letting me
know one way or the other whether I have overlooked its prior transmittal from your office.

Thanks in advance.

-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956
Direct: 404-843-4109

From: hmacdougald@ccedlaw.com <hmacdougald@ccedlaw.com>
Date: February 5, 2022 at 10:09:17 AM
To: Angela Thornton
Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-D193


       The first sentence of the letter says "Accompanying this letter is a Motion to Compel that we filed
       with the Court of Appeals today.”

       That is the motion after which I am inquiring.

       Thanks for any help you can provide on that.

       -----
       Harry W. MacDougald
       Caldwell, Carlson, Elliott & DeLoach, LLP
       Two Ravinia Drive
       Suite 1600
       Atlanta, Georgia 30346
       404-843-1956
       Direct: 404-843-4109

       From: Angela Thornton <
       Date: February 5, 2022 at 10:07:03 AM
       To: Harry MacDougald <hmacdougald@ccedlaw.com>
       Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-D193


               Motion? No motion with this email, just the letter addressed to you from
   Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 367 of 425
Mr. Fox.



From: Harry MacDougald <hmacdougald@ccedlaw.com>
Sent: Saturday, February 5, 2022 10:06 AM
To: Angela Thornton <
Subject: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-
D193



I don’t see the motion



-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956

Direct: 404-843-4109


From: Angela Thornton <
Date: February 5, 2022 at 9:11:50 AM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Subject: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-D193




      Dear Mr. MacDougald, please see letter attached from Mr.
      Fox, Disciplinary Counsel. If there are questions or concerns,
      please don’t hesitate to let us know. Thank you.


      Regards,


      Angela
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                   MacDougald Affidavit

                               Exh. 3
                   Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 369 of 425
Subject: Re: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket
From: Phil Fox - To: hmacdougald@ccedlaw.com - Cc: - Date: February 5, 2022 at 6:12 PM



The attachments, actually exhibits, are all things you have: the November letter and subpoena to Clark; the
email chain, which is also attached to one of your January 31 letters, about the difficulty we had then in
getting all the materials to Clark; and your letter asserting the Fifth. I will make sure a hard copy of
everything is sent to you on Monday. I don’t understand why we are having such difficulty transmitting this
stuff. We have been doing virtually everything electronically for two years, and I am unaware of any other
case where we have had these problems.

Get Outlook for iOS

From: Harry MacDougald <hmacdougald@ccedlaw.com>
Sent: Saturday, February 5, 2022 6:01:41 PM
To: Phil Fox <      dcodc.org>
Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-D193

I got the email transmitting the motion and saying the attachments would come separately, but haven’t seen
those yet.

-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956
Direct: 404-843-4109

From: Phil Fox <      dcodc.org>
Date: February 5, 2022 at 5:59:48 PM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Cc: Azadeh Matinpour <                            Angela Thornton <                        Jason Horrell
<
Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-D193


       I just resent everything—first the motion and then the motion with the attachments. Nothing
       bounced back. Did you get them?




       From: Harry MacDougald <hmacdougald@ccedlaw.com>
       Sent: Saturday, February 5, 2022 5:39 PM
       To: Phil Fox <      dcodc.org>
       Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-D193



       Thanks - much appreciated.



       Have a good rest of your weekend.



       -----
       Harry W. MacDougald
       Caldwell, Carlson, Elliott & DeLoach, LLP
       Two Ravinia Drive
       Suite 1600
         Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 370 of 425
Atlanta, Georgia 30346
404-843-1956

Direct: 404-843-4109


From: Phil Fox <      dcodc.org>
Date: February 5, 2022 at 5:36:28 PM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-D193




     I don’t know without looking, but I am not going to take advantage of your failure to
     receive it.




     From: Harry MacDougald <hmacdougald@ccedlaw.com>
     Sent: Saturday, February 5, 2022 5:35 PM
     To: Phil Fox <      dcodc.org>
     Subject: Re: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No.
     2021-D193



     I received the letter this morning but no motion.



     I know it’s not your job to help me read the rules, but I’ll go ahead and ask - is it
     correct that we have a 7 calendar day response time for responding to motions?



     -----
     Harry W. MacDougald
     Caldwell, Carlson, Elliott & DeLoach, LLP
     Two Ravinia Drive
     Suite 1600
     Atlanta, Georgia 30346
     404-843-1956

     Direct: 404-843-4109


     From: Phil Fox <      dcodc.org>
     Date: February 5, 2022 at 5:32:30 PM
     To: Harry MacDougald <hmacdougald@ccedlaw.com>
     Subject: Re: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No.
     2021-D193




           It is just the letter and the motion. If I can't get it to you, we will FedEx
           it Monday. I will try again.



           Get Outlook for iOS


           From: Harry MacDougald <hmacdougald@ccedlaw.com>
  From: Harry MacDougald <hmacdougald@ccedlaw.com>
Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 371 of 425
  Sent: Saturday, February 5, 2022 5:28:53 PM
  To: Phil Fox <     dcodc.org>
  Subject: Re: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary
  Docket No. 2021-D193



  No sir, I have not seen it yet. I got this one, but I haven’t seen the other
  one with the motion. I checked my online spam folder as well. Not sure
  what’s going on with that. Is it a particularly large attachment?



  -----
  Harry W. MacDougald
  Caldwell, Carlson, Elliott & DeLoach, LLP
  Two Ravinia Drive
  Suite 1600
  Atlanta, Georgia 30346
  404-843-1956

  Direct: 404-843-4109


  From: Phil Fox <      dcodc.org>
  Date: February 5, 2022 at 5:25:43 PM
  To: Harry MacDougald <hmacdougald@ccedlaw.com>
  Subject: Re: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary
  Docket No. 2021-D193




        Did you get the email with the motion that I just sent you?



        Get Outlook for iOS


        From: Harry MacDougald <hmacdougald@ccedlaw.com>
        Sent: Saturday, February 5, 2022 5:20:02 PM
        To: Phil Fox <       dcodc.org>
        Subject: Fwd: RE: [EXT]Re: in re Clark/Disciplinary Counsel
        - Disciplinary Docket No. 2021-D193



        Mr. Fox:



        Please see the correspondence below. No response to three
        emails to Ms. Thornton asking for the motion. I still do not
        have the motion referred to in your letter of 2/3, which I
        just received this morning.



        If you could please send me the motion at your earliest
        convenience, I’d appreciate it.



        Thanks in advance.
Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 372 of 425

      -----
      Harry W. MacDougald
      Caldwell, Carlson, Elliott & DeLoach, LLP
      Two Ravinia Drive
      Suite 1600
      Atlanta, Georgia 30346
      404-843-1956

      Direct: 404-843-4109


      From: hmacdougald@ccedlaw.com
      <hmacdougald@ccedlaw.com>
      Date: February 5, 2022 at 11:05:33 AM
      To: Angela Thornton <
      Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel -
      Disciplinary Docket No. 2021-D193




            Ms. Thornton:



            The letter you sent me this morning from Mr.
            Fox is dated 2/3, and states it is being
            transmitted to me on 2/3 via email. However, I
            do not have an email from 2/3 from Mr. Fox, or
            a letter from Mr. Fox sent to me that day, much
            less a copy of the motion it says is enclosed.



            And today, your email transmitting the letter did
            not include the motion either.



            I did receive some document production via a
            file share type of thing, but there was no motion
            in there, either.



            It’s possible I have missed something as I was
            in court all day Thursday and had outpatient
            surgery yesterday, but searching my emails I
            don’t have anything from Mr. Fox on 2/3.
            Perhaps someone else in your office sent it?



            In any event, we would appreciate your sending
            us the motion at your earliest convenience and
            letting me know one way or the other whether I
            have overlooked its prior transmittal from your
            office.



            Thanks in advance.
Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 373 of 425
           -----
           Harry W. MacDougald
           Caldwell, Carlson, Elliott & DeLoach, LLP
           Two Ravinia Drive
           Suite 1600
           Atlanta, Georgia 30346
           404-843-1956

           Direct: 404-843-4109


           From: hmacdougald@ccedlaw.com
           <hmacdougald@ccedlaw.com>
           Date: February 5, 2022 at 10:09:17 AM
           To: Angela Thornton <
           Subject: RE: [EXT]Re: in re Clark/Disciplinary
           Counsel - Disciplinary Docket No. 2021-D193




                 The first sentence of the letter says
                 "Accompanying this letter is a
                 Motion to Compel that we filed with
                 the Court of Appeals today.”



                 That is the motion after which I am
                 inquiring.



                 Thanks for any help you can provide
                 on that.



                 -----
                 Harry W. MacDougald
                 Caldwell, Carlson, Elliott & DeLoach,
                 LLP
                 Two Ravinia Drive
                 Suite 1600
                 Atlanta, Georgia 30346
                 404-843-1956

                 Direct: 404-843-4109


                 From: Angela Thornton
                 <
                 Date: February 5, 2022 at 10:07:03
                 AM
                 To: Harry MacDougald
                 <hmacdougald@ccedlaw.com>
                 Subject: RE: [EXT]Re: in re
                 Clark/Disciplinary Counsel -
                 Disciplinary Docket No. 2021-D193
Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 374 of 425
                    Motion? No motion
                    with this email, just
                    the letter addressed
                    to you from Mr.
                    Fox.



                    From: Harry
                    MacDougald
                    <hmacdougald@ccedla
                    w.com>
                    Sent: Saturday,
                    February 5, 2022 10:06
                    AM
                    To: Angela Thornton
                    <
                    >
                    Subject: [EXT]Re: in re
                    Clark/Disciplinary
                    Counsel - Disciplinary
                    Docket No. 2021-D193



                    I don’t see the motion



                    -----
                    Harry W. MacDougald
                    Caldwell, Carlson, Elliott
                    & DeLoach, LLP
                    Two Ravinia Drive
                    Suite 1600
                    Atlanta, Georgia 30346
                    404-843-1956

                    Direct: 404-843-4109


                    From: Angela Thornton
                    <
                    >
                    Date: February 5, 2022
                    at 9:11:50 AM
                    To: Harry MacDougald
                    <hmacdougald@ccedla
                    w.com>
                    Subject: in re
                    Clark/Disciplinary
                    Counsel - Disciplinary
                    Docket No. 2021-D193



                          Dear Mr.
                          MacDoug
                          ald,
                          please see
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                         letter
                         attached
                         from Mr.
                         Fox,
                         Disciplina
                         ry
                         Counsel.
                         If there
                         are
                         questions
                         or
                         concerns,
                         please
                         don’t
                         hesitate to
                         let us
                         know.
                         Thank
                         you.


                         Regards,


                         Angela
Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 376 of 425




                   MacDougald Affidavit

                               Exh. 4
                   Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 377 of 425
Subject: RE: [EXT]Service Copy of Motion
From: Phil Fox - To: hmacdougald@ccedlaw.com - Cc: Angela Thornton - Date: February 11, 2022 at 5:14 PM



That will have to wait until next week.

From: Harry MacDougald <hmacdougald@ccedlaw.com>
Sent: Friday, February 11, 2022 5:13 PM
To: Phil Fox <       dcodc.org>
Subject: RE: [EXT]Service Copy of Motion

I received an email from Ms. Thornton sent at 11 AM transmitting your letter of today’s date and
attachments consisting of correspondence between you and Mr. Weinsheimer dated Feb 7 and 8 respectively,
for which you have my thanks.

If you or Ms. Thornton can give us the tracking number for the FedEx package we can look up who signed for
it.

Both me and my assistant checked all the offices in our suite and asked everyone who is still here and no
sign of it. Our office manager has not seen it either. We also checked the 16th floor of the other two buildings
in our office park and nothing there either - one of them is vacant anyway. There’s no one at home in the
other suites on our floor so we don’t know if it might have gone to one of them by mistake. So the next
available step is to let us know who signed for it or give us the tracking number so we can check ourselves.

Thank you in advance.

-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956
Direct: 404-843-4109

From: Phil Fox <      dcodc.org>
Date: February 11, 2022 at 4:59:31 PM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Subject: RE: [EXT]Service Copy of Motion



       I don’t. Angela might next week. Did you receive the email and attachments that
       we sent you this morning?

       From: Harry MacDougald <hmacdougald@ccedlaw.com>
       Sent: Friday, February 11, 2022 4:58 PM
       To: Phil Fox <      dcodc.org>
To: Phil Fox <     dcodc.org>
          Case 1:22-mc-00117-RC Document 18-1
Subject: RE: [EXT]Service Copy of Motion
                                                            Filed 07/25/23 Page 378 of 425

Do you have a name of who signed for it?

-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956
Direct: 404-843-4109

From: Phil Fox <      dcodc.org>
Date: February 11, 2022 at 4:41:38 PM
To:
Subject: RE: [EXT]Service Copy of Motion




      We’ll look into that, but I am pretty sure that we sent the complete
      package by FedEx last Monday and that we have the receipt.

      From: Harry MacDougald <hmacdougald@ccedlaw.com>
      Sent: Friday, February 11, 2022 4:31 PM
      To: Phil Fox <      dcodc.org>
      Subject: [EXT]Service Copy of Motion

      Mr. Fox:

      While our building’s mail has not yet arrived today (even though it’s a 17 story
      building), I still have not received the mail service copy of your motion to compel,
      and never did receive the emails transmitting the exhibits.

      Would you mind perhaps using a file sharing service like DropBox or the like to get
      the full set to me electronically?

      Thanks in advance.

      -----
      Harry W. MacDougald
      Caldwell, Carlson, Elliott & DeLoach, LLP
      Two Ravinia Drive
      Suite 1600
      Atlanta, Georgia 30346
      404-843-1956
      Direct: 404-843-4109
Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 379 of 425




                   MacDougald Affidavit

                               Exh. 5
                   Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 380 of 425
Subject: FW: In re Clark - DDNo. 2021-D193
From: Phil Fox - To: hmacdougald@ccedlaw.com - Cc: - Date: February 11, 2022 at 4:48 PM, Attachments: 2021-D193 fedex
shipping bill 02072022.pdf


Here is the information about the FedEx shipment. We will still look at an alternative way to
transmit documents.

From: Angela Thornton <
Sent: Monday, February 7, 2022 1:47 PM
To: Phil Fox <        dcodc.org>; Jason Horrell <                                        Azadeh Matinpour
<
Subject: In re Clark - DDNo. 2021-D193

David sent the letter and the motions with all attachments to Resp’s Counsel, via fedex. Fedex
shipping label is attached. It will be delivered tomorrow morning

Angela
Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 381 of 425
Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 382 of 425




                   MacDougald Affidavit

                               Exh. 6
                   Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 383 of 425
Subject: Re: FW: In re Clark - DDNo. 2021-D193
From: hmacdougald@ccedlaw.com - To: Phil Fox - Cc: - Date: February 11, 2022 at 5:30 PM



Phil:

Thank you for sending the FedEx Airbill.

Three people in my office including me and two assistants have put the tracking number from the airbill into
the FedEx tracking number search box and we get this response: "No record of this tracking number can be
found at this time, please check the number and try again later. For further assistance, please contact
Customer Service.”

The airbill is filled out to not require a signature for delivery.



-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956
Direct: 404-843-4109

From: Phil Fox <      dcodc.org>
Date: February 11, 2022 at 4:48:29 PM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Subject: FW: In re Clark - DDNo. 2021-D193


        Here is the information about the FedEx shipment. We will still look at an
        alternative way to transmit documents.



        From: Angela Thornton <
        Sent: Monday, February 7, 2022 1:47 PM
        To: Phil Fox <      dcodc.org>; Jason Horrell <                                   Azadeh Matinpour
        <
        Subject: In re Clark - DDNo. 2021-D193



        David sent the letter and the motions with all attachments to Resp’s Counsel, via
        fedex. Fedex shipping label is attached. It will be delivered tomorrow morning


        Angela
Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 384 of 425




                   MacDougald Affidavit

                               Exh. 7
Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 385 of 425
Detailed Tracking                         Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 386 of 425                              2/15/22, 10:19 AM



                                                    FRO M                                                          TO

                                           WASHINGTON, DC US                                                     GA US

                                                                                                      MANAGE DELIVERY




                                                                     Travel History        Shipment Facts


                    Travel History

                     TIME ZONE
                     Local Scan Time


                    Tuesday, February 15,
                    2022

                    8:06 AM                                            GA                      Delivered
                                                                                               Package delivered to recipient address -
                                                                                               release authorized

                    6:15 AM                                            MARIETTA, GA            On FedEx vehicle for delivery

                    5:39 AM                                            ATLANTA, GA             At destination sort facility

                    3:48 AM                                            MEMPHIS, TN             Departed FedEx hub

                    12:17 AM                                           MEMPHIS, TN             Shipment arriving On-Time

                    12:05 AM                                           MEMPHIS, TN             Arrived at FedEx hub

https://www.fedex.com/fedextrack/?trknbr=814880136300&trkqual=2459625000~814880136300~FX                                                        Page 2 of 3
Detailed Tracking                         Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 387 of 425                                 2/15/22, 10:19 AM




                        Monday, February 14,
                        2022

                        9:21 PM                                        WASHINGTON, DC                Left FedEx origin facility

                        4:13 PM                                        WASHINGTON, DC                Picked up



                                                                                    Expand History

                    Shipment Facts

                    TR AC KING NU MB ER                                 SERVIC E                                  WEIG HT
                    814880136300                                        FedEx First Overnight                     0.5 lbs / 0.23 kgs


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                    2621 D193                                           FedEx Envelope                            Deliver Weekday


                    SHIP DATE                                           SHIPMENT-FACTS.C O D-DE TAIL              STANDAR D TR ANSIT
                    2/14/22                                             $0.00                                     2/15/22 before 8:30 am


                    ACTUAL DELIVERY
                    2/15/22 at 8:06 am



https://www.fedex.com/fedextrack/?trknbr=814880136300&trkqual=2459625000~814880136300~FX                                                           Page 3 of 3
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                               Exh. 4

         Senator Durbin Letter to Office of
        Disciplinary Counsel, October 7, 2021
           Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 389 of 425


                   RICHARD J. DURBIN. ILUNOIS. CHAIR
PA'TRICK J. LEAHY. VERMONT           CHARLES E. GRASSL.EV, IOWA
DIANNE FEINSTEIN, CALIFORNIA         LINDSEY O GRAHAM. SOUTH CAROLINA
SHELIJON WHITEHOUSE. RHOOE ISLAND    JOHN CORNYN. TEXAS
                                     MICHAELS. LEE. UTAH

                                                                              tinitcd ~tares ~cnatc
ANIY KLOBUCHAR. M INNESOTA
CHRISTOPHER A. COONS. DELAWARE       TED CRUZ. TEXAS
RICHARD BLUMENTHAL. CONNECTICUT      BEN SASSE, NEBRASKA
MAZIE K. HIRONO. HAWAII              JOSHUA D HAWLEY. MISSOURI
CORY A. BOOKER. NEW JERSEY           TOM COTTON. ARKANSAS                       COMM ITTEE ON THE JUDICIARY
ALEX PADILlA. CALIFORNIA             JOHN KENNEDY. LOUISIANA
JON OSSOFF. GEORGIA                  THOM TILLIS. NORTH CAROLINA
                                     MARSHA BLACKBURN, TENNESSEE
                                                                                WASHINGTON, DC 20510-6275



                                                           Octobe r 7, 2021

     Office of Disciplinary Counsel
     District of Columbi a Court of Appeals
     51 5 5th Street N W
     Building A, Suite 117
     Washington, D.C. 2000 I

     Re:        Request for Disciplinary Investigation of Jeffrey Bossert Clark

     To the Disciplinary Counsel:

             As the Chair of the U.S. Senate Judic iary Committee, I w rite to express my grave concern
     about actions taken by Jeffrey Bassett C lark that may constitute serious professional misconduct
     under the D.C. Rules of Professional Conduct. S ince January 202 1, the Committee has been
     investigating allegations that Mr. Clark a ided then-President Trump's efforts to enlist the U.S.
     Depattment of Justice (DOJ) in overturning the results of the 2020 Presidentia l e lection. After
     months of reviewing documents and interviewing key former DOJ personnel w ith firsthand
     knowledge of Mr. Clark's actions, the Committee has re leased the attached interim staff report
     (the " Report"). Based on the Report's findings, I respectfully request that the Office of
     Disciplinary Counsel open an investigation to determine whether Mr. C lark, who is a member of
     the D.C. Bar, v iolated applicable D.C. Rules of Professiona l Conduct and s hould be subj ect to
     disciplinary action.

              As further detailed in the Report, Mr. C lark attempted to enlist DOJ in President T rump' s
     effo1ts to overturn the results of the presidential e lection w ithout ev idence or legal authority. In
     fu1t herance of this goal, Mr. C lark:

           •    vio lated, blatantly and on multiple occasions, longstanding DOJ po lic ies designed to
                insulate the Department's investigations and prosecutions from partisan po litical
                infl uence by meeting w ith President Trump;

           •    continua lly pressed DOJ leadership to public ly announce that there was corruption in the
                2020 general e lection and to urge swing-state legislatures to convene specia l legis lati ve
                sessions to appo int a lternate s lates of e lectors, despite be ing repeatedl y to ld by DOJ
                leadership that his election fraud c laims were baseless and that DOJ lacked legal
                aut hority to pursue his proposed course of action; and

           •    attempted to coerce then-Acting A ttorney General Jeffrey Rosen into agreeing to his
                proposals by threatening M r. Rosen w ith the prospect of replacing him as Attorney
                General.
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       Lawyers adm itted to the D.C. Bar swear an oath "to support the Constitution of the
United States." 1 It should go w ithout saying that attempts to subvert a free and fa ir election do
not support the Constitution.

         T he D.C. Bar defines misconduct as " [a]cts or omissions by an attorney ... which v iolate
                                                                                                 2
the attorney's oath of office or the rules or code of professional conduct currently in effect."
M r. C lark's actions implicate several D.C. Rules of Professional Conduct. First, by using his
official capacity as an Acting Assistant Attorney General to push DOJ to take official action
based on verifiable falsehoods, Mr. Clark appears to have violated Rule l .2(e)'s prohibition
against "counsel[ing] a client to engage, or assist[ing] a c lient, in conduct the lawyer knows is
criminal or fraudulent." While Rule l .2(e) allows " lawyers to discuss the consequences of any
proposed course of conduct w ith a client" and "assist a client to make a good-faith effort to
determine the validity, scope, meaning, or application of the law," M r. C lark's actions do not fit
into this exemption. To the contrary, as the Report demonstrates, he repeatedly pressed DOJ
 leadership to take the extraordinary and unlawful step of intervening in states' appointment of
e lectors based on fa lse c la ims of election fraud. Rule l .O(t) defines knowledge as " actual
 knowledge," which "may be inferred from circumstances." T he American Bar Association' s
Stand ing Committee on Ethics and Professional Responsibility has further c larified that actual
 knowledge "may be inferred from the circumstances, including a lawyer's w illful blindness to or
 conscious avoidance of facts." ABA Forma l Op. 491 (2020). As the Report establishes, Mr.
 C lark should have know n, and was given every opportunity to know, that the election fraud
 c laims he pushed were false.

        Mr. C lark also appears to have violated at least four of the prohibitions in Rule 8.4
regarding professional misconduct. First, the verifiable falsehoods at the core of Mr. Clark' s
efforts implicate Rule 8.4(c)'s prohibition of"conduct involving dishonesty, fraud, deceit, or
misrepresentation." Second, his repeated requests that Acting Attorney General Rosen endorse
these fa lsehoods, and his suggestion that he wou ld decline an offer to replace Rosen as Acting
Attorney General if Rosen agreed to pursue his proposal, implicate Rule 8.4(a)'s prohibition
against knowingly assisti ng or induc ing someone to violate the Rules of Professional Conduct.
T hird, Rule 8.4(e) prohibits a lawyer from " stat[ing] or imply[ing] an ability to influence
improperly a government agency or official," and Mr. Clark attempted to improperly influence
both DOJ's own leadership and several state legis latures. Finally, as a senior DOJ official w ho
sought to improperly use DOJ's law enforcement powers on behalf of a political candidate and to
overturn the election results, the totality of Mr. C lark' s effo11s implicate Rule 8.4(d)'s prohibition
of"conduct that seriously interferes with the administration of justice." Other Rules may be
similarly implicated.

         Mr. C lark' s misconduct does more than speak to his fitness as a lawyer; his activities,
which were pa11 of a broader course of conduct by President Trump and his a llies to overturn the
e lection, have had severe ram ifications for the rule of law. When a government lawyer,

1
  Attorney Oath of Adm ission to the District of Columbia Bar, available at
ht tps://www.dccourts.gov/s ites/defa ult/ fi Jes/divisions pd fs/committee%2 0on%20admiss ions%20 pd f/Attorney Oath
Statement Ro ll of Attorneys.pdf.
2
  Rules Governing the District of Columb ia Bar, Ru le XI, Section 2(b).
      Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 391 of 425




particularly one e ntrusted w ith a high level of leadership in the nation ' s foremost law
enforcement agency, commits serio us vio lations of professional conduct, such actions undermine
the integrity of our justice system and erode public confidence in it. Public confidence is further
eroded when serious misconduct comes to light only to be met w ith no consequences. Therefore,
I submit this letter of compla int to respectfully request that the Office of the Disciplinary
Counsel initiate an investigation and take a ppropriate disciplinary proceedings pursuant to Rule
X I of t he Rules Governing the District of Columbia Bar.

        I appreciate your prompt attention to this sensitive matter. The Committee is available for
further consu ltation as needed.

                                      Sincerely,




                                      Richard J. Durbin
                                      C ha ir, U.S. Senate Committee on the Judiciary




Enclosure

cc:     The Honorable C harles E. Grassley
        Ranking Member, U.S. Senate Committee on the Judiciary
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                               Exh. 5

      Bradley Weinsheimer Letter to Jeffrey B.
               Clark, July 26, 2021
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    w                                                                    U.S. Department of Justice

                                                                      Office of the Deputy Attorney General

    Bradley Weinsheimer                                                  Washington, D.C. 20530
    Associate Deputy Attorney General

                                                                         July 26, 2021

Jeffrey B. Clark
Lorton, VA
Via email to Counsel

Dear Mr. Clark:

        The Department of Justice (Department) understands that you have been requested by the
U.S. House of Representatives Committee on Oversight and Reform (House Oversight
Committee), and the U.S. Senate Judiciary Committee to provide transcribed interviews to the
Committees relating to your service as Assistant Attorney General for the Environment and
Natural Resources Division and Acting Assistant Attorney General for the Civil Division. In
these interviews, you are authorized to provide information you learned while at the Department
as described more fully below.

           According to information provided to you and the Department by the House Oversight
Committee, its focus is on "examining President Trump's efforts to pressure the Department of
Justice (DOJ) to take official action to challenge the results of the presidential election and
advance unsubstantiated allegations of voter fraud." 1 The House Oversight Committee has stated
that they wish to ask you questions "regarding any efforts by President Trump and others to
advance unsubstantiated allegations of voter fraud, challenge the 2020 election results, interfere
with Congress's count of the Electoral College vote, or overturn President Biden's certified
victory. " 2

        Based upon information provided to you and to the Department from the Senate Judiciary
Committee, the Department understands that the scope of that Committee's inquiry is very
similar to that of the House Oversight Committee. The letter to the Department dated January
23, 2021, explained that the Senate Judiciary Committee is conducting oversight into public
reporting about "an alleged plot between then-President Donald Trump and [you] to use the
Department of Justice to further Trump's efforts to subvert the results of the 2020 presidential
election"-events that the letter described as raising "deeply troubling questions regarding the
Justice Department's role" in those purported efforts. 3 In addition, the Senate Judiciary

1
  Letter from Carolyn B. Maloney, Chairwoman, House Committee on Oversight and Reform, to Jeffrey B. Clark,
June 14, 2021.
z Id.
3
 Letter from Richard J. Durbin et al., Senate Judiciary Committee, to Monty Wilkinson, Acting Attorney General,
Dep't of Justice, January 23, 2021, at I, https://www.judiciary.senate.gov/press/dem/releases/senate-judiciary-
committee-democrats-seek-answers-about-dojs-role-in-trumps-scheme-to-overtum-the-2020-election.
        Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 394 of 425



Committee has represented to the Department that the scope of its interview will cover your
knowledge of attempts to involve the Department in efforts to challenge or overturn the 2020
election results. This includes your knowledge of any such attempts by Department officials or
by White House officials to engage in such efforts. The Committee has further represented that
the time frame for its inquiry will begin following former Attorney General William Barr's
December 14, 2021, resignation announcement.

        Department attorneys, including those who have left the Department, are obligated to
protect non-public information they learned in the course of their work. Such information could
be subject to various privileges, including law enforcement, deliberative process, attorney work
product, attorney-client, and presidential communications privileges. The Department has a
longstanding policy of closely protecting the confidentiality of decision-making communications
among senior Department officials. Indeed, the Department generally does not disclose
documents relating to such internal deliberations. For decades and across administrations,
however, the Department has sought to balance the Executive Branch's confidentiality interests
with Congress's legitimate need to gather information. 4

         The extraordinary events in this matter constitute exceptional circumstances warranting
an accommodation to Congress in this case. Congress has articulated compelling legislative
interests in the matters being investigated, and the information the Committees have requested
from you bears directly on Congress's interest in understanding these extraordinary events:
namely, the question whether former President Trump sought to cause the Department to use its
law enforcement and litigation authorities to advance his personal political interests with respect
to the results of the 2020 presidential election. After balancing the Legislative and Executive
Branch interests, as required under the accommodation process, it is the Executive Branch's
view that this presents an exceptional situation in which the congressional need for information
outweighs the Executive Branch's interest in maintaining confidentiality.

        The Executive Branch reached this view consistent with established practice. Because of
the nature of the privilege, the Department has consulted with the White House Counsel's Office
in considering whether to authorize you to provide information that may implicate the
presidential communications privilege. The Counsel's Office conveyed to the Department that
President Biden has decided that it would not be appropriate to assert executive privilege with
respect to communications with former President Trump and his advisors and staff on matters
related to the scope of the Committees' proposed interviews, notwithstanding the view of former
President Trump's counsel that executive privilege should be asserted to prevent testimony
regarding these communications. See Nixon v. Administrator of General Servs., 433 U.S. 425,
449 (1977) ("[I]t must be presumed that the incumbent President is vitally concerned with and in
the best position to assess the present and future needs of the Executive Branch, and to support

4
  See Letter for Rep. John Linder, Chairman, Subcommittee on Rules and Organization, from Robert Raben,
Assistant Attorney General, Office of Legislative Affairs at 2 (Jan. 27, 2000) ("Linder Letter") ("In implementing
the longstanding policy of the Executive Branch to comply with Congressional requests for information to the fullest
extent consistent with the Constitutional and statutory obligations of the Executive Branch, the Department's goal in
all cases is to satisfy legitimate legislative interests while protecting Executive Branch confidentiality interests.").
                                                           2
        Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 395 of 425



invocation of the privilege accordingly."); see also id (explaining that the presidential
communications privilege "is not for the benefit of the President as an individual, but for the
benefit of the Republic") (internal citation omitted).

        Therefore, given these extraordinary circumstances, including President Biden's
determination on executive privilege, and having reviewed the scope of the Committees'
requested interviews, the Department authorizes you to provide unrestricted testimony to the
Committees, irrespective of potential privilege, so long as the testimony is confined to the scope
of the interviews as set forth by the Committees and as limited in the penultimate paragraph
below. 5 This accommodation is unique to the facts and circumstances of this particular matter
and the legislative interests that the Committees have articulated.

        Consistent with appropriate governmental privileges, the Department expects that you
will decline to respond to questions outside the scope of the interview as outlined above and
instead will advise the Committees to contact the Department's Office of Legislative Affairs
should they seek information that you are unable to provide.

        Please note that it is important that you not discuss Department deliberations concerning
investigations and prosecutions that were ongoing while you served in the Department. The
Department has a longstanding policy not to provide congressional testimony concerning
prosecutorial deliberations. If prosecutors knew that their deliberations would become "subject
to Congressional challenge and scrutiny, we would face a grave danger that they would be
chilled from providing the candid and independent analysis essential to just and effective law
enforcement or, just as troubling, that they might err on the side of prosecution simply to avoid
public second-guessing." Linder Letter. Discussion of pending criminal cases and possible
charges also could violate court rules and potentially implicate rules of professional conduct
governing extra-judicial statements. We assume, moreover, that such Department deliberations
are not within the scope of the requested testimony as defined by the Committees.

        Accordingly, consistent with standard practice, you should decline to answer any such
questions and instead advise the Committees to contact the Department's Office of Legislative
Affairs if they wish to follow up on the questions. Responding in such a way would afford the
Department the full opportunity to consider particular questions and possible accommodations
that may fulfill the Committees' legitimate need for information while protecting Executive
Branch confidentiality interests regarding investigations and prosecutions.




5
 You are not authorized to reveal information the disclosure of which is prohibited by law or court order, including
classified information and information subject to Federal Rule of Criminal Procedure 6(e).

                                                          3
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                               Exh. 6

          MacDougald Letter to Rep. Bennie
          G. Thompson, November 5, 2021
      Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 397 of 425




                                     CALDWELL,                  CAR.LSON,
                                  ELLIOTT         & DELOACH.                LLP

      ll~Rll.Y W M1\CDQUG~LD                     , lTORNEYS AT I.AW                  h      IdIii CCEDlaw.com
      W.NN;INr.; PAI\.TNlR                       TWO RAVINIA DflJ\/E                       www.CCEr>law,com
                                                     5UIHl600
                                             ATLANTA. GEORGIA 303,tG


                                               TELEPHONE404·8~3-1956
                                               J;'.CSIMILE404-643-2737




                                            November 5, 2021




Hon. Bennie G. Thompson, Chairman
January 6th Select Committee
U.S. House of Representatives
Longworth House Office Building
Washington, DC 20515


Dear Representative Thompson:

       I have been retained to represent Jeffrey Clark in the investigative matters pending
before your Committee. 1

       Despite disparaging and misleading media narratives, Mr. Clark is not a politician
and has never sought notoriety or press attention beyond what was necessary to
discharge his duties. Indeed, despite serving more than four years during the Bush
Administration's Justice Department from 2001-2005 and more than two years during the
Trump Administration's Justice Department from 2018-2021, he was never once during
those six-plus years of service asked to come before a congressional committee for




1 This letter focuses on the issues surrounding the executive privilege, though there are additional legal
objections, including those of a structural constitutional nature, that we will interpose in good faith as well
to Mr. Clark testifying, should doing so become necessary. We also reserve all of Mr. Clark's individual
rights under the Bill of Rights, though invocation of those rights is also not necessary at this time, as
executive privilege and related privileges should be a sufficient threshold ground not to testify in response
to the subpoena as it is currently framed.
      Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 398 of 425



 CALDWELL.            CARLSON.
   ELLIOTT        &   DELOACH.          LLP


Hon. Rep. Bennie G. Thompson
November 5, 2021
Page2

oversight purposes, even though he litigated and supervised highly controversial cases. 2
He had a winning record, recovered billions of dollars for the fisc, successfully defended
numerous agency rulemakings of extreme complexity, and personally briefed and
argued many cases-exemplary        service. He was confirmed in October 2018 with
bipartisan support in the Senate-just one part of his distinguished 25-year legal career.

       Now, after his most recent, 26-month-plus tenure in government ending in
January 2021, he wants nothing more than to rehun to ordinary life and law practice,
without being subjected to selective anonymous leaks and press attacks. Yet he finds
himself involuntarily caught up in a novel conflict that includes both significant inter-
branch3 and cross-presidential 4 features to whicl1 we must provide a response.

        The main purpose of this letter is this: Because former President Trump was
properly entitled, while he held office, to the confidential advice of lawyers like Mr. Clark,
Mr. Clark is subject to a sacred trust-one that is particularly vital to the constitutional
separation of powers. As a result, any attempts-whether        by the House or by the current
President-to invade that sphere of confidentiality must be resisted. Nothing less will
comport with both Mr. Clark's obligations to former President Trump and· with Mr.
Clark's etl1ical obligations as an attorney. The general category of executive privilege,
the specific categories of the presidential communications, law enforcement, and
deliberative process privileges, 5 as well as atton1ey-client privilege and the work product
doctrine, all harmonize on this point. Most importantly, core matters of constih1tional
principle hang in the balance.


2 For instance, Mr. Clark was integral to defending former President Trump's decision to withdraw from
the Paris Climate Agreement, to resisting improper judicial interference with the Census, to crafting and
then personally defending, in litigation, the first major reform in four decades of the National
Environmental Policy Act's regulations, and to shepherding through the judicial process various agency
actions protecting the southern border with Mexico against incursions. This work was unpopular in some
political quarters but at all times was consistent with law and with his client agencies' policy decisions.
3 A single House of Congress vs. former President Trump.

4 President Biden vs. former President Trump, i.e., the current President vs. the immediately past President.

5 Indeed, Mr. Clark's work was integral to the United States' win in the Supreme Court's most recent
deliberative process case, United States Fish & Wildlife Serv. v. SierraClub, Inc., 141 S. Ct. 777 (2021).
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    Mr. Clark's position as a legal advisor to the President late in 2020 and early 2021 was
particularly sensitive because he was a Senate-confirmed Justice Department leader with
significant high-profile litigation and governmental experience, making it natural for a
President to seek out and consult his views. 6 We trust that members of Congress of all
stripes would agree that it is indisputable that American Presidents need to be able to
consult, as they see fit, with their Senate-confirmed appointees. The principle goes both
ways. Whomever succeeds President Biden, for instance, should not be able to expose to
public scrutiny advice provided to President Biden by his advisors. Establishing
precedent to the contrary would deeply chill the vigorous Executive Branch and energetic
President the Founders envisioned. See Federalist Paper No. 70 (Hamilton) (Mar. 18,
1788) ("Energy in the executive is a leading character in the definition of good
government."), availableat https:1/tinynrl.com/ ep7fhz9. Without that energy and ability
to be candid, presidential advisors would be reduced to bland, tasteless creatures, and
the prospect of innovative advice would be stifled.

       For these reasons, as amplified below, and with due respect to the Committee, Mr.
Clark has come with me today, to present this letter of objection. Mr. Clark will, of course,
abide by a future judicial decision(s) appropriately governing all underlying disputes
with finality, but for now he must decline to testify as a threshold matter because the
President's confidences are not his to waive.

       1.     Since August 2, 2021, when a pivotal letter was sent on behalf of former
President Trump to Mr. Clark (Attachment), there have been several cardinal
developments:

    (1) On September 23, 2021, this Committee subpoenaed senior White House officials
    Mark Meadows and Daniel Scavino, senior Pentagon official Kashyap Patel, and



6 Beginning in November 2018, Mr. Clark headed one of the Justice Department's seven litigating Divisions
(the approximately 112 year-old Environment & Natural Resources Division, which has existed for most of
the 151 years of the Justice Department's history). And later, in light of his excellent service in the
Environment Division during the last Administration, Mr. Clark was also tapped by the Attorney General
in the Fall of 2020 to run a second of those seven litigating Divisions as the Acting Assistant Attorney
General for the Civil Division.
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    Stephen Bannon, making especially clear to Mr. Clark that executive privilege had
    been invoked in light of the violation of a condition set forth in the August 2, 2021,
    letter from former President Trump's counsel, as explained in more detail below;

    (2) On or about October 7, 2021, former President Trump invoked executive privilege
    and instn1cted these four presidential advisors not to comply with the Committee's
    requests/

    (3) Additionally, on September 29, 2021, the Committee had subpoenaed 11 other
    individuals to appear for questioning; and, most importantly,

    (4) The former President took the critical step of bringing suit against the Committee,
    among others, in Trump v. Thompson, Civ. A. No. 21-2769 (0.0.C. Oct. 18, 2021). In this
    case, President Trump asserts executive privilege and is objecting to the Committee's
    request to the Archivist of the United States to produce records of his administration.

       The August 2 letter from your former colleague, Georgia Congressman Douglas A.
Collins, stated to Mr. Clark that "President Trump continues to assert that the non-public
information the Committees seek is and should be protected from disclosure by the
executive privilege," and that this "executive privilege applicable to communications
with President Trump belongs to the Office of the Presidency, not to any individual
President, and President Biden has no power to unilaterally waive it." Attachment at 1.

        The Collins letter also quoted the Supreme Court's recognition that "the privilege
is not for the benefit of the President as an individual, but for the benefit of the Republic."
Id. (quoting Nixon v. Administrator of Gen. Servs., 433 U.S. 425,449 (1977)). That decision
provides that the purpose of the privilege is to "give his advisers some assurance of
confidentiality," so that the "President [can] expect to receive the full and frank
submission of facts and opinions upon which effective discharge of his duties depends."
Id. Additionally, the August 2 letter noted that an earlier July 26, 2021 letter to Mr. Clark

7 See Jacqueline Alemany, et al., Trump Lawyer Tells FormerAides Not to Cooperatewith Jan. 6 Committee,
WASH.PosT(Oct. 7, 2021),availableat htt-ps://1   .washingtonppsl.com/politics/2021/l0/07/trump-l;:iwyer-
tcll~tQ.tmcr-ai - , t- op cral -wilh-'sin-6-comrniltcc/.
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from the current Justice Department had selectively edited a quotation out the Nixon
decision, leaving off the key sentence that "the privilege survives the individual
President's tenure." Attachment at 2 (quoting Nixon, 433 U.S. at 449) (emphasis added).
See also Prof. Saikrishna Prakash, Trump Is Right: FormerPresidentsCan Assert Executive
Privilege,Wash. Post. (Oct. 29, 2021), availableat https://tinyurl. om/yl cpz94w.

        I concur with that assessment by the former President and his counsel. Were any
successor occupant of the office of President able to waive claims of executive privilege
asserted by his or her predecessors, the principal purpose of the privilege would be
defeated, to the detriment of the Executive Branch, to the separation of powers, and to
the proper functioning of government as envisioned by the Constitution, relevant judicial
precedent, and long traditions of inter-branch accommodation. This is particularly true
when, as here, President Biden's purported waivers over recent months may have been
informed by partisan political purposes. This is suggested by the haste with which Mr.
Biden prejudged Mr. Bannon' s invocation of the privilege on behalf of former President
Trump. 8 Executive privilege has fundamental importance to and constitutional
significance in the operation of government. Waivers of executive privilege should
therefore be considered only with a gravity and solemnity commensurate with their
deployment, and should not be influenced by workaday political grievances or by
grudges lingering from past political controversies, even bitter ones.



8 See Katherine Fung, Biden's Comments Could Fumble DOJ Prosecution of Steve Bannon: Here's How,
NEWSWEEK       (Oct. 21, 2021) ("referring to those, like Bannon, who have refused to comply with the subpoena
to testify before the January 6 committee [and] asked if they should face prosecution, Biden said, 'I do,
yes."'); Donald Judd & Rachel Janfaza, Biden Says DOJ Should Prosecute Those Who Defy January 6 Committee
Subpoenas, CNN (Oct. 16, 2021) (same); see also id. (quoting Press Secretary Jen Psaki as arguing, contrary to
law, that ultimate decisions would be made by the Justice Department because "[t]hey're an independent
agency .... "), available at httJ_2s:/lw....rw.ncwswcck.com/biJcns-commcnts-cou..ld-fumblc-doj-P-rosccution-
steve-bannon-hcres-how-1641428. While President Biden later acknowledged he had been wrong to make
the statement, the damage in the public mind had already been done. See Kaanita Iyer, Biden Says He Was
Wrong to Suggest Those Who Defy Subpoenas from January 6 Committee Should Be Prosecuted, CNN, available at
b..liP-s://edilion.cnn.com/?021 /J 0/21/politics/january-6-,ioc-bidcn-town-hall/indcx.html (Oct. 22, 2021). For,
as the Committee is aware, the President is the chief law enforcement officer of the United States and the
Constitution does not mention the Attorney General by name. The Constitution simply contemplates that
there will be a "principal Officer in each of the executive Departments." U.S. Const. art. II, sec. 2. Nor do
any statutes establish the Department of Justice as an "independent agency."
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        2.     Other former Department of Justice officials who received the Collins letter
have apparently interpreted its concluding paragraph to mean that the former President
had waived the privilege on a blanket basis or somehow otherwise greenlighted their
testimony to Committees looking into assertedly similar issues prior to this Committee
beginning its work. We disagree with that interpretation. No fair reading of the Collins
letter can conclude that it waives any privileges as to an official like Mr. Clark, especially
after the key contingency set out in the letter had been triggered:

   Nonetheless, to avoid further distraction and without in any way otherwise
   waiving the executive privilege associated with the matters the executive
   privilege associated with the matters the Committees are purporting to
   investigate, President Trump will agree not to seek judicial intervention to
   prevent your testimony or the testimony of the five other former Department
   officials ... who have already received letters from the Department similar to
   the July 26, 2021 letter you received, so long as the Committees do not seek
   privileged information from any other Trump administration officials or
   advisors.

Attachment at 2 (emphasis added). The condition in the emphasized language has been
triggered because the Committee sought privileged information from multiple other
Trump administration officials or advisors before Mr. Clark was subpoenaed on October
13, 2021.

        Our position is simple and is dictated by the plain text of the letter. The Collins
letter does not waive privilege as to Mr. Clark. Even before the contingency triggered by
your Committee seeking information from other Trump Administration officials had
occurred, at best the Collins letter indicated that former President Trump would agree
himself not to seek judicial intervention on the pre-contingency state of the facts. That is
not remotely the same as authorizing testimony or waiving executive privilege. All
portions of the Collins letter prior to the concluding paragraph clearly invoked privilege.
Nor could Mr. Collins' indicating that the former President would not file suit at an
earlier time act to relieve Mr. Clark of his ethical obligations.

       And surely, once the Committee issued subpoenas to Messrs. Meadows, Scavino,
Patel and Bannon on September 23, the assertion of executive privilege set forth in all of
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the other paragraphs of that letter applied with special force to Mr. Clark. This is because
Congress has, in fact, sought privileged information from Messrs. Meadows, Scavino,
and Patel as they are all, no doubt, "other Tn1mp administration officials." In short, even
former President Trump's statement that he would not go to court in August 2021 was
expressly conditional, and the Committee's issuance of the Meadows, Scavino, and Patel
subpoenas has caused the failure of that condition. Therefore, especially after the
triggering of the contingency, the letter simply cannot be read as an unconditional waiver
as to Mr. Clark or the others named in the final paragraph.

        Accordingly, particularly under the present circumstances, the Collins letter
expressly informs Mr. Clark that President Trump is asserting and not waiving executive
privilege with respect to the Committee's pursuit of information from Mr. Clark.
President Trump's assertion of his privileges with respect to the Committee's subpoena
to Mr. Clark is confirmed in Trump v. Thompson,et al, U.S.D.C. D.C. 1:21-cv-02769-TSC,
by footnote 2 of his brief in support of ~s application for a preliminary injunction:

   The Committee also sought testimony and documents from several individuals,
   some of whom were serving in the Trump Administration in January and others
   who were not. To preserve all privileges applicable to him and the Presidency,
   President Trump sent a letter to a number of these individuals, instructing them
   to preserve any and all relevant and applicable privileges, including without
   limitation the presidential communications and deliberative process privileges
   and attorney-client privilege, all to the extent allowed by law.

Id., Doc. 5, p. 1, n.2. The Committee of course has actual notice of this contention since it
is a party to that litigation.

       Mr. Clark thus has no choice but to comply with President Trump's assertion of
executive privilege and related privileges.

       3.     Since September 7, 2021, staff on the Select Committee has been in contact
with Mr. Clark's former attorney, Robert Driscoll, about the possibility of Mr. Clark
giving a transcribed interview to the Committee regarding communications with and
advice given to former President Tn1mp during the last few months of his
Administration.
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        In good faith and while he was engaging in legal research and keeping apprised
of related actions by the Committee and other parts of Congress, Mr. Clark had been
requesting and reviewing documents from the Department of Justice pursuant to 28
C.F.R. § 16.300. And, if the federal judicial system orders Mr. Clark directly or produces
final and clearly applicable precedent in (a) related case(s) indicating that Mr. Clark must
testify, he would resume that process consistent with other legal strictures. But in line
with our research and study, events subsequent to September 7 have convinced me that
the only proper course of action for Mr. Clark now is to stand on the privilege position
articulated to him on August 2 by former President Trump and affirmed in his October
19, 2021 filing in Trump v. Thompson.

       This is for three reasons: (1) first and foremost because former President Trump,
as noted, took heavy step of invoking the privilege in federal court litigation on October
18 against the Committee in its official capacity, indicating that the inter-branch
accommodation process had broken down; (2) because the September 23 subpoenas to
Messrs. Meadows, Scavino, and Patel unmistakably triggered the contingency in the
Collins letter, seemingly removing the basis for any potential accommodation agreement
with the Committee premised on it cabining the scope of its inquiry; and (3) because the
former President acted to invoke the privilege as to those advisors and Mr. Bannon.

        4.     I am aware that other former top officials in the Department of Justice have
provided testimony to Congress, despite the former President's assertion of privilege and
despite the failure of the conditions in the Collins letter. As the privilege was not theirs
to waive, at least without greater clarity (such as a court order with finality or a
comprehensive arrangement entered into between former President Trump and
Congress, where the latter agreed not to seek "privileged information from any other
Trump administration officials or advisors"), it is unclear to me how their testimony
could be consistent with former President Trump's assertion of executive privilege.
Former President Trump holds that privilege, not them. Be that as it may, in the present
circumstances, the fact that other former officials may have testified, rightly or wrongly
at the time, does not cl1ange Mr. Clark's obligations in light of the recent positions taken
by former President Trump in the Collins letter and in Trump v. Thompson. Indeed, D.C.
Bar Ethics Opinion #288 has advised that, even in response to a congressional subpoena
(and therefore, by parity of reasoning, in response to a voluntary request as well), a
"lawyer has a professional responsibility to seek to quash or limit the subpoena on all
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available, legitimate grounds to protect confidential documents and client secrets." See
also American Bar Association's Committee on Ethics and Professional Responsibility,
Formal Opinion 94-385 (1994).

        It is improper to put Mr. Clark in a vise between this Committee and its claimed
enforcement powers on the one hand and his constih1tional and ethical obligations on the
other, especially while there is a pending lawsuit to determine President Trump's
privilege objections. To apply such pressure to Mr. Clark is to present him with a
potential Hobson' s choice in a manner not countenanced by the long history of inter-
branch accommodation over Congressional requests for information from the Executive
Branch. The Constitution is the ultimate source of our law and this Committee is bound
to respect government-wide constitutional boundaries, including respecting the
prerogatives of the coequal Executive Branch.

       Additionally, the claim made by Senate counsel at the outset of the relevant
testimonies of at least one of these other Department of Justice officials, namely, that the
Collins letter was a "letter of nonobjection ... on behalf of former President Trump," 9 if it
were ever correct there (and it is not because nothing in the letter waives privilege or
states a general principle of non-objection), is obviously incorrect as to Mr. Clark at the
present time. The Collins letter quite explicitly (1) asserts that the former President has
not waived claims of executive privilege; (2) asserts the privilege; and (3) at most, even
from this Committee's potential perspective, fixes conditions that as to Mr. Clark are no
longer met.

       In light of the foregoing, I have advised my client that, at this time and based on
these most up-to-date factual developments, he is duty-bound not to provide testimony
to your Committee covering information protected by the former President's assertion of
executive privilege. Accordingly, beyond showing up today to present this letter as a
sign of his respect for a committee of the House of Representatives, albeit one not formed
in observance of the ordinary process of minority participation, Mr. Clark cannot answer
deposition questions at this time. No adverse inferences can or should be drawn from
Mr. Clark accepting my advice. His doing so defends the Republic's interest in the


9 Transcript, available at https://w\   w.judicic1ry.scnate.gov/imo/111t.;dic1/tloc/R lswi"l,,20Transcripl.ptlf   at 6-7
(Aug. 7, 2021).
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separation of powers. As noted, Mr. Clark is not a politician but he is a strong defender
of the Constitution, stemming from his political beliefs as an unapologetic conservative-
beliefs protected by the First Amendment.

       5.    In addition to the foregoing, I must also point out that the vast majority of
the document requests in the subpoena sent to Mr. Clark are duplicated in the requests
for documents sent by the Committee to the National Archives presently at issue in the
Trump v. Thompsonlitigation. It is entirely proper, therefore, to defer compliance with the
Committee's subpoena to Mr. Clark until that litigation is resolved.

       Moreover, the documents subpoenaed from Mr. Clark are instead largely in the
possession of the Department of Justice or the Archives. Mr. Clark left his work papers at
the Department of Justice when he resigned in anticipation of the January 20, 2021
inauguration of President Biden. Based on prior actions, beginning with those of the
House Oversight Committee, we also believe that your Committee has access to Mr.
Clark's government records, making the imposition on us of organizational work, such
as Bates-stamping documents, unduly burdensome. If the Committee could please
confirm this one way or the other, it may obviate any claim of demonstrably critical need
for Mr. Clark to re-produce documents the Committee already has, should that become
necessary at some fuhue point.

       6.       Accordingly, I respectfully urge the Committee to recognize that the best
and most regular course in light of the latest developments would be to pause the request
for the testimony of Mr. Clark (likely along with the requests for the testimony of Messrs.
Meadows, Scavino, and Patel, who would seem similarly situated) pending resolution of
the Trump v. Thompsonlitigation. That will provide important guidance from the Article
III branch of government to referee this inter-branch dispute, including, among other
things, the entwined issue of whether the current President can purport to waive the
former President's executive privilege over the former President's objection. As Justice
Powell remarked in concurrence in Nixon, "[t]he difficult constih1tional questions lie
ahead." 433 U.S. at 503. See also id. at 491 (Blackmun, J., concurring) (noting that
historically some presidential transitions had been "openly hostile," and hoping that the
stah1te under consideration there "did not become a model for the disposition of the
papers of each president who leaves office at a time when his successor or the Congress
is not of his political persuasion."). A pause, as we here request, would also show proper
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comity both to Executive Branch's interests (considered holistically and not as defined
myopically to embrace only the views of the current President) and to the Judicial
Branch's role in resolving cases and controversies. As Nixon indicates, "[t]he
confidentiality necessary to this exchange [of advice and confidences between a President
and an advisor] cannot be measured by the few months or years between the submission
of the information and the end of the President's tenure; the privilege is not for the benefit
of the President as an individual, but for the benefit of the Republic." 433 U.S. at 449.

         7.       I am also compelled to note the disconnect between the scope and purpose
of the Committee's authorizing resolution and the information sought from Mr. Clark.
The Committee's scope revolves around events at the Capitol on January 6, 2021. The
Committee would not appear to be seeking to question Mr. Clark about January 6, 2021
and no media reporting has connected him to those events. Mr. Clark had nothing to do
with the January 6 protests or the incursion of some into the Capitol. He has informed
me he worked from home that day to avoid wrestling with potential street closures to get
to and from his office at Main Justice. Nor did Mr. Clark have any responsibilities to
oversee security at the Capitol or have the ability to deploy any Department of Justice
personnel or resources there. Indeed, Acting Attorney General Rosen testified almost 6
months ago that a January 3, 2021 Oval Office meeting involving him and Mr. Clark, inter
alia, did not relate to January 6. See House Oversight and Reform Committee Holds
Hearing          on      Jan.     6     Riot     at     U.S.     Capitol,    available   at
htl-p·://...,vv,.rw.yutub •.com/watch?v=719UGi8d ng, beginning at circa the one-hour, 15-
minute mark (Rep. Connolly) (streamed May 12, 2021).10 That should alone be sufficient
for Mr. Clark to be excluded from a January 6 inquiry.

       Indeed, just about a week after January 6, Mr. Clark gave an "exit interview" to a
reporter for BloombergLaw that condemned the individuals who forcibly went into the
Capitol and engaged in violence, noting that some of them may have been moved by mob
psychology (Mr. Clark specifically remembers referencing Gustave Le Bon), besmirching
by mere association the far more numerous peaceful protesters exercising their First


10Q. Rep. Connolly: "Did you meet with the President at the White House on January 3rd?" A. Former
Acting AG Rosen: "I did." Q. Rep. Connolly: "You did, but you decline to tell us what the nature of that
conversation was about, is that correct?" A. Former Acting AG Rosen: "I can tell you it did not relate to
the planning and preparations for the events on January 6th."
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Amendment rights. As a clear example of mainstream media bias, however, the report
later published about that interview omitted Mr. Clark's remarks on January 6, even
though the reporter had repeatedly sought Mr. Clark's views on the topic during the
course of the interview. 11

       For all of these reasons, the information and testimony sought by the Committee
as applied to Mr. Clark in particular are outside the scope of the Committee's charter and
are neither proper subjects of the Committee's subpoena, nor any subsequent attempt to
enforce the subpoena.

       Finally, I would kindly request a response to the objections set out in this letter,
which may include a proposal to me by the Committee as to a more limited scope of
inquiry narrowed to January 6-something that I would be happy to engage on to try to
reach an agreement. And for the avoidance of all doubt, we reiterate that, during
continued discussions and at all times, we reserve all other objections as may be
applicable under the circumstances. See supra n. l.




Enc.
cc:     Jeffrey Bossert Clark




11 See Ellen Gilmer,Top OfficialSteps Downfrom DOf's Environment, Civil Divisions, BLOOMBERG LAW (Jan.
14, 2021), available at hllps://n • ?,blo mbcrglaw.com/whik'-( llrlr-c1nd- riminr1l-law/top-officir1l-stt;ps-
down-frorn-do:   -cnvironn c.nt-civil-divisions?ct   I tcxL=<1rt·ilc-rclat   d.
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From: Doug Collins <doug@norlhgeorgialawyers.com>
Date: August 2, 2021 at 6:20:20 PM EDT
To: Driscoll, Robert <rdriscoll@mcglinchey.com>
Subject: Letter for Mr. Jeff Clark

Pleasefind the attached letter for your client Mr. Jeff Clark.

Thank you for your cooperation.

Douglas A. Collins
Oliver & Weidner, LLC
854 Washington St. Suite 300
Clarkesville, GA 30523
706-754-9000
NorthGeorgiaLawyers.com


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    JAMES    C. WEIDNER                                                                                  TEL.   (706)   754-9000

ERNEST   H. 'BUCKY'   WOODS,   Ill                                                                       FAX: (706)     754-0098


   DOUGLAS     A. COLLINS                                                                             854 WASHINGTON         STREET
                                                                                                                SUITE 300
     WILLIAM R. OLIVER                                                                                        P.O. BOX 2017
       (OF COUNSEL)                                                                                   CLARKESVILLE,        GA 30523




                                                    NorthGeorgiaLawyers.com


                                                         August 2, 2021


            Mr. Jeff Clark:

                    We represent former President Donald J. Trump and write concerning requests sent to
            you by the U.S. House of Representatives Committee on Oversight and Reform and the
            U.S. Senate Judiciary Committee to provide transcribed interviews on matters related to your
            service as Deputy Attorney General and Acting Attorney General during President Trump's
            administration. We also understand that, as set forth in its July 26, 2021, letter to you, the U.S.
            Department of Justice stated that President Biden decided to waive the executive and other
            privileges that protect from disclosure non-public information concerning those matters and has
            authorized you to provide such information.

                    Please be advised that the Department's purported waiver and authorization are unlawful,
            and that President Trump continues to assert that the non-public information the Committees
            seek is and should be protected from disclosure by the executive privilege. The executive
            privilege applicable to communications with President Trump belongs to the Office of the
            Presidency, not to any individual President, and President Biden has no power to unilaterally
            waive it. The reason is clear: if a President were empowered unilaterally to waive executive
            privilege applicable to communications with his or her predecessors, particularly those of the
            opposite party, there would effectively be no executive privilege. To the extent the privilege
            would continue to exist at all, it would become yet another weapon to level the kind of
            unjustifiable partisan political attacks the Democrat-controlled administration and Committees
            are seeking to level here.

                    As the Supreme Court held in Nixon v. Administrator of General Services, 433 U.S. 425
            (1977) - where, like here, the then-current administration did not support a former President's
            asse1tion of executive privilege - the executive privilege is crucial to Executive Branch decision-
            making:

                        Unless [the President] can give his advisers some assurance of confidentiality, a
                        President could not expect to receive the full and frank submissions of facts and
                        opinions upon which effective discharge of his duties depends. The confidentiality
                        necessa1y to this exchange cannot be measured by the few months or years
                        between the submission of the information and the end of the President's tenure;
                        the privilege is not for the benefit of the President as an individual, bul for the
                        benefit of the Republic.
     Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 411 of 425




Nixon v. Administrator of General Services, 433 U.S. 425, 448-49 (1977). The Depattment's July
26 letter to you quoted this decision but left out the very next sentence in the opinion: "Therefore,
the privilege survives the individual President's tenure." Id. at 448-49 (quoting, and adopting,
Brief for the Solicitor General on Behalf of Federal Appellees) (emphasis added).

        Here, it is clear that even though President Biden and the Department do not know the
nature or content of the non-public information the Committees seek, they have not sought or
considered the views of the President who does know as to whether the confidentiality of that
information at issue should continue to be protected. Such consideration is the minimum that
should be required before a President waives the executive privilege protecting the
communications of a predecessor. See Office of Legal Counsel Memorandum on Applicability
of Post-Employment Restrictions in 18 U.S.C. § 207 to a Former Government Official
Representing a Former President or Vice President in Connection with the Presidential Records
Act, June 20, 2001, at 5 ("[A]lthough the privilege belongs to the Presidency as an institution
and not to any individual President, the person who served as President at the time the
documents in question were created is often particularly well situated to determine whether the
documents are subject to a claim of executive privilege and, if so, to recommend that the
privilege be asserted and the documents withheld from disclosure.").

        Nonetheless, to avoid further distraction and without in any way otherwise waiving the
executive privilege associated with the matters the Committees are purporting to investigate,
President Trump will agree not to seek judicial intervention to prevent your testimony or the
testimony of the five other former Department officials (Richard P. Donoghue, Patrick
Hovakimian, Byung J. "BJay" Pak, Bobby L. Christine, and Jeffrey B. Clark) who have already
received letters from the Department similar to the July 26, 2021 letter you received, so long as
the Committees do not seek privileged information from any other Trump administration
officials or advisors. If the Committees do seek such information, however, we will take all
necessary and appropriate steps, on President Trump's behalf, to defend the Office of the
Presidency.
Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 412 of 425




                               Exh. 7

      Expert Affidavit of Gregg Phillips, from
        Schmitz v. Barron, Fulton County,
         Georgia Superior Court Case No.
                  2020CV342969
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                              Exhibit C to Amended and Restated Complaint
Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 414 of 425




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Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 417 of 425




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                            Exhibit C to Amended and Restated Complaint
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                      Exhibit C to Amended and Restated Complaint
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Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 420 of 425




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                         Exhibit C to Amended and Restated Complaint
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                           Exhibit 2
        Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 423 of 425




               IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                 CIVIL DIVISION

    DISTRICT OF COLUMBIA,

          Plaintiff,
                                                                2020 CA 002892 B
          v.                                                    Judge Alfred S. Irving, Jr.

    EXXON MOBIL CORP., et al.,

          Defendants.


         ORDER G A        I G DEFE DA              M     I            A PROCEEDINGS

         Before the Court is a Motion to Stay Proceedings, filed by Defendants Exxon Mobil

Corporation, ExxonMobil Oil Corporation, Chevron Corporation, Chevron U.S.A., Inc., Shell

PLC (f/k/a/ Royal Dutch Shell PLC), Shell USA, Inc. (f/k/a/ Shell Oil Company), BP P.L.C., and

BP America Inc. (collectively Defendants ) on March 20, 2023. This matter was previously

removed to the U.S. District Court for the District of Columbia on July 17, 2020.1 In February

2023, the District Court remanded the case. Defendants ask this Court to stay proceedings in this

matter pending resolution of the appeal of the District Court s remand order in the U.S. Court of

Appeals for the District of Columbia Circuit2 and disposition the petitions for writs of certiorari

on similar cases pending before the Supreme Court.3 Given the pendency of the appeal in the

federal Court of Appeals, which heard oral arguments on May 8, 2023, the Court will stay all

proceedings in this case for a period of sixty days.


1
    Case number 1:20-cv-01932, before the Hon. Timothy J. Kelly.
2
    Case number 22-7163, before the Hons. Gregory G. Katsas, Neomi Rao, and Florence Y. Pan.
3
  The Court notes that the Supreme Court has denied six petitions for writs of certiorari on
similar issues. See Pl. s Notice of Suppl. Authority (April 26, 2023); Pl. s Notice of Suppl.
Authority (May 17, 2023).
      Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 424 of 425




          ACCORDINGLY, it is by the Court this 31st day of May 2023, hereby

          ORDERED that Defendants Motion to Stay Proceedings is GRANTED; and it is

further

          ORDERED that the proceedings in this case are STAYED for sixty days in light of the

pending appeal before the U.S. Court of Appeals for the District of Columbia Circuit.



                                                           _________________________
                                                             Judge Alfred S. Irving, Jr.
Copies to:
Matthew K. Edling
Anna C. Haac
Katherine H. Jones
Quentin C. Karpilow
Kathleen M. Konopka
Hassan A. Zavareei
matt@sheredling.com
ahaac@tzlegal.com
katie@sheredling.com
quentin@sheredling.com
kate@kateandviren.org
hzavareei@tzlegal.com
Counsel for Plaintiff District of Columbia

James W. Cooper
james.w.cooper@arnoldporter.com
Ethan G. Shenkman
Dep t Justice – ENRD Appellate
PO Box 23795
Washington, DC 20026
Counsel for Defendants BP America Inc. and BP P.L.C.

Theodore J. Boutrous
Thomas G. Hungar
tboutrous@gibsondunn.com
thungar@gibsondunn.com
Counsel for Defendants Chevron Corporation and Chevron U.S.A. Inc.
     Case 1:22-mc-00117-RC Document 18-1 Filed 07/25/23 Page 425 of 425




Justin Anderson
Craig A. Thompson
Theodore V. Wells
janderson@paulweiss.com
cathompson@venable.com
twells@paulweiss.com
Counsel for Defendants Exxon Mobil Corp. and Exxonmobil Oil Corporation

David C. Frederick
Kellogg, Huber, Hansen, Todd & Evans, PLLC
1615 M. Street NW STE. 400
Washington, DC 20036
Minsuk Han
mhan@kellogghansen.com
Vetan Kapoor
vkapoor@kellogghansen.com
Grace W. Knofczynski
gknofczynski@kellogghansen.com
Daniel S. Severson
dseverson@kellogghansen.com
James M. Webster, III
jwebster@kellogghansen.com
Counsel for Defendants Shell PLC (f/k/a Royal Dutch Shell PLC) and Shell USA, Inc. (f/k/a
Shell Oil Company)
